 Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 1 of 356




need to manage the forest to allowfor species migration. Intact ecological zones connected to each other
can buffer these changes and allow species to adapt to changing conditions in order to maintain
continuous wildlife habitat.

Overarching Comment
In short, within the above referenced context, we would like to provide scientific reports and maps
created by CPLA for integration into the plan revision and assessment, as well as suggest a need for
change statement:

Need for Change: Facilitate wildlife movement across the forest andonto surroundingprivate, state,
and tribal lands.

A recent study by Tom Watts1, as well as a map compiling existing wildlife corridors in the CPLA
region (please see page 3), displays the cross-jurisdictional nature of wildlife movement, even between
national forests. Please incorporate this data into your plan revision. Do not hesitate to contact us with
any questions or comments about our thoughts on the plan revision. Thank you for your consideration.




  Monique DiGiorgio, Executive Director
  970-335-8174 | chamapeak@gmail.com




1 Watts, Tom. November 2014. A COMPILATION OF MULE DEER AND ELK POPULATION DATA FOR THE SAN
JUAN/CHAMA BASIN. Online at http://www.chamapeak.org/pdf/Watts FINAL%20REPORT-2014.pdf

                                ■■■' »                                                                       2
                              1309 East Third Ave. #39 | Durango, CO 81301
                       chamapeak@gmail.com | www.chamapeak.org | 1-888-445-7708
                                                                         Rvsd Plan -00002112
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 2 of 356




WILDLIFE MIGRATION OF MULE DEER AND ELK IN THE CPLA REGION
GIS data was collectedfrom the Southern Ute Indian Tribe, Jicarilla Apache Nation, and Chama Peak
Land Alliance, and is available upon request.




                                                                                                    3
                            1309 East Third Ave. #39 | Durango, CO 81301
                     chamapeak@gmail.com | www.chamapeak.org | 1-888-445-7708
                                                                   Rvsd Plan - 00002113
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 3 of 356



   From:           Rick Schnaderbeck
   To:             FS-comments-rocky-mountain-rio-grande
   Subject:        ATV Use
   Date:           Wednesday, July 29, 2015 5:14:59 PM



   Dear Forest Planner,


   I wish to comment on ATV use on the RGNF. Allowing ATVs to go anywhere on the forest to
   retrieve big game has been a disaster. I believe this is the main reason behind the explosion
   of illegal rogue ATV trails on the Forest. One set of tracks related to big game retrieval quickly
   becomes tomorrows rogue trail. The expansion of illegal trails on the RGNF over the past 25
   years is simply staggering. I believe the RGNF is the only Forest in Colorado to allow the "big
   game retrieval" use of ATVs at this level and I question the mindset behind it. Horses and
   friends seem to work well on other forests for packing out harvested animals and question
   why that cannot work on the RGNF.


   I have also noticed ATV abuse by those grazing livestock on the Forest. A hunting friend stated
   that he confronted a livestock permittee operating an ATV off trail on the RGNF in Rio Grande
   County and the permittee stated he had special permission to use his ATV off designated
   trails. I surely hope this is not the Forest's Policy regarding ATV use by livestock permittees. I
   support the grazing of Forest lands but certainly not giving these folks special permission
   to use ATV's beyond the scope of the general public. Horses, mules, etc have worked well in
   the past for livestock permittees and giving these folks special permission to use ATV's is
   simply not right in these times of dramatically expanding illegal ATV trails.


   Thanks for the chance to comment.
   Sincerely,
   Rick Schnaderbeck
   4005 N. Rd 3 West
   Monte Vista, CO 81144




                                                                        Rvsd Plan - 00002114
    Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 4 of 356


                              SAN LUIS VALLEY IRRIGATION DISTRICT
                                          P, 0. Box 637      296 Mites Street
                                              Center, Colorado 81125-0637
                                                      719-754-2254

                                                   Augusta, 2015



Dan Dallas
Forest Supervisor
Rio Grande National Forest
12105 Flighway 160
Monte Vista, Colorado 81132

               Re: Revised Forest Plan - Forest Service Water Rights

Dan:

        I am writing to you on behalf of the San Luis Valley Irrigation District. During a meeting of the Rio
Grande Basin Roundtable, the Forest Service discussed consideration of obtaining '‘additional” reserved water
rights for the Rio Grande National Forest as part of the Revised Forest Plan process. After the presentation,
members of the Roundtable voted and took the position that there should be no action under the Revised Forest
Plan regarding federal reserved water rights. The Irrigation District fully supports that position.

       Following the meeting, we reviewed the final decree of the Water Court in Concernmg the Application
for Water Rights of the Llnited States ofAmerica in Alamosa, Archuleta, Conejos, Hinsdale, Mineral, Rio
Grande, Saguache, Costilla, and San Juan Counties, Colorado, Findings ofFact, Conclusion,s ofLand, and
Judgment and Decree, Case No. 81 CW 183, District Court, Water Division No. 3, Colorado (March 30, 2000)
(“Decree”), in which the water rights for the Rio Grande National Forest were finally settled, and a
determination of all of the United States' reserved water rights for the Forest were decreed. As you are aware,
the Decree was the result of extensive, hard fought, and thorough negotiations; and, it recognizes in several
paragraphs that it is a final and complete resolution of all the United States’ water right claims.

        In light of the specific language in the Decree, the history of the litigation and negotiations, and the vote
of the Roundtable, the Irrigation District believes, as stated above, that no additional action is necessary
regarding federal reserved waler rights in the Rio Grande National Forest.

       Thank you for your consideration of the Irrigation District’s position on this matter.




Sincerely,


Randall K. Palmgren,
President of the Board of Directors
San Luis Valley Irrigation District


                                                                                Rvsd Plan - 00002115
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 5 of 356




                         WOLF CREEK
                         THE MOST SNOW IN COLORADO®
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     __________________________________________________________________ Pagosa Springs, CO 81147
      Business Office; (970j 264-5639        Ski Report 8O0-SK1-WOLF            Fax; [970] 264-2392
      Web Site: www.wQlFcreekski.com                          Emai!; wolfcreekski@wolfcreekski.com


     Tuesday, August 25, 2015

      Rio Grande Forest Plan Comments
      13308 US Hwy 160
      Del Norte CO 81132
      comments-rocky-mountain-rio-grande@fs.fed.us

      Dear Mr. Dallas,

     Last year. Wolf Creek Ski Area fWCSA] celebrated its seventy fifth consecutive
     season of operation as a ski area, thirty-eight of which were under the ownership
     and management of the Pitcher Family. The last Forest Plan was implemented in
      1996 and used as a guiding document for the development of WCSA. For the most
     part, the 1996 Forest Plan was adequate as a planning document. The two largest
     factors that were unforeseen at the time of publication was the exponential growth
     of motorized winter backcountry travel and the nearly forest wide infestation and
     resulting mortality of the Engelmann spruce. These changes, along with the
     unforeseen revolution in ski manufacturing creating a modern skier that can access
     more varied terrain than ever regardless of skill level, will have the greatest affect
     both directly and indirectly on the recreational experience at WCSA. When looking
     to the next 20 years (the effective lifespan of the Forest Plan), these changing
     conditions should be taken into consideration. It is entirely possible that there will
     be unforeseen factors that arise in the next twenty years and WCSA advocates for
     some flexibility to be built into the Plan in order to accommodate future changes.

     In order to clearly articulate WCSA's position and to simplify the canvassing process
     for the RGNF, we are providing the Forest with the following comments and insights
     to be considered.

     WINTER RECREATION AT WCSA
     WCSA and the Rio Grande National Forest (RGNF] have committed to the general
     philosophy that highly developed (MA8) winter recreation has a large role in
     facilitating public use and enjoyment of forest lands and that this is a sound
     principle to operate under. This is reflected in the continued cooperative efforts to
     upgrade and improve access to WCSA's existing permit area and to plan for and
     acknowledge the need for future improvements.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 6 of 356




      WCSA remains committed to developing a winter recreational experience that
      continues to be accessible and affordable to the public at large, With the changes in
      climate and the advancements in ski equipment, WCSA foresees a need to provide
      greater access to terrain that is not developed in the more traditional method of
      clear cutting trails with a large dependence on grooming to maintain a skiable
      product. WCSA asks that the new Forest Plan support this premise by
      acknowledging that modern ski areas be developed based on an experiential model
      in which the overall skiing experience is valued and considered when lift
      infrastructure is proposed.

      The groundwork for this has been laid out by the RGNF, while not pre-decisional, by
      accepting WCSA's Master Development Plan [MDP] signed in 2012. This document
      acknowledges the proposed expansion into the San Juan National Forest.

         1. As part of our accepted MDP on file with the RGNF, WCSA advocates for the
             expansion of our Special Use Permit [SUPJ by designating approximately 85
             acres near Alberta Park Reservoir as MAS, and thus facilitate the
             commencement of the environmental analysis process, This is high quality
             north facing terrain in a highly accessible area that the public would enjoy
             with or without lift infrastructure. We believe that this would add to the
             continued enjoyment of WCSA and that it would tie in well with the planned
             Meadow lift with the use of a short snowcat shuttle. As the public continues
             its interest in the pseudo-backcountry skiing experience we believe this
             would be a well-used area. Wolf Creek Ski Area is prepared to make
             improvements to this area by removing hazard trees and mitigating
             undergrowth issues, which will make this terrain more user friendly for the
             visiting public,
        2, The landscape changing event brought on by the spruce beetle and the
             resulting Engelmann spruce mortality was not contemplated in the 1996
             Forest Plan. This has killed over 90% of all spruce trees on Wolf Creek's
            Special Use Permit and presents a formidable challenge for the management
            of WCSA. We request that special consideration be given to WCSA in the
             forthcoming Forest Plan that allows for a cooperative dynamic process of
            dealing with the safety, recreational, and ascetic needs of WCSA, These
            considerations should include non-traditional timber sale techniques that
            allow for the flexibility for the RGNF staff to facilitate timber removal at
            WCSA,
        3. Snowmobile use around Wolf Creek's SUP has grown exponentially in the
            past 20 years. While we believe that all recreational opportunities should be
            allowed on public lands, WCSA management also believes that the simple
            matter of developing and enforcing a meaningful maximum noise standard
            would allow for continued recreational use of snowmobiles (including
            commercial use] while taking into account that skiers generally enjoy some
            level of peace and quiet. WCSA understands that there is noise generated by
            the highway, our snow removal equipment and standby generators, but we
            also feel, given the exponential growth in snowmobiling and the high level of



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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 7 of 356




             modifications done to these machines, that there is an argument that they
             create too much noise.

     WATER
     WCSA has 2.5 million gallons of water rights, jointly owned by WCSA and the USFS,
     which have been earmarked for building out our snowmaking system. We currently
     have storage for 500,000 gallons and have been approved to build a second 500,000
     gallon holding tank. We intend to use this water for our scattered snowmaking
     system, which serves to augment natural snowfall during late season openings and
     low snow years. We believe that snowmaking is a pertinent use of this resource as
     part of our commitment to provide the public with an enjoyable ski experience on
     public lands.

     Wolf Creek is committed to water conservation and quality control. Three modern
     water-free restrooms facilities are currently in use on the mountain. These
     environmentally friendly restrooms are water-free, composting and certified zero
     discharge. Low water-usage toilets have been in place in all other restroom facilities
     at the ski area since 1982 long before it was commonplace to conserve water
     resources. Also, Wolf Creek Ski Area has conducted bi-annual in depth water
     sampling since 2002 by an independent water firm of all major streams passing
     through the Special Use Permit.

     LAND USE
     As part of the Forest Plan, we support a winter use survey as the backbone of a land
     use management plan. Better signage will alleviate multi-use congestion areas and a
     travel management plan should balance motorized and non-motorized use areas.
     The Rio Grande National Forest could facilitate private-public partnerships to
     augment trail maintenance work where the effect of beetle kill overwhelms RGNF
     recreation staff.

     In reviewing relevant documents, WCSA has determined that the report generated
     by the Winter Wildlands Alliance is both thoughtful and comprehensive. We
     therefore believe that the USFS should incorporate this data and analysis to create
     some quality backcountry areas that are not subject to motorized use, but are easily
     reached in a normal day of skiing.

     We believe that there is an opportunity for meaningful change in logging practices
     over the next 20 years. With the decimation of tree stands by the spruce beetle there
     is ample timber for the growth of local cottage industry. This should be in
     conjunction with a plan for the future, which will enhance accessibility by building
     needed road infrastructure or upgrading existing roads usable for recreation as
     well. For example, the skiable, steep, north facing terrain on Thunderhead Mountain
     (the power lines) would greatly benefit from tree removal and glading. Select timber
     sales such as this would improve backcountry skiing as well as enhance the forest
     experience for other user groups as well.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 8 of 356




      WCSA believes that the Pass Creek Yurt would benefit from a non-motorized
      designation around their yurt, which is currently surrounded by snowmobile use,
      consequently detracting from the intended recreational use.

      WILDERNESS
      Given the large percentage of designated wilderness in the South San Juan and the
      Weminuche, we do not think there needs to be additional allocation of wilderness, It
      is difficult to keep up with trail maintenance due to wilderness restrictions on
      transportation and tools and therefore travel has become cumbersome in these
      areas. With the overwhelming amount of standing dead spruce stands on the RGNF,
      we think these public lands are better managed without additional wilderness
      designations,

      ENERGY AND MINERALS
      Wind power and solar energy are abundant natural resources and are currently
      underutilized as an energy source on the RGNF. We recommend that the RGNF
      designate public land for com merciai development of both of these energy sources.
      The harnessing of wind and solar energy would attract competitive industry to the
      surrounding communities and will add well paying jobs to the area. On the flip side,
      until there are more scientific studies about the consequences of hydraulic
      fracturing, WCSA does not want it to be permitted on the RGNF, and notably, at the
      headwaters of a major US river system.

      INCLOSING
     Wolf Creek Ski Area appreciates the opportunity to participate in the Forest Plan
     revision and we are happy to discuss any of the aforementioned items at length. We
     look forward to staying involved with this process over the next couple of years and
     are hopeful that this is part of a meaningful document that will guide forest
     management in decades to come.




     Davey Pitcher
     President & CEO
     Wolf Creek Ski Area




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 9 of 356


                           710 10th Street • Golden, CO 80401 • 303.279.3080 • www.cmc.org




                                                                                            September 2, 2015
  Rio Grande National Forest
  Attn: Plan Revision Team
  1803 W. Highway 160
  Monte Vista, CO 81144
  comments-rocky-mountain-rio-grande @fs.fed.us

  RE: Rio Grande Forest Plan Revision, Recreation Assessment

  Dear Forest Planning Team,

  On behalf of the Backcountry Snowsports Initiative (BSI) and Winter Wildlands Alliance, we are
  pleased to submit comments during the assessment phase of the Rio Grande National Forest Plan
  revision process. We appreciate the opportunity to provide public input early and often as these
  decisions will impact our constituents - backcountry skiers, split-boarders, cross country skiers,
  snowshoers and winter mountaineers.

  The Backcountry Snowsports Initiative is a program within the Colorado Mountain Club’s
  Conservation department which advocates for human-powered winter recreation across the state.
  Through our network of 1,200 supporters, grassroots advocacy organizations, local snowsports
  clubs, corporate partners and national associates we promote access to and protection of winter
  landscapes that provide pristine recreation opportunities. In the past, we’ve worked closely with
  local groups on winter travel planning and land use designations on Rabbit Ears/Buffalo Pass,
  Wolf Creek Pass, and the White River National Forest in coordination with the Vail Pass Task
  Force, among others. We also work closely with Winter Wildlands Alliance, a national
  advocacy group, to amplify our voice on large campaigns like the new Over-Snow Vehicle travel
  rule released in early 2015. Winter Wildlands Alliance is a national non-profit organization
  dedicated to promoting and preserving winter wildlands, and a quality human-powered
  snowsports experience on public lands. WWA has 1,300 direct members and a network of 35
  grassroots groups across 11 states. BSI and WWA supporters include both residents of the San
  Luis Valley and visitors to the Rio Grande National Forest who all have a strong interest in the
  Forest Plan revision as it pertains to management of winter landscapes and winter recreation in
  Southern Colorado.

  Social Trends & Economic Impacts of Recreation

  Recreation and human-powered winter recreation in particular, are significant factors in
  Colorado’s culture and local economies. According to the Outdoor Industry Association, outdoor
  recreation generates $13.2 billion in consumer spending in Colorado, 125,000 direct Colorado
  jobs, $4.2 billion in salaries, and $994 million in state and local revenue.1 Skiing has long been
  present on the forest, though it has seen significant growth since the forest plan was last revised.


  1 https://outdoorindustry.org/images/ore reports/CO-colorado-outdoorrecreationeconomy-oia.pdf
                                                                                                    Page 1 of 4
                                                                               Rvsd Plan - 00002120
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 10 of 356




  Human-powered snowsports are the fastest growing segments of winter recreation and include
  backcountry skiing (sometimes referred to as telemarking or telemark skiing), alpine touring,
  snowshoeing and cross-country skiing. The Outdoor Industry Foundation’s 2013 Outdoor
  Recreation Participation Report2 found that over the previous three years national participation
  in snowshoeing increased by 41% and telemark skiing by 3.2%. Of all forms of active outdoor
  recreation studied, telemark skiing had the third highest rate of growth in the past 3 years.
  Furthermore, a 2012 study released by the Physical Activity Council3 showed single digit annual
  growth rates in human-powered snowsports, despite a decline in participation in motorized
  snowsports, and winter recreation in general. According to the Snowsports Industries of
  America, over six million skiers and snowboarders explored the backcountry during the
  2013/2014 season4 and the sale of backcountry ski equipment rises substantially each year.5


  At the same time, there has been a significant decrease in the popularity of snowmobiling across
  the nation. The International Snowmobile Manufacturers Association reports the sale of
  snowmobiles within the United States has dropped from 91,670 in 2006 to 58,299 in 2015, a
  36% decline, while total U.S. snowmobile registrations continues to hover around 1.3 million.6
  In Colorado, snowmobile registrations with Colorado Parks and Wildlife have remained fairly
  stable, or showed a slight decline, to around 31,000 registrations per year. Internal USDA
  research predicts a similar trend into the future, with undeveloped skiing (which includes ski
  touring) projected as one of the top five growth activities in the next several decades while
  motorized snow activities will see one of the lowest rates of participation growth. The number
  of participants in undeveloped skiing, according to agency research, is projected to increase by
  55 - 106 percent by 2060.7

  This comparison is useful as part of the assessment is developing a need for change. While both
  motorized and non-motorized winter recreation are popular on the Rio Grande NF, recent trends
  and the USFS’s own projections indicate that non-motorized use will increase substantially more
  over the plan period and beyond. Additionally, the population in Colorado is projected to double
  by 20508 meaning even more pressure on public lands for recreation opportunities over the
  lifetime of the RGNF plan. This industry growth provides a variety of economic development
  opportunities for communities in the San Luis Valley that are largely underemployed and
  impoverished. From guiding services and gear sales to hut rentals and dining services, there are
  a multitude of business opportunities associated with this growth. Winter recreation
  management guidelines should support this growing demographic and include proactive
  management strategies to ensure user conflicts are low and user experience remains high.



  22013Outdoor Recreation Participation Report (2013):
    https://outdoorindustry.org/images/researchfiles/ParticipationStudy2013.pdf7193
  3 Physical Activity Council’s 2012 Participation Report
    http://www.physicalactivitycouncil.com/PDFs/2012PacReport.pdf
  4 SIA Snow Sports Mid-Season Market Intelligence Report (2014-2015)
  5 SIA Snow Sports Market Intelligence Report (2014-2015)
  6 http://www.snowmobile.org/docs/isma-snowmobiling-fact-book.pdf
  7
    Outdoor recreation trends and futures: a technical document supporting the Forest Service 2010 RPA
     Assessment. Ken Cordell. http://www.srs.fs.usda.gov/pubs/gtr/gtr srs150.pdf
  8 Colorado Water Conservation Board, The Municipal & Industrial Water Supply and Demand Gap
  http://cwcb.state.co.us/water-management/water-supply-planning/Pages/TheWaterSupplyGap.aspx

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 11 of 356




  Opportunities for Human Powered Recreation

  The Rio Grande National Forest contains a plethora of winter recreation opportunities for a
  variety of user types and ability levels. Human-powered winter recreationists seek abundant
  snow, terrain of varied aspects, elevations, and steepness, and a sense of remoteness and solitude,
  yet generally travel within a three to five mile buffer of a road during day trips. Longer overnight
  trips - which often include a stay in a hut or yurt on the forest - allow skiers to move deeper into
  the backcountry. Both of these experiences are highly valued by backcountry skiers, and the Rio
  Grande offers both - especially during the spring when days are long, snowpack is generally
  more stable, and roads offer greater access. Additionally, cross country skiing is gaining
  popularity through new groups like the Crestone Nordic Club which introduces new users to the
  sport and helps maintain groomed routes on the forest.

  The Rio Grande National Forest is unique in that users can still find solitude in many areas, but
  as use increases, user conflict and safety becomes an increasing concern. It is important that the
  forest regulate snowmobile activity so that this use does not lead to conflict in areas that are
  important for quiet winter recreation or wildlife. Cumbres Pass and Wolf Creek Pass, for
  example, are popular multi-use areas that require additional agency management to minimize
  impacts between recreationists. Although winter recreation maps exist for both sites, they have
  not been through an adequate public process to meet the requirements of the new Over-Snow
  Vehicle (OSV) rule. During the Forest Plan revision process, we recommend that the forest
  identify these sites, and others, that will require more in-depth winter travel planning. We
  understand that route-by-route travel planning will not be conducted during the forest plan but
  we believe area designations such as “OSV travel restricted to designated routes” and “motorized
  travel prohibited” are appropriate in certain areas to protect wildlife habitat and opportunities for
  quiet winter recreation. By the same token, there may be areas appropriate for “open” motorized
  cross-country travel where OSVs will not have significant impacts on natural resources, wildlife
  or other user groups.

  We’ve assembled some general guidelines and recommendations for winter recreation planning
  based on other Forest travel plans and encourage you to keep these in mind throughout the
  planning process:
  • Engage all user groups in stakeholder meetings throughout the process
  • Gather data on current winter backcountry use to better inform planning*
  • Consider “Snow” as a resource to be managed for a variety of uses (recreation, habitat, view
      sheds, soundscapes, climate, economic value, etc.) just as you would consider soil or water or
      timber.
  • Create non-motorized buffer zones around huts and yurts - preserves quiet, private
      experience
  • Create non-motorized buffer zones around wilderness areas - reduces accidental boundary
      crossings by OSVs, preserves quiet experience for recreationists and wildlife
  • Set minimum snow depth for OSV use at 18” to protect underlying soils and vegetation
  • Use easily-identifiable geographic boundaries (ridges, cliff bands, roads) as borders between
      open/closed/restricted areas - reduces confusion and unauthorized use
  • Implement seasonal OSV closures for critical wildlife habitat including Lynx and large
      ungulate winter range.



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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 12 of 356




  *BSI is in the process of collecting winter recreation data from users across the state in order to
  help public land management agencies understand where users are traveling, where conflicts are
  occurring, and which areas are appropriate for OSV closures or restrictions. We will be hosting
  mapping workshops and will provide data to the Rio Grande National Forest periodically
  throughout the plan revision process.


  Conclusion

  The Rio Grande National Forest offers a variety of winter recreation opportunities and we look
  forward to working with you to bring balanced management to the backcountry. We also want
  to emphasize our interest in collaborating with all stakeholder groups to find collaborative and
  proactive solutions throughout the forest. The Backcountry Snowsports Initiative - and our
  partner groups and supporters - will continue to provide data, recommendations, policy expertise
  and outreach to our community throughout the forest plan revision and implementation process.
  Please keep us informed of the process and feel free to contact me at any time to discuss these
  comments in more detail.

  Sincerely,




  Julie Mach                                           Hilary Eisen
  Conservation Director                                Recreation Planning Coordinator
  Colorado Mountain Club                               Winter Wildlands Alliance
  (303)996-2764                                        (208) 629-1986
  juliemach@cmc.org                                    heisen@winterwildlands.org




  For more information about the Backcountry Snowsports Initiative visit www.cmc.org/BSI

  For more information about Winter Wildlands Alliance visit www.winterwildlands.org




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 13 of 356




                              Intermountain Forest Association
                                     2218 Jackson Blvd, Ste 10, Rapid City, SD 57702
                                            605-341-0875 Fax 605-341-8651




                                                                      February 3, 2016
     Mr. Dan Dallas
     Rio Grande NF
     1803 W. Highway 160
     Monte Vista, CO 81144

     Dear Mr. Dallas:

     On behalf of the members of the Intermountain Forest Association, I appreciate
     this opportunity to offer comments regarding the Southern Rockies Lynx
     Amendment (SRLA) direction for your consideration in preparing the
     Assessment and Need to Change for the Rio Grande NF forest plan revision.

     IFA has carefully followed the listing of Canada lynx and the Forest Service’s
     response to that listing. IFA has commented repeatedly on the development and
     implementation of the SRLA, including the adverse effects of that direction on
     forest management, timber outputs, and forest health in the national forests in
     Colorado and southern Wyoming.

     Among other things, the U.S. Fish and Wildlife Service’s Final Rule listing the
     Canada lynx as Threatened stated, in reference to the Northern Rockies/
     Cascades and Southern Rockies:
           “However, considering the overall proportions of lynx forest types
           affected, timber harvest and precommercial thinning on Federal lands are
           not currently conducted, nor are they likely in the projected future to be
           conducted, at levels likely to impact lynx at the population level" (March
           24, 2000 Federal Register, p 16072).

     The 2008 SRLA amended the RGNF forest plan to “add consistent management
     direction that will conserve the Canada lynx." The SRLA was designed as short­
     term direction until the affected forest plans were revised; at the time, plan
     revisions were anticipated to be completed shortly. In our view, the SRLA was
     overly restrictive with regard to forest management, especially considering the




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 14 of 356




     relatively low quality lynx habitat in Colorado national forests. The USFWS has
     repeatedly discussed the low quality of habitat in the Southern Rockies
     Geographic Area for lynx, including the following three quotes from the
     September 12, 2014 Federal Register:

            "^ we conclude that habitat in Colorado and other parts of the Southern
            Rockies is marginal, naturally fragmented, and disjunct; that it has not
            been historically capable of supporting natural resident lynx populations;
            that it has not been demonstrated to contain all of the physical and
            biological features essential to lynx in adequate quantity and spatial
            arrangement to support lynx populations over the long term (i.e., it does
            not contain the [Primary Constituent Element]); and that it is not essential
            to the conservation of the [Distinct Population Segment]" (p 54795).

            - "even the best potential lynx habitat in the Southern Rocky Mountains is
            marginal and unlikely to support lynx populations over time" (p 59817).

            - "the contribution of the Southern Rockies to the persistence of lynx in the
            contiguous United States is presumably minimal" (p 59817).

     The SRLA Record of Decision requires the Forest Service to review and
     reconsider the direction in the SRLA when the forest plans for each of the
     affected national forests is revised. We view the revision of the RGNF forest plan
     as an opportunity to consider what has been learned since the SRLA was
     approved, and, using that information, to update the lynx direction in the revised
     forest plan.

     Some of our comments are not as applicable to the RGNF as to other national
     forests in the Southern Rockies Geographic Area; however, since the RGNF is the
     first of the affected national forests to revise its forest plan, it’s important to raise
     and address these issues now as the RGNF will establish precedents for
     subsequent forest plan revisions.

     Best Available Scientific Information
     We applaud the RGNF’s initiative in inviting Dr. John Squires to conduct
     research into lynx populations on the RGNF, and look forward to working with
     you to review and incorporate his research findings, as well as other applicable
     science, into applied forest management through the revised forest plan.

     Desired Conditions and Objectives
     Implementation of the SRLA has been disproportionately focused on the
     Standards with virtually no attention paid to Objectives VEG O1 and VEG 02,
     that state:


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                                                                    Rvsd Plan - 00002125
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 15 of 356




            - VEG 01 - Manage vegetation to mimic or approximate natural succession
            and disturbance processes while maintaining habitat components
            necessary for the conservation of lynx.
            - VEG O2 - Provide a mosaic of habitat conditions through time that
            support dense horizontal cover, and high densities of snowshoe hare.
            Provide winter snowshoe hare habitat in both the stand initiation
            structural stage and in mature, multi-story conifer vegetation.

     We recommend increasing the emphasis on Objectives and Desired Conditions
     relative to Standards in the revised forest plan, and recommend that the RGNF
     take a hard look at long-term desired conditions and objectives for long-term
     biodiversity, including lynx habitat.

     Precommercial Thinning I
     One result of the beetle epidemics and large fires is hundreds of thousands of
     acres of young, high-density stands in the Southern Rockies Geographic Area.
     We urge you to consider the following questions:
            -What are the long-term implications of managing versus not managing
            those stands for lynx habitat as well as habitat for other wildlife species?
            We recommend using some of the modeling tools already being used
            elsewhere by the Forest Service to predict, for example, density, various
            wildlife habitat values, potential for forest fires, and potential for insect
            epidemics in 80 year old thinned and unthinned lodgepole pine stands, as
            well as the habitat diversity and values, fire potential, and insect risk
            across the broader landscape.
            -How can the Forest Service retain hare habitat in the short-term, but
            promote long-term biodiversity in post-harvest, post-burn, and post­
            beetle epidemic areas?

     Precommercial Thinning II
     According to the SRLA FEIS (pages 59-60, and 135), “For non-thinned lodgepole
     pine stands in management areas where commercial timber production is a goal,
     an 89% reduction of production of sawlog-sized material would be anticipated
     over the next 60 years." That statement is consistent with the literature.

     However, instead of a detailed analysis and disclosure of effects, the Forest
     Service misrepresented the effects of essentially prohibiting all precommercial
     thinning in lynx habitat; following are several examples:
            -“The new direction will also not substantially alter timber outputs, even
            though it may affect the mix of products as well as growth and yield"
            (SRLA ROD, p 25).
            -“Limiting precommercial thinning may reduce growth and yield of some
            lodgepole stands, and the potential to produce some products [i.e.,


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                                                                 Rvsd Plan - 00002126
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 16 of 356




           sawtimber] in the future, overall cubic foot volume would not be affected"
           (SRLA ROD, p 25-26).
           -“In addition, the ASQ would not be affected on any units because the
           management direction does not preclude timber harvest" (SRLA ROD, p
           26).
           -“Therefore, changes in LTSY are unlikely to lead to changes in outputs,
           especially as measured in cubic feet" (SRLA ROD, p 26).
           -“These potential reductions would occur in future decades and not the
           current planning period" (SRLA FEIS, p 136).
           -“Limiting precommercial thinning in lodgepole pine forests could affect
           growth and yield, and the potential to produce some products in the
           future, because these forests tend to stop growing if not thinned; however,
           overall cubic foot volume would not be affected" (SRLA FEIS, p 231).
           -“Limiting precommercial thinning may reduce tree growth and long­
           term sustained yield (LTSY) in these stands. ^ It is likely there would be
           no change in overall timber outputs, but there may be changes in what
           material is harvested and where." (October 10, 2008 Rocky Mountain
           Region SRLA Communications Plan).

     Further, a June 22, 2012 letter from Regional Forester Dan Jiron stated “[The
     SRLA and NRLMD] acknowledged that limitations on precommercial thinning
     could affect forest growth and yield, but would not reduce overall cubic foot
     volume production [emphasis added]." The misplaced belief, which continues to
     be pervasive in the Forest Service, that there will be no ill effects from not
     precommercial thinning as long as cubic foot volume production is maintained,
     is simply not true. Consider for a minute the problems the Rocky Mountain
     Region is currently having selling large volumes of POL, and imagine the Forest
     Service’s management program if all future timber from young regenerated
     stands is POL.

     We recommend that you thoroughly analyze, and disclose, the effects of
     prohibiting precommercial thinning on forest growth and yield, the forest
     products industry, and social and economic sustainability.

     We also recommend exploring precommercial thinning prescriptions that could
     increase hare habitat over “typical" precommercial thinning prescriptions, for
     instance, by emphasizing more diversity of leave tree species or by leaving
     portions of the stand unthinned as described in Griffin and Mills, 2007.

     Risk Factors
     According to the Draft Assessment Discussion of Canada lynx (Lynx
     Assessment), “The LCAS identified several ^ “risk factors" for the Southern
     Rockies Geographic Area. Risk factors affecting lynx productivity included fire
     exclusion, grazing, and winter recreational uses that create compacted snow

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                                                              Rvsd Plan - 00002127
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 17 of 356




     conditions." We would point out that forest management and timber harvest
     were not included as a “risk factor." That is consistent with the Canada lynx
     listing decision (Fed Reg, March 24, 2000, p 16073), in which the USFWS
     discussed the large proportion of lynx forest types managed in
     nondevelopmental status and concluded that levels of timber harvest and
     thinning are not likely threatening the Southern Rockies lynx population.
     Further, the USFWS noted documented lynx presence and reproduction in a
     variety of managed landscapes. Similarly, in the 2013 LCAS, the section titled
     “Human activities and developments specific to the Southern Rockies" (page 55­
     56) does not mention timber management activities as a risk factor.

     A major reason that forest management and timber harvest were not identified
     as risk factors is the relatively high proportion of undevelopable acres and the
     relatively low proportion of timber harvest acres. For example, the RGNF is
     1,837,661 total acres, of which 392,190 acres are designated Wilderness (21%),
     518,600 acres are Colorado Roadless Areas (28%), and only 291,325 acres are
     suited timberlands (16%). Further, the total FY 14 timber harvest acreage was
     only 575 acres (.03%).

     So, why then, if forest management and timber harvest are not “risk factors", is
     the direction in the SRLA so heavily biased against timber harvest and forest
     management? Further, the number of acres of lynx habitat affected by timber
     harvest is miniscule compared to the number of acres affected by insect
     epidemics and fires over the past 20 years. Again, why are timber harvest and
     precommercial thinning disproportionately targeted? We urge the RGNF to take
     a “deep dive" into those questions as part of the forest plan revision.

     Snow Compaction
     The Lynx Assessment lists “Uncompacted snow conditions and management of
     over-the-snow vehicle route densities" as a key ecological condition on the
     RGNF.

     However, the literature doesn’t seem to support that premise. For example,
     according to the USFWS (Federal Register, September 12, 2014, p 54829) -

           “Snowmobiling occurs throughout the areas designated as lynx critical
           habitat, and understanding of the potential effects of snowmobiling on
           lynx continues to evolve. Concerns about potential negative impacts of
           snowmobiling are based primarily on the hypothesis that compacted over-
           the-snow trails could result in increased competition between lynx and
           other snowshoe hare predators, such as coyotes, in areas where deep
           snow would otherwise preclude or minimize such competition (Buskirk et
           al. 2000a, pp. 86-95). Research on the relationship between coyotes, lynx,


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                                                               Rvsd Plan - 00002128
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 18 of 356




            and lynx habitat has provided mixed results regarding this hypothesis,
            with several studies showing that coyotes use compacted snow trails, but
            none indicating increased competition or substantial dietary overlap
            between lynx and coyotes (Interagency Lynx Biology Team 2013, pp. 80­
            82). In response to this uncertainty, the 2013 revisions to the LCAS
            provided more flexibility with respect to the management of recreational
            activities in lynx habitat."

     Further, Kolbe et al. 2007 contains the following conclusions:
           -“Therefore, we found no evidence that snowmobile trails were associated
           with coyote foraging sites on our study area."
           -“It is unlikely that limiting compacted snowmobile trails on our study
           area would significantly reduce exploitation competition between coyotes
           and lynx during winter."

     We recommend that you carefully review whether, or not, the premise that snow
     compaction allows other predators to compete with lynx is true.

     Linkage/ Connectivity
     According to the Lynx Assessment, “Connective habitat between administrative
     units in the San Juan Mountains and beyond is essential for facilitating
     movement of Canada lynx across the landscape", and then later discuses “four
     key linkage areas". However, there is no discussion about how that conclusion
     was reached, nor is there any supporting documentation.

     We are concerned that designation and/ or management of “connective habitat"
     would have further adverse effects on forest management. The SRLA direction is
     very vague; the definition of “Habitat connectivity" is “Cover (vegetation) in
     sufficient quantity and arrangement to allow for the movement of lynx."
     Considering a) that the SRLA contains very little specific direction about
     managing for connectivity, b) that the USFWS’s concern about habitat
     connectivity appears to be primarily “high volume, high speed highways" and
     suburban developments (see Fed Reg, March 24, 2000, p 16080), c) that the
     USFWS has “no information demonstrating that forest roads negatively impact
     resident lynx populations" (see Fed Reg, March 24, 2000, p 16080), and d) the
     documented travels of 'Colorado' Canada lynx to Alberta, Kansas, Utah,
     Wyoming, New Mexico, Montana, Idaho, Arizona, Nebraska, and Nevada across
     many miles of “unsuitable habitats", we recommend that any
     identification/designation of “connective habitat" as part of the RGNF forest
     plan revision include a discussion of the need for that designation, the benefits of
     that designation, how those would be managed, and how those would affect
     overall management of, and outputs from, the RGNF, with an opportunity for
     public review and comment.


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                                                                Rvsd Plan - 00002129
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 19 of 356




     Mapping
     The SRLA did not designate lynx habitat. Instead, the SRLA established the
     direction that would be applied to mapped lynx habitat (ROD, p 6). The criteria
     used for lynx habitat was “vegetation that could [emphasis added] contribute to
     lynx habitat" (SRLA-FEIS App F, NRLA-FEIS App B), regardless of lynx
     occupancy, use, or probability of long-term persistence. The Forest Service’s
     decision that all national forest lands that “could contribute to lynx habitat", as
     identified by wildlife biologists, would be managed as lynx habitat is, to my
     knowledge, unprecedented, and certainly a much higher standard than for other
     T&E species, for example, grizzly bears, black footed ferrets, or spotted owls.

     According to the Lynx Assessment, lynx habitat was most recently mapped for
     the RGNF in 2011. That mapping included 867,241 acres of primary habitat and
     170,847 acres of secondary habitat, for a total of 1,038,088 acres of suitable lynx
     habitat. That compares to 952,900 acres of suitable lynx habitat in Table 3.1 of the
     2008 SRLA FEIS.

     Unfortunately, the Forest Service has never allowed public review of or comment
     on lynx habitat mapping or even the protocols for lynx habitat mapping. We
     view that as a serious shortcoming considering the significant effects of whether
     a particular acre is mapped, or not mapped, as lynx habitat, and recommend that
     you allow public review and comment on lynx habitat mapping as part of the
     forest plan revision.

     We also recommend that you analyze the underlying assumption that all lynx
     habitat is equally important.

     To go a step further, the Lynx Assessment discusses “inability to map suitable
     [lynx] habitat" and “uncertainties associated with baseline habitat condition
     changes due to significant natural events such as spruce beetles." We question
     why the RGNF needs to map lynx habitat. We don’t know of any other species
     in Colorado for which the Forest Service is required to complete comparable
     habitat mapping. From the outside looking in, lynx habitat mapping is time
     consuming, arduous, contentious, and expensive. Is the time and money spent
     on mapping lynx habitat justified by benefits to lynx?

     Occupied/Non-occupied
     A premise of the SRLA was that national forests are either occupied or not
     occupied in their entirety. We recommend that the FS consider a process
     whereby portions of a national forest could be considered occupied, or not
     occupied.




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                                                                Rvsd Plan - 00002130
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 20 of 356




     Bookkeeping
     The FS adopted an overly complex, expensive, time-consuming and perhaps not
     all that meaningful analysis requirements based on LAUs. Similarly, the FS also
     adopted an overly complex, expensive, time-consuming, and perhaps not very
     meaningful monitoring process for the SRLA. Both of those are especially true
     considering the low value of lynx habitat in the SRGA. We recommend that you
     explore less expensive and time-consuming methods for analysis and
     monitoring.

     Summary/Key Questions

        1. The 2013 LCAS revision recommends focusing limited conservation
           resources on those "^ relatively limited areas that support persistent lynx
           populations and have evidence of recent reproduction, with less stringent
           protection and greater flexibility given in areas that only support lynx
           intermittently" (Interagency Lynx Biology Team 2013, p. 2). Is the
           RGNF/SRGA an area where “less stringent protection and greater
           flexibility" would be appropriate?

        2. Why not establish a sliding scale of lynx habitat 'importance', based in
           part on the presence or absence of lynx, and then develop forest plan
           direction for 'low value' lynx habitat that is less restrictive than direction
           for 'high value' lynx habitat? Could that replace the current time
           consuming, expensive, and contentious mapping process?

        3. Revision of the forest plan, including lynx habitat direction, should
           consider predicted long-term stand structure development, associated
           wildlife habitat values, and timber outputs (in cubic feet and board feet) at
           a landscape scale.

        4. To what extent, if any, have completion of the Roadless Area
           Conservation Rule and Colorado Roadless Rule and the consequential
           change in the proportion of national forest lands in developmental versus
           nondevelopmental allocations since the decision to list the Canada lynx in
           March 2000 changed the USFWS's assessment of the adequacy of existing
           regulatory mechanisms? See attached February 1, 2015 IFA letter.

        5. Given the USFWS's conclusion in March 2000 that timber harvest and
           precommercial thinning on Federal lands were not currently conducted at
           levels likely to impact lynx at the population level, why not establish a
           threshold at those levels, below which there would be only minimal
           analysis or restrictions?


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                                                                  Rvsd Plan - 00002131
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 21 of 356




        6. What are current precommercial thinning needs on suited timberlands in
           the RGNF/SRGA? Why not incorporate a strategy to accomplish that
           thinning into forest plans? What about exploring precommercial thinning
           prescriptions with a heavier emphasis on species diversity and reserves?

        7. How will the effects of updated lynx direction on social and economic
           sustainability be analyzed and considered?

        8. What is the best available scientific information regarding connectivity,
           linkage corridors, and winter snow compaction, and what direction, if
           any, to address those issues should be included in the revised forest plan?

        9. Why not allow portions of national forests to be identified as “occupied or
           non-occupied"?

        10. To what extent can lynx habitat needs be satisfied through the “coarse
            filter"? What is the “right" combination of Objectives, Desired
            Conditions, and Standards to achieve lynx habitat needs?

        11. The Forest Service has been implementing the recommendations in the
            Lynx Conservation Assessment and Status since 2000 and has been
            implementing the SRLA in the SRGA since 2008. What has been learned
            from effectiveness monitoring and how will those results be considered
            and incorporated into the revised forest plan?

        12. How will lynx direction be integrated into the revised forest plans?

     Thank you for your consideration and I would be happy to discuss this letter
     with you and your staff at your convenience.

     Sincerely,

     Thomas A. Troxel

     Thomas A. Troxel
     Executive Director




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                                                               Rvsd Plan - 00002132
    Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 22 of 356



Minks, Erin - FS

From:                              Dean Swift <deanswiftseedcoinpany@gmail.com> on behalf of Dean Swift Seed
                                   Company <dean@deanswiftseed.com>
Sent:                              Friday, March 25, 2016 4:40 PM
To:                                FS-RGNF forest plan
Cc:                                Minks, Erin - FS; Blakeman, Mike -FS
Subject;                           Comment
Attachments:                       Image (131}.jpg


Dear Rio Grande National Forest,

I attended the public meeting at the Conejos Peak RD office a couple of weeks ago. 1 thought you did an excellent job
with the meeting.

My comment about the upcoming plan is basically a request to keep allowing minimum impact, traditional uses of the
forest by the public in this area. These uses Include firewood gathering, some Christmas trees, mushroom collection,
Pinon nuts in some years, etc., and the use that is of personal interest to me which is the collection of seed cones for the
growing of nursery and Christmas trees. Seed cones have been collected in Colorado at least since 1894 (see
attached}. We gather the cones from squirrel caches during September and October in the years of heavy cone
production. I extract the seeds, dewing and clean them and then ship them to nurseries here and abroad. The forest
service all over the country is the guardian of much genetic material that is useful, not only for timber, but also for
ornamental uses. I would hate to see this genetic materia! made off limits. The collection of cones has no impact on the
forest, and is a great benefit to the nursery business.

1 personally have gathered cones from the Rto Grande, and other forests in Colorado, for over forty years, as others have
done before me. There are numerous families who literally plan their vacation time for the gathering of seed cones. It's
great recreation, and they earn Christmas money while they’re at it. In some cases the same families have gathered
seed cones for three generations or more.

I hope the collection of seed coneswill continue to be an allowed use tn the Rto Grande National Forest, Thank you.
Dean Swift


Dean Swift Seed Company
P.O, Box 908
Alamosa, CO 81101
719-589-3499 (Tel)
719-589-3299 (Fax)
dean@deaiiswift,seed.com




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 23 of 356




  Thoughts about Need for Change doc from Donna Shorrock- incoming RO Ecologist, Region 2- 4/16

  Overall, this document is very broad in scope and not every item seems to fully capture findings from
  Assessments 1 & 3. I am concerned that this lack of specificity leaves items open to interpretation of
  intent of the assessments, objectives for the needed changes, as well as how the change identified
  translates to a strategy or work needed on the ground. Below are topics that I either feel need further
  clarification or that were recommendations made in Assessment 1, but have been omitted in the Need
  for Change document.

  Perhaps the Need for Change document intentionally maintains a high level perspective, but is it
  appropriate in this document to provide additional detail for:

      •   Revising management direction related to climate change
      •   Identifying approaches to ensure forest health and habitat connectivity

  Curious about little reference to extent of recent change - structure, composition, etc. Will there be an
  indication of how forest perceives this “clean slate” and intends to approach “recovery"?

  Include gaps in knowledge -clearly identify need to address deficits (climate change, role of fire given
  current status of fuel loads, habitat connectivity - analysis needed); approaches to filling these gaps -
  maybe these belong in plan?

  What I think are important points from assessment: Address drivers and stressors on the riparian and
  aquatic ecosystems of the Rio Grande National Forest include water use, roads, trails, and other
  transportation, recreation, biological stressors such as beaver presence and pesticide use, mineral
  extraction, vegetation management, urbanization, and others. Some of these factors need further
  assessment and are currently a gap in our knowledge. Examples of some of these current knowledge
  gaps include the number of stream diversions, reservoirs, and spring developments, miles of roads and
  trails, number of stream crossings, off-road vehicle use statistics, and recreation use estimates, among
  others.

  _we need to revisit all of the standards and guidelines and other plan components in the 1996 Forest
  Plan, and we may update them to better reflect the new state of the forest. As an example, much of our
  current timber harvesting is salvage of dead trees, and we need to make sure that the new forest plan
  components are clear about this management activity. We also need to ensure that the plan
  components aren’t overly restrictive so that objectives such as encouraging aspen can be met. We need
  to better incorporate the role of naturally occurring fire, with clearer direction on when and how we can
  use fire as a tool to meet our ecosystem integrity objectives. We will also need to address climate
  change and its effects on the ecosystems of the Rio Grande National Forest.




  Other questions: should model be re-run to include extreme insect outbreaks?




                                                                             Rvsd Plan - 00002134
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 24 of 356




  Is there concern about potential decline in aspen (fire suppression, climate change)?

  Are late successional habitat estimates of 13% current?

  Philosophy about managing toward an historic range of variability? How prescriptive for management
  are HRVs?

  Should evaluation of grazing levels be addressed here?

  Does a reduction in management areas maximize ecosystem integrity? I am unfamiliar with the current
  breakdown, except that management areas are numerous and therefore minimizing complexity may
  certainly be warranted. That said, I am a bit concerned that a system with too few management areas
  may either not improve ecosystem integrity or actually increase complexity by creating areas with
  multiple management strategies. I would love to know more about the proposed changes and
  corresponding objectives.




                                                                           Rvsd Plan - 00002135
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 25 of 356




                                              April 5, 2016

    Rio Grande National Forest
    Attn: Dan Dallas, Forest Supervisor
    1803 W. Highway 160
    Monte Vista Co 81144
                              RE: Rio Grande National Forest Plan Revision
                                           Initial Comments

    Dear Supervisor Dallas:


      Please accept these comments on the Rio Grande National Forest Plan Revision Project on
   behalf of the Trails Preservation Alliance ("TPA"), Colorado Snowmobile Association ("CSA") and
   the Colorado Off-Highway Vehicle Coalition ("COHVCO"). Prior to addressing the specific
   concerns that have been raised to date in the development of the new Rio Grande National
   Forests Resource Management Plan (RMP), the Organi2ations would like to thank the Rio Grande
   National Forest stafffortheir efforts to date in the planning process. The Organizations are aware
   that the Rio Grande National Forest is one of the first forests to move forward under the new
   United States Forest Service (USFS) planning rule and at this time and USFS guidance regarding
   the application of the new planning rule to local forests or planning units remains under
   development. This lack of planning rule clarity compounds the inherent conflict that exists
   between current forest planning timeline and the rate at which species management and
   research are progressing. This lack of clarity has made any efforts on the Rio Grande difficult at
   best as there are many new concepts and principals developed under the planning rule that will
   heavily impact plan development. The Organizations believe that the efforts to date have done
   a commendable job in satisfying these new requirements and standards and the Organizations
   remain willing to assist in resolution of any issues that might arise on this front in any way that
   we can.

       The TPA is a volunteer organization created to be a viable partner to public lands managers,
   working with the USFS and the Bureau of Land Management (BLMjto preserve the sport of trail
   riding and multi-use recreation. The TPA acts as an advocate for the sport and takes the

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 26 of 356




   necessary action to insure that the USFS and BLM allocate a fair and equitable percentage of
   public lands access to diverse multi-use recreational opportunities. COHVCO is a grassroots
   advocacy organization representing approximately 150,000 registered off-highway vehicle
   C'OHV'') users in Colorado seeking to represent, assist, educate, and empower alt OHV
   recreationists in the protection and promotion of multi-use and off-highway motorized
   recreation throughout Colorado. COHVCO is an environmental organization that advocates and
   promotes the responsible use and conservation of our public lands and natural resources to
   preserve their aesthetic and recreational qualities for future generations. Colorado Snowmobile
   Association ("CSA") was founded in 1970 to unite winter motorized recreationists across the state
   to enjoy their passion, CSA currently has 2,500 members. CSA has become the voice of organized
   snowmobiling seeking to advance, promote and preserve the sport of snowmobiling by working
   with Federal and state land management agencies and local, state and federal legislators. TPA,
   CSA and COHVCO are referred to collectively in this correspondence as "'nie Organizations."


      The Organizations offer the following comments, values and concerns regarding this plan
   update moving forward.

        1. The Organizations believe that continued multi-use access and motorized recreation
           within the National Forest is vitally important to the preservation and conservation of
           our public lands and the well-being of our citizens. The Organizations acknowledge that
           as America becomes more urbanized and populations rise, our younger citizens are
           becoming less connected to and are less likely to identify with the outdoors in their daily
           lives. Our Organizations have worked diligently and continuously to help Coloradans
           and visitors to our State to be able to access and enjoy our public lands in a safe and
           responsible manner. We recognize that there is a bona fide correlation between an
           individual’s personal health and their participation in outdoor activities. We continually
           strive to get youth and families excited about visiting, seeing and experiencing all that
           our public lands have to offer. We have a history of partnering with the USFS to protect
           our forest resources while reducing and eliminating barriers that are continuing to make
            it difficult for Americans to get outside and travel on a multi-use trail or share a road as
            part of their outdoor recreational experience. The Organizations feel that this renewal
            of the Forest Plan must work diligently to ensure that a balanced spectrum of
            opportunities are provided in the Rio Grande National Forest to properly serve the
            diverse cross section of our population and meet their recreational needs. We contend
            that both "Conservation philosophies" and "Recreation activities" are compatible and
            can work in harmony for the betterment of the Forest. We request that this revision of
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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 27 of 356




           the Forest Plan fairly and adequately provide an Environmentally, Economically and
           Socially sustainable end state.
        2, The USFS has been a recognized supporter of the California Children's Outdoor Bill of
           Rights. Nationwide there are concerns about the youth of our country's lack of exercise,
           detachment from outdoor activities and limited access to public parks and land. The
           Rio Grande National Forest along with its associated network of roads and trails
           provides the necessary access and recreational opportunity for the surrounding region's
           youth to explore nature, play in safe places, follow a trail, go fishing, camp under the
           stars, connect with the past and many of the other activities inspired by Richard Louv's
           book "last Child Left in the Woods." Loss or closure of the multi-use and motorized
           system of trails with the Rio Grande National Forest would certainly be a tragedy and
           lost opportunity for the region's youth to be able to connect to and be exposed to
           nature.

        3. It is well recognized that the average age of our country's population is increasing and
           the number of persons aged 50 and older is steadily increasing. As the average age
           grows, so is the number of people still choosing to recreate outdoors but more and
           more will be less able to use non-motorized methods of travel or participate in high-
           energy, high-skill sports. As this demographic group grows, so will their needs for access
           to the Forest by motorized or other assisted methods. If we collectively fail to recognize
           and plan for this changing demographic, we will be deliberately excluding a significant
           and growing segment of the population from the opportunities to experience and enjoy
           the Rio Grande National Forest. Many of us hope to retain our individual mobility into
           the "Golden Years," but many will not, and they will need to rely upon some sort of
           motorized assistance to access the places we ail enjoy and cherish. The Rio Grande
           National Forest's Assessment #9, Recreation even states that "For seniors, inaccessible
           infrastructure and lack of opportunities that enable senior adults to continue in outdoor
           recreation constrains recreation participation".

        4. The economic impacts of multi-use and motorized recreation within the Rio Grande
           National Forest must not be overlooked or underestimated. Even though the Rio
           Grande National Forest receives somewhat lower visitation than other national forests
           in Colorado, there are still significant economic benefits being realized by all of the
           communities and Counties encompassed by and in proximity to the Forest. As an
           example, motorized recreational enthusiasts were responsible for $990 million in direct


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                                                                      Rvsd Plan - 00002138
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 28 of 356




              expenditures relating to motorized recreation in Colorado during the 2012-2013 season
              aione.^

         5. Our Organizations contend that the previous Forest Plan and subsequent Travel
            Management Plan (TMP) substantially reduced recreational opportuniftes, reduced
            access, eliminated multi-u.se/motor12ed recreational opportunities and was too
            restrictive. This new plan must seek a more balanced and fair allocation of resources to
            recreation and especially multi-use/motorized recreational opportunities. Similarly, the
            restrictions of the former plan have contributed to the current poor health of the forest
            and unnecessarily hampered the efforts of the agency to be able to property and
              effectively mitigate fuels and manage the density of the forest biomass.

         6, With few if any exceptions, the roads and trails within the Rio Grande National Forest
            have been in existence and providing public benefits for decades. History has shown
            that these routes provides a level of tangible recreational, economic and/or forest
            access value. Continuing to have an adequate network of forest roads and trails will be
            truly beneficial and necessary in providing sufficient access for future timber
            management, continuing forest visits, recreation, emergency access/egress and
            wildland firefighting efforts. This minimal threat is accurately reflected in the aquatic
            assessments on the Rio Grande National Forest which clearly conclude that these routes
            pose an exceptionally low level threat to water quality.
         7. We fee! it is important to spotlight the following general principles regarding multi-use
            recreation and are important considerations when evaluating any modifications to the
            Forest Plan^:
                a. Generally forest visitors participating in multi-use activities will use routes that
                   exist and adequately satisfy their needs and desires.
                b. Non-system trails and roads should be reviewed during this review process to
                   determine if any of these non-system routes will fulfill a valid multi-use need and
                   can be altered to meet recreation and resource management considerations.
                c. Route networks and multi-use trail systems should meet local needs, provide the
                    desired recreational opportunities and offer a quality experience. We are not
                    asking that this be done at the expense of other important concerns, but a system

   '■ See, COHVCO- Economic Contribution of Off-Higbway Vehicle use fn Co!oratio, prepared by ttie Lewis Burger Group
   -August 2013. A copy of this report has been enclosed for yoUr convenience.
   ^5ee, National Off-Highway Vehicle Conservation Council- Management Guidelines for OHV Recreation, 2006.

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                                                                                  Rvsd Plan - 00002139
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 29 of 356




                   of routes that does not meet user needs will not be used properly and will not be
                   supported by the users. Occurrences of off-route use, other management issues
                   and enforcement problems will likely increase when the routes and trails do not
                   provide an appropriate and enjoyable opportunity.
               d. Recreational enthusiasts look for variety in their various pursuits. For multi-use,
                  to include motorized/OHV users, this means looped routes. An in-and-out route
                  may be satisfactory if the destination is so desirable that it overshadows the fact
                  that forest visitors must use the same route in both directions (e.g., access to
                  dispersed camping sites, overlooks, historic sites, the Wheeler Geologic Area,
                   etc.). However, even in these cases, loop systems will always provide better
                   experiences.

        8.   "Desired Recreational Experiences" is subjective and will vary from individual to
             individual. Calis to decommission roads or to return areas to more natural states and
             enhance recreational experiences is purely subjective and a personal opinion. No one
             will be able to enjoy the forest and all of the resources the forest has to offer if adequate
             access is not provided. Multi-use and motorized recreation is indeed a bona fide form
             of recreation and not one to be reduced, banned or eliminated on public lands.

        9, An adequate network of forest roads and trails is necessaryto provide access for proper
           forest management and especially in times of emergency. The USFS is a world
           renowned expert on wildland firefighting and knows firsthand the importance of good
           access, redundant routes and routes tn key places and the impact of those routes on
             the safety of the firefighters, the public and successful wildland firefighting. The
             demands for reduced road inventory, for reduced route density and increased
             decommissioning of roads is not collectively and universally in the best interest of the
             forest nor the public. The demand for more and more closure of multi-use and
             motorized access is often based upon self-serving desires and an unwillingness to share
             our natural resources with others, intolerance of mixed forest uses and an unwillingness
             to coexist in our individual pursuits of recreation. Likewise the premise that
             decommissioning roads will reduce human caused fires is absolutely unfounded and
             unsubstantiated and should not be utilized as a criteria for any decisions regarding the
             elimination or closure of any multi-use or motorized route,

        10. Not all dead roads are necessarily of low value and in need of closure. Many dead end
            spurs and "low value" routes provide access to picnic areas, dispersed camping sites,

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                                                                           Rvsd Plan - 00002140
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 30 of 356




          overlooks, etc. Aflhough the values of these roads is less than that of main roads,
          connectors and loops, (i.e. "higher value" routes) their individual, overall benefit and
          value must be individually considered. We acknowledge that these roads will likely not
          generate much positive public interest and comment, however these routes can still
          have substantial importance to the public. We would encourage the Rio Grande
          National Forest to listen to your own recreational and field staff when assessing any tow
          value or dead end spur roads.

       11. Duplicative roads and trails may on the surface appear redundant and not needed. This
           is often the cry from those unfamiliar with multi-use and motorized recreation or simply
          seeking to eliminate or reduce public use of these roads.. However, we would challenge
          that some duplicative routes may in fact offer unique benefits for distributing the use
          rather than concentrating use to a single route or may offer looping and other
          recreational opportunities. It is our position that every route has recreational value as
          each route provides a unique experience to those using the route for recreational
          activity.

       12, The Organizations in general oppose the conversion of routes to "Administrative
           Roads". This designation in and of itself suggest an elitism attitude that Agency staff or
           other special designated personnel are the only ones capable of properly using a route.
           If a route is important for USFS and agency staff to access a location, it is very probable
           that that same route is equally important or desirable for the public to access the same
           or similar location. If the route is properly constructed and receives the requisite level
           of maintenance, there should be few reasons the public should not be allowed similar
           access and privileges. The designation that only "special" personnel are allowed to use
           a route does little to foster any sense of community and partnership users and agency
           staff should have for each other. Discrimination of the public users and the fostering of
          elitism should not be perpetuated, encouraged or allowed to proliferate, The
          designation of routes for Administrative Use should only be utilized in the rarest of
          instances where the exclusion of the public can be justified for very site specific,
          meaningful and justifiable conditions {e.g. mandated security of critical infrastructure,
          etc.).

       13. In the past there have been unfounded concerns for American elk and mule deer as a
           reason to close and limit multi-use and motorized recreation on public lands. The
           premise that "large animals, especially deer and elk, are sensitive to traffic and activity


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                                                                         Rvsd Plan - 00002141
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 31 of 356




          along roads" is not supported by published scientific research. Extensive studies
          completed as recently as 2005 by the National Park Service {NPS) in Yellowstone Park
          stated that "Effects of winter disturbances on ungulates from motorized and non­
          motorized uses more likely accrue at the individual animal level than at the population
          scale," Even the biologist performing the research stated that the debate regarding
          effects on human recreation on wildlife is largely a "social issue" as opposed to a wildlife
          management issue. This NPS research would certainly seem relevant to wildlife in the
          Rio Grande National Forest and does not support a premise for closures and reductions
          in multi-use recreational opportunities. Additional research published by Mark Rumblej
          Lahkdar Benkobi and Scott Gamo in 2005 has also found that hunting invokes a more
          significant response in elk than other factors in the same habitat area (e.g, roads or
          trails). Likewise research by Connor, White and Freddy in 2001 has even demonstrated
          that elk population increases on private land in response to hunting activities. This
          research again brings into question why multi-use trail recreation (specifically
          motorized recreation) might be cited and used as the justification for any closures or
          modification to public access,

       14. The Organizations are aware of demands regarding a perceived inadequacy of the USFS
           to provide enforcement of regulations pertaining to muiti-use and motorized recreation
           in particular. We would challenge that based upon several studies, pilot projects, etc.
           by the Colorado Parks and Wildlife Division, the USFS and the BLM to analyze if indeed
           an enforcement issue exists, and without exception, those projects have shown there
           are no problems due to a lack of enforcement. The State of Colorado's OHV funds have
           been used to subsidize law enforcement programs and the detailing of law enforcement
           officers to OHV areas only to come back with consistent results that this cry for the need
           for enforcement is unfounded, unsubstantiated and just plain inaccurate. In 2011, the
           Colorado Parks and Wildlife Division initiated an OHV Law Enforcement Pilot program
          to address the accusations, questions and concerns raised by critics of OHV recreation
          on public lands in Colorado. The data and observations gathered from this Pilot
          program in 2011, 2012, and 2103 repeatedly demonstrated excellent compliance with
          OHV rules and regulations throughout Colorado by OHV users. It was estimated that
          over 10,000 individual OHV users were stopped and inspected during the Pilot Program




                                                                        Rvsd Plan - 00002142
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 32 of 356




             and 94% of those users were found to be fuNy compfiant with Colorado OHV laws and
             regulations?

         IS. Soun^ Motorized and non-motorized uses are equally legitimate uses of public lands
             and especially on USFS roads and multi-use/motorized trails. Sound from motorized
             use is to be expected in areas open to motorized use. The Organizations would offer
             that the State of Colorado already has strict standards for any and all sound emanating
             from OHV's. This very detailed standard has proven to be effective since 2006 and
             governs vehicles produced as far back as 1971, OHV users themselves have funded
             efforts to educate, test and "police" themselves for sound level compliance. We feel
             that complaints of noise and demands for sound reduction are once again unfounded
             and will often be used as a selfish excuse to try and reduce or eliminate motorized
             access and use of public lands.

             The Organizations would be willing to partner with the USFS to address any site specific
             sound issues that may be asserted to be present on the Rio Grande National Forest.
             The Organizations have undertaken sound testing with independent third parties at
             numerous other areas asserted to have sound issues and have almost uniformly found
             that site specific sound issues are unrelated to OHV activity and are more commonly
             related to trains, air travel and high speed arterial roads in the area.

             The Organizations further submit that those seeking a quiet recreational experience
             have a wide range of opportunities available on the Rio Grande National Forest given
             the high levels of Wilderness already in place. The Organizations submit that these
             opportunities must be utilized before additional closures are undertaken, as the
             inability to access a "quiet area" is a different issue than the lack of quiet areas on the
             Rio Grande National Forest,

         16. We acknowledge that the Rio Grande National Forest may have struggled somewhat
             with the proliferation of non-system trails by ALL users throughout the Forest,
             However, we feel much of this stems from an increasing need and demand for multi­
             use recreational opportunities on public lands in general. As the State of Colorado's
             population has grown, so have the sales of Off Highway Vehicles (OHV's), bicycles, hiking
             equipment, camping units and other forms of outdoor recreation increasing the


   * See, Co i ora do Parks and Wildlife - The 2024 Off-Highway Vehicle Law Enforcement St Field Presence Program,
   Colorado Parks and Wildlife Division, March 2014

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                                                                                  Rvsd Plan - 00002143
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 33 of 356




          demand for recreation sites within the Rio Grande National Forest. We would offer that
          much of the increase in illegal user-created routes, braided routes & trails and
          unauthorized group campsites are a result and reflection of inadequately meeting the
          needs and demands of the public and the recreational users who choose these areas.
          An adequate and varied inventory of routes and traits that fulfills the user's spectrum
          of needs for variety, difficulty, destinations, challenge, terrain and scenic opportunity
          will lead to improved compliance and less off route travel. Closure and reduction of
          recreational opportunities and the resulting concentration of the ever increasing
          number of users, has shown again and again that the desired results are not obtained.

       17, As future Proactive and Adaptive Management Plans are considered to try and achieve
           a particular desired condition or end state, these Plans should include thresholds and
           triggering mechanisms that allow for the expansion and adding of recreational
           opportunities, not just curtailment, restrictions and eliminations of opportunities. If
           desired conditions are not being achieved or monitoring protocols are not rendering
          the preferred results, consideration should be given that perhaps the needs and
          demands of the users are not being adequately provided for. One example might be off
          trail use or use of dosed routes. Rather than assuming this is merely caused by a
          minority of users ignoring the rules, this may indeed be an indicator that the existing
          network does not adequately meet the user group's spectrum of needs for a route to a
          particular destination, level or degree of challenge, route length, etc. The Organizations
          believe the motorized game retrieval standards currently allowed on the Rio Grande
          National Forest provide a concrete example of the need for flexibility in management
          to achieve management objectives,

       18. The motorized community has proudly partnered with land managers to help offset
           budget limitations, which has resulted tn grant funding exceeding $100k per year now
           being provided to the Rio Grande National Forest, even in light of the most recent round
           of budget cuts to the USFS. Lack of fiscal capacity by the USFS should not be a criteria
           for, or lead to closures and reductions in public recreational opportunities, closure of
           routes or elimination of public access to the Rio Grande National Forest. We fully realize
           the stark realities of ever diminishing budgets, but it would be a travesty that the public
           citizenry should be locked out of any public lands and denied access because of a lack
           of funding. Maintenance and staffing may suffer, but the public must not be shut out.
           Public access must be preserved and the ongoing grant funding that has been provided
           on a project and Good Management Crew basis for the Rio Grande National Forest the

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                                                                        Rvsd Plan - 00002144
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 34 of 356




             Organizations hope has played an integral part in efforts to maintain access to public
             lands for all user groups. This grant program has become more important every year as
             federal budgets continue to decline at a somewhat alarming rate and creates a situation
             where leaving a trail open to motorized usage significantly expands funding available
             for the route to be maintained with,

        19, The Organizations encourage the individual Ranger Districts within the Rio Grande
            National Forest to carry on their efforts and continue to make submissions for grants
            through the Colorado Parks and Wildlife OHV Grant program to support OHV trail
            related projects on the Forest, OHV project grants can address the full spectrum of OHV
             recreation support needs. Examples of eligible OHV grant funded activities includes'*:

                    •    Construction, reconstruction or maintenance of OHV routes or multi-use trails
                         that allow for motorized use
                    •    Crossing structures, bridges, railings, ramps, and fencing
                    •    Bank stabilization and retaining structures
                    •    OHV trail corridor re-vegetation and erosion control
                    •    Trailhead development and/or support facilities related to OHV or multi-use
                         trails including parking areas, restrooms, and related facilities
                    •    Equipment needed to build or maintain OHV trails
                    •    Signs - directional, regulatory, and interpretive signage for OHV routes
                    •    Printing - maps/guides, safety and educational materials programs,
                         publications and videos on safety and OHV recreation
                    •    OHV trait or system planning, engineering, or design
                    •    Land acquisition or easement projects. NEPA review and environmental
                         compliance work required under NEPA or other statutes
                    •    Restoration of closed trails or damaged areas where a nexus exists between
                         OHV misuse and needed repairs
                    •    Salary, compensation and benefits for crew members or project employees
                    •    OHV Education and safety programs
                    •    Wildlife habitat restoration

        20. In general, the Organizations do not support the segregation of users and the exclusive
            use of one user group at the exclusion of others. We feel it is both socially beneficial
            and desirable for all users to learn to coexist and to show tolerance and respect for


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                                                                          Rvsd Plan - 00002145
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 35 of 356




            other users and groups of users. Just as we all learn to live together in our daily lives
            away from the forest, we should also extend that willingness to coexist when in the
            forest. Segregated user groups only fosters arrogance, elitism, intolerance and
            eventually leads to unjustified stereotyping and discrimination which results in greater
            user conflict. The Organizations are intimately familiar with the situation where user
            conflict is used as a strawman for the desire to create exclusive use areas on the Rio
            Grande. The Organizations are not aware of any major user conflict areas or issues
            currently existing on the Rio Grande and creating user conflict in an attempt to create
            exclusive use areas on the forest would be unfortunate.

        21. We feel it wilt be necessary for this revision of the Forest Plan to provide opportunities
            and future opportunities that will not restrict the changes and development of new
            technologies such as hybrid bikes, electric bikes/motorcycles, personal mobility devices
            just to name a few,

        22, Together our Organizations do not support or endorse the expansion of Wilderness
            areas within the Rio Grande National Forest or management that seeks to provide
            expanded Wilderness like experiences. In Colorado alone, there are approximately 3,7
            million acres of Congressionally designated Wilderness in our National Forests or
            approximately 15% of all USFS lands, Another 210,984 acres of Wilderness are located
            within Colorado's Bureau of Land Management (BLM) boundaries and 306,081 acres
            are located in Colorado's National Parks, In total, there are 4.2 million acres of
            designated Wilderness already in Colorado, This is an area larger than the states of
            Rhode Island and Delaware combined. Many of the remaining lands within the State
            that might be considered for "Wilderness" designation have been specifically "released"
            by Congress from future consideration as Wilderness, or have been studied by the
            agency and deemed unsuitable for Wilderness designation.

            Finally, visitor use statistics do not suggest that we need additional Wilderness areas.
            Nationally, only about 5 percent of user visits to the Forest System are in Wilderness
            areas. The visitation figure for the Rocky Mountain region is even lower, about 4 %,
            despite over 15% of USFS lands in Colorado being Congressionally designated
            Wilderness^. Congress has amply addressed both the need and demand for Wilderness
            in Colorado. Wilderness advocates frequently claim new Congressional designations of


       USFS National Visitor Use Monitoring Results, USDA Forest Service, National Summary Report, Updated 20
  May 2013.

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                                                                                Rvsd Plan - 00002146
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 36 of 356




             Wilderness areas will drive economic growth, which claims are supported by
             generalized assertions by the Outdoor Industry Association (01 A} research findings that
             outdoor recreation is $646 Billion dollar a year industry. The relationship of this
             research and Congressionally designated Wilderness is unclear at best, as the OIA
             research specifically includes valuations of activities such as motorized recreation.
             Bicycling, RV camping, and Snowmobiling. In reality, most Americans, for various
             reasons, are unable or unwilling to enlist in the physical and rigorous effort required of
             the adventures in Wilderness areas. The Rio Grande National Forest and other forests
             face broad-scale ecological threats that require well designed management responses
             that do not stop at a Wilderness boundary, in Colorado, we only need to look outside
             to see the devastation tied to catastrophic wildfires and the spruce beetle outbreaks.
             An ecological imbalance has developed over time because widespread treatments in
             the Engleman and Blue Spruce stands that would have created age class diversity,
             enhanced the vigor of remaining trees, and improved stand resiliency to drought or
             insect attack—such as timber harvest and thinning — lacked public acceptance in the
             past.

         23. Four large Wilderness areas on Rio Grande already provide exceptional recreational
             opportunity for those seeking to user experience (i,e„ La Garita, Sangre de Cristo,
             Weminuche, and South San Juan). Even with these exceptional resources, these areas
             only received 4% of visitor days to the Rio Grande.^ A lot of local frustration with
             complex fires and impacts that lack of management had with these fires scope and
             intensity. Requirements for Wilderness management have also greatly increased basic
             operation costs for land managers as even basic maintenance may only be done without
             mechanical assistance.

         24, Colorado Roadless Rule. The Organizations are also concerned that the Roadless Rule
             is often used as a lever for the expansion of Wilderness areas. This is a misapplication
             of the Roadless Rule, as Colorado as developed its own rule that specifically identifies
             motorized trails as a characteristic of a Colorado Roadless area? While Roadless areas
             have limitations on road construction and heavy maintenance, trails are entirely outside




   ‘‘See, USFS National Visitor Use Monitoring report for the Rio Grande National Forest- Round 3
     See, Colorado Roadless Rule § 294.41 Definitions; see also 294.46 other activities (e)

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                                                                                    Rvsd Plan - 00002147
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 37 of 356




              the scope of the Colorado Roadless Rule           as trail networks may be constructed and
              expanded in a Colorado Roadless Area,

              In the development of the Colorado Roadless Rule, an extensive inventory of
              characteristics of each area of a forest proposed to be managed either as a CRA or Lipper
              Tier areas was undertaken. A significant portion of the Rio Grande National Forest was
              proposed to be managed as upper tier Roadless Areas under Alternative 4 in the NEPA
              analysis. After the inventory was completed most of these areas were identified to
              remain Colorado Roadless areas due to existing levels of human activity in the areas.
              Given the proximity in time of this inventory, the Organizations believe this inventory is
              highly relevant to discussions seeking the expansion of any wilderness like management
              as these areas were recently inventoried for these characteristics and found not to be
              eligible. The Organizations are not aware of any management in these areas where
              Wilderness characteristics were possibly expanded.

        25.   National Monument Designations.          The Organizations would not support the
              designation of any new or existing historic sites, geologic sites or other areas being
              designated as National Monuments (with their inherent and corresponding restrictions
              and limits on public access). We offer that the Rio Grande National Forest has done an
              adequate job throughout its history in recognizing and preserving the many special and
              unique sites, locations and landscapes contained within the current Forest boundaries.
              Any designations as National Monuments are unnecessary and would be detrimental to
              ensuring unfettered public access. The Organizations support the status quo access to
              such locations as the town site of Bonanza, the Wheeler Geologic Area, Cumbres and
              Toltec National Historic Landmark, Mount Bianca, the Natural Arch, the Fremont Special
              Interest Area, etc.

        26. We would ask that any future access easements allow "full public access" and that no
              "conditional easements" or easements restricting travel to a specified mode or modes
              of travel be exchanged or conveyed. The Organizations are also aware of extensive
              efforts in other national forests to create buffers around any non-motorized route or
              route that might have been provided a specific designation by Congress. Each of these
              specific designations are managed under the National Trails System Act, which clearly



  ®See, Proposed Colorado Roadless Rule; 77 Federal Register No. 128 (Tuesday, July 3, 2012) Rules and Regulations
  at pg 39580.

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                                                                                  Rvsd Plan - 00002148
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 38 of 356




              addresses the relationship of any designated routes and adjacent nnanagement
              standards as follows:

               "Development and management of each segment of the National Trails System
               shall be designed to harmonize with and complement any established multiple
               use plans for that specific area in order to insure continued maximum benefits
               from the land."^

               Given this clarity of management, the Organizations would find it difficult to
               establish a fact pattern where the existence of a trail in an area could be used
               to close multiple use recreation in areas adjacent to the trail.

       27. Cultural sites - The Organizations were pleased to note that The Need for Change
           document^'’ states the desire to expand several cultural areas while maintaining
           motorized access. Maintaining multiple use access is critical to the public support for
           these areas in the future, as the public should understand why an area is important and
           without this type of hands on understanding resentment wilt grow for closure of these
           areas. The Organizations also vigorously assert that cultural sites have been specifically
           identified as a multiple use management concern and when multiple uses of cultural
           areas are balanced, closures to the areas are difficult to Justify,

       28. Best available science must be relied on in the development of the RMP for all species.
           Often identifying best available science can be difficult as this is an issue that is now
           rapidly evolving for many species, such as the Gunnison Sage Grouse, Mexican Wolf,
           Wolverine and Canadian Lynx. The rapid evolution of best available science in comparison
           to RMPs has resulted in conflict between these two issues, and as recently exemplified by
           the Pike & San Isabel National Forest Plan Challenge can result in lawsuits being brought
           against land managers when forest plans conflict with best available science. Overreliance
           on outdated management principals and standards should be avoided in the
           development of the Rio Grande National Forest RMP as this will be an area which will be
           ripe for legal challenge in the future.




   ’ See, 16 use 1246(a)(2) emphasis added
   ’°5ee, Rio Grande National Forest "Need for Change document" pg, 6-item D7. A complete version of this document
   is available here: http.//www.fs.usdd.Eav/lnternet/FSE DOCUMENTS/tsepid493976.pdf



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                                                                                  Rvsd Plan - 00002149
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 39 of 356




          The Organizations submit that the new adaptive management and monitoring standards
          further support the requirement that best available science be relied on both in the
          development of forest plans and over the life of the forest plan. The Organizations would
          also note that the on-going requirement to manage to best available science and avoid
          application of outdated management standards in the development of new forest or
          resource plans was specifically addressed in the new Lynx Conservation Assessment and
          Strategy ("LCAS"), While the LCAS is highlighted here simitar provisions are found in
          almost all species specific management documents that have been created. The LCAS
          specifically provides as follows:

             "This edition of the LCAS provides a full revision, incorporating all prior
             amendments and clarifications, substantial new scientific information that has
             emerged since 2000..... Guidance provided in the revised LCAS is no longer
             written in the framework of objectives, standards, and guide-lines as used in
             land management planning, but rather as conservation measures. This change
             was made to more clearly distinguish between the management direction that
             has been established through the public planning and decision-making process,
             versus conservation measures that are meant to synthesize and interpret
             evolving scientific information."^^

          LCAS continues by addressing the relationship of best available science and existing forest
          plans as follows;

              "Forest plans are prepared and Implemented in accordance with the National
              Forest Management Act of 1976.... The updated information and
             understandings in the revised LCAS may be useful for project planning and
             implementation, as well as helping to inform future amendments or revisions
             of forest plans."“


          Many wildlife or quiet use advocates are uncomfortable in reducing the strictness of
          management standards when best available science moves away from one low risk threat
          to 3 species to address newly discovered or understood threats. Given the clarity of these
          various positions and the legal exposure that could result from failing to implement these




    See, Interagency Lynx Biology Team, 2013. Canada lynx conservation assessment and strategy. 3rd edition, USDA
  Forest Service, USDI Fish and Wildlife Service, USDI Bureau of Land Management, and USOI National Park Service.
  Forest Service Publication Rl-13-19, Missoula, MT, 128 pp. at pg. 2, (Hereinafter referred to as "LCAS'').
    See, LCAS at pg, 4

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                                                                                 Rvsd Plan - 00002150
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 40 of 356




           requirements the Organizations vigorously assert that best available science must be
           applied in the Rio Grande National Forest RMP moving forward.

       29, Motorized game retrieval- The Organizations submit that motorized game retrieval is an
           important component of the hunting experience on the Rio Grande National Forest. While
           the Organizations are aware this is a site specific travel management decision, the
           continuation of these regulations should be provided for as the RMP moves forward.

       30. Wildlife habitat connectivity- The Organizations are aware that nationally the concept of
           management of Wildlife Habitat area connectivity is a new concept but CPW has been at
           the forefront of this issue and has been critical in application of these types of principals
           on public lands throughout Colorado, As a result the Organizations submit that wildlife
           connectivity is an issue that has basically been resolved on the Rio Grande National Forest
          through the on-going site specific planning on the Forest and as a result do not see the
          need for significant changes in current management to address these issues.

      31. The number of categories in the new Rio Grande RMP must be reduced. The
          Organizations are aware there has been significant concern voiced over the proposed
          reduction in the number of management standards that are currently in the Rio Grande
          National Forest RMP. The Organizations vigorously support a significant reduction in the
          number of categories simply to comply with the landscape nature of an RMP. Even with
          the size of the Rio Grande National Forest the number of categories currently in place
          reflects several local plans being combined rather than a true landscape level plan that is
          developed to facilitate local planning moving forward.

   The Organizations would welcome a discussion of these opportunities and any other challenges
  that might be facing the Rio Grande National Forest moving forward at your convenience. Please
   feel free to contact Don Riggle at 725 Palomar Lane, Colorado Springs, 80906, Cell (719) 338­
   4106 or Scott Jones, Esq. at 508 Ashford Drive, Longmont, CO 80504. His phone is (518)281-5810
   and his email is scott iQnes46@vahoo-com.
   Sincerely,



    Scott Jones, Esq.                                    D.E. Riggle, Director of Operations
    TPA Authorized Representative                        Trail Preservation Alliance
    CSA/COHVCO President
                                                    16


                                                                            Rvsd Plan - 00002151
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 41 of 356




     April 12, 2016



     Rio Grande National Forest
     1803 W. Highway 160
     Monte Vista, CO 81144

     RE: Needs for Change document

     To Whom it May Concern,

     With this letter I would like to comment on the Rio Grande National Forest’s Need
     for Change document and the draft assessments for the Forest Plan revision.

     As a New Mexico resident, I am interested in the RGNF’s Forest Plan revision
     because I use the Forest for both recreation and business purposes. I am the
     president of the Chama Valley Outdoor Club (around 30-35 members), a member of
     the Rotary Club of Chama Valley and the Chama Valley Chamber of Commerce, a
     member of the New Mexico Cross Country Ski Club (over 300 members) and am an
     owner/operator of the Spruce Hole Yurt (which is located on the RGNF). In
     addition, I organize the Chama Chile Ski Classic, which is a yearly cross-country
     skiing event that takes place on the Rio Grande National Forest.

     New Mexicans and Village of Chama residents and visitors, use the southern RGNF
     extensively. It is a popular place for cross-country skiers, snowshoers and
     snowmobilers in the winter, used by the Cumbres and Toltec Scenic Railroad in the
     summer/fall and is popular with hunters and those who enjoy fishing. The scenic
     resources, habitat and wild character of the RGNF are essential to Chama’s railroad,
     and outdoor recreation economy.

     The Need for Change Document - First Impressions

     The Rio Grande National Forest’s Need for Change document did not seem very
     comprehensive, given the details provided in the assessment documents. In the
     Need for Change document, Table A made sense, in that these were the legal
     requirements of the Forest Service, and Table B identified those changes that
     needed to be made throughout the existing forest plan, to update it. These were
     very broad, across the board need for change statements.

     Table C was very disappointing with only 7 identified changes needed, based on the
     Assessment Phase. Table D, apparently, are “desired changes” that may or may not
     be included in the final document. While many of these “desired changes” are more
     specific, they affect management throughout the Forest and should be included in a
     final need for change document. And as I understand from the meeting I attended in
     LaJara, if a “need” is not in the Forest Plan, it won’t be considered.




                                                                 Rvsd Plan - 00002152
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 42 of 356




     I was expecting a Need for Change document similar to the Carson National Forest.
     The Carson included overarching Need for Change statements which affected the
     entire Forest and Forest Plan, but then also had more specific statements
     subdivided under topic areas such as soils, vegetation, energy and minerals, etc.
     Overall the Carson’s draft Need for Change document seemed more comprehensive
     with 51 need for change statements included versus 21 statements included in the
     Rio Grande’s Need for Change document and 19 statements (Table D) that may be
     included.

     Recreation, Need for Change:

     I focused primarily on the Recreation Assessment and the Need for Change
     statements that resulted. The Need for Change does not mention some of the
     recreation needs identified in the Recreation Assessment, which included:

        •   Collect more data and more information about recreation trends, user
            conflicts and winter use, that includes low-income and Hispanic user groups,
            and incorporate this new information in recreation planning.
        •   Revise recreation management direction to reflect current and future
            recreation uses (like drones or fat tire snow bikes)
        •   Evaluate the interactions between current and future recreation uses and the
            impacts to ecological integrity, especially in terms of the effects of dispersed
            recreation on species diversity, distribution, and ecological integrity.
        •   Conduct recreation opportunity spectrum inventories to assess current and
            future recreation demand needs.

     The Forest Service should revise their Need for Change document to reflect the
     above needs in the final Need for Change document.

     In Colorado and New Mexico, motorized, non-motorized and backcountry outdoor
     recreation are fast growing uses of national forests, which can potentially have a
     large impact on the environment. According to the RGNF’s Recreation Assessment,
     “recreation use has increased significantly on the forest both in numbers of
     recreational users, and types of recreational activities.” Even though the RGNF is
     currently more remote and primitive Forest, people seeking outdoor recreation
     opportunities will continue to increase, especially as climate change pushes more
     people northward and to the mountains for recreation

        1. Recommended Addition: I recommend that the Forest Service add a need for
           change statement similar to this:
              • Conduct comprehensive, data and studies on recreation in order to
                 update plan direction to reflect new and current recreational uses,
                 technology and trends; to minimize both summer and winter
                 recreational conflicts; to reflect the cultures and people using the Forest,
                 and to address new environmental impacts cf changing and increasing
                 recreational use.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 43 of 356




     Over-Snow Vehicle Rules and Winter Recreation

     The Forest Service has not considered the requirements of the new Over Snow
     Vehicle Rules (Use by Over-Snow Vehicles (Travel Management Rule), 80 Fed. Reg.
     4500-4512 (Jan. 28, 2015)(amending 36 C.R.R. 212and 261) in it’s need for change
     document. This ruling requires the Forest Service to designate specific routes, trails
     and delineated areas where over-snow vehicles (OSV) are allowed. Once these
     specific trails, routes and delineated areas are designated, then all other areas will
     be closed to OSV travel. The 2005 Travel Management Rule, subpart C, which
     allowed, but did not require the Forest Service to designate a winter off-road vehicle
     system, is not longer valid under the new OSV Rules.

     There are areas on the RGNF where there are “voluntary winter recreation
     separation programs” (Wolf Creek Pass, Cumbres/LaManga area) but not all of the
     areas in these programs are working well to keep quiet winter recreationists (cross­
     country skiers/snowshoers) separated from motorized users (OSV users).
     The Cumbres/LaManga passes area, in particular, is difficult to manage and enforce
     with the current voluntary separation program, despite the Forest Service’s efforts
     to publish maps and put up signs. As a result, many of the areas designated for quiet
     winter use are over-run with snowmobiles. Even previously inaccessible areas, are
     accessible because snowmobile technology has made it easier for the machines to
     climb steep hills and travel more areas. There has been significant reductions in
     quiet use areas since the last Forest Plan was completed.

     With the new OSV rules, there will no longer be a need for “Voluntary Separation
     Plans” because the Forest Service will need to clearly define winter motorized areas
     and routes, but there will be a need for all users to agree upon a plan. There is a
     need to establish guidelines for managing OSV’s on the Forest in order to guide
     travel management planning n the future.

     Recommended Addition: Table A in the Need for Change document lists the
     “Requirements in the Forest Plan Revision Process”. A statement about the OSV
     Rules needs to be included in this list. I suggest the following statement:

        • Develop guidelines and direction for OSV travel that reduces recreational user
            conflicts, reduces impacts to natural resources and wildlife, uses best
            management practices and meets the requirements cf the OSV Rules.
     Once these guidelines are developed, the Forest Service will then have a clear
     direction on how to proceed in winter travel management planning.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 44 of 356




     Wildlife Habitat and Connectivity

     While the RGNF’s Need for Change document includes wildlife habitat and
     connectivity as part of several need for change statements (B2, B5 and C6), I feel
     that it does not adequately address wildlife habitat and connectivity between
     ecologically intact areas. There is a need in the plan for maintaining and restoring
     wildlife/habitat corridors to allow species movement. Below, I’ve included two of
     the Carson’s Need for Change statements that could be used in the Rio Grande NF’s
     Need for Change document (with modifications added):

        •   There is a need to provide plan direction for managing towards terrestrial,
            riparian, and aquatic habitat connectivity (and restoration) for species
            movement across the landscape (both inside and outside the Rio Grande NF
            boundries).
        •   There is a need to provide plan direction that allows for (maintaining)
            improving (and restoring) aquatic passage in streams where it has been
            compromised. Plan direction should promote the restoration and expansion of
            the range of native aquatic species and connectivity offragmented populations.

     Changing “Desired Changes” to Needs for Change:

     I feel that the Forest Service would severely limit its Need for Change document if it
     did not include many or all of these “desired changes” in the final Need for Change
     document. Below, I have made comments on the “desired changes” that I am more
     familiar with:

     D2 Oil and gas leasing: I am concerned about oil and gas leasing on the RGNF,
     especially since just a little south of Chama, NM, we have been dealing with fracking
     issues and concerns for water quality. The Rio Grande NF needs to take a close look
     at oil and gas leases in light of new technologies (fracking, side directional drilling)
     and their impacts (such as causing earthquakes near areas where waste water is
     reinjected into the earth. An example of this problem is in Oklahoma where fracking
     is common and earthquakes have increased tremendously.). The RGNF needs to
     revisit it’s oil and gas leases in light of new issues with oil and gas technology.

     D3 Wilderness Boundaries: This need for change is relevant, especially between the
     New Mexico and Colorado borders for management of lands added to the
     wilderness inventory that could potentially add to the Las Cruces Basin Wilderness
     from the New Mexico side across the border into Colorado and the Rio Grande
     National Forest.

     D4 Develop and maintain sustainable enterprises that contribute to the general
     economic and social vitality of the area: This need for change has particular
     relevance to the residents of Chama, NM. Chama is dependent on the RGNF for it’s
     scenic resources and the use of the Forest for the Cumbres and Toltec Scenic
     Railroad. Local people use the Forest for wood cutting, hunting, fishing, and




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 45 of 356




     recreation. Agreements with the Forest Service, and management and policies, that
     help promote sustainable activities, help the local economy.

     D12 Revisit the Capacity Allocation Process related to special use permits. This
     process has particular relevance to my business, that I operate with my husband on
     the RGNF. We own the Spruce Hole Yurt and are allowed to operate from October to
     April (winter months) each year. Most yurts and huts in Colorado are allowed to
     operate year-round and/or in the summer (see Colorado Hut & Yurt Alliance page
     under 10th Mtn. Huts: http://www.huts.org/cohutsyurts/index.php)
     We hope that the Capacity Allocation Process would allow examination of time of
     use for permitted yurt operations on the RGNF.

     D13 Revisit the cjf-roadgame retrieval policy on the Rio Grande National Forest. I
     would be in favor of the RGNF looking at the manageability of this policy and
     whether or not it is even appropriate in all areas on the Forest (are there
     environmentally sensitive areas which could be harmed with off-road ATVs?). Many
     hunters now use ATVs exclusively for their hunting and some hunters have
     exploited this policy to do their hunting off-road.

     On a practical level, I think that the off-road game retrieval policy should be banned
     entirely because it is too difficult to enforce. In addition, it is incongruent with the
     rest of the travel management policies on the Forest (vehicles staying on designated
     motorized routes). With a reduction in the number of staff in law enforcement
     (from 2 to 1 % full time equivalent), there are not enough feet on the ground to
     enforce the afternoon retrieval policy (and never were), even with the help of state
     wildlife employees.

     I am part of a hunting family, and we are beginning to see our own limits on how far
     we can walk from a road to hunt and carry out our game, once we have made a kill.
     We are willing to accept these limitations and recognize that we won’t be able to
     hunt forever.

     It does not take much for ATV’s to do a lot of damage, especially in sensitive areas
     and wet soils. There are only a few National Forest’s that allow game retrieval, and
     with limited Forest resources, this might be a good time to end this policy.

     Next Steps - NEPA

     At the meeting I attended at the Forest Service office in LaJara on the Need for
     Change document, there was some discussion on what the Forest Service was
     planning to do next with the beginning of the NEPA process. One of the statements
     made that concerned me, was that the Forest Service was planning to “reduce the
     number of alternatives presented in the Draft EIS”.

     While the planning rule of 2012 has added a lot to the process of developing a
     Forest Plan by providing more public input and greater analysis, I believe that it is



                                                                    Rvsd Plan - 00002156
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 46 of 356




     important to present to the public a full range of alternatives in the Draft EIS. This is
     really the culmination of all the work done through the planning process. I don’t
     think compromising the NEPA process is either legal or the right thing to do.

     In addition, I think the Forest Service will continue to see additional information and
     more thought out ideas coming from public input through the scoping process, as
     more people continue to become involved with the Forest Plan revision.



     I want to thank the Rio Grande National Forest and it’s staff for all your efforts to
     make the Forest Plan revision process more inclusive. You have provided so many
     opportunities for people to be involved through meetings, online comments and
     webinars, phone calls and meetings with different groups and individuals.

     Sincerely,



     Mary Ann DeBoer
     HC 75 Box 66
     Chama, New Mexico 87520
     575-756-2294




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 47 of 356



                                                                                                  April 15, 2016

Preliminary Comments/Suggestions Regarding Forest Plan Revision Need for Change and various Assessments
                            Colorado Parks and Wildlife, Monte Vista Office

CPW was asked to review and provide preliminary comments regarding the Rio Grande Forest in their efforts so
far in the Forest Plan revision process, specifically the Need for Change document and Assessment 5. My staff
and I have reviewed those documents to the extent possible given tight timeframes and I will warn that we have
not had sufficient time to do a thorough review. We did find several items that we believe could be addressed
more thoroughly or provide specific information in relation to various topics.

Need for Change Document

       •   We believe it would be helpful to more clearly define the categories that have been identified in
           relation to need for change and levels, manager discretion and change needed vs. desired need.
           Because the enumeration is sequential it is an easy jump for readers to assume that the ascending
           letters indicate the relative importance of each issue rather than a specific categorization matrix.
       •   D9 Update Management Direction to maintain separation between bighorn and domestic sheep. This
           is a very important topic to CPW. We have worked together in the past to work toward decisions that
           have helped resolve some of these concerns and look forward to working with the RGNF in future
           efforts. This is a very high priority topic and should be identified as such in the plan with specific
           goals, objectives and tools (see suggested Desired Conditions and Standards below).
       •   D10 Management of pack goats: Define management direction at it relates to D9
       •   D11 Stay Limits on forest in dispersed campsites. We believe that the limits on the length of stay on
           the forest are appropriate. We also believe that the current number of days is in conflict with some
           of our hunting seasons. Providing longer stays in specific legitimate circumstances would be helpful
           for CPW and our customers.
       •    D13 Revisit the off-road game retrieval policy on the Rio Grande National Forest. This is another
           major topic of concern for CPW. Below is a list of our concerns with regard to this topic:
                o With the aging population of hunters, an effective game retrieval policy is incredibly
                    beneficial to CPW. It allows hunters to more confidently penetrate the forest on foot
                    knowing that a mechanism exists for the retrieval of that animal that would otherwise be
                    unmanageable for many. These increases in harvest efficiency help CPW to better manage
                    wildlife populations without having to cause overcrowding and other problems that are
                    created from that particular aspect.
                o We mention in the above paragraph an “effective” game retrieval policy. The current policy
                    is not entirely effective. There are several components that could be improved to make it
                    both more effective and protective of forest resources and other hunter’s experiences.
                o The current game retrieval areas need significant re-alignment. There are numerous areas
                    that are open to ATV game retrieval, but the terrain is not in any way accessible by ATV.
                    Yet, other areas that would lend themselves to this sort of use with minimal to no damage
                    are closed. We are confused why this is such.
                o There is an assumption in these documents that resource damage on the forest by ATVs is
                    specifically caused by hunters. That is not a completely accurate statement. It would be
                    unreasonable to say that no hunters have caused resource damage. However, we have
                    witnessed significantly more damage being done by general motorized OHV users throughout
                    the summer and early fall.
                o The lack of a good travel management map has created confusion among users and there is a
                    general lack of management of those uses.




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 Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 48 of 356



                o  In addition, when hunters have caused damage, it has been due to violations of travel
                   management by simply driving off-road with both ATV and full-sized vehicles. There are very
                   few instances of resource damage due to game retrieval activities.
               o Currently, three different game retrieval maps exist. This creates confusion and unnecessary
                   violations for those who have the wrong map.
        •   We are unclear if this is a Forest Plannning issue vs. a travel management implementation issue

Assessment 5 Fish, Wildlife, and Plants
                ■ Need to compare this to CPW’s SWAP that was recently approved by USFWS.
                ■ Would like “Information Gap” section to be based on the best available science if fact and
                    datasets are not complete.
                ■ Several species are maybe listed as “at risk” in error. Many of these are common and not
                    considered by CPW as at risk (e.g. bobcat, beaver, sport fish, etc.). We would like further
                    discussions on what criteria the FS has used to make these determinations
                ■ Bighorn sheep should be considered a species of management concern.
                ■ Deer are not a risk of extinction, but the FS LMP should help the State meet is population
                    objectives, and review and implement aspects of CPW’s Mule Deer Strategy.
                ■ Aquatic Concerns
                        • We would like a clearer definition for Aquatic species - does it include fish species
                             other that RG Cutt, RG Chub, RG Sucker; does this include aquatic invertebrates?
                        • Very few Rio Grande suckers and RG cutthroat live in the mainstream Rio Grande
                             River
                        • Native and non-native fish is forest fisheries should be managed as recreational
                             fisheries; not just native
                        • In the executive summary of Assessment 5 there is a statement that FS “Needs to
                             protect genetics of rainbow trout”; should it state cutthroat?
                        • RG Cutthroat
                                 o Conditions needed: Pool habitat within 35 to 60% of total stream habitat
                                      area. Stream bank vegetative cover greater then 25%. Stream bank stability
                                      greater than 90%. Stream shading within 50-70% during mid-day. Water
                                      temperatures within 8 to 16 C during spawning and incubation periods. Fine
                                      sediments (less than 6.3 mm) should fall within 0 to 24% of sediment present
                                 o Risk Factors: add climate change, wildfires, drought, habitat loss
                        • Rio Grande Sucker
                                 o Ecosystem used: can also be lakes although not common
                                 o Risk Factor - can hybridize with white suckers and compete
                                 o Water Quality - include Rio Grande Cutthroat
                        • There are several native cutthroat fisheries and may be more appropriate listed as
                             management concern vs at risk.

        Draft Suggested Desired Conditions
    •   Wildlife populations are viable on National Forest lands. Wildlife populations are self-sustaining,
        connected, and genetically diverse across NF lands.
    •   Big game severe winter range, winter concentration areas, and production areas are capable of
        supporting populations that meet State of Colorado population objectives. These areas provide
        sustainable forage and habitat in areas with acceptable levels of human disturbance which do not reduce
        habitat effectiveness.
    •   Invasive exotic wildlife species and diseases do not become established within the planning area. Existing
        invasive exotic wildlife species and diseases do not spread.
    •   Habitat components (e.g., snags and downed logs) are maintained. Unique habitat types (e.g., springs,
        seeps, willow carrs, caves, and cliffs) support associated flora and fauna (with abundance and
        distribution commensurate with the capability of the land).

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 49 of 356



  •   Large predator species contribute to ecological diversity and ecosystem functioning.
  •   Projects and activities occurring on USFS lands near state and federal highways are designed to provide
      for long-term connectivity and integrity of habitats to facilitate effective wildlife movement.
  •   Effective raptor nesting habitat occurs throughout the planning area with abundance and distribution
      commensurate with the capability of the land to sustain populations.
  •   Ecosystems and habitat conditions for terrestrial wildlife species sensitive to human disturbance are
      maintained.
  •   Vegetation openings created through management actions preserve the natural patchiness inherent in
      Southern Rocky Mountain ecosystems.
  •   Habitat continuity and travel corridors exist and persist to facilitate species movement and
      establishment into newly suitable areas as a result of changing habitats.
  •   Populations are conserved by maintaining or improving habitat availability and quality through the
      incorporation of conservation strategies and species’ habitat needs during project development and
      implementation.
  •   Riparian and aquatic habitat, including springs and fens, support well-distributed populations of
      invertebrate and vertebrate riparian and aquatic dependent wildlife special status species.
  •   Disturbances from management activities occur at levels that support critical life functions and sustain
      key habitat characteristics for wildlife special status species.
  •   Areas identified as critical habitat or proposed critical habitat for special status wildlife species have the
      characteristics to support sustainable populations, promoting recovery of the species.
  •   Management actions maintain or improve habitat conditions for special status species, contributing to
      the stability and/or recovery of these species.
  •   Special status species are able to disperse within the planning area and into adjacent lands. This will
      allow for the interchange between populations and the maintenance of genetic diversity.
  •   Wildlife able to disperse freely across the planning area allowing for the interchange between
      populations and the maintenance of genetic diversity

      Draft Standards
  •   Standards for the raptor nesting disturbance buffers and timing limitations adhere to CPW’s Raptor
      Buffer Recommendations (CDOW 2008)
  •   Bats: If abandoned mines are closed, surveys will be conducted to determine occupancy. If surveys
      cannot be completed, occupancy will be assumed and mine closures must allow for bat access. Abandon
      mines that are determined to be hazardous to bats will be closed to bats.
  •   Bats: Human access at occupied caves or abandoned mines will be restricted as necessary during the
      following periods to maintain essential life cycle processes:
               • Maternity sites - April 15 through September 1
               • Swarming sites - August 15 through October 15 (30 minutes before sunset to 30 minutes after
               sunrise)
               • Winter hibernacula - October 15 through May 15
  •   Bighorn Sheep (Ovis canadensis): During project-level planning on domestic sheep (O. aries)
      allotments, management options must be developed to prevent physical contact between domestic
      sheep and bighorn sheep. Actions may include but are not limited to boundary modification, livestock­
      type conversion, or allotment closures.
  •   Bighorn Sheep: Grazing permit administration in occupied bighorn sheep habitat must utilize measures
      to prevent physical contact between domestic sheep and bighorn sheep. Permit administration actions
      may include but are not limited to use of guard dogs, grazing rotation adjustments, or relocation of
      salting and bed grounds.
  •   Bighorn Sheep: Management of recreational pack goats and other domestic goats (Capra aegagrus
      hircus) must utilize measures to prevent physical contact with bighorn sheep.



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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 50 of 356



    •   Bighorn Sheep: Domestic goats used for invasive plant control must be veterinarian certified as free of
        pathogens transmissible to bighorn sheep, except in areas where there is no risk of contact with bighorn
        sheep.
    •   Ungulates: Projects or activities in big game critical winter range, winter concentration areas, severe
        winter range, production areas, and important migration corridors should be designed and conducted in
        a manner that preserves and does not reduce habitat effectiveness within those mapped areas.
    •   Ungulates: In order to provide for healthy ungulate populations capable of meeting state population
        objectives, anthropomorphic activity and improvements across the planning area should be designed to
        maintain and continue to provide effective habitat components that support critical life functions. This
        includes components of size and quality on the landscape providing connectivity to seasonal habitats
        (wildlife travel corridors), production areas, critical winter range, severe winter range, and winter
        concentration areas, along with other habitat components necessary to support herd viability.
    •   Road and Motorized Trail Density for Ungulate Production Areas, Winter Concentration Areas, Severe
        Winter Range, and Critical Winter Range on NF Lands: The intent of this Standard is to ensure no net
        loss of existing habitat effectiveness within the areas listed below. In order to maintain wildlife habitat
        effectiveness of NF lands, road and motorized trail densities should be addressed when analyzing and
        approving management actions that affect motorized routes. Where management actions would result in
        road and motorized trail densities exceeding 1 mile/square mile on SJNF lands in the areas listed below,
        actions should be designed to maintain habitat effectiveness on SJNF lands throughout each mapped
        polygon. Habitat effectiveness for this Standard is considered maintained when road densities within the
        CPW mapped areas on SJNF lands listed below are less than or equal to 1 mile/square mile. If route
        densities exceed 1 mile/square mile within the CPW mapped areas on NF lands listed below, densities
        should not be increased without compensatory mitigation designed to maintain habitat effectiveness.
             o • Big game production areas (calving or lambing areas)
             o • Elk and deer severe winter range
             o • Elk and deer winter concentration areas
             o • Deer critical winter range

Draft Guidelines
   • In order to determine site occupation, pre-implementation surveys may be required for projects
       occurring in habitats that may support populations of sensitive species and species listed or proposed
       under the ESA, as determined by an agency biologist.
   • Bats: Human access should be managed at caves and abandoned mines where known bat populations
       exist to protect bat habitat from disturbance and/or the introduction of pathogens. Management
       examples include, but are not limited to, seasonal or permanent closures and excluding humans by
       installing bat gates.
   • Bats: Where known bat concentrations of significant conservation concern are located outside caves or
       abandoned mines (such as in bridges structures, rock crevasse, or tree snags), human disturbance should
       be managed in order to protect those populations and the concentration site’s physical features.
   • Bats: On the SJNF, formal mineral withdrawal of abandoned mines for conservation of special status bat
       species should be pursued when demonstrated necessary to prevent loss of effective or crucial habitat
       due to mining activity.
   • Bats: At swarming sites, hibernacula, and maternity sites, activities that may alter the suitability of the
       cave or abandoned mine for bat occupation should not occur within 500 feet of the entrance, unless to
       rehabilitate the suitability of the site or install mine safety closures.
   • Migratory Birds: Projects or activities should consider and undertake proactive bird conservation actions
       as practicable particularly during breeding season to maintain or improve habitat needs over the long­
       term for species identified as priority for conservation action.
   • Bighorn Sheep: Projects or activities that adversely impact bighorn sheep production areas by reducing
       habitat effectiveness should be limited or avoided, using access restrictions during the following periods:
                • Rocky Mountain bighorn sheep (Ovis canadensis canadensis): April 15-June 30


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 Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 51 of 356




    •   Bighorn Sheep: Projects or activities that adversely impact bighorn sheep severe winter range and
        winter concentration areas by reducing habitat effectiveness should be limited or avoided using access
        restrictions during the following periods:
                 • Rocky Mountain bighorn sheep: November 1-April 15
Aquatic Species
        Desired Conditions
   • Long-term sustainability of aquatic ecosystems is maintained.
   • Streams, lakes, riparian vegetation, and adjacent uplands provide habitats adequate to maintain healthy
        aquatic ecosystems capable of supporting a variety of native and desired non-native aquatic
        communities.
   • The quantity and quality of aquatic habitats are maintained or enhanced to provide for the long-term
        sustainability of biological diversity and population viability of all native and/or desired non-native
        vertebrate species.
   • Channel characteristics, water quality, flow regimens, and physical habitat features are diverse and
        appropriately reflect the climate, geology, and natural biota of the area.
   • An adequate range of stream flow provides for the long-term maintenance of physical habitat features.
        Channel features, including bank stability, width-to-depth ratio, pool/riffle ratio, pool depth, slope,
        sinuosity, cover, and substrate composition, are commensurate with those expected to occur under
        natural ranges of stream flow.
   • Water flow conditions in streams, lakes, springs, seeps, wetlands, fens, and aquifers support functioning
        habitats for a variety of aquatic and semi-aquatic species and communities.
   • Macroinvertebrate diversity and abundance reflect high water quality.
   • Populations of aquatic species are adequately mobile, genetically diverse, and functionally diverse
        throughout the planning area.
   • Aquatic systems are connected in a manner that avoids fragmentation of aquatic habitats and isolation
        of aquatic species.
   • Connectivity between water bodies provides for all life history functions of aquatic species except where
        barriers are beneficial and necessary to achieve conservation goals for certain aquatic species. Abundant
        Rio Grande cutthroat trout populations are maintained and other areas are managed for increased
        abundance. Threats to Rio Grande cutthroat trout and its habitat are eliminated or reduced to the
        greatest extent possible




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 52 of 356


                                  BOARD OF COUNTY COMMISSIONERS

                                              MINERAL COUNTY
                                               P.O. BOX 70
                                         CREEDE, COLORADO 81130
                                              (719) 658-2331



  April 15, 2016
  Dan Dallas
  Forest Supervisor
  Rio Grande National Forest
  1803 US Hwy 160
  Monte Vista, CO 81144

  Mr. Dallas,

  On behalf of the Mineral County Board of County Commissioners I thank you for the opportunity
  provided to be engaged early and often in the Forest Plan Revision, I remember in so many of the early
  assessment meetings an overriding issue expressed was the public did not feel that they were being
  listened to or their concerns addressed. It impresses me that you and your staff have taken that to
  heart and gone above expectations to engage the public and listen.

  I am writing this letter with some bullet points that have come to bear in reading part of the
  assessments from the point of view of Mineral County, I am hoping that this will act as a place holder
  for further comments as we finish reviewing all of the assessments. Our overarching concern/feedback
  on the "need to change" documents can be summed up with this statement: Mineral County depends
  on. Is impacted by, thrives in, works in/with and plays in the Rio Grande National Forest. There is very
  little about Mineral County and Creede that isn't at least indirectly affected by everything in the Forest.
  This Revision and subsequent implementation will be vitally important to our economy, wellbeing,
  visitors and residents. The Forest is our life-blood I

  The following statements are general in their form and not a complete list of our feedback but, I hope,
  wilt help frame future discussions and comments going forward.
       • Mineral County has proven its resiliency time and again but recent events on the forest, namely
           the devastating beetle kill and West Fork Complex Fire, stretched that resilient nature to near
           breaking, loss of forest access by recreationists and consumers, loss of production, loss of
           grazing, loss of aesthetics, loss of wildlife habitat, etc., will create an environment that will be
           difficult if not impossible to recover from.
       • We all count ourselves as "owners" of the Forest and display that stewardship with pride. This
           local "ownership" should give Mineral County and our neighboring Counties top billing over
           regional and national input when considering the value, use and benefits of the Forest. Non­
           users of our resource should only have a secondary place in evaluating the "need to change".
       • Mineral County commends the Desired Condition of multi-use sustainability and rural
           development. The earlier referenced resiliency of our County has pushed the area into some
           new ventures that will continue to rely on the aesthetic value of the Forest as well as the
           production and recreation access of the Forest. New industry options like telecommuting will



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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 53 of 356




         rely on the "quality of life" that Mineral County offers to attract new families to the area and the
         Forest is a top player in that quality. New technologies that allow potential use of the dead and
         burnt forest can possibly thrive in this area and give us ail the opportunity to partake in the
         housecleaning and rejuvenation of this precious resource. We encourage the continued
         rejuvenation of the timber industry in the area and specifically in this County. We recognize
         that is a huge avenue to a healthy forest. Thinking outside the box to maintain a vigorous and
         health economy while preserving this beautiful environment needs to be the driving factor in
         decision making.
     •   Recreation and consumer access needs to be thoroughly vetted. New and renewed
         opportunities need detailed scrutiny to avoid user conflict. Keeping everyone out of the same
         "sandbox" is key to minimizing if not eliminating those conflicts while still enjoying and using the
         whole of the Forest.
     •   Active management is paramount! There needs to be boots on the ground. So many of the
         desired changes mentioned in the assessments require if not demand there be active, involved
         engaged management. The current state of the Forest is, in our opinion, what deskside
         management results in,
     •   Finally, Mineral County is adamantly opposed to any new Wilderness. Although, we have
         learned to live and thrive with our existing Wildernesses, anything new is not going to help
         reach functional development and use in and out of the Forest, Again, active management of
         what exists becomes more important that creating new.

 Thank you again for this opportunity to comment. We will be offering more detailed comments in the
 immediate future. We look forward to continued dialogue.




 Jafnelle Kukuk
       ty Administrator
 719-658-2360
 mincty@hotmail.com




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 54 of 356




   TROUT
   UNLIMITED


  Sent via email to: rgnf_forest_plan@fs.fed.us

  April 15, 2016

  Erin Minks
  Forest Planner
  Rio Grande National Forest
  Forest Plan Revision
  1803 US Hwy 150
  Monte Vista, CO 81132


  RE: Comments on Rio Grande National Forest Plan Revision Process: Draft Need for Change
  document



  Dear Ms. Minks,

  Please accept the following comments from Trout Unlimited (TU) on the Rio Grande National Forest’s
  (RGNF) Draft Need for Change document. We appreciate the Forest Service’s invitation to participate in
  the planning process and for working with TU and other stakeholders in the assessment phase under the
  2012 Planning Rule.

  Trout Unlimited is the nation’s oldest and largest coldwater conservation non-profit organization with
  more than 155,000 members nationwide dedicated to conserving, protecting and restoring North
  America’s trout and salmon fisheries and their watersheds. Since 1959, TU staff and volunteers have
  worked toward the protection of sensitive ecological systems necessary to support robust native and wild
  trout populations in their respective ranges. We recognize the high value of public lands and the role
  public lands play in providing habitat to coldwater fisheries, drinking water, and wildlife habitat. Trout
  Unlimited believes that the actions taken on public lands are ultimately reflected in the quality of fish and
  wildlife habitat and their populations.

  In Colorado, TU plays a critical role in watershed conservation, restoration, and rehabilitation on public
  lands, particularly our forests. Twenty-four chapters and 10,000 members statewide actively participate in
  projects with the National Forest, local communities, and private landowners in order to maintain the
  larger important forest landscape that is so vital to the social and economic community in this area. The
  San Luis Valley TU chapter has a long term relationship with the Rio Grande National Forest including
  recent projects such as restoration on the Hidden Mile of the Conejos, and native Rio Grande Cutthroat
  Trout reintroduction.

  The RGNF is host to the majority of all headwater habitat for a truly unique and native fish - the Rio
  Grande cutthroat trout (RGCT). Because these fish are only found in specific and limited places,
  protection of their watersheds and habitats are especially important. Rio Grande cutthroat trout have
  adapted to this region for eons; they are a part of our culture and angling heritage. Trout Unlimited has




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 55 of 356




  worked on RGCT issues consistently over many years, and we are excited to take advantage of this
  opportunity in the planning process to ensure even better protections for these fish.

  As sportsmen we have considerable stake in the management direction, strategy, and priorities of the
  RGNF’s new planning process. These are the lands on which we fish and hunt, and we feel privileged to
  participate in the public process that guides the management of those resources. Members of TU believe
  in multiple uses of the forest but care deeply about the coldwater fisheries, big game habitat, pristine
  watersheds, and backcountry areas. We look forward to working with the Forest Service throughout the
  plan revision process.

  General Comments

  We understand the revised Forest Plan will supersede the 1996 RGNF Plan and any amendments. As
  participants during the 2012 Planning Rule process, we support the new Rule’s goals for the Forest Plan
  revision, which include:
       • Maintain and restore ecosystem and watershed health and resilience (ecological integrity),
       • Protect key resources on the unit, including water, air, and soil,
       • Address water quality and riparian area protection and restoration.

  In reviewing the Draft The 1996 Rio Grande National Forest: What Needs to Change, there are many
  components identified which we agree with and feel the RGNF is on target for implementing these
  changes into the plan revision for a stronger management plan. However, several important items
  identified in the Draft Need for Change document we feel deserve a higher priority for adoption in the
  Final Need for Change and Proposed Action as well as some concerns which were not identified in the
  assessment and comment phases. Our comments are detailed below.

  A. Requirements in the Forest Plan Revision Process

  Although mandated for inclusion in the Final Need for Change document, Trout Unlimited applauds the
  Forest Service’s efforts to address such large issues as listed in Table A. Each issue listed has
  implications for the concerned sportsman in that healthy, connected landscapes are what we depend on for
  recreation. Increasingly important is the need for protected places and rivers as we face accumulating
  impacts to natural landscapes. On the RGNF we have an opportunity to protect and prioritize some of the
  last remaining strongholds of wild lands and wild species.

  Trout Unlimited believes this can be accomplished through a fresh look at specific areas for additional
  protections in the form of Special Management Areas, Priority Watersheds, recommended lands with
  wilderness characteristics, rivers with Wild and Scenic values, roadless area inventories, and critical
  habitat for species of conservation concern. All these layers looked at through the lens of climate change
  will surely assist in informing the best possible management for our most special places.

  B. Changes needed throughout the previous plan

  B2 - Re-evaluate the number, arrangement, boundaries, and plan direction related to the currentforest
  plan management areas to minimize complexity and maximize ecosystem integrity and connectivity.

  Trout Unlimited believes that Management and Geographic Areas are extremely important tools for
  protecting places with outstanding values and resources that are not already protected by designated areas.
  The RGNF is well guided to relook at these tools. We would like the revised Plan to include areas

  Trout Unlimited Comments to: The 1996 Rio Grande National Forest: What Needs to Change




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 56 of 356




  specifically identified as sportsmen-centric that include enhanced recreation, hunting, and angling
  opportunities. Trout Unlimited is drafting area suggestions and will provide examples to the RGNF staff.
  These suggested areas will provide a layering of Geographic and Management Area recommendations
  and associated recommended goals, objectives, standards, and guidelines that capture the interests of
  Trout Unlimited and partners. Though focused on coldwater fisheries, big game habitat and other issues
  will be evaluated and brought forth in the suggestions.

  B3 - Revise the current plan to allow for more adaptive management to better meet and monitor desired
  conditions related to climate change andfluctuations in forest budgets, through the help ofpartnerships,
  volunteers, and citizen scientists.

  Trout Unlimited feels privileged to be partners with the Forest Service through volunteer and citizen
  science projects. We believe these grassroots collaborations are the heart and soul of our organization and
  they are in no short supply on the RGNF. Under the plan revision process, we recommend the
  prioritization of citizen science contributions, but also for an internal monitoring and feedback structure
  that provides accountability and continuity for understanding the data obtained through the volunteer
  citizen science program. We want to be sure that the work contributed through the citizen science
  program is valuable, useable, and provides an opportunity to critique the process of those contributions.
  This recommendation also compliments the objective from line B1 (Table B), to revise the accessibility of
  the previous plan to the public and incorporate web-based technology as a public interface.

  B5 - Revise the current plan to include management approaches that ensure for sustainable infrastructure
  related to recreation, forest health and habitat connectivity

  Angling and hunting are important uses of National Forest lands. These uses are dependent on high
  quality waters, outstanding habitat conditions, intact watersheds and appropriate access. Typically these
  uses are lumped in with other recreational uses such as hiking, skiing, sightseeing and camping, and
  receive no specific management guidance. Frequently there is significant attention to biodiversity,
  viability and habitat conditions, but rarely is there a direct linkage to sportsmen and their use of these
  public lands for their traditional activities. Trout Unlimited hopes that new management approaches be
  utilized as a framework by which we can develop a Sportsmen’s “vision” for the RGNF that not only
  protects intact backcountry lands, but that also address need and opportunity for stream restoration,
  protecting and improving front country winter range, and travel management, among other objectives.

  C. Changes identified through the Assessment phase

  C3 - Revise the previous plan to ident,^fy priority watersheds to re^flect the current best management
  practices including the Watershed Conservation Practices Handbook, National Best Management
  Practices program, and Watershed Condition Framework

  Since the 1996 Plan there have been significant changes to overall watershed conditions and
  improvements to best management practices. The referenced Forest Service guiding documents were
  published after the original plan, as recently as 2011 in the Watershed Condition Frame work, and should
  be used to guide the direction of the new forest plan. These tools are important assessors and could be
  applied to new 2012 Planning Rule concepts such as landscape level connectivity and watershed health.
  Combined with new knowledge of RGCT distribution and habitat requirements1, reevaluation of priority

  i„-
    Rio Grande Cutthroat Trout Conservation Team. 2013. Rio Grande cutthroat trout (Oncorhynchus clarkii virginalis)
  Conservation Strategy. Colorado Parks and Wildlife, Denver, CO
  https://www.fws.gov/southwest/es/NewMexico/documents/RGCT conservation strategy final 12-10-13.p

  Trout Unlimited Comments to: The 1996 Rio Grande National Forest: What Needs to Change                               3




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 57 of 356




  watersheds for this species of conservation concern alone is worth prioritization in the Need for Change.
  We recommend the draft Plan include updated science and management objectives as recommended in
  the 2013 RGCT Strategy.

  C4 - Update the previous plan to incorporate the negotiated in-stream flow water rights language and
  decree between the Rio Grande National Forest and the State o^f Colorado from 2000.

  Through use of in-stream flow water rights by the RGNF, large amounts of work by TU and other
  organizations is made possible. The unique nature of the current situation on this Forest has allowed for
  extensive collaboration between diverse groups of stakeholders to produce a mutually beneficial system
  for water management. There are native and wild trout populations which would be threatened if these
  programs were to stop. We support the RGNF integrating the updated water rights language into the
  revised forest plan.

  C6 - Evaluate additional areas for special designation, including areas with cultural values,
  opportunities for connectivity, and areas importantfor the protection ofplant communities and special
  habitats vulnerable to climate change.

  Currently, there is a unique sync in timing of federal lands planning in the Rio Grande valley across
  Colorado and New Mexico. This is an opportunity for a true landscape scale collaborative approach to
  management of almost 5 million acres (see attached map). Trout Unlimited is asking for the RGNF to
  include in the plan these larger ideas in the decision making of area designations (see attached letter). The
  past plan was not afforded the same opportunity to work across boundaries, and the management of
  neighboring federal lands should be taken into consideration during this new planning process. In light of
  this new opportunity, and the flexibility of new geographic and management areas as addressed in line
  B2, there is sufficient reason to pursue new areas for special designations. Furthermore, climate change
  has created extreme risks for coldwater fish. The U.S. Geological Survey as recently finalized a survey
  that finds nearly two-thirds of remaining RGCT populations survive in streams with baseflows of less
  than 1 cfs. Because 60 percent of RGCT habitat exists on national forests in Colorado and New Mexico,
  we believe updated definitions of special designations would be appropriate.

  D. Desires identified through the Assessment phase

  D2 - Revisit the oil and gas leasing Available Analysis completedfor the 1996 Forest Plan.

  Trout Unlimited supports the new plan containing an updated oil and gas leasing analysis and direction
  for protecting areas from future oil and gas leasing. We also support a separate NEPA process for
  defining the management direction which the RGNF plans to take in designating areas available and
  unavailable for oil and gas leasing and development.

  D13- Revisit the ojf-road game retrieval policy on the Rio Grande National Forest.

  Trout Unlimited and our members would like to see aspects of the Forest’s off-road game retrieval policy
  updated to reflect current hunting trends and new science about impacts to the landscape and to wildlife.
  We believe the Forest Plan to be an appropriate place for this conversation, but would also support a
  subsequent Travel Management Plan if it were to address the game retrieval policy at that time.

  D19 - Update plan direction for the removal of common mineral materials, such as commercial contracts,



  Trout Unlimited Comments to: The 1996 Rio Grande National Forest: What Needs to Change




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 58 of 356




  personal, ceremonial, andfree use permits

  Increasing popularity of recreational suction dredge mining has become an issue among many trout
  streams in the West. As technology and access increases, TU would like the revised plan to reflect these
  changes and provide the opportunity for protecting watersheds and the sensitive aquatic habitats where
  trout live. There have been significant investments in instream river work across the RGNF since the
   1996 Plan to which new small scale mining techniques pose a threat.

  Identified Priorities Missing from the Draft Need for Change

  Abandoned Mine Reclamation Sites.

  Missing from the Need for Change document is any mention of abandoned mine cleanup opportunities.
  We believe the new plan should contain direction and a prioritization mechanism for addressing the
  remediation and reclamation of abandoned mine sites. The RGNF in particular has been a leader in
  utilizing partnerships and innovative techniques to have positive impacts on formerly dead zones caused
  from abandoned mines. Kerber Creek is an example of a waterway which has seen significant
  regeneration as a trout fishery after a mine reclamation process was initiated. Without strong directives
  and foresight, a project on the scale of Kerber creek would be impossible. The RGNF Abandoned Mine
  Land Inventory Project completed by Forest districts from 1993 through 1998 is a baseline from which
  the Forest Service can expand. This Inventory Project was not included in the 1996 Plan and we
  recommend reconsideration for the new plan revision. As such we ask the Forest Service to examine and
  include in their need for change language concerning abandoned and polluting mines on Forest Service
  property.

  Conclusion

  Trout Unlimited is committed to protecting and restoring the unique fish and wildlife and habitat values
  of the Rio Grande National Forest. We appreciate the opportunity to participate in the forest plan revision
  process and would like to work cooperatively with the Forest Service on the issues discussed above. A
  strong plan developed with cooperating partners will help achieve ecologically sustainable, fiscally
  realistic, and enforceable management options for the forest resources in the future.

  Please feel free to contact me with any questions.

  Sincerely,




  Garrett Hanks                                                           Mark Seaton
  SW Colorado Field Organizer                                             President
  Trout Unlimited                                                         San Luis Valley Chapter, Trout Unlimited
  1309 E. 3rdAve., Suite 109                                              P.O Box 503
  Durango, CO 81301                                                       Alamosa, CO 81101
  970-430-5540                                                            719-588-7678
  ghanks@tu.org                                                           slvtroutunlimited@,gmail.com

  and on behalf of :



  Trout Unlimited Comments to: The 1996 Rio Grande National Forest: What Needs to Change                             5




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 59 of 356


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                           WILDLIFE                                      Colorado                  FEDERATION
                           FEDERATION               TROUT                Wildlife
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                                                                         FEQEf^ATION




  February 26, 2016



  Cal Joiner, Regional Forester                             Dan Jiron, Regional Forester
  U.S. Forest Service, Southwest Region                     U.S. Forest Service, Rocky Mountain Region
  333 Broadway Blvd. SE,                                    740 Simms St.
  Albuquerque, NM 87102                                     Golden, CO 80401

  Amy Lueders, New Mexico State Director                    Sue Masica, Regional Director
  Bureau of Land Management                                 National Park Service, Intermountain Region
  301 Dinosaur Trail                                        12795 Alameda Parkway
  Santa Fe, NM 87508                                        Denver, CO 80225



  Dear Regional Foresters Cal Joiner and Dan Jiron and Directors Amy Lueders and Sue Masica:

  We write to bring to your attention an exciting opportunity for the United States Forest Service (USFS),
  Bureau of Land Management (BLM), and the National Park Service (NPS) to coordinate your respective
  federal land management planning efforts in the Upper Rio Grande watershed. Our sporting
  organizations represent thousands of hunters and anglers in Colorado, New Mexico, and throughout the
  west who enjoy outdoor experiences on USFS, BLM and NPS administered lands. We are currently
  collaborating with the USFS in the development of the Carson, Santa Fe and Rio Grande National Forests
  plan revisions, the BLM on the Rio Grande del Norte National Monument plan amendment, and the NPS
  on the upcoming plan development for the recently established Valles Caldera National Preserve.

  These planning efforts will encompass more than five million acres of federal lands within the Upper Rio
  Grande watershed, a treasured landscape in both Colorado and New Mexico.1 This landscape is also
  home to a 90,000 acre conservation easement (the single largest conservation easement ever donated
  to the U.S. Fish and Wildlife Service), as well as the 579,000-acre Vermejo Ranch that is managed with a
  conservation and wildlife focus.

  Given the immediate adjacency and collective ecological significance of these administrative units within
  the headwaters of the Rio Grande, simultaneous revisions present a unique opportunity to showcase an
  “all lands” approach for managing landscape connectivity and large-scale species movement. In the case
  of the Upper Rio Grande, the daily and seasonal movements of animals within home ranges, dispersal
  and genetic interchange among populations, and potential range shifts in response to climate change
  will span borders between states and land jurisdictions. With over five million acres currently in play,
  we can shape the long-term management of one of the largest blocks of wild public lands in North
  America -- an area coveted by sportsmen for its hunting and fishing, important fish and wildlife habitat

  1 The Carson National Forest National Forest is 1.5 million acres, the Santa Fe National Forest is 1.6 million acres,
  Rio Grande National Forest is 1.8 million acres, Rio Grande del Norte National Monument is 242,455 acres, and the
  Valles Caldera National Preserve is 89,000 acres.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 60 of 356




  and movement corridors. The concept of landscape-level integrated planning is emphasized in the
  USFS's new planning rule (including requirements that the agency maintain or restore connectivity in
  forest plans and coordinate planning with other federal agencies), the BLM's Planning 2.0 revision
  process, and the NPS's management policy for cooperative conservation beyond park boundaries. The
  Upper Rio Grande could be a model landscape for piloting cooperative and integrated planning for
  species and landscape connectivity.

  To that end, we ask that you capitalize on this opportunity and coordinate the Carson, Santa Fe, and Rio
  Grande National Forests, Valles Caldera National Preserve, and BLM Rio Grande del Norte National
  Monument land management planning processes, especially around landscape connectivity and species
  movement. For such efforts to succeed, each administrative unit must be committed to collaborating
  and identifying planning alternatives that enhance landscape connectivity and species movement and
  have the support of their leadership. We respectfully ask that you make the Upper Rio Grande a
  replicable model for providing connectivity and species movement at a multi-state, multi-jurisdictional
  scale.

  Thank you for your consideration of this request.


  Sincerely,




  Garret Hanks                                        Toner Mitchell
  Southwest Colorado Field Coordinator                New Mexico Water and Habitat Program Manager
  Trout Unlimited                                     Trout Unlimited
  ghanks@tu.org                                       tmitchell@tu.org




  David Lien                                          Oscar Simpson
  Chairmain                                           State Chair
  Colorado Backcountry Hunters & Anglers              New Mexico Backcountry Hunters & Anglers
  dlien442@gmail.com                                  oscarsimpson3@yahoo.com




  Suzanne O'Neill
  Executive Director                                  Garrett VeneKlasen
  Colorado Wildlife Federation                        Executive Director
  cwfed@coloradowildlife.org                          New Mexico Wildlife Federation
                                                      garrett@nmwildlife.org




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 61 of 356




  Brian Kurzel
  Regional Executive Director- Rocky Mountain
  Regional Center
  National Wildlife Federation
  KurzelB@nwf.org



  cc:

  Dan Dallas, Forest Supervsior, Rio Grande National Forest
  James Duran, Forest Supervisor, Carson National Forest
  Maria Garcia, Forest Supervisor, Santa Fe National Forest
  Sarah Schlanger, Field Manger, BLM Taos Field Office
  Jorge Silva-Banuelos, Valles Caldera National Preserve




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        Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 62 of 356
  Conservation Opportunities in the Upper Rio Grande Landscape




                                                                                                                           Pueblo




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           Durango _




New MeXiCO^^                                                                                  Rio Grande
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                                                                                                                  Park Ranch
                                                                                                 Norte
                                                                                               National
                                                                                              Monument




                                                                                  Carson NF




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                                                                  Sante Fe
                                                                     NF

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' t;                                                                    Caldera
                                                                          NP

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   Units undergoing land                Area of Critical
   management planning                  Environmental Concern
                                   1^^ Conservation Easements

                                        BLM Lands with
                                        Wilderness Characteristics
   Bureau of Indian Affairs Land
   National Wildlife Refuges
                                        Colorado Roadless Areas, Upper Tier                                                     Miles
                                        Colorado Roadless Areas
   Designated Wilderness
                                        State Parks & Wildlife Areas
   Wilderness Study Areas
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 63 of 356




                                                                                            P.O. Box 2800
                                                                                Pagosa Springs, CO 81147
  Business Office: (970) 264-5639             Ski Report 800-SKI-WOLF                 Fax: (970) 264-2392
  Web Site: www.wolfcreekski.com                                   Email: wolfcreekski@wolfcreekski.com

  Friday, April 15th, 2016

  Rio Grande Forest Plan Comments
  13308 US Hwy 160
  Del Norte, CO 81132
  Rgnf forest plan@fs.fed.us

  Dear Mr. Dallas,

  Wolf Creek Ski Area (WCSA) participated in a variety of ways during the assessment phase of the Rio
  Grande Forest Plan Revision by attending public meetings, discussing observations and ideas with forest
  staff, contributing to the MindMixer website, and submitting written comments. The Forest Plan will
  direct forest management for decades to come, and as such, WCSA appreciates the opportunity to
  provide comment throughout the process. This letter is in regards to the Needs for Change document
  and draft assessments.

  NEEDS FOR CHANGE

  In the Needs for Change document, WCSA offers comment on A1, A6, A9, B4, B5, C1, D5 and D15 below:

      •   A1: WCSA supports the demarcation in forest management directive between salvage sales and
          green timber sales, hereby warranted with the decimation of timber stands on the Rio Grande
          National Forest (RGNF). The former type of sale should be administered with greater expediency
          and flexibility in order to extract timber while it still has value and to improve forest health.
          WCSA would also like the RGNF to consider non-traditional timber sales that enhance forest
          accessibility by building or repairing road infrastructure usable for timber removal as well as
          recreation.
      •   A6 & D15: Wolf Creek supports increased renewable energy production on the RGNF, and
          believes it warrants specific consideration separate from non-renewable energy in the new
          Forest Plan.
      •   A9: As stated throughout the draft assessments, there is conflict between motorized and non­
          motorized forest users. In order to address this debate, WCSA believes that the Forest Service
          needs to quantify forest visitors by user type, assess their impact, and devise a travel
          management plan for current and future recreation trends.
      •   B4 & B5 & D5: As a longtime partner in recreation with the Rio Grande National Forest, WCSA
          will move forward with its plan for sustainable infrastructure improvements. This is a core
          component of the management philosophy, in which development is grounded in improving the
          ski experience for WCSA guests on the RGNF. This experiential ski philosophy is based on
          attracting visitors throughout the season by offering a unique experience, rather than




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 64 of 356




          developing the Special Use Permit to allow for ever larger peak days. This business strategy
          supports local economies that depend upon Wolf Creek Ski Area throughout the entire winter
          season.
      •   C1: Wolf Creek supports the use of prescribed and naturally occurring fire as a management
          tool. WCSA advocates for greater autonomy for forest officers at the local level to determine
          when fire, both naturally occurring and prescribed, is a healthy treatment option for the forest.
      •   D15: As part of the Winter Operating Plan, WCSA prohibits the use of drones on the Special Use
          Permit.

  DRAFT ASSESSMENTS

  WCSA reviewed the executive summaries of all forestwide planning assessments, but the specific
  document of interest is Assessment 9- Recreation. WCSA is pleased to see the proposed area of
  expansion is being considered, as stated on page 11: “We also emphasize existing and potential ski­
  based resorts in management area 8.22. This management area encompasses the Wolf Creek Ski Area,
  including locations where expansion may occur.” The aforementioned expansion area is approximately
  85 acres near Alberta Park Reservoir that will tie in well with the proposed Meadow Lift. This additional
  acreage offers north facing, exciting new ski terrain that will complement the upward trend in
  recreationalist seeking the pseudo-backcountry ski experience.

  As commented upon above and echoed throughout the planning document, voluntary separation of
  different user types, specifically between motorized and non-motorized users, does not always work. In
  order to address this conflict, WCSA supports thorough summer and winter use surveys from which the
  Forest Service can designate specific areas as motorized and non-motorized. While this is sure to be a
  contentious process, it will in fact alleviate the growing tension between different forest user groups.

  When considering additional Special Use Permits on the RGNF, WCSA believes it is imperative that all
  applicants are held to the same level of scrutiny. Different user groups have different impacts that
  should thus be analyzed when determining management area allotments and permit applications.

  IN CLOSING

  The comments above, along with verbal and written statements previously on record, are part of the
  continued dialogue between the Rio Grande National Forest and Wolf Creek Ski Area on the future of
  the forest. Any and all of these ideas welcome discussion with forest staff throughout the Rio Grande
  Forest Plan Revision process.

  Sincerely,

  Davey Pitcher
  President & CEO
  Wolf Creek Ski Area




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 65 of 356




                                 Intermountain Forest Association
                                         2218 Jackson Blvd, Ste 10, Rapid City, SD 57702
                                               605-341-0875 Fax 605-341-8651




                                                                                    April 18, 2016
     Mr. Dan Dallas
     Rio Grande NF
     1803 W. Highway 160
     Monte Vista, CO 81144

     Dear Mr. Dallas:

     On behalf of the members of the Intermountain Forest Association, I appreciate this
     opportunity to offer comments on the draft Assessments and the draft Need for Change
     documents associated with the Rio Grande NF forest plan revision.

     Recommendation 1, Natural Range of Variation

     Natural Range of Variation (the term used in the 2012 Planning Rule) is crucial to the forest
     plan revision since Ecosystem Integrity is measured, in part, by whether or not the
     dominant characteristics of the ecosystem a) are within the range of what would occur
     “naturally” (natural range of variability), and b) can stay within that range as each
     ecosystem is influenced by stressors such as climate change, as well as development and
     other uses of the forest.

     We have two significant concerns regarding the RGNF’s estimates of NRV, the first being
     the concept of NRV equilibrium and the second being several of the assumptions used to
     estimate NRV.

     NRV Equilibrium - The title for Figure 3, on page 16 of Assessment 1 and 3, compares
     current and projected future habitat structural stage classes to a “natural range of variation
     equilibrium” condition. We do not support the “equilibrium” approach. The basic concept
     of NRV assumes a “range” of natural conditions against which current conditions and a
     range of future conditions can be compared. According to Weins et al (2012), “The notion
     that equilibrium or stasis was the norm in the natural landscape prior to major impacts from
     European settlement in North America is no longer tenable in the light of several decades of
     research on environmental history”. Further, use of an “equilibrium condition” would force
     the RGNF into comparing forest attributes against a very narrow range of conditions. We
     recommend that you discard the “equilibrium condition” approach, and make new RGNF
     NRV estimates for a “range” of natural conditions.
                                                   1

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 66 of 356




     Assumptions - We question several of the assumptions used in the modeling of NRV,
     including:

            -Overly optimistic projections of spruce-fir forest regeneration - page 18 of
            Assessments 1 and 3 states that “the current overabundance of grass/shrub
            conditions largely disappears in the first 20 years of projections and open conifer
            forests are mostly replaced by mid- and closed- cover forests over the first century
            of projections”.

            There is considerable evidence that regeneration to spruce-fir following fires will
            take considerably longer than 20 years. Romme (2009) estimated 40-50 years after
            fires where inadequate seed sources remained, and an 80-year delay in abundant
            spruce regeneration in one stand above 11,000 feet. Further, the attached white
            paper from Paul Minow describes 1) “large expanses of aspen that are on the forest
            now can be attributed to past fires”, ie, the succession pathway to spruce-fir is likely
            to include an intermediate aspen stage, 2) “several fires have left the forest treeless
            and converted to rangelands”, including the Osier Mountain Fire which burned a
            “great stand of spruce forest” in 1879 and “50% of the area is still grass”, ie, the
            succession path to spruce-fir may include a long stage of grasslands. Finally, the
            Cumbres Vegetation Management FEIS states (on page 70) “If a severe wildfire
            were to occur in the areas heavily impacted by spruce beetle, a type conversion to
            grassland similar to the spruce-fir forest burned in the 1870s Osier fire would be a
            likely outcome.” Other recent project NEPA documents on the RGNF contained
            similar comments.

            -The assumption that large spruce beetle epidemics like the one currently affecting
            the RGNF are not within the NRV - The decision to not include large spruce bark
            beetle outbreaks as discussed on page 18 of Assessments 1 and 3 misreads the
            science, including the quote in the 5th paragraph. The discussion on page 68 of
            Assessment 1 and 3 includes the following -- “The Region 2 and the Rio Grande
            experts who helped develop the insect transition parameters determined that
            outbreaks of the severity that have recently occurred are too rare to model, and
            therefore the spruce beetle outbreaks represented in the model represent moderate,
            but not extreme, severity events”. We disagree. There is considerable evidence
            that spruce beetle epidemics just like the one currently affecting the RGNF are not
            unprecedented. Schmid and Frye (1977) discuss historic spruce beetle epidemics on
            pages 1 and 2, and the effects of those epidemics on succession on pages 20 and 21.
            Similarly, Romme et al (no date) concluded “There is no evidence to support the
            idea that current levels of bark beetle or defoliator activity are unnaturally high.
            Similar outbreaks have occurred in the past.” Finally, foresters who have worked
            extensively on the RGNF observe that the current monoculture of age classes now
            on the RGNF appear to have been set up by historic extensive spruce bark beetle
            epidemics or fires.

            -Modeled patch sizes may not be appropriate for the RGNF - The modeled patch
            sizes for spruce fir insects outbreaks were 75% at 25 acres, 10% each at 5 acres and
                                                   2

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 67 of 356




            250 acres, about 3% at 2,500 acres, and about 2% at 25,000 acres, all based on patch
            size distribution from Blue Mountains in Oregon (Figure 11, p 68, Assessment 1
            and 3). We question whether those modeled patch sizes are accurate and
            appropriate for the RGNF, especially considering the size of the current epidemic.

            -An assumption that the fire return interval in spruce-fir is 500 years. That is
            considerably longer than the 300-year spruce-fir fire return interval estimated in
            Romme 2009.

     As acknowledged on page 18, incorporating these assumptions into the RNV modeling
     yields a result “that is not necessarily in agreement with the published literature”. Given
     the 2012 Planning Rule’s emphasis on Best Available Science, use of a result “ that is not
     necessarily in agreement with the published literature” should be done very cautiously and
     only with a very strong rationale. In our opinion, that rationale does not exist.

     We recommend a thorough review of how RNV has been estimated for the RGNF.

     Recommendation 2, Species of Conservation Concern

     According to the 2012 Planning Rule, Species of Conservation Concern are: “a species,
     other than federally recognized threatened, endangered, proposed, or candidate species, that
     is known to occur in the plan area and for which the regional forester has determined that
     the best available scientific information indicates substantial concern about the species
     capability to persist over the long-term in the plan area.”

     The RGNF is required to compile a list of potential SCCs, and the Regional Forester will
     then make a decision about which species are on the SCC list for the RGNF.

     In general, the draft list of SCCs does not contain adequate rationale for species’ inclusion
     on the list. We are concerned that there are many species included on the Draft SCC list for
     which there are no known population on the RGNF (for example, Northern Leopard Frog,
     Veery, Wolverine, Ryberg’s golden columbine, Aztec milkvetch, etc.) or for which there is
     no documented “substantial concern” about the species’ capability to persist over the long­
     term in the plan area (for example, Black swift, Boreal owl, Flammulated owl, Northern
     goshawk, American marten, etc.). Since those species don’t meet the “black and white”
     requirements for SCCs, they should be removed from the draft list of SCCs. If new
     information becomes available that documents a known occurrence or substantial concern
     about long-term persistence, then those species can be added to the list at that time.

     Finally, we recommend that the Regional Forester make the decision on the final SCC list
     early enough in the plan revision process to allow the RGNF and the public to consider that
     information in the preparation of and comments on the draft plan and DEIS.

     Recommendation 3, Lynx

     In general, the Planning Rule requires the forest plan to provide the ecological conditions
     necessary to contribute to the recovery of federally listed threatened and endangered
                                                   3

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 68 of 356




     species. We are particularly concerned about the Canada lynx and the direction in the
     Southern Rockies Lynx Amendment (SRLA), and include by reference our February 3,
     2016 letter to the RGNF.

     According to the Assessment:
           a) there were kittens in 2015, the first documented since 2010,
           b) there are a little over 1 million acres of mapped lynx habitat on the RGNF,
           c) 780,000 acres of lynx habitat have been affected by the spruce beetle epidemic,
           d) the spruce beetle epidemic doesn’t seem to be affecting lynx distribution or
           reproduction,
           e) the RGNF has identified connective habitat that “is essential” for lynx movement,
           f) the majority of high-quality lynx habitat is/was late-successional spruce-fir cover
           types, and
           g) timber harvest is never mentioned as one of the risk factors for lynx.

     We request that you address the following questions as part of the RGNF forest plan
     revision:
              1) Is all of the SRLA direction necessary to “contribute to the recovery of lynx”?
             2) Are LAUs and all the calculations associated with suited/not suited habitat
             necessary to “contribute to the recovery of lynx”?
             3) What is proposed management prescription for “connective habitat”, and is that
             necessary “to contribute to the recovery of lynx”?
             4) Which acres of the RGNF will be managed for lynx habitat? What will be the
             criteria for determining those acres, and will the public have an opportunity to
             review and comment on the proposed mapping?
             5) If timber harvest is not a risk factor, why have forest plan components to address
             timber harvest?
             6) If late-successional spruce-fir cover type is most used by lynx, what forest
             management strategy is proposed to provide adequate late successional spruce-fir
             habitat over the long-term?
             7) What are the desired conditions for long-term lynx habitat on the RGNF?
             8) Can lynx habitat needs be adequately provided through the “coarse filter” section
             of the revised forest plan.
             9) Can lynx habitat needs be adequately provided through SRLA Objectives VEG
             01 - 04 (see attached)?

     Attached are two pages from the Big Moose FEIS. We are concerned about the time and
     energy spent by RGNF wildlife biologists tracking the various acreages and percentages in
     Table 3.8-1 in order to comply with the SRLA, all of which may be of little value to lynx
     recovery. We are also concerned about the various acreage “caps” and the potential long­
     term effects of those caps on vegetation management.

     We recommend that you incorporate these considerations into the forest plan revision.

     Recommendation 4, Timber Harvest/Silviculture



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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 69 of 356




     The forest planning directives require that the Forest Assessment include “standing
     inventory, age classes, growth, and mortality”. Notwithstanding the effects of the spruce
     bark beetle epidemic on available forest inventory data, we request that you include the
     most current information available.

     As discussed on Page 9 of Assessment 8, one of current forest plan Guidelines is “Our
     chosen silviculture system should emulate the pattern, timing, and frequency of natural
     disturbances found in the landscape being treated.” Considering the history of natural
     disturbances on the RGNF and the current widespread spruce bark beetle epidemic, we
     recommend a different approach for the revised forest plan.

     Specifically, we recommend that the revised forest plan maximize salvage of dead spruce in
     order to reduce forest fuels, hasten establishment of ‘the next forest’, and utilize dead trees
     for products and economic benefits. We also recommend that the PTSQ for the first two
     decades not be limited by “non-declining constraints”. Finally, we recommend that the
     RGNF not limit the PTSQ based on current budget and/or staffing levels; instead, we
     recommend a two-tiered approach, similar to that proposed by the Francis Marion NF (see
     FMNF Draft Revised Forest Plan OBJ-F-2(o)).

     Page 11 of Assessment 8 explains that of the 1.8 million acres of the RGNF, only a small
     portion (17%) are considered suitable for timber production. Then, on page 14, the
     Assessment states “only 9 percent of the total forest is eligible for us to manage to improve
     watershed health based on the current forest management plan and economic
     considerations.” This statement is based on work completed by Forest Stewardship
     Concepts in 2014. Because the work completed by FSC had different objectives and
     priorities, and was not a public process, we recommend deleting that language. By no
     means do we believe that information should be included in the consideration of NFC items
     A1 and B2.

     Recommendation 5, Climate Change

     Considering that Need for Change A7 states that management direction should be revised to
     address climate change, we believe Assessments 1 & 3 should be beefed up to include
     current status of climate change on the RGNF as well as the best available projections for
     climate change, and the potential to affect wildfire frequency and intensity, insect
     infestations, invasive species, flooding, erosion, forest composition and health, and
     sedimentation. In particular, we recommend similar information to that recently published
     in the GMUG’s SBEADMR (Spruce Beetle Epidemic and Aspen Decline Management
     Response) Final EIS, including:

            -Furthermore, these disturbances are occurring in the context of a changing
            climate. Over the past 100 years, Southwestern Colorado temperatures have
            increased, and modeled climate projections for the region include warmer and
            longer frost-free summers, snowline moving up in elevation, earlier snowmelt, and
            consequently, a longerfire season.



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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 70 of 356




             -Due to predicted warming, spruce beetle outbreaks could be more likely in the
            future. Higher summer temperatures can foster spruce beetle outbreaks by allowing
             beetles to reproduce every year rather than every two years (Bentz et al. 2010).
             Additionally, anticipated more frequent drought conditions place water-stressed
             stands at greater risk of insect and disease.

             -Climate changes could lead to largerfires and possibly fire with more high-
             severity area than in previous decades (Westerling et al. 2006, Agee 2007, Funk
             2012). Modeled climate scenarios for the Gunnison Basin by 2035 indicate potential
            for the fire season to increase by one month;for fire frequency in high-elevation
            forests to increase from 4 to 12 times as often as experienced between 1971-2000;
             andfor fire extent to increase from 6 to 11 times the extent burned between 1971­
             2000. These scenarios model severity andfrequency irrespective of tree mortality
             (Rangwala and Rondeau, Southwest Colorado Social-Ecological Climate Resilience
             (SECR) Project). (Pages 2-3).

     Recommendation 6, Fire

     Page 2 of Assessments 1 and 3 state that the RGNF is unclear how allowing fire on the
     landscape with current high fUel loadings will impact the desired conditions in specific
     forests types; however, according to page 9, research suggests it is not an issue.

     We recommend further review of research, including:

        • Jenkins, MJ, Page, WG, Hebertson, EG, Alexander, ME. 2012. Fuels and fire
            behavior dynamics in bark beetle attacked forests in western North America and
            implications for fire management. Forest Ecology and Management. 275:23-34.
        •   Jorgenson, C.A., and M.J. Jenkins. 2010. Fuel Complex Alterations Associated with
            Spruce Beetle-Induced Tree Mortality in Intermountain Spruce-Fir Forests, USA.
            For. Sci. 56:In press.
        •   Effects of Drought on Forests and Rangelands in the United States: A
            Comprehensive Science Synthesis.
            http://www.fs.fed.us/sites/default/files/DROUGHT book-web-1-11-16.pdf

     Recommendation 7, Biological Diversity

     A primary contributor to size and intensity of the spruce bark beetle epidemic in the Rio
     Grande NF over the past 15 years was the lack of age and size class forest diversity. One of
     the most important outcomes of the Rio Grande NF plan revision should be a Desired
     Condition for forest Biological Diversity, ie, age class, size class, etc. and a strategy to
     acheive that desired condition.

     We recommend that the revised forest plan include detailed Desired Conditions for forest
     vegetation, both for suited and nonsuited timberlands. Our experience is different than the
     following sentence found on page 2 of Assessment 1 and 3: “Standards and guidelines in
     our current Forest plan were written to move the forest toward these desired conditions.”
     From our experience, standards and guidelines have very little to do with moving a forest
                                                   6

                                                                     Rvsd Plan - 00002181
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 71 of 356




     toward desired conditions. Accordingly, we recommend that the RGNF revised forest plan
     emphasize Objectives and Desired Conditions over Standards.

     Need for Change Document

     Following are several general comments:

     - we recommend that you add background and rationale for Need for Change items based on
     “internal staff recommendations”.

     - we recommend consistently referring to “the current forest plan”, instead of “the previous
     forest plan”.

     - we recommend that the term “Revisit”, as used in a number of Need for Change items, be
     supplemented with a more descriptive discussion of the objective.

     - we note that many Desired Conditions and Objectives in the current forest plan do not
     conform to the definitions for those components in 219.7(e), and recommend that Desired
     Conditions and Objectives in the revised forest plan be written to conform with 219.7(e).

     - the current forest plan contains numerous Standards and Guidelines that restate law,
     regulations, or Forest Service policy. We recommend that all plan components be written
     so they do not repeat laws, regulations, Forest Service directives, etc. (219.2(b)(2)).

     A2 - We recommend you modify A2 to clarify that potential new wilderness areas will be
     analyzed and considered, but, there is no requirement to recommend new wilderness areas.

     A4 - We recommend that you modify A4 to “Update plan direction to conform to
     requirements for recovery or conservation of federally recognized threatened, endangered,
     proposed, and candidate species”.

     A5 - We recommend that you modify A5 to “Identify potential species of conservation
     concern. Provide management direction to manage habitat to ensure viable populations for
     the species of conservation concern selected by the Regional Forester.”

     A7 - Among other things, revising management direction related to climate change should
     include the following as discussed on page 8 of Assessment 4: 1) the fact that forests can
     covert to being a large carbon source if fire and fuels management are ineffective, and 2)
     that salvaging standing dead trees and turning them into wood products not only
     permanently stores carbon, but also reduces the amount of carbon that could be released in
     a wildfire.

     A9 - Because roads are such a critical issue, and important to many different programs, we
     would like to see more detail in Assessment 11 about how Forest Service roads are
     maintained. For example, many roads are maintained annually through timber sale
     requirements.

                                                  7

                                                                    Rvsd Plan - 00002182
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 72 of 356




     B3 - We recommend modifying B3 as follows: “Revise the current plan to allow for more
     adaptive management to better meet and monitor desired conditions through the help of
     partnerships, volunteers, State and local governments, and NGOs.”

     B4 and B5 - We recommend that consideration of local economies and sustainable
     infrastructure include sawmills and other wood product facilities, which are critical for
     achieving sustainable forest management objectives. Forest management jobs (non­
     services type jobs) are well-paying jobs. It is important to have a sustainable supply of
     timber to ensure that these types of jobs are sustained. In comparison, service related jobs
     paid 29% less, on average. Forest related jobs have dropped from 1% to .4% since 1998,
     which is tied to the lack of supply. The timber section of Assessment 7 should also discuss
     the road maintenance that gets done through timber sales, which is a very important
     “service” that benefits multiple resources.

     C2 - We recommend expanding C2 beyond air quality monitoring to consider revising the
     plan components related to air quality. Page 47 of Assessment 2 states “wildfire emissions,
     depending on the year, can be the most significant source of pollution within and around the
     Forest, but are not controllable by management except indirectly, through fire
     suppression.” Given the very large amount of mortality, we feel strongly that salvage, at
     least on suitable acres, could be a significant smoke management tool by reducing the
     amount of fuel that could potentially burn during a wildfire, and should be mentioned. We
     also recommend a serious discussion about air quality, smoke from prescribed burning,
     smoke from burning piles, smoke from managed wild fires, and “natural” air quality.

     C3 - Wildfire is the greatest current and potential threat to watersheds, water quality, and
     water quantity. As part of this change item, we recommend incorporating the standards and
     other relevant direction in the Water Conservation Practices Handbook into the forest plan.

     New Need for Change Issues

     We have two recommendation regarding Canada lynx:
           1-that review and reconsideration of the Southern Rockies Lynx Amendment
           direction be added to Section A of the Need for Change, since that is required by the
           SRLA Record of Decision.

            2-that forest plan lynx direction be included with all other plan components, and not
            in an appendix.

     Thank you for your consideration. We would be happy to discuss these comments and
     recommendations with you at your convenience.

     Sincerely,

     Thomas A. Troxel

     Thomas A. Troxel
     Executive Director
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                                                                     Rvsd Plan - 00002183
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 73 of 356




                                 Intermountain Forest Association
                                        2218 Jackson Blvd, Ste 10, Rapid City, SD 57702
                                              605-341-0875 Fax 605-341-8651




                                                                                August 22, 2016
     Mr. Dan Dallas
     Rio Grande NF
     1803 W. Highway 160
     Monte Vista, CO 81144

     Dear Mr. Dallas:

     On behalf of the members of the Intermountain Forest Association, I appreciate this
     opportunity to offer the following comments on Version 2 of the draft Need for Change
     associated with the Rio Grande NF forest plan revision:

     Item A2
     We recommend rewording to “Identify and evaluate lands that may be suitable for
     Wilderness designation and determine whether or not to recommend any of those lands for
     Wilderness designation.” That will help to clarify that there is no requirement to make any
     recommendation for Wilderness designation.

     Item A4
     We recommend rewording to “Update direction to contribute to the recovery of
     federally^” We, again, recommend that the RGNF specifically review and reconsider the
     Southern Rockies Lynx Amendment (SRLA) during forest plan revision, as required by the
     SRLA Record of Decision. As discussed in our February 3, 2016 letter, there are many
     questions regarding lynx and the SRLA that should be addressed during the forest plan
     revision process. We especially encourage you to analyze ways to simplify the habitat
     accounting requirements in the SRLA. We also recommend that forest plan lynx direction
     be included with all other plan components, and not in an appendix.

     Item A5
     We recommend rewording to “Provide management direction . „”

     We support including the proposed list of SCCs with the initial proposal. As we discussed
     in our previous letter, and want to reiterate again, we recommend that the Regional Forester
     make the decision on the final SCC list early enough to allow the RGNF and the public to
     consider that information in the preparation of and comments on the draft plan and DEIS.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 74 of 356




     Item A6
     We recommend that woody biomass be included in the management direction related to
     renewable energy.

     Item A10
     We recommend that the Watershed Condition Framework process be open to the public in
     order to facilitate the goal of achieving integrated resource management.

     Item B3
     We recommend that the goal of “protecting and restoring watershed health, water resources,
     and the systems that rely on them” be changed to “protect, manage, and restore.” Active
     management will be a critical piece in achieving the listed goals.

     Additions
     We recommend two additions to Section A of the NFC -

            -“Provide direction for timber management,” as required by 219.11.

            -“Develop direction to provide for ecosystem services and multiple uses,” as
            required by 219.10.

     Finally, we recommend one more addition to the NFC -

            -“Develop desired conditions and other plan components for long-term forest
            restoration and resilience, forest health, and diversity of forest vegetation.”

     We appreciate your consideration of these recommendations as you move forward in the
     plan revision process. I would be happy to discuss these comments if you have any
     questions.

     Sincerely,

     Thomas A. Troxel

     Thomas A. Troxel
     Executive Director




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     Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 75 of 356



Minks, Erin - FS

From:                                   Blackwolf, Guy E -FS ort behalf of FS-RGNF forest plan
Sent:                                   Tuesday, May 10, 2016 11:10 AM
To:                                     Minks, Erin - FS; Blakeman, Mike -FS
Subject:                                FW: forest plan comments/ Update: forwarding Comment from Jan Crawford

Expires:                                Sunday, November 06,2016 12-.0Q AM


Good Morning I am forwarding a comment on the Forest Plan Revision/Need for Change document for your
review and record from Jan Crawford dated 3/J4/2016. No attachments were included with this comment.

Thank you,

                Guy E. Blackwolf
                NEPA Planner
                Forest Service
                Rio Grande National Forest, Supervisor's Office
                p: 718-85^6270
                f: 719-852*6250
                qeblackwolf ® fs.fed, us
                1803 W Highway 160
                Monte Vista, CO 81144
                www.fs.fed, us

                Caring for the land and serving people




From: Jan Crawford [mailto:jdchda@gojade.org]
Sent: Monday, March 14, 20164:54 PM
To: FS-RGNF forest plan <rgnf_forest_p!an@fs.fed.us>
Subject: forest plan comments

In reading the Need For Change document n the web site, I was unable to find a section that might cover changes needed to reduce
existing and future threats to the land and water due to livestock grazing. I ain attaching a photo of a creek I have fished for over a
decade Iliac has been .severely damaged by grazing on the allotment Given its current and anticipated staffing and budgets, and the
lack of easy access to many remote areas, the FS cannot possibly visit every allotment frequently enough to identify and remedy
damage like this. In the face of climate change, the risk to the forest may well increase in the future, What can be added to the
planning process to potentially enlist more stakeholders in providing better tracking of this and other threats to the forest in the
future?
Thanks for your hard work in managing our forest, and for any ideas you might encounter to remedy this problem.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 76 of 356




 United States
                      The Rio Grande
 Department of
 Agriculture          National Forest Plan:
 Forest Service

 Rio Grande
                      Proposed Action
 National Forest
                           In developing a proposed revised plan, the responsible
 September 2016             official “shall engage the public^ early and throughout
                                              the planning process. ”
                                                (36 CFR 219.4 (a)).




                    Rio Grande Pyramid in the Weminuche Wilderness.




                                                                  Rvsd Plan - 00002187
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 77 of 356




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                                                                         Rvsd Plan - 00002188
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 78 of 356

                                          Proposed Action—Rio Grande National Forest Plan Revision




                          Rio Grande National Forest
                               Proposed Action

          Lead agency:                    USDA Forest Service


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         questions to:


          Documents are posted:           Forest Plan Revision webpage




  Abstract: The Forest Service has identified the preliminary purpose and need and proposed
  action to revise the 1996 Rio Grande National Forest Land and Resource Management Plan in
  accordance with the 2012 National Forest System Land Management Planning Rule adopted by
  the U.S. Department of Agriculture. Assessments documenting existing information about
  relevant ecological, economic, and social conditions, trends, and sustainability and their
  relationship to the land management plan within the context of the broader landscape were
  published during the spring of 2016. Relevant information from the assessments, applicable laws
  and policies, and public comment were considered in determining the need to change and
  proposed action.




                                                                    Rvsd Plan - 00002189
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 79 of 356

  USDA Forest Service




                    Upper East Willow Creek, part of the Wason Park CRA.




                                                              Rvsd Plan - 00002190
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 80 of 356

                                                                       Proposed Action—Rio Grande National Forest Plan Revision



  Contents
  Introduction.....................................................................................................................................................1
  Strategic Framework..................................................................................................................................... 2
  Forest-wide Vision......................................................................................................................................... 4
     Roles & Contributions............................................................................................................................... 4
     Forest-wide Goals..................................................................................................................................... 7
       Goal 1: Protect and restore watershed health, water resources, and the systems that rely on them .. 7
       Goal 2: Maintain and restore sustainable, resilient ecosystems........................................................... 8
       Goal 3: Actively contribute to social and economic sustainability in the broader landscape and
       connect citizens to the land................................................................................................................... 8
  Strategic Domain........................................................................................................................................... 9
     Forest-wide Desired Conditions................................................................................................................ 9
     Objectives.................................................................................................................................................13
     Geographic Areas....................................................................................................................................13
       Fire Management Zones......................................................................................................................15
          Fire for Resource Benefit - Maintenance zone (FRB-M)................................................................ 15
          Fire for Resource Benefit - Restoration and Protection (FRB-RP) zone........................................ 15
          Resource Protection (Wildland Urban Interface) zone (RP)........................................................... 16
       General Forest Geographic Area........................................................................................................ 16
       Primitive Wilderness Geographic Area............................................................................................. 18
       Roadless Geographic Area................................................................................................................. 19
       Specially Designated Geographic Area............................................................................................. 21
  Tactical Domain.......................................................................................................................................... 23
     Management Areas................................................................................................................................. 23
          Proposed Management Area 1.1 - Designated Wilderness........................................................... 23
          Management Area 1.5 - Eligible Wild Rivers.................................................................................. 24
          Management Area 2.2 - Research Natural Areas.......................................................................... 24
          Management Area 3.1 - Special Interest Area—Use and Interpretation Emphasis....................... 25
          Management Area 3.3 - Backcountry............................................................................................. 25
          Management Area 3.4 - Designated and Eligible Scenic Rivers................................................... 26
          Proposed Management Area 3.5 - Colorado Roadless Area........................................................26
          Proposed Management Area 3.6 - Upper Tier Colorado Roadless Area.................................... 28
          Management Area 4.3 - Dispersed and Developed Recreation.................................................... 29
          Management Area 5.11 - General Forest and Intermingled Rangelands...................................... 29
          Management Area 5.13 - Forest Products..................................................................................... 30
          Management Area 5.41 - Deer and Elk Winter Range.................................................................. 31
          Management Area 5.42 - Special Wildlife Areas - Bighorn Sheep............................................... 31
          Management Area 6.6 - Grassland Resource Production............................................................. 32
          Management Area 4.21 - Scenic Byways and Scenic Railroads................................................... 32
          Management Area 4.4 - Designated and Eligible Recreational Rivers.......................................... 33
          Management Area 8.22 - Ski-based Resorts................................................................................. 33
     Adaptive Management Domain............................................................................................................... 36
     Monitoring Domain ................................................................................................................................. 36



                                                                                                                                                                  iii

                                                                                                                  Rvsd Plan - 00002191
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 81 of 356

  USDA Forest Service




                    Waterfall below Lake Ann, South San Juan Wilderness.




  iv
                                                              Rvsd Plan - 00002192
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 82 of 356

                                            Proposed Action—Rio Grande National Forest Plan Revision




  Introduction
  This document lays out the strategy that the Rio Grande National Forest (Fig. 1) will use to
  proceed into the formal Forest Plan Revision process, which will result in an Environmental
  Impact Statement and Record of Decision as well as a revised Forest Plan. The strategic
  framework presented below is organized by levels starting with overarching goals. The goals
  help focus the strategic, tactical, adaptive management, and monitoring domains that provide a
  strategic vision for how to make the revised Forest Plan more adaptive and responsive to
  monitoring results, changing direction, changing technologies, and changing resource conditions.
  Included in the strategic framework are Geographic Areas and Management Areas. Desired
  conditions are described for each Management Area while Geographic Area descriptions present
  more of a management emphasis based on land status and line officer discretion. Existing
  standards and guidelines will be considered during the analysis and further plan development;
  however, those are not yet finalized. All aspects of forest plan revision will incorporate the best
  available science.




  Figure 1. Location of Rio Grande National Forest in Colorado.




                                                                                                    1
                                                                       Rvsd Plan - 00002193
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 83 of 356

  USDA Forest Service



  Strategic Framework
  The strategic framework (Fig. 2) uses the 1996 Forest Plan as a starting point. Some changes are
  needed to incorporate amendments and subsequent direction into the revised Forest Plan.
  Implementation and monitoring have shown that the overall management direction of the Forest
  Plan is sound but since its approval in 1996, significant changes in economic, social, and
  ecological conditions have occurred that need to be addressed. The revised Forest Plan could
  include Forest-wide Goal statements and newly established Geographic Areas and Forest-wide
  Fire Management Zones. Management Areas from the 1996 Forest Plan will be adjusted to
  reflect a reduction in the number of Management Areas, three proposed new Management Areas,
  and changes to the boundaries of some exiting Management Areas. Two of the newly proposed
  Management Areas incorporate direction from the 2012 Colorado Roadless Rule, while the other
  one reduces three separate Wilderness Management Areas into one.




  Figure 2. Forest Plan Revision Framework.




  2
                                                                     Rvsd Plan - 00002194
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 84 of 356

                                                      Proposed Action—Rio Grande National Forest Plan Revision


  The Forest Plan will bring the national mandate for multiple use into the current environment on
  the Rio Grande National Forest and southern Colorado. To incorporate the many uses on the
  Forest while maintaining the resources, the Forest Service has established three goals that state
  the intent of the Plan direction. The Goals address watersheds and watershed health, sustainable
  ecosystems, and the social and economic contributions of the Forest to surrounding communities,
  in addition to connecting citizens to their public lands.
  The remainder of the Plan is divided into strategic, tactical, adaptive management, and
  monitoring domains that are interwoven and feed information back to help land managers
  determine how to adapt Plan direction to continue to move resources toward desired conditions,
  and how best to incorporate those changes into Forest Plan direction.
  The Strategic domain encompasses the Forest-wide policy direction that includes an overall
  emphasis for Geographic Areas, which are areas with similar management emphasis and land
  status designations. Forest-wide desired conditions describe the conditions Forest managers are
  working to achieve while objectives set measures and time frames to help managers determine if
  resources are trending toward desired conditions. Standards and guidelines may be associated
  with these areas to establish sideboards to direct activities in these Geographic Areas. Standards
  and guidelines, both Forest-wide and Management Area specific, will be included in the final
  Plan but have not yet been finalized.
  The Tactical domain divides the Geographic Areas into smaller Management Areas that have
  specific Integrated Desired Conditions representing most resources. Management Areas show
  lands with compatible resource direction and fit within the larger Geographic Areas.
  Management Areas incorporate resource-specific management direction that regulates activities
  allowed within each specific Management Area. Management Areas are designated by numbers,
  with the first integer representing the overall emphasis of the area (Table 1.1).
  The Adaptive Management domain proposes to create a process designed to increase the
  responsiveness of current and future forest managers to changing conditions on the landscape,
  changes in higher level directions, and developing technologies. The process was developed in
  response to comments from the public to all the Forest Plan to adapt to changing conditions in a
  more timely way in the future.
  Table 1.1. Management Area Designations
            Management
            Area Integer                                            Emphasis
                     1            Wilderness and Wild and Scenic River designation
                     2            Areas set aside for research
                     3            Preservation of Roadless characteristics
                     4            Areas designated for scenic values or high recreation emphasis
                     5            General forest management and wildlife designations
                     6            Grassland management
                     71           Wildland Urban Interface
                     8            Ski-based recreation
                 1   The 1996 Forest Plan did not identify any area in Management Area 7.




                                                                                                               3
                                                                                            Rvsd Plan - 00002195
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 85 of 356

  USDA Forest Service


  The Monitoring domain reflects the eight topic areas required by the 2012 Planning Rule (36
  CFR 219.12) and reflects an ongoing partnership with the Forest Inventory and Analysis
  program that is managed by the Forest Service State and Private Forestry organization to share
  information collected on the Forest. Monitoring questions and measurable indicators will be
  developed and refined during the analysis process.

  Forest-wide Vision
  Roles & Contributions
  The Rio Grande National Forest consists of about 1,830,000 acres in south-central Colorado. The
  Forest forms the backdrop for the San Luis Valley, one of the largest mountain basins in the
  world. The headwaters of the Rio Grande originate in the Forest, and most Forest watersheds
  feed into the Rio Grande system. Water for municipal, industrial, and agricultural purposes
  comes from the Sangre de Cristo mountain range on the Valley's east side, and the San Juan
  mountain range to the west.
  Elevation in the Forest ranges from about 7,800 feet in the foothills to more than 13,000 feet in
  the San Juan range along the Continental Divide. The Sangre de Cristo range, to the east, as
  several peaks that exceed 14,000 feet.
  The expansive and flat San Luis Valley, which contains very little National Forest System land,
  is composed of unconsolidated sediments laid down in the late Tertiary period. The Sangre de
  Cristo and San Juan mountain ranges on either side of the San Luis Valley, where most of the
  Forest is, are of different origin and geologic age. The San Juan Mountains are composed of
  volcanic rocks and related shallow, intrusive rocks of the mid-to-late Tertiary period. Although
  the Sangre de Cristo Mountains are of more recent origin, the bedrock is older. The steep, narrow
  Sangre de Cristo Mountains were formed by faulting and thrusting along the Rio Grande rift.
  Forest ecosystems generally vary by elevation, with the highest elevation being the alpine tundra
  that occurs at or above 11,500 feet in elevation. Decreasing in elevation is the spruce-fir forest,
  which is generally inhabited by Engelmann spruce (Picea englemannii) and subalpine fir (Abies
  lasiocarpa) mixed with quaking aspen (Populous tremuloides). Vegetation in these ecosystems
  has been significantly impacted by the recent spruce bark beetle infestation.
  The mixed conifer-wet ecosystem occurs in the transition zone between the higher elevation
  spruce-fir and the drier mixed conifer type. It is generally dominated by Douglas fir
  (Pseudotsuga menziesii) and various combinations of white fir (Abies Concolor), Colorado blue
  spruce (Picea pungens), Engelmann spruce, or subalpine fir with incidental occurrences of
  ponderosa pine (Pinus ponderosa).
  The drier mixed conifer ecosystem sites include a mix of conifer species, including ponderosa
  pine, Douglas fir, white fir, Colorado blue spruce, and smaller amounts of aspen. Depending on
  site conditions, limber pine (Pinusflexilis), bristlecone pine (Pinus aristata), and some pinyon
  pine (Pinus edulis) or juniper (Juniperus spp.) can be present.
  The Rocky Mountain alpine turf ecosystem is widespread above the upper timberline (11,000
  and higher). Dominant species include boreal sagebrush (Artemisia arctica), several Carex
  species, tufted hair grass (Deschampsia caespitosa), Festuca species, Ross’ avens (Geum rosii),



  4
                                                                       Rvsd Plan - 00002196
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 86 of 356

                                            Proposed Action—Rio Grande National Forest Plan Revision


  Bellardi bog sedge (Kobresia myosuroides), cushion phlox (Phlox pulvinata), and alpine clover
  (Trifolium dasyphyllym).
  Closer to the Valley the pinyon-juniper woodland ecosystem includes pinyon pine, Rocky
  Mountain juniper (Juniperus sccpulorum), and Utah juniper (Juniperus osteosperma). These
  woodlands generally occur on warm, dry sites on mountain slopes, mesas, plateaus, and ridges.
  Understory species include sparse perennial grasses, annual and perennial forbs, and sparse
  shrubs.
  Rocky Mountain Gambel oak shrubland ecosystems are found at the north end of the San Luis
  Valley near Poncha Pass. Dominant species include Gambel oak (Quercus gambleii),
  serviceberry (Amelanchier spp.), sagebrush (Artemisia spp.), and various other shrubs, grasses,
  and forbs.
  The Southern Rocky Mountain montane-subalpine grassland ecosystem includes Thurber fescue
  (Festuca thurberi), Arizona fescue (Festuca arizonica), and several other grasses, forbs, and
  sedges.
  The Rocky Mountain riparian ecosystem includes numerous riparian types in the upper
  montane/subalpine zones. These systems are highly variable and generally consist of
  cottonwoods, willows, sedges, and other herbaceous vegetation, aspen, and conifers such as blue
  spruce, Engelmann spruce, and subalpine fir.
  The Rio Grande National Forest has habitat for an estimated 300 species of mammals, birds,
  reptiles, amphibians, and fish. Eight of the 300 species are federally recognized as threatened or
  endangered animal species and include:
     •   Black-footed ferret (Mustela nigripes)
     •   Canada lynx (Lynx canadensis)
     •   Gunnison sage grouse (Centrocercus minimus)
     •   Mexican spotted owl (Strix occidentalis lucida)
     •   New Mexico meadow jumping mouse (Zapus hudsonius luteus)
     •   Southwest willow flycatcher (Empidon^x traillii extimus)
     •   Uncompahgre fritillary butterfly (Boloria acrocnema
     •   Yellow-billed cuckoo (Coccyzus americanus).
  The Rio Grande National Forest represents a large part of the core area for lynx, which were
  reintroduced to Colorado from 1999 to 2006. The vast majority of lynx in Colorado remain and
  reproduce in the high-elevation spruce-fir zone in the southwestern part of the state, including
  the Rio Grande.
  Counties containing National Forest System lands include Archuleta, Alamosa, Conejos,
  Hinsdale, Mineral, Rio Grande, Saguache, and San Juan. Many counties are characterized by low
  population densities, high unemployment, and low per capita income. Although there are no
  Forest lands in Custer and Costilla counties, people there rely on the Forest for gathering forest
  products such as firewood, and for hiking, camping, and other recreational activities.




                                                                                                       5
                                                                       Rvsd Plan - 00002197
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 87 of 356

  USDA Forest Service


  The area of influence for the Rio Grande goes beyond the eight counties that make up the Forest.
  Colorado communities within Alamosa, Archuleta, Chafee, Conejos, Costilla, Fremont,
  Gunnison, Hinsdale, Huerfano, La Plata, Mineral , Montrose, Park, Rio Grande, Saguache, and
  San Juan counties and New Mexico communities in Rio Arriba and Taos counties are recognized
  as having strong socio-economic ties to the Forest.
  Communities surrounding the Rio Grande have become increasingly attractive to new residents
  because of their proximity to open spaces and natural settings, and easy access to year-round
  recreational opportunities. Population projections indicate that the San Luis Valley and the
  region surrounding the Rio Grande Forest will continue to grow, increasing demands on forest
  resources.
  Rio Grande National Forest offers diverse
  recreation opportunities that include backpacking,
  boating, camping (both developed and dispersed),
  cross-country skiing, fishing, hiking, hunting, off­
  road vehicle riding, picnicking, rock climbing,
  snowshoeing, and snowmobiling.
  There are more than 1,350 miles of trails on the
  Forest including the Continental Divide National
  Scenic Trail, Colorado Trail, and Old Spanish
  National Historic Trial. About 170 miles of the
  Continental Divide National Scenic Trail lie
  within the Rio Grande, starting at the forest
  boundary with Gunnison National Forest and            Fishing at Love Lake.
  stretching to the New Mexico state line. Sections
  of the Old Spanish National Historic Trail, designated in 2002, pass through the Forest, offering
  a glimpse into past trade routes that moved supplies and slaves from Santa Fe to the California
  territory in the 1820s.
                                                    Nationwide, Colorado contains the sixth highest
                                                    acreage of National Forest System lands. About
                                                    14.5 million acres of national forest and
                                                    grasslands provide recreation opportunities for
                                                    residents and visitors in Colorado. Tourism is a
                                                    main source of income for Colorado and most of
                                                    the Rocky Mountains. Beautiful scenery and
                                                    local economic benefits are tied together closely.
                                                   Rio Grande National Forest makes up 13 percent
                                                   of the National Forest System land in the state.
                                                   The Forest has two designated scenic byways—
  Rio Grande Reservoir.                            the Silver Thread and Los Caminos Antiguos—
                                                 and a well-developed system of roads and trails.
  Many outfitter and guide services provide visitor opportunities to experience the Forest.
  Located in the south-central portion of the Rocky Mountain range, the Forest offers unique
  scenic experiences. The Forest combines southwestern flora with the spectacular scenery of the
  central Rocky Mountains. To the east, the open floor of the San Luis Valley is surrounded by the


  6
                                                                       Rvsd Plan - 00002198
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 88 of 356

                                                        Proposed Action—Rio Grande National Forest Plan Revision


  rugged mountain peaks of the Sangre de Cristo range. To the north, high mountain peaks give
  way to much gentler rolling hills covered in lodgepole pine that extend to the Valley bottom.
  Looking west, the scattered mountain peaks are mixed with rolling hills of mixed rock canyons
  and open meadows. To the south, the Valley is fairly flat, with several dominant, rounded
  mountains that rise above the horizon.
  These characteristics offer visitors some of Colorado’s most beautiful scenery. The Sangre de
  Cristo range is home to several of Colorado’s 14,000-foot peaks including Crestone Peak,
  Crestone Needles, Kit Carson, and Blanca Peak. Great Sand Dune National Park and Preserve
  borders Rio Grande National Forest in the Sangre de Cristo range. Some of the tallest dunes in
  North America are found in the Park, which is operated by the National Park Service.
  The western part of the Forest has a view of the Rio Grande Pyramid, the 100-foot high North
  Clear Creek Falls, Bristol Head Mountain, the headwaters of the Rio Grande River, and the La
  Garita, South San Juan, and Weminuche Wilderness areas. Parks and open meadows, such as
  Saguache Park, contain a variety of plant and animal life and are home to a wide range of
  wildflowers.
  Historic scenic areas include the Bachelor Loop,
  near Creede; the Bonanza Loop, near Villa Grove;
  and the Cumbres and Toltec Scenic Railroad, near
  Antonito. Tucked in the foothills are many unique
  rock formations, including the Natural Arch and
  Summer Coon Volcano areas. Adjacent Bureau of
  Land Management lands have well known canyons
  such as Penitente, Witches, Sidewinder, and the
  Rock Garden canyons that draw avid rock climbers
  to the area.                                                            Natural Arch - Possible proposed
                                                                          Special Designated Area.
  Forest-wide Goals
  Forest-wide Goals provide umbrella statements that all other direction would tier to. The goal
  statements are numbered to allow for reference; the numbers do not indicate any priority.

  Goal 1: Protect and restore watershed health, water resources, and the systems
  that rely on them
  National forests that exist today were initially created under the guidance of the National Forest
  Reserve Act of 1891. The Act allowed the President of the United States to set aside forest
  reserves from the land in the public domain. This Act provided for wise use of the lands that
  would provide protection of timber at the headwaters of streams, reduce downstream flooding,
  and provide a summer-long water supply for irrigation in the arid West1. Protecting and restoring
  watershed health reaffirms the Act that created today’s national forests.
  Opportunities exist to emphasize collaborative stewardship of watersheds and the interrelated
  biological, economic, and social factors that affect these areas. Healthy and functioning
  watersheds contribute to overall resource health.


  1Early Administration of the Forest Reserve Act: Interior Department and General Land Office Policies, 1891-1897, James Muhn,
  http://www.foresthistory.org/Publications/Books/Origins National Forests/sec17.htm



                                                                                                                                  7
                                                                                           Rvsd Plan - 00002199
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 89 of 356

  USDA Forest Service


  Goal 2: Maintain and restore sustainable, resilient ecosystems
  Ecosystems are a barometer of the quality of land management practices. A natural variety of
  species, genetic composition, and ecological processes are key to providing the diversity needed
  for resiliency in the face of environmental disturbances and changes.
  Aggressively diversifying age classes and structure, seral stage, and habitat classes, where
  appropriate, in the next planning horizon would provide many benefits including but not limited
  to providing resilience to insect and disease outbreaks, responsiveness to anticipated changes in
  climate, ecosystem services, recreation, increased social and economic benefits, and more.

  Goal 3: Actively contribute to social and economic sustainability in the broader
  landscape and connect citizens to the land
  Rio Grande National Forest contributes forest products and tourism opportunities that are
  important to local economies, and provide ecosystem services for current and future generations.
  Places with human influence are maintained while protecting religious, tribal, or culturally
  significant areas.
  Opportunities are available for individuals, partners, and organizations to be active participants
  in managing, monitoring, and implementing projects that achieve integrated resource
  management.
  The Rio Grande provides natural-appearing landscapes with diverse scenery. The Forest Service
  maintains and provides access to a multitude of recreation opportunities within the expected
  capacity of the Rio Grande National Forest budget. Designated areas, such as wilderness and
  wild, scenic, and recreational rivers, are maintained to protect their integrity and avoid damage
  incurred by overuse of these precious resources. The Forest provides a wide range of outdoor
  experiences, ranging from primitive to highly developed, that are within the overall capacity of
  the Forest. Where possible, interpretive opportunities increase public knowledge, provide
  historical background, and promote a connection of the current people to the past and their land.
  Heritage resource sites are managed and integrated with recreation and environmental education
  in compliance with all applicable laws and regulations. When appropriate, sites are nominated to
  the National Register of Historic Places and managed to those standards.
  Colorado tourism thrives on outdoor recreation and beautiful scenery, and the Forest maintains
  these values to continue to attract visitors to the area. Market-oriented programs such as
  minerals, range management, special use permitting, and timber management are managed to
  continue. Non-marketable programs, including fisheries, heritage resources, recreation, water,
  Wilderness, and wildlife, are managed to continue to supply goods and services as requested by
  the public.
  Ecosystem services, as defined in the 2012 Planning Rule (36 CFR 291), include provisioning
  services such as air, water, energy, fiber, and minerals; regulating services such as soil
  stabilization; and cultural services that include cultural heritage values and recreational
  experiences. The Rio Grande strives to meet the demand for these services.




  8
                                                                        Rvsd Plan - 00002200
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 90 of 356

                                                Proposed Action—Rio Grande National Forest Plan Revision



  Strategic Domain
  Forest-wide Desired Conditions
  The desired conditions for resource areas contained in the 1996 Forest Plan are listed below.
  Desired conditions provide a description of the mosaic of land and resource conditions that are
  managed at both the Forest and Management Area level.
                               Desired Conditions for Ecological Resources
   Biological Diversity   Habitat composition (including seral stage), structure, pattern (connectivity), and
                          disturbance frequencies similar to those that result from natural disturbances
                          (insects, disease, and fire) are maintained to the extent possible, given legal and
                          policy limitations, and the desired condition for the area.
                          Provide ecological conditions necessary to contribute to the recovery of
                          Federally listed species, conservation of proposed and candidate species, and
                          maintain viable populations of species of conservation concern in the plan area.
                          Habitats for federally listed Threatened, Endangered, and Proposed species and
                          Species of Conservation Concern are protected, restored, and enhanced.
                          Habitat on National Forest System lands is managed to help assure that those
                          species whose viability is a concern survive throughout their range, and that
                          habitat conditions improve or stabilize.
   Air Resources          Air quality remains excellent and exceeds state and federal standards. Visibility
                          is among the best in the country. Forest activities do not affect long-term
                          conditions or contribute to off-Forest concerns.
   Timber Resources       The vegetative structure on the Rio Grande National Forest is capable of
                          sustaining timber harvest that supplies wood products while providing for the
                          biological diversity of those forested areas.
                          Some harvest operations are designed to mimic natural disturbance events or
                          processes.
   Range                  Vegetation is managed for a mixture of seral stages, with most of the rangelands
                          in mid to high seral stages. Site-specific desired conditions are fully described in
                          the allotment management plan.
   Fire                   The role of fire in ecosystem dynamics is recognized and sponsored when and
                          where it does not threaten human life and property.
                          The amount, arrangement, and continuity of live and dead materials that
                          contribute to fire spread (fuel profiles) are consistent with land uses and
                          estimates of historic fire regimes.
   Noxious Weeds          Noxious weeds are managed using an integrated pest management approach.
                          All control methods, such as physical removal, prescribed fire, mechanical
                          devices, biological treatments, or chemical applications, are evaluated to reduce
                          potential adverse effects on human health and the environment, and are
                          designed to meet Management Objectives.
   Water and Aquatic      Healthy watersheds operate in a dynamic equilibrium between extreme natural
   Resources              events. Surface-disturbing activities are managed so that floods, droughts,
                          sediment loads, bank erosion, rills, gullies, and landslides are not markedly
                          increased.




                                                                                                                 9
                                                                              Rvsd Plan - 00002201
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 91 of 356

  USDA Forest Service


                             Desired Conditions for Ecological Resources
                        Water quality is maintained or improved, with all stream segments having a near­
                        reference-stream appearance. Water is suitable for municipal water supplies
                        after normal treatment, including supplies obtained from shallow alluvial aquifers.
                        Chemical, physical, and biological attributes are improved and maintained in a
                        healthy condition, ensuring future use.
                        Stream health is maintained through natural processes without artificial controls.
                        Streams have the expected range of habitat features (for example, healthy
                        riparian vegetation, stable banks, overwintering pools, and healthy aquatic
                        organisms).
                        Riparian areas and floodplains are healthy, fully functioning ecosystems.
                        Vegetation is diverse and is generally in a later-seral condition, to provide site
                        stability.
                        Fish thrive in Forest lakes and streams in response to adequate habitat and
                        water quality. Natural fish habitat is preferred and promoted over human-made
                        habitat.
   Soils                Soils are maintained in, or improved to, healthy conditions to allow the
                        ecosystems they support to flourish. Healthy soils and ecosystem sustainability
                        will be assured if soil damages, such as erosion, displacement, compaction,
                        scorching, and nutrient drains, are kept within allowable limits.
                        Ecosystem management activities are harmonious with soil capabilities,
                        potentials, and limitations.
                        Soils may be periodically disturbed by management activities, but are restored
                        and reclaimed to original potentials after activities have been completed.
                        Where fire is used to perpetuate an ecosystem, it is managed to accomplish
                        resource objectives without unnecessarily risking or jeopardizing the ability of the
                        site to sustain ecosystems.
                        Heathy soils provide certain products such as wood, forage for livestock and
                        wildlife, water, recreation, minerals, and aesthetic benefits. To maintain these
                        benefits for the long term, soil health needs to remain within acceptable limits.
   Minerals             Mineral development is compatible with ecosystem capabilities and resource
                        values. Balanced use and development of mineral resources are allowed, while
                        protecting other resource values with stipulations, mitigation, and careful
                        monitoring. Problems caused by historic mining are corrected.
   Special Forest       Special forest products, such as firewood, building rock, herb and vegetable
   Products             products, medicinal and pharmaceutical products, wild edible mushrooms, wild
                        berries and fruit, landscaping products, craft products, and floral and greenery
                        products, continue to be available from the Forest. Plants include trees, shrubs,
                        water plants, forbs, grasses, mosses, lichens, and fungi. Plant parts that are
                        used include leaves, boughs, bark, bulbs, corms, seeds, nuts, and fruits.
                        The gathering of forest products depends on the sustainable limits of the
                        resource. In addition, permits may be required for some of these products.
                        The Forest Service recognizes the needs of people from the San Luis Valley and
                        surrounding areas, and strives to meet their needs for forest and wood products
                        while protecting those resources for future generations.




  10
                                                                             Rvsd Plan - 00002202
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 92 of 356

                                            Proposed Action—Rio Grande National Forest Plan Revision


                              Desired Conditions for Social Resources
   Research Natural   Several Research Natural Areas (RNAs) represent a variety of ecosystems in
   Areas              the Sangre de Cristo and San Juan Mountains. Ecosystems represented are
                      typical plant associations that occur on the Forest, from the lowest elevations up
                      through the alpine zone.
   Unroaded Areas     Selected unroaded areas are maintained to offer nonmotorized, or limited
                      motorized, recreation opportunities outside Wilderness. Ecological composition,
                      structure, pattern, and natural processes (fire, insects, disease, floods, etc.) are
                      maintained, where feasible, to perpetuate biological diversity.
   Wild and Scenic    The “outstandingly remarkable” resources and values of selected rivers and their
   Rivers             adjacent corridors are managed to protect their existing conditions for the benefit
                      and enjoyment of present and future generations.
   Wilderness         Designated wilderness is managed to:
                          •   retain its pristine character and natural processes with minimal evidence
                              of human influence,
                          •   offer opportunities for solitude, and
                          •   retain its ecological, educational, scenic, and historical values.
   Special Interest   Special Interest Areas are managed to protect or enhance their unique botanical,
   Areas              archeological, geologic, or other values. Some areas offer interpretive sites and
                      educational opportunities.
   Heritage           Heritage resources supply information about the nation's heritage, offer quality
   Resources          recreation opportunities for the public, and contribute information that aids
                      management of other Forest resources.
                      Proactive consultation with Tribes helps ensure the protection, preservation, and
                      use of areas that are culturally important to them.
                      Heritage resources are systematically evaluated and nominated for the National
                      Register of Historic Places when they meet eligibility criteria.
                      Heritage resources are protected from damage by project activities or vandalism
                      through project design, specified protection measures, monitoring, and
                      coordination.
   Recreation         The Forest Recreation program is managed to:
                          •   offer opportunities for motorized and nonmotorized recreation within
                              appropriate settings,
                          •   be responsive to visitor desires and increase service to the public,
                          •   maintain a broad range of quality developed recreation facilities within
                              capacity,
                          •   feature traditional and nontraditional dispersed recreation opportunities,
                          •   showcase scenic byways and landscapes,
                          •   expand interpretive services, and
                          •   allow for current areas used as summer homes, resorts, and youth
                              camps to continue to be managed as recreation special-use
                              development areas.
   Scenery            The outstanding scenery of the Rio Grande National Forest is a major attraction
                      for visitors. Management is focused on maintaining this high scenic quality,
                      especially of areas seen from road and trail corridors, developed recreation
                      sites, administrative sites, and towns and cities near the Forest.



                                                                                                             11
                                                                           Rvsd Plan - 00002203
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 93 of 356

  USDA Forest Service


                                 Desired Conditions for Social Resources
                         Encourage vegetative diversity and feature scenic attractions.
                         Areas exceeding unacceptably low Scenic Integrity Levels are rehabilitated to a
                         higher Scenic Integrity Objective.



                                     Desired Administrative Conditions
   General              Reservoirs and Ponds: All dams on National Forest System lands are inspected to
   Infrastructure       ensure public safety and comply with all appropriate laws and regulations.
                        High- and moderate-hazard dams have current Emergency Preparedness Plans in
                        place.
                        Facilities: Safe, accessible, functionally efficient, aesthetically pleasing, energy­
                        efficient, and cost-effective buildings and related facilities (owned, operated,
                        occupied, or authorized by the Forest Service) needed to achieve resource
                        management objectives are maintained or constructed.
                        Drinking Water: The Forest Service will test water at facilities under special-use
                        permit to ensure that human health is protected in accordance with the Safe
                        Drinking Water Act.
                        Waste Water: Discharge or infiltration of pollutants from all wastewater disposal
                        facilities owned and operated by the Forest Service, or that are under special-use
                        permit from the Forest Service, do not create health hazards or nuisance
                        conditions. This discharge does not alter the quality or characteristics of ground
                        water and surface water beyond applicable federal or state water-quality and
                        effluent-discharge standards.
                        Roads: The road system continues to serve as adequate access for the public to
                        enjoy the Forest. Road construction is limited, and the amount of reconstruction
                        has decreased. Road closure is emphasized in some areas to enhance wildlife
                        habitat, soil, and water resources.
   Real Estate          Develop a land ownership pattern that improves the ability of the Forest Service to
                        meet Forest needs and public objectives.
                        Land adjustments through purchases, exchanges, and donations include an array
                        of unique plant and animal habitats, riparian areas, geologic features, heritage
                        resources, and recreation opportunities.
   Health and Safety    Rio Grande National Forest is responsive to public needs in emergencies, and
                        supports and enters into cooperative agreements with local officials.
                        Forest work programs are conducted within the guidelines of the National Health
                        and Safety Codes and the Occupational Safety and Health Administration.
   Rural                Recognizing the economic dependency of rural communities on National Forest
   Development          System lands and resources, Forest managers cooperate with local rural
                        communities to develop sustainable enterprises that contribute to the general
                        economic and social vitality of the area. Forest managers also give sufficient
                        advance notice to rural communities about potential changes that may affect local
                        economies.
                        Forest managers cooperate with local, county, state, and tribal partners to meet
                        rural community needs.




  12
                                                                               Rvsd Plan - 00002204
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 94 of 356

                                           Proposed Action—Rio Grande National Forest Plan Revision



  Objectives
  Objectives listed here are not meant to be an exhaustive list, but present a starting point for
  beginning a larger conversation. It is expected that objectives will be changed and added
  throughout the analysis process. Other required plan components will be developed during the
  analysis process.
  Objectives are a required plan component under the 2012 Planning Rule. They should be
  measurable and time specific and will be used to measure progress toward goals and desired
  conditions. The 1996 Forest Plan contained objectives that will be evaluated and adjusted to
  meet the measurable and time-specific aspect of the direction. Examples of potential Objectives
  are:
     •   OBJ GF1: Within 10 years of plan approval, take action to eliminate non-native invasive
         species on 300 acres.
     •   OBJ GF2: Take action to maintain, enhance, or improve conditions on three to five fen
         habitats within 10 years of plan approval.
     •   OBJ GF3: Take action to maintain, enhance, or improve condition on three to five
         meadows within 10 years of plan approval.
     •   OBJ GF4: Take action to maintain or restore structure, composition, or function of
         habitat for fisheries and other aquatic species along 3 to 5 miles of stream over a 10-year
         period.
     •   OBJ GF5: Use appropriate and authorized tools including grazing, mechanical treatment,
         prescribed fire, or naturally occurring fire to meet resource objectives and reduce
         vegetation build-up to lower the risk to communities and other values.
     •   OBJ GF6: Improve condition class on at least one identified priority watershed, as
         defined by the national Watershed Condition Framework, within 10 years of plan
         approval.

  Geographic Areas
  Forest management provides for a mix of environments across the landscape. Much like city
  zoning, the forest is divided into areas that have similar management emphasis.
  In response to comments received during the Assessment phase of the Plan Revision process, the
  Proposed Action clarifies direction based on land status and reduces overlapping direction. The
  proposed format maintains much of the previous direction but add place-based desired conditions
  to better focus overall direction. The Proposed Action incorporates Geographic Areas that
  combine Management Areas with similar emphases into larger groupings based on land status
  and line officer discretion. Four Geographic Areas are proposed: General Forest, Primitive
  Wilderness, Roadless, and Specially Designated. Management Areas designated under the 1996
  Forest Plan, with some modifications, would fit into the larger Geographic Area boundaries.
  How Management Areas from the 1996 Forest Plan integrate into the Geographic Areas is shown
  in Table 1.2, along with the proposed changes to Management Areas.




                                                                                                    13
                                                                      Rvsd Plan - 00002205
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 95 of 356

  USDA Forest Service


  Table 1.2. Proposed Geographic Areas that contain 1996 Forest Plan Management
  Areas in relation to proposed Management Areas
                                           1996 Forest Plan    Proposed
                                             Management       Management
                         Geographic Area         Area            Area
                        General Forest          4.3              4.3
                                                5.11             5.11
                                                5.13             5.13
                                                5.41             5.41
                                                5.42             5.42
                                                6.6              6.6
                        Roadless                1.11             2.2
                                                1.12             3.3
                                                1.13             3.5
                                                1.5              3.6
                                                2.2
                                                3.1
                                                3.3
                                                3.4
                                                5.41
                                                5.42
                                                6.6
                        Wilderness              1.11             1.1
                                                1.12             1.5
                                                1.13
                                                1.5
                        Special                 1.11             1.1
                        Designations            1.12             1.5
                                                1.13             2.2
                                                1.5              3.1
                                                2.2              3.4
                                                3.1              4.21
                                                3.3              4.2
                                                3.4              4.4
                                                4.21             8.22
                                                4.3
                                                4.4
                                                8.22




  14
                                                                 Rvsd Plan - 00002206
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 96 of 356

                                             Proposed Action—Rio Grande National Forest Plan Revision


  Fire Management Zones
  Fire Management Zones are introduced in
  this section to facilitate the discussion of
  Geographic Areas that follows.
  Rio Grande National Forest is proposing to
  implement Strategic Fire Management
  Zones that are most applicable at the
  Geographic Area level. These zones are
  not a mapped feature. Assigning strategic
  wildfire management zones supports
  decision makers before ignition occurs, by
  pre-assessing areas for wildland fire
  (prescribed fire and wildfire) risks and         OX CART FIRE IN THE SANGRE DE CRISTO
  benefits. Three strategic fire management        WILDERNESS, JUNE 2013.
  zones are proposed:
      1. The Fire for Resource Benefit for Maintenance (FRB-M) zone
      2. The Fire for Resource Benefit for Restoration and Protection (FRB-RP) zone
      3. The Resource Protection (RP) zone, which includes the wildland urban interface (WUI).
  Fire for Resource Benefit - Maintenance zone (FRB-M)
  This zone applies to the Wilderness and Roadless
  Geographic Areas. These areas present a lower risk to
  resource values from a wildfire, there is little threat to
  communities, and conditions allow natural resources to
  benefit from wildland fire. Managing wildfire to meet
  resource objectives in this zone is the least constrained.
  Ecological maintenance is accomplished by managing
  wildland fire under a wide range of weather, fuel moistures,
  and other environmental conditions. The use of prescribed          Fireweed in Papoose Fire
  fire to meet specific resource objectives is appropriate in this   BURNED AREA.
  zone.
  Fire for Resource Benefit - Restoration and Protection (FRB-RP) zone
  This zone is applied to the General Forest Geographic Area where current conditions may put
  some natural resource values at varying degrees of risk for damage from wildfire. Mechanical
  treatments and prescribed burning may be used to promote ecological restoration before using
  wildfire under a wider range of weather, fuel moistures, and other environmental conditions.
  Wildfires that burn in this zone can benefit natural resources under more limited conditions.
  Wildfires in this area could be managed for multiple objectives. For example, a portion of a
  wildfire may threaten resources that may require fire suppression or point protection, but
  allowing other portions of the same fire to burn may meet resource objectives by providing
  ecological objectives. Managing wildfires to meet resource objectives in this zone can be
  constrained in some areas due to fuel conditions and the risk to natural resources from wildfire.




                                                                                                      15
                                                                        Rvsd Plan - 00002207
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 97 of 356

  USDA Forest Service


  Some acreage within this zone presents a lower risk to natural resource values, and conditions
  there allow resources to benefit from wildland fire. Ecological maintenance is accomplished by
  managing wildland fire under a wide range of weather, fuel moistures, and other environmental
  conditions. Wildfire starts in this zone are carefully assessed to determine suppression needs
  dependent on values at risk and the area’s resilience to fire and potential benefits.
  Resource Protection (Wildland Urban Interface) zone (RP)
  This zone contains resources where conditions put natural resources and communities at high
  risk of damage from wildfire. Managing wildfires to meet resource objectives in this zone is not
  considered due to potential negative consequences to natural resource values, critical
  infrastructure, the Wildland Urban Interface, or nearby communities. Targeted ecological
  restoration and fuels reduction treatments may be needed in some areas to better safeguard
  communities and resources.

  General Forest Geographic Area
  Forest and grassland communities are characteristic of the General Forest Geographic Area,
  which is managed with a multiple-use emphasis to achieve a variety of goals. Resource use and
  management across the landscape would be balanced.
  Timber is harvested using a full range of silvicultural treatments, methods, and prescriptions.
  Rotation periods are designated on the basis of species-specific needs. Vegetation is managed for
  wood production or to benefit other resources.
  All vegetation management is sustainable and focused on restoring or maintaining resiliency in
  the face of changing environmental conditions. Resource management allows for flexibility and
  the ability to adapt in accordance with resource response. Management follows a plan-act-
  monitor-evaluate process.
  Assessments 1 and 3 identified large-scale changes in the current conditions on the Rio Grande.
  Large-scale spruce beetle outbreaks have resulted in the Forest-wide infestation of 588,000 acres
  of mature Engelmann spruce (Picea englemanii). This outbreak will have long-lasting effects on
  all aspects of the forest, including but not limited to carbon storage, recreation access, timber
  harvest, and wildlife habitat. These effects are highly variable and may be positive or negative.
  To capture the existing value of the dead trees and begin to restore the habitat, an increase in the
  volume harvested is anticipated for the near term (next 10 years). After 10 years, the dead spruce
  likely would no longer be viable as a commercial sawtimber, and harvest values are anticipated
  to be reduced.
  Chapter 60 of Forest Service Handbook 1909.12 provides direction for the evaluation of timber
  and forest vegetation resources and the development of related plan components. The 2012
  Planning Rule requires that when revising a Forest Plan, the Responsible Official must review
  and determine acreage that is not suitable for timber production as well as acreage that “may be
  suitable” for timber production. Then, based on Management Area desired conditions, standards,
  and guidelines, the Forest Plan shall identify the acreage that is actually “suitable for timber
  production.” The proposed and final Forest Plans will include other required elements such as
  the projected wood sale quantity, projected timber sale quantity, and sustained yield limit. For
  the purposes of the Proposed Action, at this time, only the acres that “may be suitable for timber
  production” are being included.



  16
                                                                        Rvsd Plan - 00002208
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 98 of 356

                                            Proposed Action—Rio Grande National Forest Plan Revision


  The biggest recent change on the forest is the
  current spruce beetle outbreak. The spruce
  beetle (Dendroctonus rufipennis) is a native
  insect that attacks and kills mature Engelmann
  spruce. Spruce beetles are a key disturbance
  agent in spruce-fir forests and historically
  have caused large, intense outbreaks over
  expansive areas. Since the early to mid-2000s,
  large spruce beetle outbreaks have occurred on
  several national forests in Colorado and
  Wyoming, including the Rio Grande. The
  2013 Rio Grande National Forest Monitoring
  report estimates the cumulative infested area on Spruce trees killed by spruce beetles.
  the Forest at 480,000 acres, while 2015 aerial survey estimates increased this to 588,000 acres.
  Many areas affected by spruce beetle have 80-100% mortality of mature Engelmann spruce.
  Given that spruce-fir forests cover half the Forest and make up two-thirds of the current suitable
  timber base, this will have huge impacts on the Rio Grande National Forest’s timber harvest
  program.
  The Forest Service vision for the timber sale program now and into the future is one of change
  and adaptation. For the upcoming decade, salvage harvest in the spruce-fir cover type will
  dominate the timber harvest program. It is anticipated that during the second decade of the plan,
  as the dead spruce loses more value, less salvage harvesting will be done and more green timber
  will be harvested in other forest types, such as mixed-conifer. Long term, the timber harvest
  program on the Rio Grande National Forest is expected to be smaller, as it will take many years
  for the spruce-fir forests to reach commercial size again.
  Recent annual timber harvest on the Forest has been 40,000-45,000 CCF. The Forest plans to
  continue to salvage harvest at approximately the same levels. This includes material sold through
  timber sales as well as permits for other wood products. Since 2015, the Forest has been
  harvesting approximately 2,000-2,500 acres per year of sawtimber. This is higher than past
  levels due to the salvage of spruce. The Forest expects to continue at this level while the dead
  spruce retains its commercial value. After the commercial value is lost, harvest levels will
  decrease.
  The current estimate of what “may be suitable” for timber production is 515,000 acres. The
  suitable timber base is not expected to change greatly from the base in the 1996 Forest Plan, as
  amended by the 2000 Timber Suitability Amendment. Currently, as described in that
  amendment, the “suitable timber” acreage is 315,000 acres. The “suitable timber” base in the
  new plan will be similar, with small changes due to boundary adjustments in specially designated
  areas, such as the Fremont Special Interest Area, changes related to other special interest areas,
  and changes due to the 2010 Colorado Roadless Rule
  The area has a well-developed transportation system that allows for easy access and movement
  of forest products and livestock while providing for visitor and employee safety. Roads are
  located in the proper locations to avoid excess impacts from sedimentation or erosion.
  Ecosystems would be resilient to the impacts of wildfire, and wildland fire has predominantly
  positive benefits to ecosystems and resources. Lands in this Geographic Area are maintained at a


                                                                                                   17
                                                                       Rvsd Plan - 00002209
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 99 of 356

  USDA Forest Service


  moderate to low risk with high potential benefit conditions relative to fire. Wildfire is managed
  to meet resource objectives under a wide range of environmental conditions; however, under
  more extreme burning conditions or where infrastructure or other values are threatened, fires
  may be suppressed. The landscape is resilient to the impacts of wildfire. Over time, risks to
  natural resources are reduced to allow more areas to be considered for wildfire maintenance.
  Where appropriate, quality forage and cover for bighorn sheep, deer, elk, lynx, and other native
  wildlife as well as livestock would be available.
  Insect and disease populations are managed at endemic levels. Wildfires managed for resource
  benefit and prescribed fire are used under acceptable conditions to move toward desired
  conditions.
  Visitors should expect to see managed but natural-appearing forested stands. Recent vegetation
  treatments are visible but blend with the landscape over time.
  Visitors could anticipate frequent contact with other forest users along recreation trails and in
  developed and dispersed recreation sites.
  Water quality and quantity are managed to be maintained or restored. Riparian values and habitat
  are maintained or restored using active management where appropriate.
  A variety of Management Areas (from the 1996 Forest Plan) would fit under this Geographic
  Area, including but not limited to Areas 3.3, 4.3, 5.11, 5.13, 5.41, 5.42, and 6.6. Each
  Management Area has a more specific management emphasis based on the overall theme of the
  area.

  Primitive Wilderness Geographic Area
  This Primitive Wilderness Geographic Area is
  managed to protect and perpetuate natural
  ecological processes and conditions. Natural
  ecological conditions are not measurably
  affected by human use. These areas are
  managed to protect the Wilderness character
  described in the Wilderness Act of 1964 for
  which they were established. Currently about
  430,000 acres, or 23 percent, of the Rio Grande
  has been designated as Primitive Wilderness
  Geographic Area.
  Fire is a natural process that influences
  vegetative type, distribution, and structure.      Wetland in Weminuche Wilderness.
  Ecosystems are resilient to the impacts of
  wildfire, and wildland fire has predominantly positive benefits to ecosystems and resources.
  Lands within this zone are maintained in a predominantly low risk with high potential benefit
  condition relative to wildland fire.
  The Primitive Wilderness Geographic Area is not included in the suitable timber base.
  The Primitive Wilderness Geographic Area encompasses Management Areas 1.11 - Wilderness-
  Pristine, 1.12 - Wilderness-Primitive, 1.13 - Wilderness-Semi-Primitive, and 1.5 from the 1996


  18
                                                                        Rvsd Plan - 00002210
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 100 of 356

                                                    Proposed Action—Rio Grande National Forest Plan Revision


   Forest Plan. The 1996 Forest Plan divided these areas into three separate management areas
   designated for the varying levels of solitude, risk, and challenge. The entire area is managed as
   designated Wilderness. Parts of four designated Wilderness areas are within Rio Grande National
   Forest. All are administered by more than one Forest Service unit, and each one has a designated
   lead Forest that directs management. Each of the four Wilderness areas has a specific wilderness
   plan that directs and guides management within the area. Because site-specific direction is
   incorporated within other tools, the Forest Service is proposing to combine the three
   Management Areas, 1.11, 1.12, and 1.13, into Proposed Management Area 1.1.

   Roadless Geographic Area
   The Roadless Geographic area emphasizes protection of Roadless area values and characteristics.
   The Colorado Roadless Rule was enacted on July 3, 2012. The Roadless Rule provided
   management direction to conserve 4.2 million acres of National Forest System land in Colorado
   for Roadless area values, including 518,600 acres in 53 areas on the Rio Grande.
   The Colorado Roadless rule created an additional layer of management for the Rio Grande and
   established two designations: Roadless and Upper Tier Roadless, which are addressed below. To
   better incorporate that direction and simplify decision making in identified roadless areas, that
   management prescription is incorporated as a Geographic Area with two newly established
   management areas, Management Areas 3.5 and 3.6.
   These acres are not to be included as part of the identified suitable timber base.
   The areas designated under the 2012 Colorado Roadless Rule on the Rio Grande National Forest
   are listed in Table 1.3.
   The intent stated in the Rule “is to protect roadless values by restricting tree cutting, sale, and
   removal; road construction and reconstruction; and linear construction zones within Colorado
   Roadless Areas, with narrowly focused exceptions.”2 These restrictions are described in the
   desired
   condition
   statements
   for the newly
   established
   Management
   Areas, which
   are detailed
   below.




                         Elk grazing in Pole Creek CRA.




   2   Federal Register. Volume 77, Number 128. Tuesday, July 3, 2012. Pp 39602-39612.


                                                                                                          19
                                                                                 Rvsd Plan - 00002211
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 101 of 356

   USDA Forest Service


   Table 1.3. Rio Grande NF Roadless Areas established by the 2012 Roadless Rule
                                      Includes                                 Includes
                                        Upper                                    Upper
                                         Tier                                     Tier
              Roadless Area Name        Acres        Roadless Area Name         Acres
          Alamosa River                  X       La Garita                        X
          Antora Meadows-Bear Creek      X       Lake Fork                        X
          Beartown                       X       Lower East Bellows               X
          Beaver Mountain                X       Middle Alder                     X
          Bennett Mountain-Blowout-
          Willow Creek-Lion Point-       X       Miller Creek
          Greenie Mountain
          Big Buck-Kitty-Ruby            X       Pole Creek
          Box-Road Canyon                X       Pole Mountain-Finger Mesa        X
          Bristol Head                   X       Red Mountain                     X
          Butterfly                              Ruby Lake                        X
          Chama Basin                    X       Sawlog                           X
          Conejos River-Lake Fork                Sheep Mountain                   X
          Copper Mountain-Sulphur        X       Silver Lakes-Stunner             X
          Cotton Creek                           Snowshoe Mountain                X
          Crestone                               Spectacle Lake
          Cumbres                        X       Spruce Hole-Sheep Creek          X
          Deep Creek-Boot Mountain       X       Stunner Pass-Dolores Canyon      X
          Dorsey Creek                   X       Sulphur Tunnel
          Elkhorn Peak                   X       Summit Peak-Elwood Pass          X
          Four Mile Creek                X       Taylor Canyon                    X
          Fox Creek                      X       Tewksberry                       X
          Fox Mountain                   X       Tobacco Lakes                    X
          Gibbs Creek                            Trout Mountain-Elk Mountain      X
          Gold Creek-Cascade Creek       X       Ute Pass                         X
          Hot Springs                            Wason Park                       X
          Indiana Ridge                  X       Wightman Fork-Upper Burro        X
          Kitty Creek                            Wightman Fork-Lookout            X
                                                 Willow Mountain                  X




   20
                                                                   Rvsd Plan - 00002212
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 102 of 356

                                             Proposed Action—Rio Grande National Forest Plan Revision


   Roadless areas characteristics defined in the Rule include:
      •   High quality or undisturbed soil, water, and air
      •   Sources of public drinking water
      •   Diversity of plant and animal communities
      •   Habitat for threatened, endangered, proposed, candidate, and sensitive species, and for
          those species dependent on large, undisturbed areas of land
      •   Primitive, semi-primitive, nonmotorized, and semi-primitive motorized classes of
          dispersed recreation
      •   Reference landscapes
      •   Natural-appearing landscapes with high scenic quality
      •   Traditional cultural properties and sacred sites
      •   Other locally identified unique characteristics.
   Fire is considered a natural process that influences vegetative type, distribution, and structure.
   Ecosystems are resilient to the impacts of wildfire, and wildland fire has predominantly positive
   benefits to ecosystems and resources. Lands within this zone are maintained in a predominantly
   low risk with high potential benefit condition relative to wildland fire.
   This Geographic Area incorporates all or parts of the following Management Areas from the
   1996 Forest Plan 1.11, 1.12, 1.13, 15, 2^, 3.1, 3.3, 3.4, 5.41, 5.42, and 6.6. Because Colorado
   Roadless Areas were developed separately from the Forest Plan, many of the 1996 Management
   Areas were assumed by these new designations. Some of these Management Areas would persist
   in this Geographic Area designation while the remaining Management Areas would no longer be
   applicable or appropriate. The Forest Service is proposing to establish two new management
   areas: Proposed Management Area 3.5 would include designated Roadless areas, and Proposed
   Management Area 3.6 would include Upper Tier Roadless areas. These proposed Management
   Areas are described below.
   More detailed direction for this Geographic Area is contained in the 2012 Colorado Roadless
   Rule (36 CFR Part 294).

   Specially Designated Geographic Area
   Specially Designated Geographic Area designations include Agency designations such as
   Research Natural Areas; Wheeler Geologic Area; Wild, Recreational, or Scenic River segments;
   Scenic Byways; and areas designated for rare or unique botanical, cultural, geologic, historical,
   or scenic values. Where appropriate, features are interpreted for the public. The Proposed Action
   includes consideration of several new designated areas as identified in the Need to Change
   document. The following areas will be considered for designation in the analysis: the Continental
   Divide Trail, Old Spanish Trail, Natural Arch, Cumbres and Toltec National Historic Landmark,
   and Mt. Blanca Massif. New information regarding the boundary of the John C. Fremont Winter
   Camp Special Interest Area will also be considered.
   Ecosystems are resilient to the impacts of wildfire, and wildland fire has predominantly positive
   benefits to ecosystems and resources. Lands in this zone are maintained at a moderate to low risk


                                                                                                    21
                                                                        Rvsd Plan - 00002213
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 103 of 356

   USDA Forest Service


   with high potential benefit conditions relative to fire. Wildfires are managed to meet resource
   objectives under a wide range of environmental conditions; however, fires may be suppressed
   under more extreme burning conditions. The landscape is resilient to the impacts of wildfire.
   Over time, risks to natural resources are reduced to allow more areas to be considered for
   wildfire maintenance.
   The Specially Designated Geographic Area is not included in the suitable timber base.
   Ecological values are in balance with human occupancy, and consideration is given to both.
   Resource management activities may occur where authorized, but natural ecological processes
   and resulting pattern normally predominate. These areas are generally characterized by natural­
   appearing landscapes. An array of management tools may be used to restore or maintain
   relatively natural patterns of ecological process; thus, some evidence of human activities will be
   noticeable. Uses, including mechanized use, will vary from area to area and may vary by season.
   The following previously identified Management Areas from the 1996 Forest Plan were included
   in this Geographic Area: 1.11, 1.12, 1.13, 1.5, 2^, 3.1, 3.3, 3.4, 4.21, 4.3, 4.4, and 8.22.




   Continental Divide National Scenic Trail near Stony Pass, headwaters of the Rio Grande.




   22
                                                                       Rvsd Plan - 00002214
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 104 of 356

                                             Proposed Action—Rio Grande National Forest Plan Revision



   Tactical Domain
   Management Areas
   The 1996 Forest Plan had several Management Areas. Amendments to the original decision
   provided additional layers of direction and management emphasis resulting additional layers of
   management direction that were challenging to both Forest managers and the public. Proposed
   changes include creation of two new Management Areas related to the Colorado Roadless Rule,
   reduction of some Management Areas, and combining some current Management Areas to better
   facilitate clarity and understanding of the direction. The Proposed Geographic Areas, how the
   1996 Forest Plan Management Areas fit within, and the proposed changed Management Areas
   are shown in Table 1.2. Two maps, one showing the proposed Management Areas and the other
   showing the proposed Management Areas within the Geographic Areas, are included at the end
   of this document.
          Proposed Management Area 1.1 - Designated Wilderness
   Wilderness can be designated only by Congress and is managed in accordance with the
   Wilderness Act of 1964. Natural succession occurs in all vegetation types and is influenced by
   natural processes and disturbances. Structure, composition, function, and spatial distribution of
   vegetative types are the result of natural succession. Where no natural disturbance has occurred,
   vegetation is mostly in late-successional stages. Age and structure classes may vary where
   natural disturbance agents, such as fire or insects, have influenced the succession process. Plant
   species are native and indigenous to the immediate area. Non-native invasive species are limited
   and increases are controlled. Forage for wildlife, permitted livestock, and packstock is available
   in meadows and natural openings, although availability may be limited due to topography and
   short growing seasons. Human influences on vegetation is minimal. Timber harvest is prohibited
   and this area is not included in the suitable timber base.
   Wildlife species are buffered from human influences. No additional non-native plant or animal
   species are introduced. Human influence on physical features, such as soil and geologic
   materials, is minimal. Human influence on aquatic life and riparian areas and processes is
   minimal in most areas. The composition, structure, and function of aquatic ecosystems are
   minimally disturbed by human influence. Stocking is used as a tool to enhance Threatened,
   Endangered, and Sensitive Species and enhance recreational opportunities. Water
   impoundments, ditches, and diversions may be present in Wilderness areas.
   Wilderness areas are managed for solitude; users are expected to be familiar with and use
   primitive skills in an environment that offers a high degree of risk and challenge. Success or
   failure is directly dependent on the ability, knowledge, and initiative of the visitor. Contact with
   other users or Forest Service personnel decreases with increasing distance from the entry portals.
   Near the entry portals, users may have contact with larger groups. Commercial permitting for
   day-use activities is allowed in high-use areas. Evidence of established campsites and base
   camps may be present. An element of discovery is maintained. The presence of interpretive
   signs, markers, and posts decreases with increasing distance from the entry portals, though cairns
   may be present. Near the entry portals, trails are marked at intersections to indicate routes.
   Evidence of cultural and historic sites may be present, and these sites may be signed and
   interpreted near entry points. Structures or facilities may be present but only as necessary for
   resource protection when less obtrusive measures were not successful in the past.


                                                                                                     23
                                                                        Rvsd Plan - 00002215
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 105 of 356

   USDA Forest Service


   Trails are the primary mode of travel from the entry portals. Trail systems are maintained for
   user safety and comfort. Bridges may be present when needed for resource protection or user
   safety. The presence of constructed trails decreases with increasing distance from entry portals,
   and travel deep within Wilderness is primarily cross-country with no established trails. User-
   created trails may exist but are not maintained or designated on maps or trail guides.
   Livestock grazing is an appropriate and authorized use except where previously delineated.
   Evidence of past mining activity may be present but is rare. Wilderness areas are withdrawn
   from locatable mineral entry and are legally unavailable for oil and gas leasing.
   Visibility is generally unimpaired. Smoke from natural fires may be visible. The Scenic integrity
   is Very High and the Recreation Opportunity Spectrum is Primitive.
   Each wilderness area has a prepared wilderness management plan that describes specific levels
   of management. Management Plans are prepared in cooperation with other managing units or
   agencies.
          Management Area 1.5 - Eligible Wild Rivers
   Eligible Wild River areas are managed to protect and perpetuate eligible Wild River segments
   and adjacent areas. These areas are eligible for official designation based on the presence of one
   or more “outstandingly remarkable” feature: scenic, recreation, geologic, wildlife, or fisheries
   values. The width of the area may vary to protect outstanding values, but at least one-quarter
   mile on either side of the segment is included.
   Existing eligible Wild Rivers include El Rito Azul, Hansen Creek, Middle Fork Conejos River,
   North Fork Conejos River, Toltec Creek, and Saguache Creek.
   The landscape is predominantly natural appearing. Vegetative composition and structure are
   influenced by biological processes and conditions. Due to the proximity of the streams, there is a
   greater than average diversity of native plant and animal species.
   Livestock grazing is an appropriate and authorized use.
   Road construction is not authorized in these areas.
   Management activity is dependent on the projected future designation. Outstandingly remarkable
   features are protected until a suitability study is completed and final recommendation of
   designation is made.
   No motorized travel occurs within one-quarter mile of the stream or river segment.
   These areas are not available for oil and gas leasing.
   The Scenic Integrity is Very High and the Recreation Opportunity Spectrum Class is Primitive.
          Management Area 2.2 - Research Natural Areas
   Research Natural Areas preserve representative areas that typify important forest, shrubland,
   grassland, alpine, aquatic, geologic, or other natural environments. These areas often may also
   have special or unique characteristics of scientific importance. The management emphasis of
   these areas focuses on protecting or enhancing unique or exemplary ecosystems designated for
   non-manipulative research, monitoring and education.




   24
                                                                        Rvsd Plan - 00002216
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 106 of 356

                                              Proposed Action—Rio Grande National Forest Plan Revision


   Research Natural Areas contribute to the preservation and maintenance of key elements of
   biological diversity at the genetic, species, population, community, and landscape levels.
   Research Natural Areas are intended as baseline areas for measuring ecological changes, and as
   control areas for evaluation and monitoring.
   Develop comprehensive management plans as needed.
   Where feasible, manage undesirable non-native plant and animal species.
   Livestock grazing is an appropriate or authorized use when it is not in direct conflict with
   resources values that prompted establishment of the area.
   The Recreation Opportunity Spectrum class for these Research Natural Areas is Semi-Primitive
   Nonmotorized.
          Management Area 3.1 - Special Interest Area—Use and Interpretation Emphasis
   Special Interest Areas are managed to protect or enhance unique characteristics that occur across
   the Forest. Special Interest Areas typically contain unique botanical, geologic, historical, scenic,
   or cultural areas and values. Management emphasizes developing and interpreting some of these
   areas for public education and recreation.
   Livestock grazing is an appropriate and authorized use.
   Proposed activities meet the Adopted Scenic Integrity Objective and the Recreation Opportunity
   Spectrum class is Semi-Primitive Motorized.
          Management Area 3.3 - Backcountry
   The landscape is predominantly natural appearing and relatively undisturbed by humans. Natural
   processes within the context of the range of natural variability (insects, disease, and fire) are
   generally allowed to occur with minimal human intervention. Prescribed natural fire plans should
   be developed and Confine/Contain strategies and minimal-impact suppression techniques
   emphasized on wildfires. Management-ignited fires may be used to mimic natural disturbance
   regimes.
   There is a high probability of experiencing solitude and opportunity for a high degree of self­
   reliance, challenge, and risk. Facilities are minimal and exist primarily for site protection.
   Improvements to enhance recreation use, such as signs, may be present, but are rustic in style.
   Trailheads providing access to these areas are outside the area and offer information and
   directional signing. Cross-country motorized travel is limited to snow machines in the winter not
   otherwise restricted.
   Trails provide a full range of challenging recreation opportunities. These include biking,
   horseback riding, mountain biking, and motorized travel on designated trails. Hunting and
   fishing opportunities are available for those seeking a more remote experience. No road building
   occurs within the area, and new trail construction is rare.
   The allocation of miles of motorized or non-motorized travel ways is that the classification of
   trails (motorized or non-motorized) identified in the Forest Plan will not substantially change
   over the planning period. While individual travel ways might change from non-motorized to
   motorized or vice versa, the Recreation Opportunity Spectrum will stay Semi-Primitive.




                                                                                                     25
                                                                         Rvsd Plan - 00002217
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 107 of 356

   USDA Forest Service


   Generally, non-recreational special uses such as electronic sites and utility corridors are excluded
   from Backcountry areas.
   Livestock grazing is appropriate and authorized within this Management Prescription.
          Management Area 3.4 - Designated and Eligible Scenic Rivers
   Scenic river corridors are managed to protect and perpetuate river segments that are either
   eligible for Scenic River designation or have already designated as such. As of yet no rivers have
   been designated, but some eligible segments have been identified. Eligibility requires one or
   more “outstandingly remarkable” feature, which may include scenic, recreational, geologic,
   wildlife, or fisheries values. The width of the area may vary to protect the outstanding values, but
   at least one-quarter mile on either side of the segment is included.
   Rivers on the Rio Grande identified as eligible Scenic Rivers include Archuleta Creek, West
   Fork Rio Chama, East Fork Rio Chama, Lower Rio de los Pinos, part of Medano Creek, part of
   South Fork Rio Grande, Rio Grande (Box Canyon), and West Bellows.
   Scenic River landscapes are generally natural appearing. Vegetative composition and structure is
   influenced by biological processes and condition. The proximity of streams results in a greater
   than average density of plant and animal species.
   Livestock grazing is an appropriate and authorized use. These lands are available and authorized
   for oil and gas leasing with a Controlled Surface Use Stipulation. These lands are part of the
   Suitable timber base.
          Proposed Management Area 3.5 - Colorado Roadless Area
   Colorado Roadless Areas are generally undeveloped parts of the Forest that provide a variety of
   settings at different elevations. They are managed to protect roadless characteristics and to
   maintain plant and animal habitats that are shaped primarily through natural processes. These
   areas provide backcountry recreational experience to the public in areas with less evidence of
   human activities.
   Landscapes in these areas are predominantly natural appearing and relatively undisturbed by
   humans. Natural processes within the context of the range of natural variability (insects, disease,
   and fire) are generally allowed to occur with minimal human intervention.
   The probability of experiencing solitude in these areas is high. Frequent opportunities for
   challenge and risk require a degree of self-reliance. Facilities are minimal and exist primarily for
   site protection. Recreational improvements, such as signs, may be present. Trailheads offer
   information and directional signing. Cross-country motorized travel is limited to snow machines
   in the winter (where other restrictions do not apply).
   Trails provide a wide range of challenging recreation opportunities including horseback riding,
   mountain bike riding, and motorized travel on designated routes. Hunting and fishing
   opportunities are available for those seeking a more remote experience. No new road
   construction occurs within the areas.
   Miles of motorized and nonmotorized travel will not substantially change over the planning
   period. Although individual travel ways could change from nonmotorized to motorized or vice-
   versa, the Recreation Opportunity Spectrum would remain Semi-Primitive.




   26
                                                                         Rvsd Plan - 00002218
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 108 of 356

                                            Proposed Action—Rio Grande National Forest Plan Revision


   Trees may be cut, sold, and removed if the Responsible Official determines that the activity is
   consistent with the applicable land management plan. One or more of the roadless area
   characteristics will be maintained or improved over the long-term, with exceptions and only if
   one of the following conditions exists:
      1. The Regional Forester determines that tree cutting, sale, or removal is needed to reduce
         hazardous fuels to an at-risk community.
      2. The Regional Forester determines that tree cutting, sale, or removal is needed outside of
         the community protection zone and where wildland fire disturbance is a significant risk
         that could adversely affect a municipal water supply system or the maintenance of that
         system.
      3. Tree cutting, sale, or removal is needed to maintain or restore the characteristics of
         ecosystem composition, structure, and processes.
      4. Tree cutting, sale, or removal is needed to improve habitat for federally threatened,
         endangered, proposed, or Agency designated sensitive species; in coordination with the
         Colorado Department of Natural Resources.
      5. Tree cutting, sale, or removal is incidental to the implementation of a management
         activity not otherwise prohibited.
      6. Tree cutting, sale, or removal is needed and appropriate for personal or administrative use
         as provided for in 36 CFR 223, subpart A.
   A road or temporary road could only be constructed and reconstructed if the Responsible Official
   determines that:
      1. A road is needed pursuant to reserved or outstanding rights, or is provided for by statue
         or treaty.
      2. Road realignment is needed to prevent irreparable resource damage that arises from the
         design, location, use, or deterioration of a forest road that cannot be mitigated by road
         maintenance.
      3. Road reconstruction is needed for road safety improvement.
      4. The Regional Forester has determined that a road is needed to allow for construction,
         reconstruction, or maintenance of an authorized water conveyance structure.
      5. A temporary road is needed to protect health and safety in cases of imminent flood, fire,
         or other catastrophic event.
      6. The Regional Forester has determined that a temporary road is needed to facilitate tree
         cutting or removal within the first half mile of a community protection zone to reduce
         wildfire hazard to community of water conveyance structure.
      7. A temporary road is needed pursuant to the exploration or development of an existing oil
         and gas lease that does not prohibit road construction or reconstruction.




                                                                                                     27
                                                                       Rvsd Plan - 00002219
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 109 of 356

   USDA Forest Service


   A linear construction zone may not be constructed except when the Regional Forester determines
   that one is needed:
        •   Pursuant to reserve or outstanding rights or as provided in a statute or treaty
        •   For construction, reconstruction, or maintenance of an authorized water conveyance
            structure.
   Additionally, the Regional Forest must approve projects for:
        •   The construction, reconstruction, or maintenance of power lines or telecommunication
            lines
        •   Construction, reconstruction, or maintenance of a pipeline for oil and gas leasing.
   Other restriction and prohibitions are described in detail in the Colorado Roadless Rule direction
   (36 CFR Part 294).
            Proposed Management Area 3.6 - Upper Tier Colorado Roadless Area
   Upper Tier Roadless Areas are described in the 2012 Colorado Roadless Rule and are identified
   in Table 1.3.
   These areas are generally undeveloped parts of the Forest that provide a variety of settings at
   different elevations. They are managed to protect roadless characteristics and to maintain plant
   and animal habitats that are shaped primarily through natural processes. These areas provide
   backcountry recreational experiences to the public in areas with less evidence of human
   activities.
   Limited vegetation manipulation may occur in this Management Area. Trees may be cut, sold,
   and removed only when incidental to implementation of an authorized management activity. For
   further clarification refer to the 2012 Colorado Roadless Rule (36 CFR 223). Trees may also be
   cut, sold, and removed when needed for personal or administrative use as provided for in the
   rule.
   Landscapes in these areas are predominantly natural appearing and relatively undisturbed by
   humans. Natural processes within the context of the range of natural variability (insects, disease,
   and fire) are generally allowed to occur with minimal human intervention.
   The probability of experiencing solitude in these areas is high. Frequent opportunities for
   challenge and risk require a degree of self-reliance. Facilities are minimal and exist primarily for
   site protection. Recreational improvements, such as signs, may be present. Trailheads offer
   information and directional signing. Cross-country motorized travel is limited to snow machines
   in the winter (where other restrictions do not apply).
   Trails provide a range of challenging recreation opportunities including horseback riding,
   mountain bike riding, and motorized travel on designated routes. Hunting and fishing
   opportunities are available. Road and trail construction and reconstruction follows the direction
   outlined in the 2012 Colorado Roadless Rule (36 CFR 223). Generally, roads may only be
   approved for construction where there are outstanding rights or a previous statute or treaty that
   prescribes the need. Road construction may be authorized when there is an imminent threat to
   public health and safety, for example in a flood, fire, or other catastrophic event that requires
   intervention to reduce the loss of life or property.



   28
                                                                          Rvsd Plan - 00002220
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 110 of 356

                                             Proposed Action—Rio Grande National Forest Plan Revision


   The amount of motorized and nonmotorized travel ways will not substantially change over the
   planning period. Although individual travel ways may change from nonmotorized to motorized
   or vice-versa, the Recreation Opportunity Spectrum is Semi-Primitive.
   Trees may be cut, sold, and removed if the Responsible Official determines that the activity is
   consistent with the Forest Plan and:
      •   Is incidental to a management activity not otherwise prohibited
      •   Is needed and appropriate for personal or administrative use as provided in 36 CFR 223,
          Subpart A.
   A road may only be constructed or reconstructed if the Responsible Official determines that:
      •   A road is needed pursuant to reserved or outstanding rights, or is provided for by statue
          or treaty
      •   A road is needed to protect public health and safety in cases of an imminent threat of
          flood, fire, or other catastrophic event, that without intervention would cause the loss of
          life or property.
          Management Area 4.3 - Dispersed and Developed Recreation
   Dispersed and Developed Recreation areas are designated mostly along road corridors where
   developed and undeveloped recreation opportunities can be managed as an integrated resource.
   These popular areas generally have access to water features or other natural attractions and offer
   a more social recreation experience with frequent visitor contacts.
   Vegetation composition and structure are managed to meet the recreation objectives for this area,
   maintain vegetation cover for wildlife, and protect soil stability. Commercial harvest is
   authorized for reasons other than production of forest products.
   Insects and disease are managed to maintain the recreation resource.
   Summer homes, resorts, and organizational camps are present and managed to provide unique
   recreation opportunities. Developed recreation sites and facilities, such as campgrounds and
   picnic sites, are maintained and updated to meet customer needs. Management actions in
   dispersed sites maintains the natural characteristics that make the area popular.
   Recreation Opportunity Spectrum class is Modified.
          Management Area 5.11 - General Forest and Intermingled Rangelands
   This Management Area allows for a variety of management options, including livestock grazing,
   wildlife habitat, dispersed recreation, exploration, development of minerals and energy
   resources, and timber harvest. Characterized by forest and grassland communities, this area is
   managed with a multiple-use emphasis to achieve a variety of goals.
   Timber is harvested to meet management goals using a full range of silvicultural options;
   however, even-aged systems are more likely to occur. Where timber harvest is planned, rotation
   periods are longer and entries are less frequent than in Area 5.13, which is described below.
   Timber management activities focus on what is retained in the stand instead of on wood
   production. All successional stages are represented. Management allows the perpetuation of
   natural landscape diversity (composition, structure, and function) and includes consideration



                                                                                                      29
                                                                        Rvsd Plan - 00002221
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 111 of 356

   USDA Forest Service


   within a spatial context—for example: what species, what kind of stand structure, and what kind
   of landscape patterns are natural, by ecosystem.
   Management actions ensure that there is sufficient habitat for wildlife dispersion between
   undeveloped areas of the Forest.
   The area has a well-developed transportation system with numerous open roads that offer
   commercial access and roaded recreational opportunities, while roads with restricted access offer
   nonmotorized recreation opportunities.
   Watersheds, scenic resources, and wildlife habitat are restored in locations where past
   management actions have reduced resource effectiveness.
   Appropriate settings are offered that are suitable for a broad range of recreation opportunities.
   Recreation facilities are improved on the basis of user demand. Users can expect to have a more
   social experience.
   Livestock grazing is appropriate and authorized in this area.
   Recreation Opportunity Spectrum class is Modified Roaded. Activities undertaken meet the
   prescribed Scenic Integrity Objectives.
          Management Area 5.13 - Forest Products
   This area allows for a full range of activities with an emphasis on the production of commercial
   wood products. These areas have a high potential for timber growth, and operations focus on
   wood production. Suitable forested areas are maintained with commercially valuable species at
   ages, densities, and sizes that allow growth rates and stand conditions that are conducive to
   providing a sustained yield of forest products.
   Timber management is accomplished in a manner that allows the perpetuation of natural
   landscape diversity (composition, structure, and function) and includes consideration within a
   spatial context—for example: what species, what kind of stand structure, and what kind of
   landscape patterns are natural, by ecosystem. All succession stages are represented, including old
   growth. Mature stands are identified for old growth characteristics.
   Management actions ensure that sufficient quality habitat for wildlife dispersion exists between
   undeveloped areas of the forest.
   The area has a well-developed transportation system with numerous open roads that offer
   commercial access and roaded recreational opportunities, while restricted access roads offer
   nonmotorized recreation opportunities.
   Forest visitors can expect to experience managed forest. Managed stands will have evidence of
   management, including stumps, slash, skid trails, and soil disturbance.
   Opportunities exist for exploration and development of mineral and energy resources.
   Livestock grazing is appropriate and authorized.
   Recreation Opportunity Spectrum class is Modified Roaded. Activities undertaken meet the
   prescribed Scenic Integrity Objectives.




   30
                                                                       Rvsd Plan - 00002222
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 112 of 356

                                            Proposed Action—Rio Grande National Forest Plan Revision


           Management Area 5.41 - Deer and Elk Winter Range
   These areas are managed to provide quality winter range forage, cover, and solitude for deer, elk,
   and other wildlife species. Winter Range areas are made up of forested and non-forested habitat
   generally at lower elevations of the Forest.
   Vegetation is managed to sustain healthy plant communities that provide a variety of plants for
   food and cover.
   The transportation system provides access for vegetation treatments and activities but reduce
   habitat fragmentation across the landscape.
   To minimize resource conflicts on and off of National Forest System lands and to offer
   recreation opportunities, habitat management criteria should be developed in coordination with
   the Colorado Department of Parks of Wildlife along with adjacent private and Federal land
   owners.
   Human activities are managed during the winter season to allow wildlife to effectively use the
   area.
   Livestock grazing is appropriate and authorized. Grazing systems could be developed in
   cooperation with state and federal agencies and adjacent landowners so that all lands can be
   considered in the development of vegetation management objectives for an area.
   Recreation Opportunity Spectrum class is Modified Roaded. Activities undertaken meet the
   prescribed Scenic Integrity Objectives.
   Adjustment to this Management Area is anticipated on the basis of remapping of bighorn sheep
   herds by the Colorado Department of Parks and Wildlife.
           Management Area 5.42 - Special Wildlife Areas - Bighorn Sheep
   Special Wildlife Areas for
   bighorn sheep are
   maintained for established
   herds and are
   characterized by rocky
   slopes, cliffs, and open
   grasslands with scattered
   stands of trees. Vegetation
   management may be used
   to enhance or maintain
   bighorn sheep habitat. To
   assure species viability
   management emphasizes
   maintenance and
   improvement of the
   habitat characteristics that
   bighorn sheep depend on.
   Herd objectives are
   established in cooperation
                                  Rocky Mountain Bighorn Ewe on Long Ridge near Creede.



                                                                                                     31
                                                                       Rvsd Plan - 00002223
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 113 of 356

   USDA Forest Service


   with the Colorado Department of Parks and Wildlife.
   Established viewing areas should provide interpretation of the resources and management.
   Livestock grazing is appropriate and authorized. Maintain a buffer between domestic sheep and
   bighorn sheep, to prevent interaction.
   Recreation Opportunity Spectrum class is Modified Roaded. Activities undertaken meet the
   prescribed Scenic Integrity Objectives.
   Adjustment to this Management Area is anticipated based on remapping completed by the
   Colorado Department of Parks and Wildlife mapping of bighorn sheep herds.
          Management Area 6.6 - Grassland Resource Production
   Grassland Resource Production areas are managed to produce forage. Management in these areas
   emphasizes vegetation associated with grassland ecosystems to maintain and improve desired
   vegetation conditions for livestock, wildlife, and recreational stock. The areas are characterized
   by a mix of grassland and forested ecosystems that features open meadows and other grasslands,
   intermixed with stands of aspens and conifers.
   Plant communities are managed in a variety of successional stages to provide biological diversity
   of both plant and animal species. A variety of tools and methods are applied, including but not
   limited to timber harvest, prescribed burning, and planting. Timber harvest is managed for
   objectives other than forest products.
   Visitors to these areas can expect to see livestock and wildlife along with range improvements.
   Livestock grazing is appropriate and authorized.
   Recreation Opportunity Spectrum class is Modified Roaded. Activities undertaken meet the
   prescribed Scenic Integrity Objectives.
          Management Area 4.21 - Scenic Byways and Scenic Railroads
   These areas are managed to protect or preserve the scenic and recreation values and uses in
   designated Scenic Byways and Scenic Railroad Corridors while concurrently managing the
   multiple-use values of the landscape. This management prescription applies to the Silver Thread
   and Los Caminos Antiguos Scenic Byways, and the Cumbres and Toltec Scenic Railroad.
   Multiple-use management such as commercial timber harvest, wildlife management, recreation
   activities, and mineral extraction is allowed in these landscapes, which feature high-quality
   scenery. Features may be interpreted for the public. Facilities may be developed to enhance
   opportunities for viewing scenery and wildlife. All activities and interactions are managed to
   maintain the scenic beauty for which the area is designated.
   Opportunities for solitude are limited. Visitors can expect frequent contact with other visitors.
   Roads, recreation facilities, range improvements, and other developments are evident but are
   managed to be in harmony with the natural environment. Recreation facilities could include
   scenic overlooks, interpretive signs, and rest areas as appropriate. Developed campgrounds are
   situated off of the main travel way. Trailheads are easily accessible, but also are off of the main
   travel way.
   Road systems are well signed and are generally passable by a passenger car but can be gravel or
   paved. This area has access for motorized recreation activities off of the main travel ways.


   32
                                                                         Rvsd Plan - 00002224
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 114 of 356

                                             Proposed Action—Rio Grande National Forest Plan Revision


   Nonmotorized activities such as biking and horseback riding are focused on the available trails
   and roads.
   Livestock grazing is an appropriate and authorized use. This area is included in the suitable
   timber base.
   All activities will meet the adopted Scenic Integrity Objective and the Recreation Opportunity
   Spectrum Class is Modified Roaded.
          Management Area 4.4 - Designated and Eligible Recreational Rivers
   Recreational Rivers are managed to protect and perpetuate designated or eligible stream
   segments that have the one or more required “outstandingly remarkable” features that include
   scenic, recreational, geologic, wildlife, or fisheries values. The actual width of the area may vary
   to protect the outstanding values, but is at least one-quarter mile on either side of the stream.
   Existing diversion structures, rip-rap, or flood-control structures must be maintained.
   Eligible Recreational Rivers from the 1996 Forest Plan include Medano Creek, South Fork Rio
   Grande, Lower Rio Grande, and Conejos Rivers.
   Landscapes in these area are predominantly natural-appearing. Vegetative composition and
   structure are influenced by biological processes and conditions. Proximity to the stream results in
   greater than average diversity of plants and animal species.
   Livestock grazing is an appropriate and authorized use. These areas are not included in the
   suitable timber base.
   Activities undertaken will meet the adopted Scenic Integrity Objective, and the Recreation
   Opportunity Spectrum class is Modified.
          Management Area 8.22 - Ski-based Resorts
   These areas are managed for their existing or potential use as ski-based resort sites. Wolf Creek
   Ski Area lands are the only lands currently included in the Management Area. This is an area of
   concentrated use. Visitors can expect a high degree of interaction and many facilities associated
   with the ski resort industry.
   Resources are managed to protect the recreation resource and ensure public safety, including
   management of insects and disease. Project implementation in this area maintains the possibility
   of winter sports recreation. Resource Management activities are designed and implemented to
   maintain or enhance existing resources.
   Development in the area will be consistent with the terms and conditions of the Special Use
   Permit, including submission of a master development plan. These lands are not part of the
   suitable timber base. They are also withdrawn from locatable mineral entry, and grazing is not
   authorized or permitted.
   Activities will meet the adopted Scenic Integrity Objective and the Recreation Opportunity
   Spectrum class is Roaded Natural.




                                                                                                     33
                                                                         Rvsd Plan - 00002225
                     Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 115 of 356

USDA Forest Service


Table 1.4. Allowable activities in the proposed Management Areas

                                                                                                        V           V    co   V    CM         CM
                                               V                         V                                          V    V              CD
       Allowable Activities                    V        V       CM       co       co       co      co               i6   i6   i6   i6   (£>   00

 Timber vegetation
                                                                                                        x   x       x    x    x    x    x
 management for fiber

 May be suitable for timber
                                                                                                        x   x   x   x    x    x    x    x     x
 harvest

 Timber stand improvement                                                                               x   x       x    x    x    x    x

 Salvage/Sanitation Harvest                                               x                             x   x   x   x    x    x    x    x     x

 Prescribed fire                               x        x        x        x       x        x        x   x   x   x   x    x    x    x    x     x

 Naturally occurring fire                      x        x        x        x       x        x        x           x   x    x    x    x    x

 Trail
                                               x        x                 x       x        x        x   x       x   x    x    x    x    x     x
 construction/reconstruction

 Off road game retrieval                                                                                            x    x    x    x    x     x

 Off road travel for
 dispersed camping,                                                                                     x   x   x   x    x    x    x    x
 firewood gathering, etc.

 Full suppression of
                                               x        x        x        x       x        x        x   x   x   x   x    x    x    x    x     x
 wildfires*

 Authorized grazing                            x        x                 x       x        x        x   x   x   x   x    x    x    x    x

*Full fire suppression is an option for any wildfire and is up to the discretion of the Line Officer.




34
                                                                                                                               Rvsd Plan - 00002226
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 116 of 356

                                            Proposed Action—Rio Grande National Forest Plan Revision



      The Forest Plan will present standards and guidelines as prescribed in the 2012 Planning
      Rule. Standards and guidelines place operational constraints on projects and activities that
      help achieve or maintain desired conditions. They should not direct processes for additional
      analysis or planning. Standards and guidelines can be applied at the Forest-wide, Geographic
      Area, or Management Area scale. As a starting point, Forest Service direction states that
      Forest Plans will include plan components including standard or guidelines for the following:
         •   Ecological integrity of terrestrial and aquatic ecosystems, and watersheds in the plan
             area
         •   Air quality; soils and soil productivity, including guidance to reduce soil erosion and
             sedimentation; and water quality
         •   Ecological integrity of riparian areas
         •   Contribution to social and economic sustainability
         •   Diversity of ecosystems and habitat types
         •   Ecological conditions in the plan area
         •   Integrated resource management to provide for ecosystem services and multiple uses
         •   Sustainable recreation including recreation settings, opportunities, and access; and
             scenic character
         •   Protection of cultural and historic resources
         •   Management of areas of tribal importance
         •   Protection of congressionally designated wilderness areas as well as management of
             areas recommended for wilderness designation
         •   Protection of designated Wild and Scenic Rivers as well as management of rivers
             found eligible or determined suitable
         •   Appropriate management of other designated areas or recommended designated areas
         •   Timber harvest not allowable for the purposes of timber production on unsuitable
             lands
         •   Soil, slope, or other watershed conditions would not be irreversibly damaged
         •   Protection of soil, watershed, fish, wildlife, recreation, and aesthetic resources
         •   Limits on the maximize size for openings (must be standards)
         •   Timber harvest only when in compliance with the resource protections
         •   Timber removal on a sustained yield basis
         •   Regeneration only of stands that generally have reached the culmination of mean
             annual increment of growth.




                                                                                                    35
                                                                        Rvsd Plan - 00002227
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 117 of 356

   USDA Forest Service


   Adaptive Management Domain
   The Adaptive Management Domain puts in place a process that implements plan direction,
   analyzes the impacts, monitors, and then evaluates adjustments that may be needed to be
   adaptive and responsive in a timely manner. Changes will be incorporated through
   interdisciplinary analysis and will include public involvement.
   To be more responsive to necessary changes in the Forest Plan content, Forest Leadership
   will annually post proposed changes and the rationale for the changes, which could include
   annual monitoring results, on the Forest website. In conjunction with release of the changes,
   a stakeholder meeting would be held to discuss the changes proposed in detail followed by a
   comment period. Upon receiving and reviewing all comments the Responsible Official would
   determine the proper authority to be used in making necessary changes to the Plan content.
   The entire process would be open and transparent.
   Changes to Plan Components requires a Forest Plan Amendment that could use any of the
   approved authorities available at the time. Changes to optional plan content, corrections in
   clerical errors to any content (including plan components), changes needed to conform to
   new statutory or regulatory requirements for which there is no discretion, and other changes
   to plan content except for changes to the substance of plan components or to the application
   of plan components to a specific areas in the planning area, may be adjusted through an
   Administrative Change. This would be done in compliance with the 2012 Planning Rule (36
   CFR 219.7(f)) and Forest Service direction from Forest Service Handbook 1909.12 § 21.5.

   Monitoring Domain
   During the revision process, the existing Monitoring program will be reevaluated in
   accordance with direction contained in the 2012 Planning Rule and in Forest Service
   Handbook 1909.12. The monitoring program to be developed as part of the Forest Plan
   should be strategic, effective, and useful. Monitoring forms the basis for continuous
   improvement of the plan and the adaptive management process. Plan monitoring is one part
   of the overall approach. Broader-scale monitoring is driven by the Regional Forester and
   addresses relevant plan monitoring questions that are best answered at a geographic level.
   Monitoring questions and measurable indicators of response will allow Forest personnel to
   measure management effectiveness and assess progress toward desired conditions. The intent
   of monitoring is to provide the Responsible Official with sufficient information to inform key
   management decisions about the success of the plan, not to fulfill other interests or purposes.
   The 2012 Planning Rule does not require development of monitoring questions for every
   desired condition, objective, or other plan components. As with all other parts of Forest Plan
   development, monitoring questions and indicator measurements will use the best available
   science and will involve public participation. The Monitoring Program will address a
   minimum of eight topics, including:




   36
                                                                       Rvsd Plan - 00002228
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 118 of 356

                                            Proposed Action—Rio Grande National Forest Plan Revision


          1. The status of select watershed conditions
         2. The status of select ecological conditions, including key characteristics of terrestrial
            and aquatic ecosystems
         3. The status of focal species to assess ecological conditions under 36 CFR 219.9
         4. The status of a select set of the ecological conditions required under 36 CFR 219.9 to
            contribute to the recovery of federally listed threatened and endangered species,
            conserve proposed and candidate species, and maintain a viable population of each
            species of conservation concern
         5. The status of visitor use, visitor satisfaction, and progress toward meeting recreation
            objectives
         6. Measurable changes on the plan area related to climate change and other stressors that
            may be affecting the plan area
         7. Progress toward meeting the desired conditions and objectives in the plan, including
            for providing multiple use opportunities
         8. The efforts of each management system to determine that they do not substantially
            and permanently impair the productivity of the land.
      Some aspects of the monitoring program may be fulfilled by monitoring conducted by other
      entities than the Forest, such as but not limited to the Region’s broader-scale monitoring
      program, other federal or state agencies, university researchers, tribes, and other interest
      groups working in collaboration with Forest staff.
      In addition to the annual stakeholder meeting, a written report evaluating the monitoring
      program will be produced biennially and will be available to the public.




                                                                                                       37
                                                                       Rvsd Plan - 00002229
                                                   Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 119 of 356

USDA Forest Service


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Rio Grande National Forest Proposed Management Areas.




38
                                                                                                                                       Rvsd Plan - 00002230
                                                   Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 120 of 356


                                                                                                                                       Proposed Action—Rio Grande National Forest Plan Revision


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Rio Grande National Forest Proposed Management Areas and Geographic Areas.




                                                                                                                                                                                            39
                                                                                                                                                                 Rvsd Plan - 00002231
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 121 of 356




                                                       Rvsd Plan - 00002232
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 122 of 356




      1           GREETINGS!
                On behalf of the Alamosa County Marketing District Board. I am very excited to say that 2015
       was a very productive year! It was certainly a whirlwind of many great events that kept our summer
       jam-packed. From mid-May through the first of November, there were events and activities every
       single weekend, with many weekends having two to three events to choose from. New events such
       as the Rio Frio 5k in January and the Chalk-a-Walk were both huge successes. As with all the events
       in Alamosa County, old or new events could not be possible without the amazing teamwork of so
       many different organizations.
                A huge factor in the success of 2015 was the incredible attendance seen at the Great Sand
        Dunes National Park and Preserve. Medano Creek had water for an above average number of days
       which IS always a huge draw for visitors. Growing popularity in National Parks, sandboarding, and
       adventure tourism across the country also contributed to the high numbers.
                There was a healthy increase in lodging tax collections in 2015 which coincided with the 7%
        increase in visitors in the Welcome Center, Interest in visiting Alamosa County skyrocketed,
        reflecting an 80% increase in visits to the website, and nearly 26,000 Visitor Guides were
        requested and mailed, a 65% increase over 2014! International interest in traveling to Alamosa
        County has also grown, the Convention & Visitors Bureau hosted more than 10 FAM Tours and Media
        Trips from countries such Germany. Canada, and the Netherlands
                The coming year is already promising to be just as exciting. Several unique and interesting
        groups have planned a trip to Alamosa this summer And. expect to see another incredible year
        from the Great Sand Dunes as the National Park Service celebrates it 100th anniversary in 2016.

       Sincerely,
       Jamie Greeman
       Executive Director
       Alamosa Convention & Visitors Bureau




                        Board Members
                    David Brolyes. President
                Tom Bob'Cki. Vice-President
                               (not oictured)
             Danielle VanVeghten Treasurer
                             Jeff Woodward
                                 Fred Bunch
                            Rob Oringdulph
                             Cathy Simpson
          Jamie Greeman. Executive Director




                     Mission Statement of the Alamosa County Local Marketing District Board

               ne Local Marketing District Board shall promote small town hospitality with modern
             f amenities to offer enhanced customer and visitor services. In addition the Local
             V Marketing District Board will assist in increasing lodaina mnm n.nhi-r  r   i    ,




                                                                                Rvsd Plan - 00002233
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 123 of 356




                                                     TAX COLLECTIONS                                2
                  Two separate taxes are collected on each hotel/motel room reserved in Alamosa
           County. Lodging Tax is collected at the rate of 1.9% and the Marketing District Tax is
           collected at the rate of 4%.




                    Year- 2011    H Year- 2012        Year: 2013      Year: 2014    ■■ Year 2015

                ■   $353,614.13   ■ $394,621.40       $335,880.85   ■ $382,971.16   ■ $451,022.65



                                        Lodging Tax Collections




                    Year: 2011    H Year: 2012    H Year: 2013         Year 2014       rear: 2015

                ■   $174.138 96   ■$191.149 47    ■$165,133 53         $157485 58   ■$219,165 57


                                             2015 Expenses




                                                                           Rvsd Plan - 00002234
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 124 of 356




      3            VISITOR COUNTS & STATISTICS
          We couldn’t do it without the dedication of our amazing Wetcome Center volunteers!
              There are 10 official State Welcome
       Centers in Colorado including Alamosa. The
       Welcome Centers are strategically positioned in
       key entrance points across the state The
       centers- staffed by an amazing group of
       volunteers- serve as a great source of
       information for visitors coming to Colorado.
       Research shows that visitors who stop at a
       Welcome Center are likely to spend more during
       their vacation. Visitors in the Welcome Center
       were up 7% in 2015, arriving from all corners of
       the globe. Alt 50 states were represented, most
       of them coming from Colorado, New Mexico, and
       Texas, International visitors represented 40 different countries!

                              Welcome Center Visitation                                        International
                                                                                                  Visitors
                                                                                              Australia           28
       Vear 2015                                                                               Austria
          36,635                                                                               Belgium            s
                                                                                               Brat It
       year 2014                                                                               Canada             114
                                                                                               "osta R«ca
       Year 2013                                                                                                  3
          50,^53                                                                               OeTn’'dfk          3
                                                                                               Ecuador
                                                                                               El Salvador
       Year 2012
          26326                                                                                England            32
                                                                                               France             49
       Year 2011
                                                                                               Germany            104
         43.01D                                                                                 T^iatei’^aia      3
                                                                                               Honduras
                                                                                               Hong Kong
                                                                                               Ireland
                                                                                               Istanbul           2



                                                                                                                  5
                                                                                               Netherlands        21
                                                                                               •'Jev.- Zgaiand

                                                                           Ancona
                                                                           3%
                                                                           Oklahoma
                                                                           3%
                                                                           CaRforpi^     i                        9
                                                                                             Scotland             4
                                                                                             South Korea
                                                                           Kansas            Sodsn


                                                                                             Switzerland         37


                                                                                             Wales.
                                                                                         Wear Indies
                                                                                         Total                   490




                                                                                    Rvsd Plan- 00002235
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 125 of 356




        2015
         I
        2014
        2015
         I
        2014   WEBSITE & VISITOR GUIDE REQUESTS                          4




                                                      Rvsd Plan - 00002236
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 126 of 356




             A Profile of Development and the
             Wildland-Urban Interface (WUI)
                                 Rio Grande NF Region




   Alamosa County CO, Conejos County CO, Costilla County CO, Mineral County CO, Rio
                       Grande County CO, Saguache County CO




                                        Produced by
                     Economic Profile System-Human Dimensions Toolkit
                                          EPS-HDT
                                      February 26, 2015




                                                              Rvsd Plan - 00002237
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 127 of 356




_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ About EPS-HDT
About the Economic Profile System-Human Dimensions Toolkit (EPS-HDT)
EPS-HDT is a free, easy-to-use software application that produces detailed socioeconomic reports of counties, states, and regions,
including custom aggregations.


EPS-HDT uses published statistics from federal data sources, including Bureau of Economic Analysis and Bureau of the Census, U.S.
Department of Commerce; and Bureau of Labor Statistics, U.S. Department of Labor.

The Bureau of Land Management and Forest Service have made significant financial and intellectual contributions to the operation and
content of EPS-HDT.

See headwaterseconomics.org/eps-hdt for more information about the other tools and capabilities of EPS-HDT.

For technical questions, contact Patty Gude at eps-hdt@headwaterseconomics.org, or 406-599-7425.




                                                          HEADWATERS
                                                          ECONOMICS
                                                         headwaterseconomics.org

Headwaters Economics is an independent, nonprofit research group. Our mission is to improve community development and land
management decisions in the West.




                                                                www.blm.gov

The Bureau of Land Management, an agency within the U.S. Department of the Interior, administers 249.8 million acres of America's
public lands, located primarily in 12 Western States. It is the mission of the Bureau of Land Management to sustain the health, diversity,
and productivity of the public lands for the use and enjoyment of present and future generations.




                                                               www.fs.fed.us

The Forest Service, an agency of the U.S. Department of Agriculture, administers national forests and grasslands encompassing 193
million acres. The Forest Service’s mission is to achieve quality land management under the "sustainable multiple-use management
concept" to meet the diverse needs of people while protecting the resource. Significant intellectual, conceptual, and content contributions
were provided by the following individuals: Dr. Pat Reed, Dr. Jessica Montag, Doug Smith, M.S., Fred Clark, M.S., Dr. Susan A. Winter, and
Dr. Ashley Goldhor-Wilcock.




                                                              About EPS-HDT


                                                                                                 Rvsd Plan - 00002238
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 128 of 356




                                                                                                   Table of Contents


                                                                                                                                Page
           Development in the WUI
                  How much of the WUI has been developed, and how much has not yet
                  been developed?                                                                                                 1
                  How many homes are in the WUI, and what proportion are permanently
                  versus seasonally occupied?                                                                                     2

           Land Use in the WUI
                  How much land is used inside and outside of the WUI?                                                             3

           Existing and Potential Risk
                  What is the wildfire risk to development?                                                                        4

           Data Sources & Methods                                                                                                 5

           Links to Additional Resources                                                                                          6




 Note to Users:
 This report is one of fourteen reports that can be produced with the EPS-HDT software. You may want to run another EPS-HDT report for
 either a different geography or topic. Topics include land use, demographics, specific industry sectors, the role of non-labor income, the
 wildland-urban interface, the role of amenities in economic development, and payments to county governments from federal
 lands. Throughout the reports, references to on-line resources are indicated by superscripts in parentheses. These resources are
 provided as hyperlinks on each report's final page. The EPS-HDT software also allows the user to "push" the tables, figures, and
 interpretive text from a report to a Word document. For further information and to download the free software, go to:


 headwaterseconomics.org/eps-hdt


                                                             Table of Contents




                                                                                                Rvsd Plan - 00002239
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 129 of 356




 Rio Grande NF Region                                                              Development in the WUI
 How much of the WUI has been developed, and how much has not yet been developed?
 This page evaluates the wildland-urban interface (WUI) for the eleven western continental states, showing both square miles and the
 proportion of the WUI that has been developed and how much remains to be developed.



 Wildland-Urban Interface (Square Miles), 2010
                                                                    Rio Grande NF Region                                               West
 Total WUI Area                                                                         92                                         23,596
   WUI Area with Homes                                                                  13                                          3,837
   WUI Area without Homes                                                               80                                         19,759
 Percent of Total
   WUI Area with Homes                                                              14.0%                                          16.3%
   WUI Area without Homes                                                           86.0%                                          83.7%


                                                                                Total WUI Area, 2010
                                                     100 1                                      92
    •   In 2010, Rio Grande NF Region had             90 -
        the largest total WUI area (92.5
        square miles), and Alamosa County,            80 -
        CO had the smallest (4.4 square               70 -
        miles).                                       60 -
                                              £       50 -
                                              §
                                                      40 -
                                                      30 -
                                                      20 -
                                                      10 -
                                                       0 -■
                                                                                      Rio Grande NF Region




                                                                    Percent of WUI with and without Homes, 2010
                                                    100% T
                                                     90% -
                                                     80% -

    •   In 2010, Conejos County, CO had              70% -
        the largest percent of the WUI with          60% -
        homes (35.1%), and Costilla County,
                                                     50% -
        CO had the smallest (0.7%).
                                                     40% -
                                                     30% -
                                                     20% -
                                                     10% -
                                                      0% ■
                                                                   Rio Grande NF Region                         West



                                                              WUI Area with Homes            ■ WUI Area without Homes




 Data Sources: Gude, P.H., Rasker, R., and van den Noort, J. 2008. Potential for Future Development on Fire-Prone Lands. Journal of
 Forestry 106(4): 198-205; U.S. Department of Commerce. 2011. TIGER/Line 2010 Census Blocks and 2010 Summary File 1, Washington,
 D.C.


                                                                  Page 1                       Rvsd Plan - 00002240
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 130 of 356


                                                                                                                  5321585131695
 Rio Grande NF Region

 How many homes are in the WUI, and what proportion are permanently versus seasonally occupied?

 This page measures the total number of homes compared to the subset of homes in the WUI and how many of those homes are
 permanent or second homes.


 Total Homes and Wildland-Urban Interface Homes, 2010
                                                                 Rio Grande NF Region                                          West
 Total Number of Homes                                                          25,127                                   27,766,144
   WUI Homes                                                                     1,883                                    1,947,927
      Second Homes in WUI                                                        1,307                                      293,196
 Percent of Total
   WUI Homes as % of Total Homes                                                 7.5%                                          7.0%
    Second Homes as % of WUI Homes                                              69.4%                                         15.1%




    •   In 2010, Mineral County, CO had the
        largest percent of total homes
        (37.6%) built inside the WUI, and
        Alamosa County, CO had the
        smallest (0.4%).




                                                           Percent of Homes in the WUI that are Second Homes, 2010

                                                 80%
    •   In 2010, Conejos County, CO has
                                                                        69.4%
        the largest share of second homes in     70%
        the WUI (90.2%), and the West has
        the smallest (15.1%).                    60%

                                                 50%

                                                 40%

                                                 30%

                                                 20%                                                      15.1%

                                                 10%

                                                  0%
                                                               Rio Grande NF Region                        West




 Data Sources: Gude, P.H., Rasker, R., and van den Noort, J. 2008. Potential for Future Development on Fire-Prone Lands. Journal of
 Forestry 106(4): 198-205; U.S. Department of Commerce. 2011. TIGER/Line 2010 Census Blocks and 2010 Summary File 1, Washington,
 D.C.


                                                               Page 2                     Rvsd Plan - 00002241
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 131 of 356



                                                                                                                    8394008350000
 Rio Grande NF Region
 How much land is used inside and outside of the WUI?
 This page provides both the total number of residences (homes) as well as the subsets of homes in and outside the WUI. It also shows
 the average lot size (in acres) of homes within the WUI compared to homes outside of the WUI.



 Average Lot Sizes (Acres/Home), 2010

1 Average Lot Size
                                                                   Rio Grande NF Region
                                                                                         2.7
                                                                                                                                   West
                                                                                                                                     0.9
  Total Number of Homes                                                              25,127                                  27,766,144
  Total Residential Acres                                                            69,069                                  24,584,252
 Average Lot Size in WUI                                                                 4.4                                         1.3
  WUI Homes                                                                           1,883                                   1,947,927
  WUI Residential Acres                                                               8,280                                   2,455,779
 Average Lot Size in Non-WUI                                                             2.6                                         0.9
  Non-WUI Homes                                                                      23,244                                  25,818,217
  Non-WUI Residential Acres                                                          60,789                                  22,128,473




                                                                              Average Lot Size, 2010
                                                    5.0
    •   In 2010, the largest difference in lot                     4.4
                                                   4.5
        sizes in and outside the WUI
        occurred in Conejos County, CO. In         4.0
        the WUI, the average lot size was
        6.9 acres and outside the WUI the           3.5
        average lot size was 2.8 acres.
                                                    3.0
                                                 o
                                                 ? 2.5
                                                 (D
                                                 I 2.0

                                                    1.5

                                                    1.0

                                                    0.5

                                                    0.0
                                                               Rio Grande NF Region                          West




                                                           Average Lot Size in WUI             Average Lot Size in Non-WUI




 Data Sources: Gude, P.H., Rasker, R., and van den Noort, J. 2008. Potential for Future Development on Fire-Prone Lands. Journal of
 Forestry 106(4): 198-205; U.S. Department of Commerce. 2011. TIGER/Line 2010 Census Blocks and 2010 Summary File 1, Washington,
 D.C.


                                                                 Page 3                        Rvsd Plan - 00002242
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 132 of 356




 Rio Grande NF Region                                                          Existing and Potential Risk
 What is the wildfire risk to development?
 This page measures the risk of wildfire for lands already developed inthe WUI and the potential risk of wildfire should homes be build on
 undeveloped land in the WUI. The geographies are ordered within the eleven western states in both absolute and percentile rankings.



 West-Wide and State-Wide County Rankings, 2010

1 West-Wide Rank by Existing Risk
                                                                     Rio Grande NF Region
                                                                                           na
                                                                                                                                       West
                                                                                                                                             na
 West-Wide Rank by Potential Risk                                                          na                                                na
 State-Wide Rank by Existing Risk                                                          na                                                na
 State-Wide Rank by Potential Risk                                                         na                                                na

 Percentile
 West-Wide    Rank   by   Existing Risk                                                    na                                                na
 West-Wide    Rank   by   Potential Risk                                                   na                                                na
 State-Wide   Rank   by   Existing Risk                                                    na                                                na
 State-Wide   Rank   by   Potential Risk                                                   na                                                na

                                                                                 West-Wide Rank, 2010
    •   In 2010, Conejos County, CO was in
                                                       100% T
        the 69 percentile in the West when
        ranked by existing risk (the amount            90% -
        of forested land where homes have              80% -
        already been built next to public              70% -
        lands).                                  =     60% -
                                                  g    50% -
    •   In 2010, Saguache County, CO was         ,j;   40% -
        in the 64 percentile in the West when          30% -
        ranked by future potential risk (the           20% -
        area of undeveloped, forested private           10% -                         na                   na
        land bordering fire-prone public
                                                         0% ■
        lands).                                                                       Rio Grande NF Region

                                                                         I'j West-Wide Rank by Existing Risk
                                                                         ■ West-Wide Rank by Potential Risk


                                                                                 State-Wide Rank, 2010
    •   In 2010, Conejos County, CO was in
        the 70 percentile in the state when
                                                       1'00%
                                                         nn%
         ranked by existing risk (the amount             90%-
        of forested land where homes have              80% -
        already been built next to public              70% -
        lands).                                  = 60% -
                                                  g 50% -
        . ___ __                                  ® 40% -
    •   In 2010, Saguache County, CO was         Q­
        in the 69 percentile in the state when        %30
        ranked by future potential risk (the          %20
        area of undeveloped, forested private       10% -                             na                   na
        land bordering fire-prone public             0% ■
        lands).                                                                       Rio Grande NF Region

                                                                          « State-Wide Rank by Existing Risk
                                                                          ■ State-Wide Rank by Potential Risk




 Data Sources: Gude, P.H., Rasker, R., and van den Noort, J. 2008. Potential for Future Development on Fire-Prone Lands. Journal of
 Forestry 106(4): 198-205; U.S. Department of Commerce. 2011. TIGER/Line 2010 Census Blocks and 2010 Summary File 1, Washington,
 D.C.


                                                                   Page 4                       Rvsd Plan - 00002243
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 133 of 356




                                                                                      Data Sources & Methods
 Data Sources
 The EPS-HDT Development and the Wildland-Urban Interface (WUI) report uses a set of specific West-wide data sources to quantify
 measures of fire risk related to residential development. In an effort to report more accurate statistics for land ownership, a compilation of
 state level data was used. All of the spatial data in this report were the result of calculations made in Geographic Information Systems
 (GIS). The contact information for these databases is:

   • Protected Areas Database 1.3 2012
     US Geological Survey, Gap Analysis Program (GAP)
     http://gapanalysis.usgs.gov/padus/

   • MODIS Land Cover Type 2006
     National Aeronautics and Space Administration
     http://modis-land.gsfc.nasa.gov/landcover.htm

   • 2010 Decennial Census
     Census Bureau, U.S. Department of Commerce
     http://wwwcensus.gov
     Tel 303-969-7750


 Methods
   In this report, we focus on housing that borders federal public forestlands in the West. Roughly 70 percent of western forests are
   publicly owned. Since wildfire is a natural disturbance in many of these forests, this creates a potential risk to adjacent private lands.
   Fire risk is extremely difficult to quantify. Since most western forests burn at some point and residential areas are rarely abandoned, for
   the purpose of this report, all forested public lands were considered susceptible to wildfire.


   A buffer of 500 meters surrounding forested public lands, including federal, state, and locally managed forests, was mapped, and
   residential areas that fell within this buffer were identified. The forested public lands were identified based on the following classes from
   satellite classified land cover maps: evergreen needleleaf forest, evergreen broadleaf forest, deciduous needleleaf forest, deciduous
   broadleaf forest, mixed forests, closed shrublands. Although open shrublands and grasslands are also prone to wildfire, defending
   homes in these habitats tends to be less dangerous and less expensive. Since guidelines for the amount of defensible space necessary
   to protect homes range from 40 to 500 meters, the threshold of 500 meters was used to identify where residential development occurs
   adjacent to fire-prone public lands. This is a conservative estimate of the WUI and the associated risk of fire, since it is unknown how
   many home owners within this zone have followed defensible space guidelines.




   In order to identify where housing has occurred adjacent to forested wildlands in the West, maps of housing density were created at the
   scale of 2000 Census blocks. Forested areas where residential development (census blocks with mean lot sizes less than 40 acre)
   occurred within 500 meters (0.31 miles) of public lands were identified. The threshold of 40 acre lot sizes was used to identify
   residential development because at this home density, areas are generally considered to be more populated than working agricultural
   lands. The mean lot size per Census block was calculated by dividing the number of housing units by the area of private land (public
   lands and any water bodies were excluded).


   For each western state and for the West as a whole, the area of forested wildland interface containing homes, i.e., the WUI, was
   compared to the area of undeveloped forested wildland interface. Per state, the number of homes in the wildland interface was
   calculated, as well as the percent of these homes that are second homes. The number of second homes within the WUI was calculated
   by adding the number of “seasonally occupied” homes, as specified in by the Census SF1 H005005 field, to the number of “other
   vacant” homes, as specified in the Census SF1 H005007 field. These counts do not include homes that are vacant because they are
   for rent or sale.

   Two measures were used to identify counties with high existing and high potential risk of wildland fire to homes. Existing risk was
   measured in terms of the total area of WUI per county, and potential risk was represented by the area of undeveloped forested wildland
   interface, where home construction could occur in the future.

   For additional information about methods used to generate metrics in this report, see: Gude, P.H., Rasker, R., and van den Noort, J.
   2008. Potential for Future Development on Fire-Prone Lands. Journal of Forestry 106(4):198-205.




                                                                     Page 5                        Rvsd Plan - 00002244
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 134 of 356




                                                                      Links to Additional Resources
 For more information about EPS-HDT see:
 headwaterseconomics.org/eps-hdt


 Web pages listed under Additional Resources include:
 Throughout this report, references to on-line resources are indicated by superscripts in parentheses. These resources are provided as
 hyperlinks here.

 1    www.silvis.forest.wisc.edu/library/WUIDefinitions2.asp
 2    headwaterseconomics.org/wildfire.php
 3    headwaterseconomics.org/wildfire/HeadwatersFireCosts.pdf
 4    www.fs.fed.us/biology/wildecology/HFRA.pdf
 5    headwaterseconomics.org/wildfire/PGude 2008 Forestry.pdf
 6    www.biologicaldiversity.org/swcbd/programs/fire/wui1.pdf
 7    headwaterseconomics.org/wildfire/HeadwatersEconomics FireCostStudy TechnicalReport.pdf
 8    www.napawash.org/Pubs/WildfireJan04.htm
 9    www.napawash.org/Pubs/Wildfire9 30 02.pdf
 10   headwaterseconomics.org/wildfire/Gude Manuscript 4-24-09 Color.pdf
 11   www.pnas.org/content/early/2009/06/05/0900991106.abstract




                                                                  Page 6                       Rvsd Plan - 00002245
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 135 of 356




        A Profile of Socioeconomic Measures

                                 Rio Grande NF Region




   Selected Geographies: Alamosa County CO, Conejos County CO, Costilla County CO,
           Mineral County CO, Rio Grande County CO, Saguache County CO

                    Benchmark Geographies: Colorado Non-Metro




                                        Produced by
                     Economic Profile System-Human Dimensions Toolkit
                                          EPS-HDT
                                      February 26, 2015




                                                              Rvsd Plan - 00002246
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 136 of 356




_____________________________________ About EPS-HDT
About the Economic Profile System-Human Dimensions Toolkit (EPS-HDT)
EPS-HDT is a free, easy-to-use software application that produces detailed socioeconomic reports of counties, states, and regions,
including custom aggregations.

EPS-HDT uses published statistics from federal data sources, including Bureau of Economic Analysis and Bureau of the Census, U.S.
Department of Commerce; and Bureau of Labor Statistics, U.S. Department of Labor.

The Bureau of Land Management and Forest Service have made significant financial and intellectual contributions to the operation and
content of EPS-HDT.

See headwaterseconomics.org/eps-hdt for more information about the other tools and capabilities of EPS-HDT.

For technical questions, contact Patty Gude at eps-hdt@headwaterseconomics.org, or 406-599-7425.




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                                                          ECONOMICS
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Headwaters Economics is an independent, nonprofit research group. Our mission is to improve community development and land
management decisions in the West.




                                                                www.blm.gov

The Bureau of Land Management, an agency within the U.S. Department of the Interior, administers 249.8 million acres of America's
public lands, located primarily in 12 Western States. It is the mission of the Bureau of Land Management to sustain the health, diversity,
and productivity of the public lands for the use and enjoyment of present and future generations.




                                                               www.fs.fed.us

The Forest Service, an agency of the U.S. Department of Agriculture, administers national forests and grasslands encompassing 193
million acres. The Forest Service’s mission is to achieve quality land management under the "sustainable multiple-use management
concept" to meet the diverse needs of people while protecting the resource. Significant intellectual, conceptual, and content contributions
were provided by the following individuals: Dr. Pat Reed, Dr. Jessica Montag, Doug Smith, M.S., Fred Clark, M.S., Dr. Susan A. Winter, and
Dr. Ashley Goldhor-Wilcock.




                                                              About EPS-HDT




                                                                                                 Rvsd Plan - 00002247
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 137 of 356




                                                                                                  Table of Contents


                                                                                                                               Page
          Trends
                  How have population, employment, and personal income changed?                                                  1

          Components
                  How have the components of population changed?                                                                2
                  How have the components of employment changed?                                                                3
                  How has the mix of wage and salary and proprietors income changed?                                             4
                  How has the mix of labor earnings and non-labor income changed?                                                5

          Industry Sectors
                  How has     employment by industry changed historically?                                                     6-7
                  How has     employment by industry changed recently?                                                         8-9
                  How has     personal income by industry changed historically?                                               10-11
                  How has     personal income by industry changed recently?                                                   12-13

          Performance
                  How have earnings per job and per capita income changed?                                                      14
                  How do wages compare across industries?                                                                       15
                  How has the unemployment rate changed?                                                                        16
                  What are the commuting patterns in the region? *                                                              17
                  Do national recessions affect local employment?                                                               18
                  * This page is unavaiiabie for the selected geographies and has been removed.
          Benchmarks
                  How does performance compare to the benchmark?                                                              19-20

          Data Sources & Methods                                                                                               21

          Links to Additional Resources                                                                                        22




 Note to Users:


This report is one of fourteen reports that can be produced with the EPS-HDT software. You may want to run another EPS-HDT report for
either a different geography or topic. Topics include land use, demographics, specific industry sectors, the role of non-labor income, the
wildland-urban interface, the role of amenities in economic development, and payments to county governments from federal
lands. Throughout the reports, references to on-line resources are indicated by superscripts in parentheses. These resources are provided
as hyperlinks on each report's final page. The EPS-HDT software also allows the user to "push" the tables, figures, and interpretive text
from a report to a Word document. For further information and to download the free software, go to:
headwaterseconomics.org/eps-hdt


                                                            Table of Contents




                                                                                              Rvsd Plan - 00002248
 Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 138 of 356




Rio Grande NF Region                                                                                                                 Trends
How have population, employment, and personal income changed?
This page describes trends in population, employment, and real personal income. If this report is for an individual county, it also shows the county
(metropolitan, micropolitan, or rural) classification.




Total Population, Employment, & Real Personal Income Trends, 1970-2013
                                                                                                                                      Change 2000­
                                                       1970             1980             1990              2000               2013
                                                                                                                                             2013
Population                                         37,506           38,055        40,214            46,246                  46,780            534
Employment (full and part-time jobs)               13,084           17,504        19,213            24,437                  26,260          1,823
Personal Income (thousands of 2013$s)             572,241          880,933      975,930          1,316,207               1,621,969        305,762
Population and personal income are reported by place of residence, and employment by place of work on this page.

                                                                          Population Trends, Rio Grande NF Region
                                                      50,000
     From 1970 to 2013, population grew               45,000
     from 37,506 to 46,780 people, a 25%              40,000
     increase.                                        35,000
                                                      30,000
                                                      25,000
                                                      20,000
                                                      15,000
                                                      10,000
                                                       5,000
                                                           0
                                                               0<N^COCOO<N^COCOO<N^COCOO<N^COCOO<N
                                                               r-r-r-r-r-cococococooooooooooo^^




   • From  1970 to 2013, employment
     grew from 13,084 to 26,260 jobs, a
     101% increase.




   • From 1970 to 2013, personal income
     grew from $572.2 million to $1,622.0
     million (in real terms), a 183%
     increase.




Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA30.



                                                                      Page 1                        Rvsd Plan - 00002249
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 139 of 356




Rio Grande NF Region                                                                                             Components
How have the components of population changed?
This page describes various components of population change and total population growth (or decline). Total population growth (or decline) is
the sum of natural change (births & deaths) and migration (international & domestic).




Components of Population Decline, 2000-2013
                                                                                                                                 Change 2000
                                                                                                                                        2013
Population Decline (2000 - 2013)                                                                                                         506
Avg. Annual Population Change (Natural Change & Net Migration)                                                                             27
  Avg. Annual Natural Change (Births & Deaths)                                                                                           266
    Avg. Annual Births                                                                                                                   651
    Avg. Annual Deaths                                                                                                                   385
  Avg. Annual Net Migration (International & Domestic)                                                                                  -250
    Avg. Annual International Migration                                                                                                    68
    Avg. Annual Domestic Migration                                                                                                      -318
  Avg. Annual Residual                                                                                                                    -17

Percent of Population Decline, 2000-2013
  Avg. Annual Natural Change (Births & Deaths)                                                                                         100.0%
  Avg. Annual Net Migration (International & Domestic)                                                                                   0.0%


                                                      Average Annual Components of Population Decline*, Rio Grande NF Region,
                                                                                   2000-2013




   • From 2000 to 2013, population grew
     by 506 people, a 1% increase.




   • From 2000 to 2013, natural change
     contributed to 100% of population
     growth.


   • From 2000 to 2013,   migration
     contributed to % of population
     growth.




                                                            * The Census Bureau makes a minor statistical correction, called a "residual"
                                                            which is shown in the table above, but omitted from the figure. Because of this
                                                            correction, natural change plus net migration may not add to total population
                                                            change in the figure.


Data Sources: U.S. Department of Commerce. 2014. Census Bureau, Population Division, Washington, D.C.



                                                                   Page 2                        Rvsd Plan - 00002250
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 140 of 356




Rio Grande NF Region                                                                                              Components
How have the components of employment changed?
This page describes changes in two components of employment: wage and salary jobs, and proprietor jobs.

Wage and Salary: This is a measure of the average annual number of full-time and part-time jobs by place of work. All jobs for which wages
and salaries are paid are counted. Full-time and part-time jobs are counted with equal weight.

Proprietors: This term includes the self-employed in farm and nonfarm sectors by place of work. Nonfarm self-employment consists of the
number of sole proprietorships and the number of individual business partners not assumed to be limited partners. Farm self-employment is
defined as the number of non-corporate farm operators, consisting of sole proprietors and partners.



Components of Employment Change, 1970-2013
                                                                                                                               Change 2000­
                                                       1970            1980             1990            2000           2013
                                                                                                                                      2013
Total Employment                                     13,084          17,504           19,213          24,437         26,260          1,823
  Wage and salary jobs                                9,352          13,049           13,965          17,248         17,506            258
  Number of proprietors                               3,732           4,455            5,248           7,189          8,754          1,565
                                                                                                                                 % Change
Percent of Total                                                                                                                 2000-2013
Total Employment                                                                                                                      7.5%
   Wage and salary jobs                              71.5%           74.5%             72.7%           70.6%          66.7%           1.5%
   Number of proprietors                             28.5%           25.5%             27.3%           29.4%          33.3%         21.8%
All employment data in the table above are reported by place of work. Includes full-time and part-time workers.




   • From  1970 to 2013, wage and salary
     employment (people who work for
     someone else) grew from 9,352 to
     17,506, a 87% increase.




   • From  1970 to 2013, proprietors (the
     self-employed) grew from 3,732 to
     8,754, a 135% increase.




Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA30.



                                                                    Page 3                       Rvsd Plan - 00002251
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 141 of 356




Rio Grande NF Region                                                                                             Components
How has the mix of wage and salary and proprietors income changed?
This page describes the components of labor earnings (in real terms): income from wage and salary, and proprietors' employment. It also
looks more closely at proprietors, comparing long-term trends in proprietors' employment and personal income.




Components of Labor Earnings Change, 1970-2013 (Thousands of 2013 $s)
                                                                                                                                    Change 2000­
                                                       1970            1980             1990            2000               2013
                                                                                                                                              2013
Earnings by place of work                          408,716          641,376         665,374          856,315          963,777             107,462
  Wage & salary disbursements                      254,365          371,685         365,857          514,538          583,770              69,232
  Supplements to wages & salaries                   29,582           60,933          85,117          125,728          148,964              23,236
  Proprietors' income                              124,769          208,757         214,400          216,050          231,043              14,993
                                                                                                                                       % Change
Percent of Total                                                                                                                       2000-2013
Earnings by place of work                                                                                                                   12.5%
   Wage & salary disbursements                        62.2%           58.0%            55.0%            60.1%             60.6%             13.5%
   Supplements to wages & salaries                     7.2%            9.5%            12.8%            14.7%             15.5%             18.5%
   Proprietors' income                                30.5%           32.5%            32.2%            25.2%             24.0%               6.9%
All income data in the table above are reported by place of work, whichis different than earnings by place of residence   shown   on the following
page of this report.




   • From 1970 to 2013, labor earnings
       from wage and salary employment
       grew from $254.4 million to $583.8
       million (in real terms), a 130%
       increase.

   • From 1970 to 2013, labor earnings
       from proprietors' employment grew
       from $124.8 million to $231.0 million
       (in real terms), a 85% increase.




                                                      Proprietors' Employment Share of Employment & Proprietors' Income Share
                                                                      of Labor Earnings, Rio Grande NF Region
                                                   40.0% -I
                                                   35.0% -
   •   In 1970, proprietors represented 29%        30.0% -
       of total employment. By 2013,               25.0% -
       proprietors represented 33% of total        20.0% -
       employment.                                 15.0% -
                                                   10.0% -
                                                    5.0% -
                                                    0.0% -
   •   In 1970, proprietors represented 31%                   0<N^COCOO<N^COCOO<N^COCOO<N^COCOO<N
                                                              r-r-r-r-r-cococococooooooooooo^^
       of total labor earnings. By 2013,                      oooooooooooooooooooooo
       proprietors represented 26% of total
       labor earnings.
                                                                              Proprietors Employment Share of Total



Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Tables
CA05 & CA05N.



                                                                    Page 4                       Rvsd Plan - 00002252
 Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 142 of 356




Rio Grande NF Region                                                                                              COmPOnentS
How has the mix of labor earnings and non-labor income changed?
This page describes changes in labor earnings and non-labor sources of income.

Labor Earnings: This represents (on this page) net earnings by place of residence, which is earnings by place of work (the sum of wage and
salary disbursements, supplements to wages and salaries, and proprietors' income) less contributions for government social insurance, plus an
adjustment to convert earnings by place of work to a place of residence basis.

Non-Labor Income: Dividends, interest, and rent (money earned from investments), and transfer payments (includes government retirement and
disability insurance benefits, medical payments such as mainly Medicareand Medicaid, income maintenance benefits, unemployment insurance
benefits, etc.) make up non-labor income. Non-labor income is reported by place of residence.


Components of Personal Income Change, 1970-2013 (Thousands of 2013 $s)
                                                                                                                                   Change 2000­
                                                      1970            1980            1990              2000              2013
                                                                                                                                           2013
Total Personal Income                               572,241         880,933         975,930          1,316,207       1,621,969          305,762
   Labor Earnings                                   401,073         603,796         624,053            812,211         897,385           85,174
   Non-Labor Income                                 171,168         277,136         351,877            503,995         724,584          220,589
      Dividends, Interest and Rent                   82,195         139,518         175,949            239,212         323,355           84,143
      Transfer Payments                              88,973         137,618         175,928            264,783         401,229          136,446
                                                                                                                                     % Change
Percent of Total                                                                                                                     2000-2013
Total Personal Income                                                                                                                    23.2%
   Labor Earnings                                     70.1%           68.5%           63.9%             61.7%           55.3%             10.5%
   Non-Labor Income                                   29.9%           31.5%           36.1%             38.3%           44.7%            43.8%
      Dividends, Interest and Rent                    14.4%           15.8%           18.0%              18.2%           19.9%           35.2%
      Transfer Payments                               15.5%           15.6%           18.0%             20.1%           24.7%            51.5%
All income data in the table above are reported by place of residence. Labor earnings and non-labor income may not add to total personal
income due to adjustments made by the Bureau of Economic Analysis.


   •   From 1970 to 2013, labor income
       grew from $401.1 million to $897.4
       million (in real terms), a 124%
       increase.
                                              te­
                                              rn

                                              o
   •   From 1970 to 2013, non-labor           2!
       income grew from $171.2 million to     «
       $724.6 million (in real terms), a
       323% increase.


   • From 1970 to 2013,   labor earnings
       accounted for 47% of growth in total
       personal income and non-labor
       income for 53%.
                                                        Non-Labor Income Share of Total Personal Income, Rio Grande NF Region
   •   In 1970, non-labor income
       represented 30% of total personal
       income. By 2013 non-labor income
       represented 45% of total personal
       income.




Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Tables
CA05 & CA05N.



                                                                    Page 5                       Rvsd Plan - 00002253
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 143 of 356




Rio Grande NF Region                                                                                    Industry Sectors
How has employment by industry changed historically?
This page describes historical employment change by industry. Industries are organized according to three major categories: non-services
related, services related, and government. Employment includes wage and salary jobs and proprietors. The employment data are organized
according to the Standard Industrial Classification (SIC) system and reported by place of work.



Employment by Industry, 1970-2000
                                                                                                                                 Change 1990­
                                                                       1970             1980            1990             2000
                                                                                                                                         2000
Total Employment (number of jobs)                                    13,084           17,504          19,213           24,437           5,224
  Non-services related                                               "4,389           "5,651          "5,795           "6,758             963
    Farm                                                              3,165            3,018           2,824            2,891              67
    Agricultural services, forestry, fishing & other                   "234           "1,004          "1,148           "1,372             224
    Mining (including fossil fuels)                                      "67              "32           "334             "232            -102
    Construction                                                       "384             "751            "789           "1,644             855
    Manufacturing (including forest products)                          "539             "846             700             "619             -81
  Services related                                                   "5,707           "7,789          "9,429          "12,674           3,245
    Transportation & public utilities                                  "587             "682            "542             "793             251
    Wholesale trade                                                    "302             "523            "852             "935              83
    Retail trade                                                      2,014            2,427           2,873            3,586             713
    Finance, insurance & real estate                                   "591             "977            "860           "1,551             691
    Services                                                         "2,213            3,180           4,302            5,809           1,507
  Government                                                          2,601            3,325           3,981            4,851             870
                                                                                                                                   % Change
Percent of Total                                                                                                                   1990-2000
Total Employment                                                                                                                       27.2%
   Non-services related                                             "33.5%           "32.3%           "30.2%            "27.7%         16.6%
     Farm                                                            24.2%            17.2%            14.7%             11.8%          2.4%
     Agricultural services, forestry, fishing & other                "1.8%            "5.7%            "6.0%             "5.6%         19.5%
     Mining (including fossil fuels)                                 "0.5%            "0.2%            "1.7%             "0.9%        -30.5%
     Construction                                                    "2.9%            "4.3%            "4.1%             "6.7%       108.4%
     Manufacturing (including forest products)                       "4.1%            "4.8%             3.6%             "2.5%        -11.6%
   Services related                                                 "43.6%           "44.5%           "49.1%            "51.9%         34.4%
     Transportation & public utilities                               "4.5%            "3.9%            "2.8%             "3.2%         46.3%
     Wholesale trade                                                 "2.3%            "3.0%            "4.4%             "3.8%          9.7%
     Retail trade                                                    15.4%            13.9%            15.0%             14.7%         24.8%
     Finance, insurance & real estate                                "4.5%            "5.6%            "4.5%             "6.3%         80.3%
     Services                                                       "16.9%            18.2%            22.4%             23.8%         35.0%
   Government                                                        19.9%            19.0%            20.7%             19.9%         21.9%
All employment data are reported by place of work. Estimates for data that were not disclosed are indicated with tildes (~).

The employment data above are organized according to the Standard Industrial Classification (SIC) system. The data end in 2000 because in
2001 the Bureau of Economic Analysis switched to organizing industry-level data according to the newer North American Industrial
Classification System (NAICS). More recent employment trends, organized by NAICS, are shown in subsequent sections of this report.




Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA25.



                                                                   Page 6                        Rvsd Plan - 00002254
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 144 of 356




Rio Grande NF Region                                                                                     Industry Sectors
How has employment by industry changed historically?
This page describes historical employment trends by major industry category (non-services related, services related, and government) and by
industry. Employment includes wage and salary jobs and proprietors. The employment data are organized according to the Standard
Industrial Classification (SIC) system and reported by place of work.




   • From 1970 to 2000, jobs in services
       related industries grew from 5,707 to
       12,674, a 122% increase.


   • From 1970 to 2000, jobs in non­
       services related industries grew from
       4,389 to 6,758, a 54% increase.


   • From 1970 to 2000, jobs in
       government jobs grew from 2,601 to
       4,851, a 87% increase.




                                                             Services related     •   Non-services related      *   Government




   •    In 2000 the three industry sectors
       with the largest number of jobs were
       services (5,809 jobs), government
       (4,851 jobs), and retail trade (3,586
       jobs).




   • From 1970 to 2000,      the three
       industry sectors that added the most
       new jobs were services (3,596 new
       jobs), government (2,250 new jobs),
       and retail trade (1,572 new jobs).




                                                                         Services
                                                                   7546839570589
                                                                         Retail trade
                                                                           Government
                                                                           Manufacturing
                                                                           Construction
                                                                           Finance, ins. & real estate
                                                                           Agricultural services
                                                                           Trans. & public utilities
                                                                           Wholesale trade
                                                                           Farm

Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA25.



                                                                  Page 7                       Rvsd Plan - 00002255
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 145 of 356




Rio Grande NF Region                                                                                    Industry Sectors
How has employment by industry changed recently?
This page describes recent employment change by industry. Industries are organized according to three major categories: non-services
related; services related; and government. Employment includes wage and salary jobs and proprietors. The employment data are organized
according to the North American Industrial Classification System (NAICS) and reported by place of work.


Employment by Industry, 2001-2013
                                                                                                                                 Change 2001­
                                                                                                        2001             2013
                                                                                                                                        2013
Total Employment (number of jobs)                                                                     24,813           26,260           1,447
  Non-services related                                                                                "6,105           "5,949            -156
    Farm                                                                                                2,970           2,596            -374
    Forestry, fishing, & related activities                                                              "806            "997             191
    Mining (including fossil fuels)                                                                      "255            "388             133
    Construction                                                                                      "1,647           "1,473            -174
    Manufacturing                                                                                        "427            "495              68
  Services related                                                                                   "12,669          "13,419             750
    Utilities                                                                                            "166            "165               -1
    Wholesale trade                                                                                      "759            "730             -29
    Retail trade                                                                                        2,825          "2,499            -326
    Transportation and warehousing                                                                       "701             914             213
    Information                                                                                          "196            "186             -10
    Finance and insurance                                                                                "629            "743             114
    Real estate and rental and leasing                                                                   "547            "600              53
    Professional and technical services                                                                  "632            "729              97
    Management of companies and enterprises                                                               103            "162              59
    Administrative and waste services                                                                    "432            "502              70
    Educational services                                                                                 "156            "224              68
    Health care and social assistance                                                                 "2,419           "2,527             108
    Arts, entertainment, and recreation                                                                  "529            "582              53
    Accommodation and food services                                                                    "1,511          "1,784             273
    Other services, except public administration                                                      "1,064           "1,072                8
  Government                                                                                            4,862           4,963             101
                                                                                                                                   % Change
Percent of Total                                                                                                                   2001-2013
Total Employment                                                                                                                        5.8%
   Non-services related                                                                               "24.6%            "22.7%         -2.6%
     Farm                                                                                              12.0%              9.9%        -12.6%
     Forestry, fishing, & related activities                                                           "3.2%             "3.8%         23.7%
     Mining (including fossil fuels)                                                                   "1.0%             "1.5%         52.2%
     Construction                                                                                      "6.6%             "5.6%        -10.6%
     Manufacturing                                                                                     "1.7%             "1.9%         15.9%
   Services related                                                                                   "51.1%            "51.1%          5.9%
     Utilities                                                                                         "0.7%             "0.6%         -0.6%
     Wholesale trade                                                                                   "3.1%             "2.8%         -3.8%
     Retail trade                                                                                      11.4%             "9.5%        -11.5%
     Transportation and warehousing                                                                    "2.8%              3.5%         30.4%
     Information                                                                                       "0.8%             "0.7%         -5.1%
     Finance and insurance                                                                             "2.5%             "2.8%         18.1%
     Real estate and rental and leasing                                                                "2.2%             "2.3%          9.7%
     Professional and technical services                                                               "2.5%             "2.8%         15.3%
     Management of companies and enterprises                                                            0.4%             "0.6%         57.3%
     Administrative and waste services                                                                 "1.7%             "1.9%         16.2%
     Educational services                                                                              "0.6%             "0.9%         43.6%
     Health care and social assistance                                                                 "9.7%             "9.6%          4.5%
     Arts, entertainment, and recreation                                                               "2.1%             "2.2%         10.0%
     Accommodation and food services                                                                   "6.1%             "6.8%         18.1%
     Other services, except public administration                                                      "4.3%             "4.1%          0.8%
   Government                                                                                          19.6%             18.9%          2.1%
All employment data are reported by place of work. Estimates for data that were not disclosed are indicated with tildes (~).

Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA25N.



                                                                   Page 8                        Rvsd Plan - 00002256
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 146 of 356




Rio Grande NF Region                                                                                   Industry Sectors
How has employment by industry changed recently?
This page describes recent employment trends by major industry category (non-services related, services related, and government) and by
industry. Employment includes wage and salary jobs and proprietors. The employment data are organized according to the North American
Industrial Classification System (NAICS) and reported by place of work.




   • From 2001 to 2013, jobs in services                    Employment by Major Industry Category, Rio Grande NF Region
       related industries grew from 12,669       16,000 q
       to 13,419, a 6% increase.
                                                 14,000 -
                                                 12,000 -
   • From 2001     to 2013, jobs in non­         10,000 -
       services related industries shrank
       from 6,105 to 5,949, a -3% decrease.       8,000 -
                                                  6,000 -
                                                  4,000 -
   • From 2001    to 2013, jobs in
       government jobs grew from 4,862 to         2,000 -
       4,963, a 2% increase.




                                                            Services Related      •   Non-Services Related     *   Government




   •    In 2013 the three industry sectors
       with the largest number of jobs were
       government (4,963 jobs), farm (2,596
       jobs), and health care, social
       assistance (2,527 jobs).




   • From 2001 to 2013,      the three
       industry sectors that added the most
       new jobs were accommodation, food
       services (273 new jobs),
       transportation, warehousing (213
       new jobs), and agric. services,
       forestry, fishing (191 new jobs).
                                                                    I    Farm
                                                                    ■    Agric. Services, Forestry, Fishing
                                                                         Mining (incl. fossil fuels)
                                                                 — Utilities
                                                                    "    Construction
                                                                    •    Manufact. (incl. forest products)
                                                                     I   Wholesale Trade
                                                                         Retail Trade
                                                                 — — Transportation, Warehousing
                                                                    «    Information
                                                                         Finance, Insurance
                                                                         Real estate, Rental, Leasing
                                                                    II   Professional, Scientific, Tech.
                                                                         Management of Companies
                                                                     I   Admin., Waste Services
                                                                         Educational Services
                                                                       • Health Care, Social Assistance
                                                                 — —— • Arts, Entertainment, Recreation

Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA25N.



                                                                  Page 9                        Rvsd Plan - 00002257
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 147 of 356




Rio Grande NF Region                                                                                     Industry Sectors
How has personal income by industry changed historically?
This page describes historical personal income change by industry (in real terms). Industries are organized according to three major categories:
non-services related, services related, and government. The personal income data are organized according to the Standard Industrial
Classification (SIC) system and reported by place of work.



Personal Income by Industry, 1970-2000 (Thousands of 2013 $s)
                                                                                                                                Change 1990'
                                                                    1970              1980              1990              2000
                                                                                                                                         2000
Labor Earnings                                                    408,716           641,376          665,374          856,315        190,941
   Non-services related                                          "132,334          "256,714         "262,266         "267,975           5,709
      Farm                                                          83,972          173,010           169,151         131,652        -37,499
      Agricultural services, forestry, fishing & other              "6,442           "23,408          "27,687         "33,943           6,256
      Mining (including fossil fuels)                               "1,573             "2,864         "16,056         "14,351          -1,705
      Construction                                                "20,227            "28,143          "26,796         "65,757         38,961
      Manufacturing (including forest products)                    "20,119           "29,291           22,576         "22,272             -304
   Services related                                              "169,295          "221,397         "247,653         "369,696        122,043
      Transportation & public utilities                           "32,302            "33,415            31,420        "48,136          16,715
      Wholesale trade                                             "10,315            "21,256          "37,219         "34,024          -3,195
      Retail trade                                                  57,416            57,009           63,580          82,231          18,651
      Finance, insurance & real estate                              "8,418           "23,139          "16,865         "40,871         24,007
      Services                                                      60,845            86,577           98,570         164,434         65,865
   Government                                                       92,672          120,156           155,508         213,917         58,409
                                                                                                                                   % Change
Percent of Total                                                                                                                   1990-2000
Labor Earnings                                                                                                                         28.7%
   Non-services related                                            "32.4%             "40.0%           "39.4%          "31.3%            2.2%
      Farm                                                          20.5%              27.0%            25.4%           15.4%         -22.2%
      Agricultural services, forestry, fishing & other               "1.6%              "3.6%            "4.2%          "4.0%          22.6%
      Mining (including fossil fuels)                                "0.4%              "0.4%            "2.4%          "1.7%         -10.6%
      Construction                                                   "4.9%              "4.4%            "4.0%          "7.7%        145.4%
      Manufacturing (including forest products)                      "4.9%              "4.6%             3.4%          "2.6%           -1.3%
   Services related                                                "41.4%             "34.5%           "37.2%          "43.2%          49.3%
      Transportation & public utilities                              "7.9%              "5.2%             4.7%          "5.6%          53.2%
      Wholesale trade                                                "2.5%              "3.3%            "5.6%          "4.0%           -8.6%
      Retail trade                                                  14.0%                8.9%             9.6%           9.6%          29.3%
      Finance, insurance & real estate                               "2.1%              "3.6%            "2.5%          "4.8%        142.3%
      Services                                                       14.9%             13.5%            14.8%           19.2%          66.8%
   Government                                                       22.7%              18.7%            23.4%           25.0%          37.6%
All income data are reported by place of work. Industry categories may not add to total because of adjustments made by the Bureau of
Economic Analysis. Estimates for data that were not disclosed are indicated with tildes (~).

The personal income data above are organized according to the Standard Industrial Classification (SIC) system. The data end in 2000 because
in 2001 the U.S. Department of Commerce switched to organizing industry-level information according to the newer North American Industrial
Classification System (NAICS). More recent personal income trends, organized by NAICS, are shown in subsequent pages of this report.




Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA05.



                                                                    Page 10                       Rvsd Plan - 00002258
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 148 of 356




Rio Grande NF Region                                                                                         Industry Sectors
How has personal income by industry changed historically?
This page describes historical personal income trends by industry (in real terms). Industries are organized according to three major categories
(non-services related, services related, and government) and using Standard Industry Classification categories. Data are reported by place of
work.




   • From 1970 to 2000, personal income
       in services related industries grew
       from $169.3 million to $369.7 million
       (in real terms), a 118% increase.


   •   From 1970 to 2000, personal income
       in non-services related industries
       grew from $169.3 million to $268.0
       million (in real terms), a 102%
       increase.

   •   From 1970 to 2000, personal income
       in government jobs grew from $92.7
       million to $213.9 million (in real
       terms), a 131% increase.
                                                                 Services related     ■    Non-services related   *   Government




                                                                     Personal Income by Industry, Rio Grande NF Region
                                                        250 -I

   •   In 2000, the three industry sectors
       with the largest personal income
       were government ($213.9 million),
       services ($164.4 million), and farm
       ($131.7 million).                       ”
                                                   <N
                                                   'b
   • From    1970 to 2000 the three industry g
       sectors that added the most new       =
       personal income (in real terms) were
       government ($121.2 million),
       services ($103.6 million), and farm
       ($47.7 million).


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                                                                                          cocococococococococoo




                                                                          •    Services
                                                                          ■    Retail trade
                                                                               Government
                                                                          H    Manufacturing
                                                                               Construction
                                                                          »    Finance, ins. & real estate
                                                                          I    Agricultural services
                                                                               Trans. & public utilities
                                                                       — -     Wholesale trade
                                                                         >     Farm

Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA05.



                                                                     Page 11                       Rvsd Plan - 00002259
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 149 of 356




Rio Grande NF Region                                                                                    Industry Sectors
How has personal income by industry changed recently?
This page describes recent personal income change (in real terms). Industries are organized according to three major categories: non­
services related, services related, and government. The personal income data are organized according to the North American Industrial
Classification System (NAICS) and reported by place of work.


Personal Income by Industry, 2001-2013 (Thousands of 2013 $s)
                                                                                                                                 Change 2001­
                                                                                                       2001              2013
                                                                                                                                         2013
Labor Earnings                                                                                      869,089           963,777         94,688
  Non-services related                                                                             "234,608          "272,630          38,022
    Farm                                                                                            111,763           153,692         41,929
    Forestry, fishing, & related activities                                                         "27,603           "32,679           5,076
    Mining (including fossil fuels)                                                                 "14,049           "23,085           9,036
    Construction                                                                                    "67,908           "48,245        -19,663
    Manufacturing                                                                                   "13,284           "14,929            1,645
  Services related                                                                                 "393,130          "430,277         37,147
    Utilities                                                                                       "19,843           "17,769          -2,074
    Wholesale trade                                                                                 "33,856           "63,021         29,165
    Retail trade                                                                                     73,956           "65,948          -8,008
    Transportation and warehousing                                                                  "26,029           "27,407            1,378
    Information                                                                                     "12,829             "5,993         -6,836
    Finance and insurance                                                                           "22,383           "26,355           3,972
    Real estate and rental and leasing                                                              "12,583             "5,160         -7,423
    Professional and technical services                                                             "23,391            "31,811          8,420
    Management of companies and enterprises                                                           6,303            "11,601          5,298
    Administrative and waste services                                                                "5,986             "7,459           1,473
    Educational services                                                                             "1,967             "3,900           1,933
    Health care and social assistance                                                               "81,815           "91,570           9,755
    Arts, entertainment, and recreation                                                              "9,038             "8,345            -693
    Accommodation and food services                                                                 "27,126           "27,899              773
    Other services, except public administration                                                    "36,024           "36,039               15
  Government                                                                                        219,875           221,618            1,743
                                                                                                                                   % Change
Percent of Total                                                                                                                   2001-2013
Labor Earnings                                                                                                                         10.9%
   Non-services related                                                                             "27.0%              "28.3%         16.2%
     Farm                                                                                            12.9%               15.9%         37.5%
     Forestry, fishing, & related activities                                                         "3.2%               "3.4%         18.4%
     Mining (including fossil fuels)                                                                 "1.6%               "2.4%         64.3%
     Construction                                                                                    "7.8%               "5.0%        -29.0%
     Manufacturing                                                                                   "1.5%               "1.5%         12.4%
   Services related                                                                                 "45.2%              "44.6%           9.4%
     Utilities                                                                                       "2.3%               "1.8%        -10.5%
     Wholesale trade                                                                                 "3.9%               "6.5%         86.1%
     Retail trade                                                                                     8.5%               "6.8%        -10.8%
     Transportation and warehousing                                                                  "3.0%               "2.8%           5.3%
     Information                                                                                     "1.5%               "0.6%        -53.3%
     Finance and insurance                                                                           "2.6%               "2.7%         17.7%
     Real estate and rental and leasing                                                              "1.4%               "0.5%        -59.0%
     Professional and technical services                                                             "2.7%               "3.3%         36.0%
     Management of companies and enterprises                                                          0.7%               "1.2%         84.1%
     Administrative and waste services                                                               "0.7%               "0.8%         24.6%
     Educational services                                                                            "0.2%               "0.4%         98.2%
     Health care and social assistance                                                               "9.4%               "9.5%         11.9%
     Arts, entertainment, and recreation                                                             "1.0%               "0.9%          -7.7%
     Accommodation and food services                                                                 "3.1%               "2.9%           2.9%
     Other services, except public administration                                                    "4.1%               "3.7%           0.0%
   Government                                                                                        25.3%               23.0%           0.8%
All employment data are reported by place of work. Estimates for data that were not disclosed are indicated with tildes (~).

Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA05N.



                                                                   Page 12                       Rvsd Plan - 00002260
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 150 of 356




Rio Grande NF Region                                                                                     Industry Sectors
How has personal income by industry changed recently?
This page describes recent personal income trends (in real terms) by major industry category (non-services related, services related, and
government) and by industry. The personal income data are organized according to the North American Industrial Classification System
(NAICS) and reported by place of work.




   • From 2001     to 2013, personal income                  Personal Income by Major Industry Category, Rio Grande NF Region
       from services related industries grew           500
       from $393 million to $430 million (in           450
       real terms), a 9% increase.
                                                  w
                                                       400
                                                  co
                                                       350
                                                       300
   • From 2001      to 2013, personal income °
       from non-services related industries o          250
       grew from $235 million to $273         c        200
       million (in real terms), a 16%       =          150
       increase.                                       100
                                                        50
   • From 2001     to 2013, personal income              0
       from government jobs grew from
       $220 million to $222 million (in real
       terms), a 1% increase.
                                                               Services Related      •   Non-Services Related      «    Government


                                                                    Personal Income by Industry, Rio Grande NF Region
                                                       250 n

   •   In 2013, the three industry sectors
       with the largest personal income                200 -
       were government ($221.6 million),
       farm ($153.7 million), and health     (2
       care, social assistance ($91.6        °
       million).                             o
                                                  tn
                                                  c
                                                  o


   • From    2001 to 2013, the three
       industry sectors that added the most
       new personal income (in real terms)
       were farm ($41.9 million), wholesale
       trade ($29.2 million), and health care,
       social assistance ($9.8 million).
                                                               ooooooooooooo
                                                               <N<N<N<N<N<N<N<N<N<N<N<N<N


                                                                       ■    Farm
                                                                       ■    Agric. Services, Forestry, Fishing
                                                                            Mining (incl. fossil fuels)
                                                                    =K— Utilities
                                                                      III   Construction
                                                                      «     Manufact. (incl. forest products)
                                                                       I    Wholesale Trade
                                                                            Retail Trade
                                                                    — — Transportation, Warehousing
                                                                       ■    Information
                                                                      ■     Finance, Insurance
                                                                            Real estate, Rental, Leasing
                                                                      II    Professional, Scientific, Tech.
                                                                            Management of Companies
                                                                      •     Admin., Waste services
                                                                            Educational Services
                                                                          • Health Care, Social Assistance
                                                                    — — - Arts, Entertainment, Recreation

Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA05N.



                                                                    Page 13                       Rvsd Plan - 00002261
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 151 of 356




Rio Grande NF Region                                                                                            Performance
How have earnings per job and per capita income changed?
This page describes how average earnings per job and per capita income (in real terms) have changed over time.

Average Earnings Per Job: This is a measure of the compensation of the average job. It is total earnings divided by total employment. Full­
time and part-time jobs are counted at equal weight. Employees, sole proprietors, and active partners are included.

Per Capita Income: This is a measure of income per person. It is total personal income (from labor and non-labor sources) divided by total
population.




Average Earnings per Job & Per Capita Income, 1970-2013 (2013 $s)
                                                                                                                                 Change 2000­
                                                       1970            1980             1990            2000             2013
                                                                                                                                        2013
Average Earnings per Job                           $31,238          $36,642         $34,631          $35,042         $36,701          $1,660
Per Capita Income                                  $15,257          $23,149         $24,268          $28,461         $34,672          $6,211
                                                                                                                                   % Change
Percent Change                                                                                                                     2000-2013
Average Earnings per Job                                                                                                                4.7%
Per Capita Income                                                                                                                     21.8%



                                                         Average Earnings per Job & Per Capita Income, Rio Grande NF Region



   • From    1970 to 2013, average
       earnings per job grew from $31,238
       to $36,701 (in real terms), a 17%
       increase.


   •   From 1970 to 2013, per capita
       income grew from $15,257 to
       $34,672 (in real terms), a 127%
       increase.




Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA30.



                                                                   Page 14                       Rvsd Plan - 00002262
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 152 of 356




Rio Grande NF Region                                                                                              Performance
How do wages compare across industries?
This page describes employment and average annual wages by industry. Industries are organized according to three major categories: non­
services related, services related, and government.


Employment & Wages by Industry, 2013 (2013 $s)
                                                                                                    % of Total     Avg. Annual       % Above or
                                                                                 Employment
                                                                                                   Employment           Wages        Below Avg.
Total                                                                                    15,670                        $31,457
   Private                                                                               11,239        71.7%           $30,594             -2.7%
     Non-Services Related                                                                  2,890       18.4%           $30,799             -2.1%
         Natural Resources and Mining                                                     "1,898      "12.1%          "$29,144            -"7.4%
            Agriculture, forestry, fishing & hunting                                          na           na                na                na
            Mining (incl. fossil fuels)                                                       na           na                na                na
        Construction                                                                        "590       "3.8%          "$36,056           "14.6%
        Manufacturing (Incl. forest products)                                                360        2.3%           $28,455             -9.5%
     Services Related                                                                      8,349       53.3%           $30,524             -3.0%
        Trade, Transportation, and Utilities                                               2,873       18.3%           $32,769              4.2%
         Information                                                                         117        0.7%           $28,855             -8.3%
         Financial Activities                                                               "584       "3.7%          "$39,728           "26.3%
         Professional and Business Services                                                  558        3.6%           $35,357             12.4%
         Education and Health Services                                                    "2,125      "13.6%          "$36,350           "15.6%
        Leisure and Hospitality                                                            1,746       11.1%           $15,437           -50.9%
        Other Services                                                                      "285       "1.8%          "$26,043          -"17.2%
         Unclassified                                                                          0        0.0%                 na                na
   Government                                                                              4,429       28.3%           $33,660              7.0%
         Federal Government                                                                  370        2.4%           $53,883            71.3%
        State Government                                                                   1,130        7.2%           $42,646            35.6%
        Local Government                                                                   2,929       18.7%           $27,639           -12.1%
This table shows wage data from the Bureau of Labor Statistics, which does not report data for proprietors or the value of benefits and uses
slightly different industry categories than those shown on previous pages of this report.


                                                          Wages & Employment by Major Industry, Rio Grande NF Region, 2013
   •    In 2013, government jobs paid the           34,000   n                                                           $        33,660
        highest wages ($33,660), and                33,000 -
        services related jobs paid the lowest
        ($30,524).                                  32,000 -       $31,457
                                                                                       $30,799
                                                    31,000 -                                                $30,524

                                                    30,000 -

                                                    29,000 -

                                                    28,000

                                                    18,000
                                                                    15,670
                                                    16,000
    •    In 2013, services related jobs             14,000
        employed the largest number of
                                                    12,000
            people (8,349) and non-services  .q
        related employed the smallest (2,890 °      10,000                                                   8,349
        jobs).                              2        8,000
                                              o
                                                     6,000
                                              E
                                             z       4,000
                                                     2,000
                                                         0
                                                                    Total           Non-Services       Services Related       Government
                                                                                      Related


Data Sources: U.S. Department of Labor. 2014. Bureau of Labor Statistics, Quarterly Census of Employment and Wages, Washington, D.C.



                                                                    Page 15                        Rvsd Plan - 00002263
  Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 153 of 356




Rio Grande NF Region                                                                                                           Performance
How has the unemployment rate changed?
This page describes the average annual unemployment rate and the seasonality of the unemployment rate over time.

Unemployment Rate: The number of people who are jobless, looking for jobs, and available for work divided by the labor force.



Average Annual Unemployment Rate, 1990-2013
                                                                                                                                                       Change
                                                                                                1990               2000                2013
                                                                                                                                                     2000-2013
Unemployment Rate                                                                               9.5%               4.6%                9.1%               4.5%



                                                                        Average Annual Unemployment Rate, Rio Grande NF Region




   • Since  1990, the annual
     unemployment rate ranged from a
     low of 4.6% in 2000 to a high of
     10.7% in 1992.




Seasonal Unemployment Rate, 2010-2014
Unemployment Rate (%)                          Jan.       Feb.    March          April   May    June     July      Aug.       Sept.    Oct.    Nov.       Dec.
     2010                                     9.2%       9.1%      9.2%       8.4%       7.5%   8.6%    8.9%       8.8%       7.8%     8.1%   9.0%       9.7%
     2011                                    10.9%      10.4%     10.1%       9.1%       8.6%   9.8%    9.7%       9.0%       8.6%     8.3%   8.8%       9.3%
     2012                                    10.9%      10.6%     10.3%       9.5%       8.6%   9.8%    9.9%       9.4%       8.2%     8.1%   8.4%       9.4%
     2013                                    10.3%       9.9%      9.4%       8.7%       8.0%   9.8%    9.4%       9.5%       8.6%     8.3%   8.6%       8.7%
     2014                                     9.9%       9.4%      9.3%       8.2%       7.3%   7.7%    7.6%       6.6%       5.4%     4.6%   5.0%




                                                                          Seasonal Unemployment Rate, Rio Grande NF Region

                                                      12.0%
                                                      10.0%
     The lowest seasonal unemployment                 8.0%
     rate was Oct. of 2014. The highest               6.0%
     seasonal unemployment rate was                   /I no/v
                                                      4.0%
     Jan. of 2011.
                                                      2.0%
                                                      0.0%
                                                                 Jan.     Feb. March April      May    June     July   Aug.    Sept.   Oct.   Nov.     Dec.

                                                                  ------- 2010     ^^2011       ^^2012        _H—2013         ^1^2014

Data Sources: U.S. Department of Labor. 2014. Bureau of Labor Statistics, Local Area Unemployment Statistics, Washington, D.C.



                                                                            Page 16                      Rvsd Plan - 00002264
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 154 of 356




Rio Grande NF Region                                                                                                                                    Performance
Do national recessions affect local employment?
This page describes long-term trends in employment during national recession and recovery periods.



Employment Change During National Recessions, 1976-2014
                                                                      Jan '80                        July '81                      July '90                        Mar '01                          Dec '07
                                                                    - July '80                     - Nov '82                     - Mar '91                       - Nov '01                       - June '09
Employment Change (Net Jobs)                                            2,782                         -1,887                        -1,170                          2,650                               -51
Employment Change (Monthly % Change)                                   18.8%                         -10.4%                          -6.6%                          13.3%                            -0.2%



Employment Change During Recovery from National Recessions, 1976-2014
                                                                       Aug '80                    Dec '82                          Apr '91                         Dec '01                         July '09
                                                                    - June '81                 - June '90                        - Feb '01                       - Nov '07                       - Nov. '14
Employment Change (Net Jobs)                                                87                      1,976                            2,009                          1,011                              181
Employment Change (Monthly % Change)                                     0.5%                      12.4%                            11.4%                            4.6%                            0.8%



                                                               Employment & National Recessions, Rio Grande NF Region

                                                   30,000

   • From    1976 to 2014, employment              25,000
       grew from 16,020 to 23,855 jobs, a      o   20,000
       49% increase.
                                               O
                                               O
                                                   15,000
                                               E   10,000
                                                    5,000
                                                         0                       I    I   I    I    I   I       I    I   I   I    I   I   I    I   I         I    I   I   I    I        I    I    I    I   I
                                                               co    o    CM                       CO       CM                            CO            CM                         CO             CM
                                                               r-    co   CO     CO       CO       CO
                                                                                                                                                   CM   CM       CM       CM       CM   CM        CM       CM

                                                                                          Recession                 ------- Employment



                                                      Employment Change During Recessions & Recovery Periods, Rio Grande NF
                                                    25.0%                            Region
                                                            18.8%
                                                    20.0%
                                                    15.0%                        12.4%         11.4% 13.3%
   •   In the recovery period (Dec '82-Jun
       '90) following the 1981-1982                 10.0%
       recession, employment grew by                 5.0%          0.5%                                                                                                                           0.8%
        1,976 jobs, a 0.1% monthly increase.         0.0%
                                                    -5.0%
                                                   -10.0%
                                                   -15.0%




                                                                          S! National Recessions                                 ■ Recovery Periods

Blue vertical bars in the figures above represent the last five recession periods: January 1980 to July 1980; July 1981 to November 1982; July
1990 to March 1991; March 2001 to November 2001; and December 2007 to June 2009. The green columns in the figure above represent the
intervening recovery periods.




Data Sources: U.S. Department of Labor. 2014. Bureau of Labor Statistics, Local Area Unemployment Statistics, Washington, D.C.; National
Bureau of Economic Research. 2009. U.S. Business Cycle Expansions and Contractions, Cambridge, MA.



                                                                    Page 18                                              Rvsd Plan - 00002265
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 155 of 356




Rio Grande NF Region                                                                                             Benchmarks
How does performance compare to the benchmark?
This page describes key performance indicators for the selected geography and compares them to the selected benchmark area. (If no
custom benchmark area was selected, EPS-HDT defaults to benchmarking against the U.S.) Performance indicators are organized by
groups (trends, prosperity, stress, and structure) that highlight potential competitive strengths and weaknesses.



                                                               Rio Grande NF Colorado Non- Ratio of Rio Grande NF Region to Colorado Non-
Relative Performance, 2013                                            Region         Metro                      Metro

          Population (percent change, 2000-2013)                         1.2%            9.8%

          Employment (percent change, 2000-2013)                         7.5%           10.8%
 (A

          Personal Income (percent change, 2000-2013)                   23.2%           24.8%
 P
          Average Earnings per Job (percent change, 2000­
                                                                         4.7%            2.1%
          2013)

          Per Capita Income (percent change, 2000-2013)                 21.8%           13.7%

          Average Earnings per Job                                    $36,701         $40,007

          Per Capita Income                                           $34,672         $41,365

 Q
 O.       Average Annual Wages - Services Related                     $30,414         $33,940
 (A
 O
          Average Annual Wages - Non-Services Related                 $30,489         $48,984

          Average Annual Wages - Government Related                   $33,660         $39,053

 (A       Unemployment Rate (change 2000-2013)                           4.5%            3.7%
 (A
 Q

 W        Unemployment Rate                                              9.1%            6.9%

          Percent of Employment in Proprietors                          33.3%           33.1%

          Percent of Personal Income in Non-Labor                       44.7%           41.8%

 P
          Percent of Services Related Jobs                              51.1%           62.4%

          Percent of Non-Services Related Jobs                          22.7%           20.0%
 W
          Percent of Government Jobs                                    18.9%           14.9%

          Commuting (net residential adjustment share of
                                                                         2.4%            0.0%
          personal income)

Commuting statistics are displayed only when comparing a county to a benchmark county.

      •   Rio Grande NF Region is most different from the benchmark in average earnings per job (percent change, 2000-2013), per capita
          income (percent change, 2000-2013), and unemployment rate.




Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C.Tables
CA05N, CA25N, CA30, & CA91; U.S. Department of Labor. 2014. Bureau of Labor Statistics, Quarterly Census of Employment and Wages,
Washington, D.C.; U.S. Department of Labor. 2014. Bureau of Labor Statistics, Local Area Unemployment Statistics, Washington, D.C.




                                                                     Page 19                      Rvsd Plan - 00002266
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 156 of 356




Rio Grande NF Region                                                                                        Benchmarks
How does performance compare to the benchmark?
This page describes trends in key performance indicators (change in population, employment, real personal income, and the unemployment
rate) for the selected geography and compares them to the selected benchmark area. Blue vertical bars indicate periods of national
recession.


                                                        Population, Rio Grande NF Region Compared to Colorado Non-Metro
   • From 1970 to 2013, population   in Rio
       Grande NF Region grew by 25%
       compared to 86% for the Colorado
       Non-Metro.




                                                       Employment, Rio Grande NF Region Compared to Colorado Non-Metro
   • From 1970 to 2013,  employment in
       Rio Grande NF Region grew by
       101% compared to 198% for the
       Colorado Non-Metro.




                                                     Personal Income, Rio Grande NF Region Compared to Colorado Non-Metro
   • From 1970 to 2013, personal income
       in Rio Grande NF Region grew by
       183% compared to 280% for the
       Colorado Non-Metro.




                                                      Unemployment Rate, Rio Grande NF Region Compared to Colorado Non­
   •   In 2013 the unemployment rate in
       Rio Grande NF Region was 9.1%,
       compared to 6.9% for the Colorado
       Non-Metro.




Data Sources: U.S. Department of Commerce. 2014. Bureau of Economic Analysis, Regional Economic Accounts, Washington, D.C. Table
CA30; U.S. Department of Labor. 2014. Bureau of Labor Statistics, Local Area Unemployment Statistics, Washington, D.C..



                                                                Page 20                      Rvsd Plan - 00002267
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 157 of 356




                                                                                    Data Sources & Methods
 Data Sources
 The EPS-HDT Measures report uses published statistics from government sources that are available to the public and cover the entire
 country. All data used in EPS-HDT can be readily verified by going to the original source. The contact information for databases used in
 this profile is:

    • Regional Economic Information System                               • Quarterly Census of Employment and Wages
      Bureau of Economic Analysis, U.S. Department of Commerce             Bureau of Labor Statistics, U.S. Department of Labor
      http://bea.gov/bea/regional/data.htm                                 http://www.bls.gov/cew
      Tel. 202-606-9600                                                    Tel. 202-691-6567
    • Local Area Unemployment Statistics                                 • Population Division
      Bureau of Labor Statistics, U.S. Department of Labor                 Census Bureau, U.S. Department of Commerce.
      http://www.bls.gov/lau                                               http://www.census.gov/population/www/
      Tel. 202-691-6392                                                    Tel. 866-758-1060
    • National Bureau of Economic Research
      http://www.nber.org/cycles/recessions.html
      Tel. 617-868-3900


 Methods
 EPS-HDT core approaches:

 EPS-HDT is designed to focus on long-term trends across a range of important measures. Trend analysis provides a more comprehensive
 view of changes than spot data for select years. We encourage users to focus on major trends rather than absolute numbers. EPS-HDT
 displays detailed industry-level data to show changes in the composition of the economy over time and the mix of industries at points in
 time. EPS-HDT employs cross-sectional benchmarking, comparing smaller geographies such as counties to larger regions, states, and
 the nation, to give a sense of relative performance. EPS-HDT allows users to aggregate data for multiple geographies, such as multi­
 county regions, to accommodate a flexible range of user-defined areas of interest and to allow for more sophisticated cross-sectional
 comparisons.

 SIC to NAICS:

 Starting in the 1930s, the Standard Industrial Classification (SIC) system has served as the structure for the collection, aggregation,
 presentation, and analysis of the U.S. economy. Under SIC, which employed a four-digit coding structure, an industry consists of a group
 of establishments primarily engaged in producing or handling the same product or group of products or in rendering the same services. As
 the U.S. economy shifted from a primary emphasis on manufacturing to a more complex services economy, SIC became less useful as a
 tool for describing the economy's changing industrial composition.

 The North American Industry Classification System (NAICS), developed using a production-oriented conceptual framework, groups
 establishments into industries based on the activity in which they are primarily engaged. NAICS uses a six-digit hierarchical coding system
 to classify all economic activity into twenty industry sectors. Five sectors are mainly goods-producing sectors and fifteen are entirely
 services-producing sectors.

 County Business Patterns started organizing their data using NAICS in 1998, Census in 2000, and Bureau of Economic Analysis’s
 Regional Economic Information System in 2001. Because the methods underlying SIC and NAICS are fundamentally different (what was
 sold vs. how it was produced), NAICS is not backward compatible with SIC. There are a few circumstances where it is acceptable to show
 uninterrupted trends across the SIC-NAICS discontinuity. Total personal income, total labor income, and non-labor income can all be
 plotted continuously without a problem. In addition, a few industries can also be plotted without a break, though this is not the case for
 services.

 Adjusting dollar figures for inflation:

 Because a dollar in the past was worth more than a dollar today, data reported in current dollar terms should be adjusted for inflation. The
 U.S. Department of Commerce reports personal income figures in terms of current dollars. All income data in EPS-HDT are adjusted to
 real (or constant) dollars using the Consumer Price Index. Figures are adjusted to the latest date for which the annual Consumer Price
 Index is available.

 Data gaps and estimation:

 Some data are withheld by the federal government to avoid the disclosure of potentially confidential information. Headwaters Economics
 uses supplemental data from the U.S. Department of Commerce to estimate these data gaps. These are indicated in italics in tables.
 Documentation explaining methods developed by Headwaters Economics for estimating disclosure gaps is available at
 headwaterseconomics.org/eps-hdt.




                                                                   Page 21                       Rvsd Plan - 00002268
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 158 of 356




                                                                      Links to Additional Resources
 For more information about EPS-HDT see:
 headwaterseconomics.org/eps-hdt


 Web pages listed under Additional Resources include:
 Throughout this report, references to on-line resources are indicated by superscripts in parentheses. These resources are provided as
 hyperlinks here.

 1    www.bea.gov/SCB/PDF/2004/11November/1104Econ-Areas.pdf
 2    www.ers.usda.gov/Briefing/Rurality/Typology
 3    headwaterseconomics.org/3wests.php
 4    www.bea.gov/regional/docs/econlist.cfm
 5    www.census.gov/popest/about/terms.html
 6    www.census.gov/popest/methodology/index.html
 7    www.bea.gov/regional/definitions/nextpage.cfm?key=Proprietors%20employment
 8    www.bea.gov/glossary/glossary. cfm
 9    www.bea.gov/regional/definitions
 10   www.bls.gov/bls/NAICS.htm
 11   www.bls.gov/opub/mlr/2009/11
 12   www.bls.gov/opub/mlr/2012/01/art1full.pdf
 13   www.ers.usda.gov/Amberwaves/Feb03/features/ruralamerica.htm
 14   headwaterseconomics.org/eps-hdt
 15   www.headwaterseconomics.com/3wests/Rasker et al 2009 Three Wests.pdf
 16   www.ers.usda.gov/publications/aer-agricultural-economic-report/aer781.aspx
 17   www.census.gov/eos/www/naics
 18   www.bls.gov/opub/mlr/indexe.htm#Ea mings and wages
 19   www.livingwage.geog.psu.edu/
 20   www.bls.gov/bls/employment.htm
 21   www.bls.gov/bls/wages.htm
 22   www.bls.gov/oes
 23   www.bls.gov/cps/faq.htm#Ques3
 24   www.nber.org
 25   www.bea.gov/regional/reis
 26   www.bea.gov/regional/reis/jtw
 27   www.bls.gov/lau/laumthd.htm
 28   www.nber.org/cycles/recessions.html
 29   www.nber.org/cycles/cyclesmain.html




                                                                 Page 22                       Rvsd Plan - 00002269
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 159 of 356




           A Profile of Industries that Include
                     Travel & Tourism
                                 Rio Grande NF Region




   Alamosa County CO, Conejos County CO, Costilla County CO, Mineral County CO, Rio
                       Grande County CO, Saguache County CO




                                        Produced by
                     Economic Profile System-Human Dimensions Toolkit
                                          EPS-HDT
                                      February 26, 2015




                                                              Rvsd Plan - 00002270
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 160 of 356




_____________________________________ About EPS-HDT
About the Economic Profile System-Human Dimensions Toolkit (EPS-HDT)

EPS-HDT is a free, easy-to-use software application that produces detailed socioeconomic reports of counties, states, and regions,
including custom aggregations.


EPS-HDT uses published statistics from federal data sources, including Bureau of Economic Analysis and Bureau of the Census, U.S.
Department of Commerce; and Bureau of Labor Statistics, U.S. Department of Labor.

The Bureau of Land Management and Forest Service have made significant financial and intellectual contributions to the operation and
content of EPS-HDT.
See headwaterseconomics.org/eps-hdt for more information about the other tools and capabilities of EPS-HDT.

For technical questions, contact Patty Gude at eps-hdt@headwaterseconomics.org, or 406-599-7425.




                                                          HEADWATERS
                                                          ECONOMICS
                                                         headwaterseconomics.org


Headwaters Economics is an independent, nonprofit research group. Our mission is to improve community development and land
management decisions in the West.




                                                                www.blm.gov


The Bureau of Land Management, an agency within the U.S. Department of the Interior, administers 249.8 million acres of America's
public lands, located primarily in 12 Western States. It is the mission of the Bureau of Land Management to sustain the health, diversity,
and productivity of the public lands for the use and enjoyment of present and future generations.




                                                               www.fs.fed.us


The Forest Service, an agency of the U.S. Department of Agriculture, administers national forests and grasslands encompassing 193
million acres. The Forest Service’s mission is to achieve quality land management under the "sustainable multiple-use management
concept" to meet the diverse needs of people while protecting the resource. Significant intellectual, conceptual, and content contributions
were provided by the following individuals: Dr. Pat Reed, Dr. Jessica Montag, Doug Smith, M.S., Fred Clark, M.S., Dr. Susan A. Winter, and
Dr. Ashley Goldhor-Wilcock.




                                                              About EPS-HDT


                                                                                                 Rvsd Plan - 00002271
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 161 of 356




                                                                                                   Table of Contents


                                                                                                                                Page
         Travel & Tourism Employment
                  Which industries include travel & tourism jobs?                                                                  1
                  How have industries that include travel and tourism changed?                                                     2
                  Which industries that include travel and tourism are changing the fastest?                                       3
                  To what extent is overall employment seasonal or part time?                                                     4-5

         Travel & Tourism Wages
                  How do wages in industries that include travel and tourism compare to wages                                      6
                  in other sectors?
                  How do jobs and wages in industries that include travel and tourism                                              7
                  compare?

         Travel & Tourism Benchmarks
                  How does regional employment in industries that include travel and tourism                                       8
                  and other measures compare to the U.S.?
                  How does employment in industries that include travel and tourism compare                                        9
                  across geographies?

         Data Sources & Methods                                                                                                   10

         Links to Additional Resources                                                                                            11




 Note to Users:
 This report is one of fourteen reports that can be produced with the EPS-HDT software. You may want to run another EPS-HDT report for
 either a different geography or topic. Topics include land use, demographics, specific industry sectors, the role of non-labor income, the
 wildland-urban interface, the role of amenities in economic development, and payments to county governments from federal
 lands. Throughout the reports, references to on-line resources are indicated by superscripts in parentheses. These resources are
 provided as hyperlinks on each report's final page. The EPS-HDT software also allows the user to "push" the tables, figures, and
 interpretive text from a report to a Word document. For further information and to download the free software, go to:


 headwaterseconomics.org/eps-hdt


                                                             Table of Contents




                                                                                                Rvsd Plan - 00002272
 Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 162 of 356




Rio Grande NF Region                                                            Travel & Tourism Employment
Which industries include travel & tourism jobs?
This page describes the number of jobs (full and part-time) and the share of total jobs in industries that include travel and tourism.


Travel and Tourism: Consists of sectors that provide goods and services to visitors to the local economy, as well as to the local population.
These industries are: retail trade; passenger transportation; arts, entertainment, and recreation; and accommodation and food. It is not known,
without additional research such as surveys, what exact proportion of the jobs in these sectors is attributable to expenditures by visitors,
including business and pleasure travelers, versus by local residents. Some researchers refer to these sectors as “tourism-sensitive.” They
could also be called “travel and tourism-potential sectors” because they have the potential of being influenced by expenditures by non-locals. In
this report, they are referred to as "industries that include travel and tourism."




Employment in Travel & Tourism, 2012
                                                                             Rio Grande NF Region                                               U.S.
Total Private Employment                                                                      9,994                                      115,938,468
  Travel & Tourism Related                                                                   "1,655                                       17,699,082
    Retail Trade                                                                               "356                                        3,205,829
       Gasoline Stations                                                                       "278                                          862,630
       Clothing & Accessory Stores                                                               "54                                       1,630,575
       Misc. Store Retailers                                                                     "24                                         712,624
    Passenger Transportation                                                                      "7                                         450,689
       Air Transportation                                                                         "6                                         428,110
       Scenic & Sightseeing Transport                                                             "1                                          22,579
    Arts, Entertainment, & Recreation                                                            "88                                       2,057,290
       Performing Arts & Spectator Sports                                                         "9                                         439,903
       Museums, Parks, & Historic Sites                                                           "2                                         137,405
       Amusement, Gambling, & Rec.                                                               "77                                       1,479,982
    Accommodation & Food                                                                     "1,204                                       11,985,274
       Accommodation                                                                           "301                                        1,936,610
       Food Services & Drinking Places                                                         "903                                       10,048,664
  Non-Travel & Tourism                                                                        8,339                                       98,239,386
Percent of Total
   Travel & Tourism Related                                                                 "16.6%                                         15.3%
     Retail Trade                                                                            "3.6%                                          2.8%
        Gasoline Stations                                                                    "2.8%                                          0.7%
        Clothing & Accessory Stores                                                          "0.5%                                          1.4%
        Misc. Store Retailers                                                                "0.2%                                          0.6%
     Passenger Transportation                                                                "0.1%                                          0.4%
       Air Transportation                                                                    "0.1%                                          0.4%
        Scenic & Sightseeing Transport                                                       "0.0%                                          0.0%
     Arts, Entertainment, & Recreation                                                       "0.9%                                          1.8%
        Performing Arts & Spectator Sports                                                   "0.1%                                          0.4%
        Museums, Parks, & Historic Sites                                                     "0.0%                                          0.1%
       Amusement, Gambling, & Rec.                                                           "0.8%                                          1.3%
     Accommodation & Food                                                                   "12.0%                                         10.3%
       Accommodation                                                                         "3.0%                                          1.7%
        Food Services & Drinking Places                                                      "9.0%                                          8.7%
   Non-Travel & Tourism                                                                      83.4%                                         84.7%
The major industry categories (retail trade; passenger transportation; arts, entertainment, and recreation; and accommodation and food) in the
table above are the sum of the sub-categories underneath them and as shown here do not represent NAICS codes. The data does not include
employment in government, agriculture, railroads, or the self-employed because these are not reported by County Business Patterns. Estimates
for data that were not disclosed are indicated with tildes (~).




  Data Sources: U.S. Department of Commerce. 2014. Census Bureau, County Business Patterns, Washington, D.C.




                                                                       Page 1                          Rvsd Plan - 00002273
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 163 of 356




 Rio Grande NF Region                                                   Travel & Tourism Employment
 How have industries that include travel and tourism changed?
 This page describes trends in industries that include travel and tourism as a percent of all jobs and compares industries containing travel
 and tourism to the rest of the economy. It also shows jobs in industries that include travel and tourism as a percent of total employment.


                                                          Percent of Total Private Employment in Industries that Include Travel &
                                                                              Tourism, Rio Grande NF Region
    •   In 1998, travel & tourism represented         20.0% T
        18.01% of total employment. By                18.0%
        2012, travel & tourism represented            16.0%
        16.56% of total employment.                   14.0%
                                                      12.0%
                                                      10.0%
                                                       8.0%
                                                       6.0%
                                                       4.0%
                                                       2.0%
                                                       0.0%




                                                         Total Jobs in Industries that Include Travel & Tourism and Non-Travel &
                                                                         Tourism Sectors, Rio Grande NF Region
    • From    1998 to 2012, travel & tourism         10,000
        employment shrank from 1,734 to               9,000
        1,655 jobs, a 4.6% decrease.                  8,000
                                                      7,000
                                                      6,000
                                                      5,000
                                                      4,000
    • From    1998 to 2012, non-travel &              3,000
        tourism employment grew from 7,894            2,000
        to 8,339 jobs, a 5.6% increase.               1,000
                                                          0




                                                                •      • Travel & Tourism   — — — - Non-Travel & Tourism


                                                          Percent of Total Private Employment in Industries that Include Travel &
                                                                                     Tourism, 2012
                                                      18.0%
    •   In, 2012, Mineral County, CO had the
        largest percent of total travel &             16.0%
        tourism employment (41.5%), and               14.0%
        Saguache County, CO had the                   12.0%
        smallest (9.3%).                              10.0%
                                                       8.0%
                                                       6.0%
                                                       4.0%
                                                       2.0%
                                                       0.0%
                                                                      Rio Grande NF Region                              U.S.


                                                                             ■ Accommodation & Food Services
                                                                             sArts, Entertainment, & Recreation




 Data Sources: U.S. Department of Commerce. 2014. Census Bureau, County Business Patterns, Washington, D.C.


                                                                    Page 2                        Rvsd Plan - 00002274
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 164 of 356




 Rio Grande NF Region                                                 Travel & Tourism Employment
 Which industries that include travel and tourism are changing the fastest?
 This page describes the change in employment in sectors that include travel and tourism compared to the change in other sectors, and
 compares how the various industries that include travel and tourism have changed over time.




                                                        New Jobs in Industries that Include Travel & Tourism, Rio Grande NF
                                                                                Region, 1998 to 2012

    •   From 1998 to 2012, travel & tourism
        employment shrank by 79 jobs.




    •   From 1998 to 2012, non-travel &
        tourism employment grew by 445
        jobs.




                                                       Jobs in Industries that Include Travel & Tourism, Rio Grande NF Region
    •   From 1998 to 2012, retail trade
        shrank from 386 to 356 jobs, a 7.8%
        decrease.


    •   From 1998 to 2012, passenger
        transportation shrank from 11 to 7
        jobs, a 36.4% decrease.


    •   From 1998 to 2012, arts,
        entertainment, & recreation shrank
        from 97 to 88 jobs, a 9.3% decrease.




    •   From 1998 to 2012, accommodation
        & food services shrank from 1,240 to
        1,204 jobs, a 2.9% decrease.
                                                                                                                                    2012




                                                                             Retail Trade
                                                                     — — — • Passenger Transportation

 Data Sources: U.S. Department of Commerce. 2014. Census Bureau, County Business Patterns, Washington, D.C.


                                                                 Page 3                       Rvsd Plan - 00002275
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 165 of 356




 Rio Grande NF Region                                                                    Travoi & TouFlsm BcnchmarKs
 To what extent Is overall employment seasonal or part time?
 This page describes differences in the seasonality of employment and part-time work for all industries.




                                                    Seasonal Unemployment, Rio Grande NF Region, 2013

            12.0% n




            10.0% -




             8.0% -




             6.0% -




             4.0% -




             2.0% -




             0.0% ------------ I-----------I------------ 1------------ I----------- I----------- I----------- I----------- I-----------I----------- I----------- I--------
                      Jan.         Feb.       March.         April         May          June         July         Aug.        Sept.        Oct.         Nov.         Dec.




                                                                   Rio Grande NF Region                  —U.S.
    • In 2013, Mineral
                     County, CO had the most change in unemployment (biggest absolute value of difference between min and max), and
      Alamosa County, CO had the least (smallest absolute value of difference between min and max).




 Data Sources: U.S. Department of Labor. 2014. Bureau of Labor Statistics, Local Area Unemployment Statistics, Washington, D.C.


                                                                                    Page 4                                 Rvsd Plan - 00002276
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 166 of 356




 Rio Grande NF Region                                                    Travcl & Tourism Bcnchmarks
 To what extent is overall employment seasonal or part time?
 This page describes differences in the seasonality of employment and part-time work for all industries.




    •   In 2000, 28.4 percent of workers in
        Rio Grande NF Region worked less
        than 40 weeks over the course of the
        year, compared to 20.9 percent for
        the nation.




                                                      ■ 48 to 52 weeks      *40 to 47 weeks    ■»27 to 39 weeks     bI   to 26 weeks



                                                                         Average Hours Worked per Week, 2000
                                                     100% -|

                                                      90% -
    •   In 2000, 25 percent of workers in Rio
        Grande NF Region worked less than             80% -
        35 hours per week on average,
        compared to 21 percent for the                70% -
        nation.
                                                      60% -

                                                      50% -

                                                      40% -

                                                      30% -

                                                      20% -

                                                      10% -

                                                       0% -
                                                                    Rio Grande NF Region                          U.S.


                                                                     ■ 1 to 14 hrs.    *15 to 34 hrs.      s35 + hrs.



 Data Sources: U.S. Department of Commerce. 2000. Census Bureau, Systems Support Division, Washington, D.C.


                                                                   Page 5                        Rvsd Plan - 00002277
 Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 167 of 356




Rio Grande NF Region                                                                      Travel & Tourism Wages
How do wages in industries that include travel and tourism compare to wages in other sectors?
This page describes wages (in real terms) from employment in industries that include travel and tourism, including sub-sectors, compared to
wages from employment in all non-travel and tourism sectors combined. It also describes the percent of jobs in each category. These are
shown together to illustrate the relative wage levels in industries that include travel and tourism, including sub-sectors, and how many people are
employed in each sub-sector.



Average Annual Wages, 2013 (2013 $s)
                                                                           Rio Grande NF Region                                                U.S.
All Sectors                                                                                 $31,457                                       $49,804
   Private                                                                                  $30,594                                       $49,700
     Travel & Tourism                                                                       $13,798                                       $21,793
       Retail Trade                                                                         $17,960                                       $20,877
          Gasoline Stations                                                                 $16,695                                       $19,118
          Clothing & Accessories                                                            $17,846                                       $20,193
          Misc. Store Retailers                                                             $22,644                                       $23,934
       Passenger Transportation                                                                   na                                      $68,816
          Air Transportation                                                                      na                                      $71,339
          Scenic & Sightseeing                                                                    na                                      $30,583
       Arts, Entertainment, & Rec.                                                          $14,958                                       $33,770
          Performing Arts & Spectator Sports                                                      na                                      $79,503
          Museums, Parks, & Historic Sites                                                        na                                      $31,710
          Amusement, Gambling, & Rec.                                                       $14,958                                       $20,637
       Accommodations & Food                                                                $12,844                                       $18,175
          Accommodation                                                                     $13,706                                       $27,819
          Food Services & Drinking Places                                                   $12,474                                       $16,446
     Non-Travel & Tourism                                                                   $32,227                                       $54,895
   Government                                                                               $33,660                                       $50,360
This table shows wage data from the Bureau of Labor Statistics, which does not report data for proprietors or the value of benefits; the major
industry categories (retail trade, passenger transportation; arts, entertainment, and recreation; and accommodation and food) are the sum of the
sub-categories underneath them and as shown here do not represent NAICS codes.



Percent of Total Employment, 2013
                                                                           Rio Grande NF Region                                                U.S.
All Sectors
   Private                                                                                  71.7%                                            84.3%
     Travel & Tourism                                                                       10.4%                                            13.2%
       Retail Trade                                                                          1.7%                                             2.3%
          Gasoline Stations                                                                  1.2%                                             0.6%
          Clothing & Accessories                                                             0.2%                                             1.0%
          Misc. Store Retailers                                                              0.3%                                             0.6%
       Passenger Transportation                                                                 na                                            0.4%
          Air Transportation                                                                    na                                            0.3%
          Scenic & Sightseeing                                                                  na                                            0.0%
       Arts, Entertainment, & Rec.                                                           0.6%                                             1.5%
          Performing Arts & Spectator Sports                                                    na                                            0.3%
          Museums, Parks, & Historic Sites                                                   0.0%                                             0.1%
          Amusement, Gambling, & Rec.                                                        0.6%                                             1.1%
       Accommodations & Food                                                                 8.1%                                             9.1%
          Accommodation                                                                      2.4%                                             1.4%
          Food Services & Drinking Places                                                    5.7%                                             7.7%
     Non-Travel & Tourism                                                                   40.4%                                            71.1%
   Government                                                                               28.3%                                            15.7%




Data Sources: U.S. Department of Labor. 2014. Bureau of Labor Statistics, Quarterly Census of Employment and Wages, Washington, D.C.



                                                                      Page 6                         Rvsd Plan - 00002278
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 168 of 356




 County Region                                                                     Travel & Tourism Wages
 How do jobs and wages in industries that include travel and tourism compare?
 This page describes average wages (in real terms) and employment levels in industries that include travel and tourism. It also shows
 average wage trends (in real terms) for industries that include travel and tourism at the regional level.

                                                        Avg. Annual Wages and Percent of Total Jobs in Industries that Include
                                                                 Travel and Tourism, Rio Grande NF Region, 2013
                                                 $20,000
                                                 $18,000
                                                 $16,000                                                $14,958
                                                 $14,000
                                                 $12,000
                                            §    $10,000

                                                  $8,000
                                                  $6,000
                                                  $4,000
                                                  $2,000
                                                                                       na
                                                      $0




                                                                                                      Recreation


                                                         Avg. Annual Wages in Industries that Include Travel and Tourism, Rio




                                                                             Retail Trade
                                                                         M   Passenger Transportation




 Data Sources: U.S. Department of Labor. 2014. Bureau of Labor Statistics, Quarterly Census of Employment and Wages, Washington,
 D.C.


                                                                  Page 7                       Rvsd Plan - 00002279
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 169 of 356




Rio Grande NF Region                                                      Travcl & Tourism Bcnchmarks
How does regional employment in industries that include travel and tourism and other measures compare to the U.S.?

This page describes the difference in travel-and-tourism specialization between the region and the U.S. by comparing jobs in industry
sectors that include travel and tourism as a share of total employment and with location quotients. It also shows other possible indicators of
travel and tourism (part-time work and second homes) at the regional level.


Percent of Total Private Employment in Industry Sectors that Include Travel & Tourism, Rio Grande NF
Region vs. U.S., 2012
                                                            Location
                                Employment Share                                  Employment Share                   Location Quotient
                                                            Quotient
                                          Rio
Industries Including Travel and        Grande
                                                     U.S.                 Rio Grande NF Region vs. U          Rio Grande NF Region vs. U.S.
Tourism                                    NF
                                       Region
  Retail Trade                          "3.6%       2.8%           1.3


  Passenger Transportation              "0.1%       0.4%           0.2

  Arts, Entertainment, &
  Recreation

  Accommodation & Food
                                        "0.9%


                                       "12.0%
                                                    1.8%


                                                   10.3%
                                                                   0.5


                                                                   1.2
                                                                              L_
                                                                           0%           10%          20%

                                                                                 ■ Rio Grande NF^U.S.

   •   In 2012, retail trade had the highest location quotient score (1.3) and passenger transportation had the lowest (0.2).




Other Possible Measures of the Presence of Travel and Tourism, Rio Grande NF Region vs. U.S., 2000

                                          Rio
Indicators of Seasonal Work and        Grande                                                                Difference in Percent, Rio Grande
                                                     U.S.   Difference    Rio Grande NF Region vs. U.S.
Housing                                    NF                                                                        NF Region vs. U.S.
                                       Region
Part-Time Work (less than 40
                                        28.4%     20.9%          7.5%
weeks per year)
Part-Time Work (less than 35
                                        25.0%     21.0%         4.0%
hours per week)

Second Homes                             5.3%       2.0%        3.3%

                                                                         0%           20%         40%

                                                                                ■ Rio Grande NF^U.S.


   • In 2000,  the difference between Rio Grande NF Region and the U.S. in the percent of people working less than 40 weeks per year
       was 7.5%.

   • In 2000,    the difference between Rio Grande NF Region and the U.S. in the percent of people working less than 35 hours per week
       was 4%.

   •   In 2000, the difference between Rio Grande NF Region and the U.S. in the percent of homes which were second homes was 3.3%.




Data Sources: U.S. Department of Commerce. 2014. Census Bureau, County Business Patterns, Washington, D.C.; U.S. Department of

                                                                       Page 8                        Rvsd Plan - 00002280
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 170 of 356



Commerce. 2000. Census Bureau, Systems Support Division, Washington, D.C.




                                                            Page 8          Rvsd Plan - 00002281
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 171 of 356




 Rio Grande NF Region                                                 Travel & Tourism Benchmarks
 How does employment in industries that include travel and tourism compare across geographies?
This page describes the change in employment in industries that include travel and tourism for all selected geographies and the U.S. The
information is indexed (1998=100) so that data from counties with different size economies can be compared to each other, and to larger
geographies.



                                           Employment in Industries that Include Travel & Tourism


          140 -I




          120 -




          100 -




           80 -


   co



    <D
           60 -




           40 -




           20 -




            0
                   co                     i-CMCO-^lOCOI^COOJO-^CM
                                          OOOOOOOOO^^^
                                          oooooooooooo
                                          <N<N<N<N<N<N<N<N<N<N<N<N




                                                       Rio Grande NF Region            U.S.


    •    From 1998 to 2012, Mineral County, CO had the fastest rate of change in travel & tourism employment, and Rio Grande County, CO
         had the slowest.




 Data Sources: U.S. Department of Commerce. 2014. Census Bureau, County Business Patterns, Washington, D.C.


                                                                  Page 9                       Rvsd Plan - 00002282
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 172 of 356




                                                                                     Data Sources & Methods
 Data Sources

 EPS-HDT uses published statistics from government sources that are available to the public and cover the entire country. All data used in
 EPS-HDT can be readily verified by going to the original source. The contact information for databases used in this profile is:

   • County Business Patterns                                             • Quarterly Census of Employment and Wages
     Bureau of the Census, U.S. Department of Commerce                       Bureau of Labor Statistics, U.S. Department of Labor
     http://www.census.gov/epcd/cbp/view/cbpview.html                        http://www.bls.gov/cew
     Tel. 301-763-2580                                                       Tel. 202-691-6567

   • 2000 Decennial Census                                                • Local Area Unemployment Statistics
     Bureau of the Census, U.S. Department of Commerce                       Bureau of Labor Statistics, U.S. Department of Labor
     http://www.census.gov                                                   http://www.bls.gov/lau
     Tel. 303-969-7750                                                       Tel. 202-691-6392



 Methods
   EPS-HDT core approaches

   EPS-HDT is designed to focus on long-term trends across a range of important measures. Trend analysis provides a more
   comprehensive view of changes than spot data for select years. We encourage users to focus on major trends rather than absolute
   numbers.

   EPS-HDT displays detailed industry-level data to show changes in the composition of the economy over time and the mix of industries
   at points in time.

   EPS-HDT employs cross-sectional benchmarking, comparing smaller geographies such as counties to larger regions, states, and the
   nation, to give a sense of relative performance.

   EPS-HDT allows users to aggregate data for multiple geographies, such as multi-county regions, to accommodate a flexible range of
   user-defined areas of interest and to allow for more sophisticated cross-sectional comparisons.



   Adjusting dollar figures for inflation

   Because a dollar in the past was worth more than a dollar today, data reported in current dollar terms should be adjusted for inflation.
   The U.S. Department of Commerce reports personal income figures in terms of current dollars. All income data in EPS-HDT are
   adjusted to real (or constant) dollars using the Consumer Price Index. Figures are adjusted to the latest date for which the annual
   Consumer Price Index is available.

   Data gaps and estimation

   Some data are withheld by the federal government to avoid the disclosure of potentially confidential information. Headwaters
   Economics uses supplemental data from the U.S. Department of Commerce to estimate these data gaps. These are indicated in italics
   in tables. Documentation explaining methods developed by Headwaters Economics for estimating disclosure gaps is available at
   headwaterseconomics.org/eps-hdt.




                                                                   Page 10                        Rvsd Plan - 00002283
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 173 of 356




                                                                      Links to Additional Resources
 For more information about EPS-HDT see:
 headwaterseconomics.org/eps-hdt


 Web pages listed under Additional Resources include:
 Throughout this report, references to on-line resources are indicated by superscripts in parentheses. These resources are provided as
 hyperlinks here.

 1    www.ingentaconnect.com/content
 2    www.kansascityfed.com/publicat/econrev/PDF/3q03wilk.pdf
 3    headwaterseconomics.org/eps-hdt
 4    http://mgm2impact.com/
 5    www.census.gov/econ/census07
 6    www.fs.fed.us/recreation/programs/nvum
 7    www.bea.gov/industry/iedguide.htm#ttsa
 8    www.ers.usda.gov/publications/ruralamerica/ra174/ra174b.pdf
 9    www.ers.usda.gov/publications/err7/err7.pdf
 10   www.bls.gov/cps/cps htgm.htm
 11   www.bls.gov/bls/employment.htm
 12   www.bls.gov/bls/wages.htm
 13   www.bls.gov/oes
 14   http://data.bls.gov/pdq/VersionInfo.jsp?version=0.0.0
 15   www.bls.gov/oco
 16   www.census.gov/econ/cbp/index.html
 17   www.sussex.ac.uk/Units/spru/publications/imprint/sewps/sewp28/sewp28.pdf
 18   www.mailer.fsu.edu/~tchapin/gamet-tchapin/urp5261/topics/econbase/lq.htm




                                                                 Page 11                       Rvsd Plan - 00002284
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 174 of 356




   Rio Grande National Forest’s Supervisor’s Office
   Attn: Forest Plan Revision
   1803 W. Highway 160
   Monte Vista, CO 81144

   Via e-mail: rgnf_fo rest_plan@fs.fed.us

   October 28, 2016

   Dear Rio Grande Planning Team,

   The following are the comments of the endorsers listed below on formal scoping for the forest
   plan revision for the Rio Grande National Forest (RGNF) and accompanying environmental
   impact statement (EIS). For this submission, we have reviewed the Notice of Intent to Prepare an
   Environmental Impact Statement (NOI; 81 Fed Reg 62706 et seq., September 12, 2016) and the
   Proposed Action (PA) document available on the RGNF’s revision website.

   As part of our comments, we are also submitting a Conservation Alternative (Alternative). We
   ask that this alternative be considered as a full alternative in the forthcoming environmental
   impact statement (EIS) for the revised plan. We are happy to work with the planning staff to
   ensure that the themes and concepts in our Alternative are fully represented in a plan revision
   EIS alternative. Our proposed Conservation Alternative should be considered part of our scoping
   comments, and is incorporated here by reference.

   Many of the issues and concepts described in our Alternative should also be applied to other
   alternatives formulated for the plan revision EIS. They are emphasized in this letter.

   Sincerely,


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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 175 of 356




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                                               2

                                                                   Rvsd Plan - 00002286
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 176 of 356




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                                 TABLE OF CONTENTS

   I. A MAJOR FOCUS OF THE PROPOSED ACTION SHOULD BE PROTECTION OF
   BIOLOGICAL DIVERSITY AND RECOVERY OF AT-RISK SPECIES. 6

   II. THE PROPOSED ACTION SHOULD RECOMMEND SOME QUALIFYING AREAS FOR
   WILDERNESS DESIGNATION 9

   III. DESIGNATE SPECIAL AREAS 10

                                               3

                                                       Rvsd Plan - 00002287
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 177 of 356




   IV. PROTECT AND RECOVER SPECIES OF CONSERVATION CONCERN AND OTHER
   AT-RISK SPECIES, INCLUDING LYNX AND WOLVERINE 11

   V. WILD, SCENIC, AND RECREATIONAL RIVERS ELIGIBILITY AND MANAGEMENT
   12

   VI. FORMULATE STRONG STANDARDS AND GUIDELINES, BOTH FOREST-WIDE
   AND FOR INDIVIDUAL MANAGEMENT AREAS 18

   VII. ANALYZE A WIDE RANGE OF ALTERNATIVES IN THE PLAN REVISION EIS 19

   VIII. PROPOSED GEOGRAPHIC AREAS AND MANAGEMENT AREAS NEED
   MODIFICATION 20

   IX. ADDRESS TRAVEL MANAGEMENT 24

   X. PROTECT WATERSHEDS 26

   XI. PROVIDE ECOSYSTEM SERVICES AND ANALYZE IMPACTS ON THEM 27

   XII. UPDATE THE AVAILABILITY OF LANDS FOR OIL AND GAS LEASING 3

   XIII. TIMBER MANAGEMENT 37

   XIV. LIVESTOCK GRAZING 39

   XV. CONTROL INVASIVE SPECIES 39

   XVI. FIRE 40

   XVII. ANALYZE THE SUITABILITY OF LANDS FOR RENEWABLE ENERGY
   DEVELOPMENT 40

   XVIII. MONITORING 42

   XIX. ANALYZE IMPACTS OF CLIMATE CHANGE 44

   XX. ECONOMICS 50


                                        4

                                                       Rvsd Plan - 00002288
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 178 of 356




   XXI. ESA-LISTED SPECIES RECOVERY PLANS 53

   REFERENCES 31

   ATTACHMENTS (sent separately)

   1. April 15, 2016 comments on Need for Change and Plan Revision Framework

   2. August 22, 2016 comments on Need For Change version 2 and the Plan Revision Framework

   3. Appendices to September 6 comments on the Preliminary Wilderness Evaluation, which
   includes Our Wilderness recommendations




                                                5

                                                                  Rvsd Plan - 00002289
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 179 of 356




                  RIO GRANDE NATIONAL FOREST PLAN REVISION
                             SCOPING COMMENTS


   I. A MAJOR FOCUS OF THE PROPOSED ACTION SHOULD BE PROTECTION OF
   BIOLOGICAL DIVERSITY AND RECOVERY OF AT-RISK SPECIES.

   The Planning Rule states:

          The purpose of this part is to guide the collaborative and science-based development,
          amendment, and revision of land management plans that promote the ecological
          integrity of national forests and grasslands.

   36 CFR 219.1(c). Ecological integrity is defined in the rule as follows:

          The quality or condition of an ecosystem when its dominant ecological
          characteristics (for example, composition, structure, function, connectivity, and
          species composition and diversity) occur within the natural range of variation and
          can withstand and recover from most perturbations imposed by natural
          environmental dynamics or human influence.

   219.19.

   First and foremost, maintaining all the parts of each ecosystem is necessary to ensure ecological
   integrity. That means retaining all native species and recovering, to the extent possible, at-risk
   species1.

   Also important is maintaining ecological processes like fire, predation, natural hydrological
   cycles, soil formation, etc. Indeed, the Planning Rule requires that plans

         provide the ecological conditions necessary to: contribute to the recovery of federally
         listed threatened and endangered species, conserve proposed and candidate species,
         and maintain a viable population of each species of conservation concern within the
         plan area.

   219.9(b)(1).

   In our alternative, we state:

   1 This includes: threatened, endangered, proposed, and candidate species under the Endangered Species Act, as well
   as species of conservation concern.

                                                           6

                                                                                  Rvsd Plan - 00002290
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 180 of 356




         The theme of this alternative is to maintain, restore, and enhance biological diversity,
         including: consideration of plants, animals, fish, invertebrates, natural ecological
         processes, and local and landscape-level habitat connectivity, while still providing
         opportunities for multiple uses, as required by the Multiple Use Sustained Yield Act
         and the National Forest Management Act.

   Alternative at 4.

   This emphasis fits comfortably into Forest-wide goal 2, “Maintain and restore sustainable,
   resilient ecosystems”. PA at 8. However, we do not believe that “[a]ggressively diversifying age
   classes and structure, seral stage, and habitat classes” (ibid.) would accomplish this goal. In fact,
   it would likely contradict it. Aggressively diversifying age classes would take a great deal of
   human manipulation, mostly via logging. Ecosystems that are heavily manipulated by humans, at
   least with methods other than prescribed natural fire, are not natural and will not contribute to
   maintaining biological diversity. For example, Canada lynx are known to avoid logged areas, and
   therefore such logging can significantly degrade Canada lynx habitat for long periods of time.
   Logging would destroy advanced regeneration and wildlife habitat, and the presence and use of
   roads would severely diminish habitat effectiveness for many wildlife species and lead to soil
   erosion and stream sedimentation.

   Also, with large areas of Englemann spruce killed by beetles, much of the RGNF is in the non­
   forested or stand initiation seral stages. No actions by humans would diversify the age-class of
   stands dominated by dead and dying spruce. Planting spruce may help re-establish individual
   forest stands, but many acres planted in the near future (assuming that adequate stocking occurs
   everywhere) would not diversify the age class structure. Salvage logging and the removal of
   dead and dying trees would also remove important woody material from the landscape, which
   can cause cascading effects to ecosystems and retard the recovery of ESA-listed species.

   We believe that to some degree, the focus of our Alternative stated above should receive
   emphasis in every alternative considered in the plan revision EIS. Public lands are the only
   places with enough acreage to provide habitat for wide-ranging species and those with needs for
   large areas and/or specialized habitat such as lynx, black bear, bighorn sheep, marten, and
   goshawk. The continued existence of, and recovery to, viable populations of these species
   depends on national forest management, as land in non-public ownerships is not large enough to
   provide for these species, nor to protect biological diversity in general. Also, such lands are
   mostly managed for purposes other than conserving ecological resources and biological
   diversity.




                                                     7

                                                                         Rvsd Plan - 00002291
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 181 of 356




   Thus it is critical that national forests be managed to conserve ecological integrity and biological
   diversity, and to maintain connectivity of wildlife habitat. Landscape linkages and wildlife
   corridors, as described in the Alternative, should be designated and managed to ensure wildlife
   passage.

   The “strategic framework” for the plan revision must be based on the concepts outlined at
   219.1(c), including the use of best-available science to revise plans to promote ecological
   integrity and sustainability. From the description of the strategic framework on p. 2 of the PA, it
   is not clear that this will be the intent of the RGNF plan revision.

   The revised plan must ensure adequate representation of ecosystem types in protected areas. Our
   wilderness recommendations would increase representation of ecological types not currently
   protected in the National Wilderness Preservation System. See further discussion in our
   wilderness recommendations, which were part of our submission on September 6, 2016 and are
   in Appendix 5 to our Alternative.

   Ecosystems and wildlife habitat must be connected across the landscape to ensure movement of
   wide-ranging species like lynx. The revised plan must ensure connectivity across borders with
   the Pike-San Isabel, Grand Mesa-Uncompahgre-Gunnison, San Juan and Carson National
   Forests, and with adjacent BLM lands in Colorado. See sections IV and V of the Alternative for
   a more detailed discussion.

   Objectives, standards and guidelines must be composed to ensure there is sufficient emphasis on
   maintaining biological diversity in all alternatives, including the proposed action.

   The Forest Service has a duty to conserve species listed under the Endangered Species Act
   (ESA):

         All other Federal agencies shall, in consultation with and with the assistance of the
         Secretary [of Interior], utilize their authorities in furtherance of the purposes of th[e
         Endangered Species] Act by carrying out programs for the conservation of
         endangered species and threatened species listed pursuant to section 4 of this Act.

   16 U.S.C. 1536(a)(1). “Conservation” is defined in ESA as follows:

         The terms ‘‘conserve,’’ ‘‘conserving,’’ and ‘‘conservation’’ mean to use and the use
         of all methods and procedures which are necessary to bring any endangered species
         or threatened species to the point at which the measures provided pursuant to this
         Act are no longer necessary^



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                                                                          Rvsd Plan - 00002292
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 182 of 356




   Id. at 1532 (3). This means that the Forest Service does not just have an obligation to cause no
   harm to ESA-listed species, but it has an affirmative obligation to support and work to actively
   recover ESA-listed species found on the RGNF.

   Because implementation of the revised plan could affect any or all of the eight threatened or
   endangered species that may reside on the RGNF2 (see PA at 5), formal ESA consultation with
   the U. S. Fish and Wildlife Service is required before the revised plan is approved.


   II. THE PROPOSED ACTION SHOULD RECOMMEND SOME QUALIFYING AREAS FOR
   WILDERNESS DESIGNATION. We note that the PA does not have a proposed management
   area (MA) for areas recommended for wilderness. We assume this means that the RGNF intends
   not to recommend any acres for wilderness designation in the revised plan. We believe this is
   shortsighted. The proposed revised plan should recommend some areas for wilderness, especially
   some areas adjacent to existing wilderness areas.

   Many areas on the RGNF score very high on some wilderness qualities, and a number of them
   have an overall recommendation of high. See Wilderness Recommendation Process, Preliminary
   Evaluation Results. Some of the less than high rankings in this Evaluation appear to be in error.
   See our comments on the Preliminary Wilderness Evaluation, September 6, 2016, which are
   attached to our alternative as Appendix 4. In short, many areas on the RGNF clearly meet the
   criteria for wilderness. 3

   Recommending qualifying areas for wilderness designation would ensure protection of
   ecosystem types that are currently under-represented in the National Wilderness Preservation
   System, both nationally and on the RGNF. See detailed analysis in Appendix 1 to our September
   6, 2016 comments, which is attached to our Alternative as Appendix 5. Note also the analysis in
   Appendix 2b of those comments (begins on p. 93 of the Appendix 5 file) identifying areas with
   considerable acreage of the five most under-represented ecosystem types on the RGNF.
   Recommending some of these areas and others for wilderness would help maintain the integrity
   of these and other under-represented ecosystem types and the diverse plant and animal
   communities they support.

   Assigning roadless areas to either of the roadless MAs, 3.5 and 3.6, would provide some
   protection for wilderness characteristics, but still allow logging and road construction under
   some circumstances, especially in MA 3.5. See PA at 27-28.

   2 Plan implementation will almost certainly affect lynx, as is discussed elsewhere in these comments and in section
   V of our Alternative.
   3 The Preliminary Evaluation used the broad characteristics of wilderness areas listed in the Wilderness Act (see 16
   U.S.C. 1131) and then addressed “considerations under each characteristic that help to narrow down each character
   trait.” Preliminary Evaluation at 1.

                                                             9

                                                                                    Rvsd Plan - 00002293
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 183 of 356




   On September 6, 2016, we submitted a list of areas we believe should be recommended for
   wilderness designation. This includes a description of each area and why it should be
   recommended for wilderness designation. We excluded from our recommendations all areas that
   had conflicts with possible wilderness designation, such as motorized trails. See Appendix 3 to
   our comments of September 6, 2016, beginning on p. 100 of that file, attached to these
   comments, and also to our Alternative as Appendix 5. We ask that all or nearly all of our
   wilderness recommendations be included in at least one alternative in the EIS, and that the
   proposed action contain at least some of our recommendations.


   III. DESIGNATE SPECIAL AREAS

   Various areas on the RGNF have special, fragile, and/or unique qualities that deserve protection.
   We are pleased to see that the following areas will be considered for designation: “the
   Continental Divide Trail, Old Spanish Trail, Natural Arch, Cumbres and Toltec National Historic
   Landmark, and Mt. Blanca Massif.” PA at 21. However, the recreational opportunity spectrum
   class should not always be semi-primitive motorized, as proposed on p. 25 of the PA. Motorized
   use would certainly be inappropriate in the Mt Blanca Massif and the Continental Divide Trail
   corridor (except for motorized travelways that cross the Trail). The ROS class for these areas
   should be primitive and semi-primitive non-motorized, respectively. For other special areas,
   motorized use should not be allowed if it puts at risk any of the qualities for which the area is
   designated. In that regard, limitations on motorized use in the Natural Arch area will likely be
   necessary.

   See our Alternative, Appendix 7, for a description of special areas that we believe should be
   designated. 4 At least one alternative should have all or nearly all of these areas and the ones
   being considered by the Forest Service, and the proposed revised plan should designate at least
   some of them.

   If the Fremont Special Interest Area will be reduced in size, as hinted at PA pp. 17 and 21, the
   acreage excluded from the SIA should not be suitable for timber production, as it is too close to
   timberline. Reforestation in such areas would be difficult. See more detailed comments on this at
   p. 16 of our April 15, 2016 comments on Need For Change.5

   See also Alternative Appendix 6 for recommendations for research natural areas.




   4   This includes a designated area that incorporates the Natural Arch and more.
   5   This comment later was mistakenly dated 2015.

                                                              10

                                                                                      Rvsd Plan - 00002294
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 184 of 356




   IV. PROTECT AND RECOVER SPECIES OF CONSERVATION CONCERN AND OTHER
   AT-RISK SPECIES, INCLUDING LYNX AND WOLVERINE

   We are pleased to see that the RGNF has made available on its plan revision website a
   preliminary list of species of conservation concern (PSCC). We agree that the species on the list
   should be SCC, and we also believe the following should be added to it:

    -   -American pika (Ochotona princeps)
    -   -silky pocket mouse (Perognathus flavus)
    -   -red squirrel (Tamiasciurus hudsonicus)
    -   - Brazilian Free-tailed Bat (Tadarida brasiliensis)
    -   - Pale Moonwort (Botrychium pallidum)

   American pikas live among high-elevation talus fields and are vulnerable to warming
   temperatures (Beever et al. 2003). American pikas are experiencing declines across most of their
   range (Wilkening et al. 2015). Calkins et al. (2012) predicted that pika habitat will shrink at even
   slightly warmer temperatures. The species occurs in the RGNF. For species that are at risk from
   the effects of climate change such as pika, designation as SCC is vitally important to ensure that
   stressors within the Forest Service’s control, in combination with climate change, do not push
   these species towards a need for listing under the ESA.

   According the NatureServe, the silky pocket mouse is imperiled in Colorado (NatureServe
   2015). Based on a Forest Service Region 2 evaluations form, the species is known to occur on
   the RGNF (Forest Service 2001). Additionally, a small mammal survey conducted by Colorado
   Natural Heritage Program found occurrences on the RGNF (CNHP 2015). See also Rocchio et
   al. 2000.

   Based on a study by Colorado Parks and Wildlife and others (CPW, undated), red squirrels may
   be having a negative response moderate and severe spruce beetle outbreak conditions. The
   assumption is that the loss of cone crop, a key food resource for the squirrels, is the key factor.
   They are residents of the RGNF and serve as an important secondary food source for Canada
   lynx. In Colorado, it represents a greater percentage of lynx diet than elsewhere within the lynx’s
   range.

   NatureServe (2015) ranks the Brazilian free-tailed bat as critically imperiled in Colorado. The
   species’ range overlaps with the RGNF, and the forest includes several important habitats
   including caves (or mines), riparian, and mixed conifer forest.

   Pale moonwort is ranked as imperiled in Colorado by NatureServe 2015. It is a Colorado Rare
   Plant (CNHP, 1997+) and Forest Service Region 2 Sensitive Species. It has been found in Rio


                                                    11

                                                                        Rvsd Plan - 00002295
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 185 of 356




   Grande and/or Conejos counties (Kettler et al. 2000). The Draft Environmental Impact Statement
   for the RGNF 1996 land and resource management plan indicates the plant occurs on the forest
   (p. 3-94).

   The revised plan must protect wolverine (Gulo gulo luscus). Wolverine conservation status in
   the lower-48 is currently in some flux. In April 2016, a federal judge rejected the 2014 decision
   by the U. S. Fish and Wildlife Service (FWS) to not list the distinct population segment of the
   North American wolverine under the ESA. As the FWS reconsiders protections for wolverines, it
   is once again a “candidate” species under ESA. This may raise questions over how the Forest
   Service, including the RGNF, should treat wolverine in ongoing and forthcoming forest plan
   revisions.

   Because the wolverine is a candidate species, the revised plan must ensure that ecological
   conditions are maintained that will “contribute to the recovery of federally listed
   threatened and endangered species [and] conserve proposed and candidate species”. 219.9(b)(1).
   Maintaining ecological conditions alone will probably not be sufficient to help ensure wolverine
   recovery and viability across its range on national forest lands. Therefore, plan components,
   including standards and guidelines, for wolverine will likely be necessary, as required by
   219.9(b)(1). For example, limitations on snowmobile use in some alpine areas where denning
   could occur may be necessary for protection and recovery of wolverine.

   Importantly, the RGNF should review and incorporate the preliminary findings, and expected
   final report, from the Wolverine Winter Recreation Research Project that recently concluded the
   field study component of the project. All reports and maps are available at:
   http://www.roundriver.org/wolverine/wolverine-maps-reports-and-publications/ (last accessed
   October 20, 2016). Additionally, because of the uncertainty surrounding the wolverine’s listing
   status and the importance of the species, the RGNF revised plan should include a mechanism
   whereby wolverine is automatically added to the species of conservation concern list in the event
   that the U.S. Fish and Wildlife Service once again determines that wolverine do not merit listing
   under the ESA. Given the expected life-span of the revised plan, this is very important to ensure
   that the plan can anticipate potential actions by other federal agencies in the future, but during
   the life of the revised plan.

   The revised plan must have components, including standards and guidelines, for protecting lynx
   (Lynx canadensis), a threatened species under the federal Endangered Species Act. Please see
   Alternative section V for a detailed set of recommendations for lynx. We recommend a new
   management area for lynx linkages and a special area for one linkage.

   The revised plan and all alternatives must have plan components that ensure adequate protection
   of lynx habitat. The EIS must demonstrate that each alternative would maintain lynx habitat and


                                                   12

                                                                       Rvsd Plan - 00002296
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 186 of 356




   provide an opportunity for the species to begin recovering to a full, viable population in
   Colorado. It will be especially important to limit logging, especially salvage logging, and other
   types of vegetation management in areas of lynx habitat.

   Additionally, because of uncertainty regarding the future ESA-listing status of Canada lynx and
   the results of the currently ongoing status review of Canada lynx, the RGNF revised plan should
   include a mechanism whereby Canada lynx is automatically added to the species of conservation
   concern list in the event that the U.S. Fish and Wildlife Service decides to delist Canada lynx and
   remove its ESA protections as a threatened species.


   V. WILD, SCENIC, AND RECREATIONAL RIVERS ELIGIBILITY AND MANAGEMENT

   Under the Wild and Scenic Rivers Act, the Forest Service is required to evaluate potential
   additions to the National Wild and Scenic Rivers System:

         In all planning for the use and development of water and related land resources,
         consideration shall be given by all Federal agencies involved to potential national
         wild, scenic and recreational river areas, and all river basin and project plan reports
         submitted to the Congress shall consider and discuss any such potentials. The
         Secretary of the Interior and the Secretary of Agriculture shall make specific studies
         and investigations to determine which additional wild, scenic and recreational river
         areas within the United States shall be evaluated in planning reports by all Federal
         agencies as potential alternative uses of the water and related land resources
         involved.

   16 U.S.C. 1276(d)(1).

   A river is eligible to be included in the national wild and scenic rivers system if it is free-flowing
   and has at least one river-related outstandingly remarkable value (ORV)of national or regional
   significance. 16 U.S.C 1271(b), 1273(b). Segments found eligible must include a preliminary
   classification (wild, scenic, or recreational; 16 U. S. C. 1273(b), FSH 1909.12 section 82.8).

   Free flowing is defined as follows in the Wild and Scenic Rivers Act:

         “Free-flowing”, as applied to any river or section of a river, means existing or
         flowing in natural condition without impoundment, diversion, straightening, rip­
         rapping, or other modification of the waterway. The existence, however, of low
         dams, diversion works, and other minor structures at the time any river is proposed
         for inclusion in the national wild and scenic rivers system shall not automatically bar


                                                     13

                                                                          Rvsd Plan - 00002297
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 187 of 356




         its consideration for such inclusion: Provided, That this shall not be construed to
         authorize, intend, or encourage fUture construction of such structures within
         components of the national wild and scenic rivers system.

   16 U. S. C. 1286(b); emphasis added.

   “Outstandingly remarkable” values are “scenic, recreation, geologic, fish and wildlife, historic,
   cultural, or other similar values”. 16 U.S.C. 1271.

   The Planning Rule requires plans to identify eligible rivers:

         (2) In developing a proposed new plan or proposed plan revision, the responsible
         official shall^.

           (vi) Identify the eligibility of rivers for inclusion in the National Wild and Scenic
         Rivers System, unless a systematic inventory has been previously completed and
         documented and there are no changed circumstances that warrant additional review.

   36 CFR 219.7(c)(2)(vi).

   And under the Planning Rule’s Directives:

         Unless a systematic inventory of study rivers has been completed and eligible rivers
         identified, the Interdisciplinary Team shall develop and conduct a comprehensive
         inventory and evaluation to determine which rivers are eligible for inclusion in the
         National System. ^

         When conducting an eligibility study of Forest Service-identified rivers (sec. 5(d)(1)
         of the Act) during land management plan development or revision, the
         Interdisciplinary Team shall include all potential wild, scenic, and recreational rivers
         flowing wholly or partially on National Forest System lands as identified in the
         Nationwide Rivers Inventory and by other sources.

   FSH 1909.12, section 82.2.

   The planning team needs to determine the potential eligibility of every stream on the RGNF for
   eligibility for designation as a wild, scenic, or recreational river under the Wild and Scenic
   Rivers Act. Such consideration is required under the Act. See 16 U. S. C. 1276(d)(1). Studies
   done for the previous RGNF plan may be sufficient where there have been no changes in river
   conditions. However, streams previously determined to be ineligible should be re-examined, as it


                                                    14

                                                                         Rvsd Plan - 00002298
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 188 of 356




   is possible that factors that make them ineligible, e g., low-head dams, no longer exist. See
   219.7(c)(2)(vi) and FSH 1909.12, sections 82.2 and 82.4. Similarly, the planning team should
   reconsider river values and river corridor values in the context of the current regional and
   national array of river-related natural values. Streams of particular interest include Lake Fork
   Conejos River, South Fork Conejos River, and additional segments of the Rio Grande River,
   including the one from Stony Pass to Rio Grande Reservoir.

   We are pleased to see that the RGNF will evaluate stream segments that were not previously
   evaluated, including nine segments in the Baca tract, which the Forest Service has acquired since
   the previous plan revision, and 25 segments elsewhere. See Need For Change, Version 2, item A
   3 and Appendix A 3. The RGNG should review wild & scenic assessments and management
   already undertaken by adjacent federal land-management agencies, especially for any segments
   of streams shared with the forest.

   Also, the forest should review existing streamflow protections provided by the State of Colorado
   Stream and Lake Protection Program (instream flow water rights), and consider for wild &
   scenic eligibility the streams included in that program. State instream flow water rights also
   provide new opportunities for federal-state cooperation, complementing and justifying eligibility
   findings. Specific state-protected streams that should be considered or retained for eligibility
   include:

          • Alamosa River headwaters
          • Alder Creek
          • Bear Creek
          • Beaver Creek
          • Cross Creek
          • East Fork Pinos Creek
          • Elk Creek
          • El Rito Azul
          • Embargo Creek
          • John’s Creek
          • Lake Fork Conejos River
          • Lost Mine Creek
          • Middle Fork Conejos River
          • Middle Fork Saguache Creek
          • North Fork Conejos River
          • North Fork Saguache Creek
          • Pinos Creek
          • Saguache Creek
          • South Fork Camero Creek


                                                   15

                                                                        Rvsd Plan - 00002299
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 189 of 356




           • South Fork Saguache Creek
           • Treasure Creek
           • Wannamaker Creek
           • West Alder Creek
           • West Fork Pinos Creek

   The Colorado Natural Heritage Program (CNHP) published, in April 2016, a report on fens in
   the RGNF (Smith et al, 2016). That report defines fens as ground-water fed wetlands that
   typically support sedges and low stature shrubs, and identifies potential fen areas within the
   forest, including a total of 2,532 likely fen areas in the forest. The report highlights in particular
   three watersheds with very high numbers of likely fens: Elk Creek; Headwaters of Alamosa
   River; Ute Creek.

   While these fens rely most directly on groundwater, the interplay between groundwater and
   surface flows in streams is likely enough that nearby streams should be carefully studied for
   protection as part of the forest’s fen assessment. Specifically, the following streams should be
   considered or retained for wild & scenic eligibility (or, if currently eligible, should retain that
   eligibility), focusing on the possible ORVs of fens and related plant communities:

        Elk Creek watershed
          • Elk Creek
          • Rio Colorado
          • South Elk Creek

          Alamosa River Headwaters
          • Bitter Creek
          • Cascade Creek
          • Cataract Creek
          • Iron Creek
          • Gold Creek
          • Prospect Creek
          • Treasure Creek

           Ute Creek watershed
           • East Ute Creek
           • Middle Ute Creek
           • West Ute Creek
           • Ute Creek




                                                     16

                                                                           Rvsd Plan - 00002300
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 190 of 356




   The Colorado Natural Heritage Program (CNHP) published a report on the RGNF’s wetlands
   (Lemly, 2012). It found wetlands in generally good condition across the forest, with a majority of
   wetlands occurring in subalpine and alpine areas. Id at 15. Like CNHP’s 2016 report, it also
   noted the importance of fens in these areas. Id. at 36-37. The RGNF should consider wild-scenic
   river eligibility as one method of ensuring protection for these valuable resources. The following
   alpine streams should be studied for eligibility (or retained in current eligibility), focusing on
   stream-supported wetlands and the plant communities they support in order to recognize and
   protect those values:

          • Benito Creek
          • Halfmoon Creek
          • Machin Creek
          • headwaters Middle Fork Saguache Creek
          • headwaters South Fork Saguache Creek
          • Spring Creek
          • Twin Peaks Creek
          • Wannamaker Creek
          • Whale Creek
          • Adams Fork
          • North Fork (Conejos)
          • Middle Fork (Conejos)
          • Rito Azul
          • Mesa Creek
          • Rito Hondo
          • Spring Creek
          • Willow Creek
          • Bear Creek
          • Pole Creek
          • West Fork Pole Creek
      •   Rio Grande River above Rio Grande Reservoir

   When considering streams for wild & scenic eligibility study, the forest should reference CNHP
   listings of riparian-dependent rare plants in the vicinity. For RGNF, these may include:
   Barneby’s fever-few, blue-eyed grass, Bodin milkvetch, broadfruit, bur-reed, Colorado
   watercress, marsh-meadow Indian-paintbrush, mud sedge, slender spiderflower, and small­
   winged sedge.

   The forest should also use data and analyses prepared by CNHP for Potential Conservation
   Areas location within the forest, including reports entitled: Adams Fork of Conejos River, Baca
   Grande and Reserve, Conejos River at Platoro, Conejos River at Spectacle Lake, Conejos River


                                                  17

                                                                       Rvsd Plan - 00002301
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 191 of 356




   Springs, El Rito Azul, Elephant Rocks, Great Sand Dunes, Pole Creek, Ra Jadero Canyons, Rito
   Hondo Creek, Rio Grande at Pole Creek Mountain, Saguache Creek, Sangre de Cristo Creek,
   Sangres Alluvial Fan, South Fork of the Conejos River and Hansen Creek, Upper Medano Creek,
   Upper Pole Creek, and Zapata Falls.

   The forest should also evaluate for eligibility streams that contain Rio Grande cutthroat trout, or
   that once contained that fish, or that contain habitat suitable to assisting with that fish’s recovery.
   Additional information for this purpose is available in CPW, 2013 and RGCT Conservation
   Team, 2013, both prepared in cooperation among the states of Colorado and New Mexico and
   the U.S. Forest Service.

   All river segments found eligible must be managed to maintain their eligibility, both their free-
   flowing nature and any ORVs. Each alternative must contain plan components to ensure such
   protection, as required by 219.10(b)(1).

   The revised plan should correct the management prescription error applied, in the 1996 plan, to
   Saguache Creek, which was classified as wild. While other wild-classification eligible streams
   are currently managed under 1.5 Eligible Wild River, seven miles of Saguache Creek are
   managed under 3.4 Eligible Scenic River. This discrepancy in management prescriptions has
   consequences relative to mineral withdrawal, oil & gas leasing, logging, ROS, and motorized
   travel. The new plan should affirm the wild classification of eligible Saguache Creek and adjust
   management area applications accordingly.

   See Alternative section VI for additional comments on wild, scenic, and recreational river
   eligibility.


   VI. FORMULATE STRONG STANDARDS AND GUIDELINES, BOTH FOREST-WIDE
   AND FOR INDIVIDUAL MANAGEMENT AREAS

   Standards and guidelines are two required plan components, as described in the Rule:

         A standard is a mandatory constraint on project and activity decisionmaking,
         established to help achieve or maintain the desired condition or conditions, to avoid
         or mitigate undesirable effects, or to meet applicable legal requirements. ^

         A guideline is a constraint on project and activity decisionmaking that allows for
         departure from its terms, so long as the purpose of the guideline is met. (§
         219.15(d)(3)). Guidelines are established to help achieve or maintain a desired



                                                     18

                                                                           Rvsd Plan - 00002302
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 192 of 356




         condition or conditions, to avoid or mitigate undesirable effects, or to meet
         applicable legal requirements.

   219.7 (e)(iii) and (iv), respectively.

   In other words, plans are clearly intended to impose some limitations on management in order to
   meet desired conditions, avoid or mitigate adverse impacts, and meet legal requirements. Note
   that the plan decision document must include “[a]n explanation of how the plan components
   meet the sustainability requirements of § 219.8, the diversity requirements of § 219.9, the
   multiple use requirements of § 219.10, and the timber requirements of § 219.11” (36 CFR
   219.14(a)(2)). Therefore, the EIS for the revision should show how each alternative meets these
   requirements.

   It is important for the revised plan to have strong standards to ensure that impacts from
   implementation of projects and activities under the plan are minimized. Protections for wildlife
   and plant species at risk and riparian/wetlands are particularly important. The revised plan need
   not repeat existing direction, such as the Watershed Conservation Practices Handbook (FSH
   2509.25), but the plan must incorporate this direction and state where this direction can be found
   so that the public has easy access to it. It must also incorporate the Soil Management Handbook,
   FSH 2509.18., including the R-2 Supplement 2509.18-92-1 .

   Standards and guidelines, both forest-wide and in individual management areas, must not be
   watered down into “management practices”. There is no provision in either the Planning Rule or
   the Planning Directives for use of management practices instead of standards and guidelines. We
   addressed this issue in our August 22, 2016 comments at 3-5. As we stated there: “It is simply
   not appropriate to evade the intent of the planning rule by greatly reducing or eliminating the use
   of required plan components that mandate limitations on management.” Id. at 4. Making plan
   amendments easier is not a valid reason to use management practices instead of plan
   components. If a minor change in plan components is desired, only a minor amendment and
   corresponding NEPA documentation are needed. See 219.13(b)(3).


   VII. ANALYZE A WIDE RANGE OF ALTERNATIVES IN THE PLAN REVISION EIS.

   We addressed this issue in our April 15, 2016 comments6, in response to a statement by the
   Forest Service during a March 30, 2016 webinar that the RGNF would try to have as few
   alternatives as possible in the plan revision EIS. We believe that full formulation and analysis of
   several alternatives, in addition to the required proposed action and no action alternatives, will be
   necessary to incorporate the spectrum of possible ways to manage the RGNF.

   These comments are incorporated by reference into our scoping comments, and are attached.
   6


                                                         19

                                                                                Rvsd Plan - 00002303
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 193 of 356




   Alternatives with different emphasis may require management areas not used in the proposed
   action. For example, alternatives that recommended any acreage for wilderness would need an
   MA for proposed wilderness.7 In our Alternative, submitted with these comments, we
   recommend a new MA for lynx landscape and other linkages.

   A wide range of alternatives, as required by 40 CFR 1502.14(a), must be formulated and
   analyzed to accommodate the wide diversity of possible management options for the RGNF.


   VIII. PROPOSED MANAGEMENT AREAS AND GEOGRAPHIC AREAS
   NEED MODIFICATION

   We discussed our concerns with geographic areas (GAs) in our August 22, 2016 comments8 at 5­
   6. We still have difficulty seeing how the use of GAs as proposed would aid in the revision. The
   PA states:

          ^Geographic Area descriptions present more of a management emphasis based on
          land status and line officer discretion. ^

         In response to comments received during the Assessment phase of the Plan Revision
         process, the Proposed Action clarifies direction based on land status and reduces
         overlapping direction. The proposed format maintains much of the previous direction
         but add (sic) place-based desired conditions to better focus overall direction. The
         Proposed Action incorporates Geographic Areas that combine Management Areas
         with similar emphases into larger groupings based on land status and line officer
         discretion.

   PA at 1, 13.

   How does the use of GAs “reduce[] overlapping direction”? As described in the quote above,
   GAs add direction that overlaps the direction in management areas. Any direction in GAs is also
   not “place-based”; rather, it is based on how areas are managed. The NOI states that the
   proposed action




   7 In the last round of forest planning in Region 2, the White River NF recommended some acreage for wilderness
   and assigned it to MA 1.2. See White River Plan at 3-10.
   8 These comments are also incorporated by reference into our scoping comments and attached.


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                                                                                  Rvsd Plan - 00002304
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 194 of 356




         includes an overarching geographic area layer above the forest’s existing
         management area layer, tiered to levels of active management, the forest’s discretion
         in said management, and the current legal status of the land.

   NOI at 62707.

   The management areas would presumably have place-based desired conditions. Having desired
   conditions at the GA level would add overlapping, and potentially confusing, direction.

   As we noted in our August 22, 2016 comments, the proposed use of GAs contradicts the
   Planning Directives, which state that GAs are “based on place”. See FSH 1909.12, section 22.21.

   We are not opposed to the use of GAs. However, we see no benefit in using them as proposed.
   The RGNF should either drop GAs or make them place-based and show how they would aid in
   providing management direction.


   The consolidation of three MAs for designated wilderness (formerly 1.1, 1.2, and 1.3) into one
   new MA (1.1) (see PA at 18-19) is acceptable, provided that this MA contain standards and
   guidelines that address heavily used areas. These Standards and Guidelines must provide for
   restoration and for limiting use as necessary to protect and restore natural conditions. MA 1.13 in
   the current plan addresses this in Standard 2 (Plan at IV-7, -8).

   We agree with the proposed management strategy for wilderness areas:

         Wilderness areas are managed for solitude; users are expected to be familiar with and
         use primitive skills in an environment that offers a high degree of risk and challenge.

   PA at 23. However, the PA also proposes that in this MA, “[t]rail systems are maintained for
   user safety and comfort”. Id. at 24. These two statements contradict. Some relocation or other
   management of trails may be needed to address potentially serious safety problems, but trails
   should generally not be managed for user comfort in wilderness.


   We are pleased to see Saguache Creek listed as eligible for wild designation under the Wild and
   Scenic Rivers Act. PA at 24. It was found eligible in the current plan (see Plan at IV-8, Plan
   FEIS at 3-363), but was assigned to a scenic river-eligible MA on the Plan Management Area
   Map. Please be sure this river corridor is assigned to the wild-eligible MA (1.5) in the revised
   plan. The description of this MA should state that areas assigned to it are not suitable for timber
   production.


                                                   21

                                                                        Rvsd Plan - 00002305
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 195 of 356




   Why would areas assigned to MA 3.4, Designated and Eligible Scenic Rivers, be “part of the
   Suitable timber base”? Id. at 26. Under this MA,

         Scenic River landscapes are generally natural appearing. Vegetative composition and
         structure is influenced by biological processes and condition.

   Ibid. Any logging, especially for the purpose of timber production, would be inconsistent with
   this desired condition.

   Inclusion of scenic river corridors in the suitable base is especially odd, given that areas assigned
   to MA 4.4, Designated and Eligible Recreational Rivers, would be excluded from the suitable
   base. PA at 33. We believe strongly that neither scenic- or recreational-eligible rivers should be
   in the suitable timber base.


   For MA 3.1, Special Interest Areas, the recreational opportunity spectrum should not always be
   semi-primitive motorized. These areas “typically contain unique botanical, geologic, historical,
   scenic, or cultural areas and values.” PA at 25. Parts of most of these areas (e. g., those beyond
   basic access to the area) will need to be off-limits to motorized use to ensure these values are
   better protected from shooting and other vandalism. Similarly, livestock grazing, said to be an
   appropriate use (ibid.), may need to be limited or prohibited in some areas or parts of them to
   protect botanical values.


   In MA 3.4, stipulations for oil and gas leases would be controlled surface use. PA at 26. But as
   with logging, oil and gas operations would be inconsistent with maintaining natural conditions,
   as the MA would require. It would be best to exclude MA 3.4 areas from oil and gas leasing to
   protect natural values. If leasing is allowed, stipulations must prohibit surface occupancy.


   For MA 3.5, non-upper tier Colorado Roadless Areas, the PA, quoting from the Colorado
   Roadless Rule (CRR), lists the conditions under which logging could be approved. However,
   point 2, addressing cutting outside the community protection zone, omits the CRR’s requirement
   that such “[p]rojects are expected to be infrequent”. 36 CFR 292(c)(2)(ii).


   MA 5.13 states:




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                                                                         Rvsd Plan - 00002306
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 196 of 356




         Management actions ensure that sufficient quality habitat for wildlife dispersion
         exists between undeveloped areas of the forest.

   PA at 30; emphasis added. The same statement is in MA 5.11, minus the word “quality”. Ibid.
   5.13 has a stronger emphasis on timber production than 5.119, so if retention of quality habitat is
   required for 5.13, it should also be required for MA 5.11.


   Under MA 5.42, Special Wildlife Habitats - Bighorn Sheep, areas would be

         maintained for established herds and are characterized by rocky slopes, cliffs, and
         open grasslands with scattered stands of trees.

   PA at 31. It is well known that domestic sheep can transmit diseases to bighorn sheep. Such
   diseases are often fatal to bighorn sheep. The threats to bighorns were summarized as follows in
   a study commissioned by the Forest Service:

         Threats to the long-term viability of bighorn sheep in Region 2 include diseases
         transmitted by domestic livestock, the lack of connectivity and/or loss of genetic
         variability (fitness) due to habitat fragmentation, habitat loss, increased human
         disturbance, competition with domestic livestock, and predation on small, isolated
         herds. The relative importance of these threats to the persistence of bighorn sheep in
         Region 2 varies from area to area. However, the risk of disease outbreaks resulting
         from contact with domestic sheep and goats is widely believed to be the most
         significant threat facing bighorns in Region 2 and elsewhere across their range. ^

         Management and conservation efforts for bighorn sheep in Region 2 should focus
         on:

           1) eliminating the potential for contact between bighorn sheep and domestic sheep
         and goats^

   Beecham et al, 2007, at 4. This publication further notes that “disease is likely the factor that
   eventually results in the extirpation or extinction of many bighorn herds”. Id. at 36. See also
   Forest Plan Monitoring and Evaluation Report, 2013, at 13, 46.

   Of the four bighorn herds on the RGNF at the time Beecham et al’s research was published, two
   of them had “chronic” or “extensive” exposure to domestic sheep, and one other was suspected


   9 MA 5.13 places “emphasis on the production of commercial wood products” (PA at 30), while 5.11 emphasizes
   multiple use “to achieve a variety of goals” (id. at 29).

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 197 of 356




   of having such exposure. Id.at 49. The fourth herd known to reside on the RGNF also resides on
   the GMUG NF, where domestic sheep grazing has historically occurred, leading to a widespread
   die-off within this herd in 1988. Id at 53.

   But even so, “[l]ivestock grazing [would be] appropriate and authorized” under MA 5.42. This is
   not acceptable. It puts bighorns at too much risk, a risk that is avoidable by not allowing grazing
   of domestic stock in bighorn sheep habitat. Habitat for bighorns is mainly steep, rocky areas that
   may not contain much forage for domestic stock, but even where it does, many areas are too
   rough and isolated for domestic stock to reach them.


   IX. ADDRESS TRAVEL MANAGEMENT. One of the most important and controversial
   aspects of national forest management is travel management. We recognize that the revised plan
   will not make decisions about which individual routes will be open to what uses and when. NOI
   at 62708. However, some forest-wide travel management issues should be addressed in the forest
   plan because the road system affects other forest resources, such as wildlife habitat effectiveness,
   watershed integrity, and recreation opportunity. If all decisions concerning the road system are
   made later, it might trigger the need for a major amendment to the forest plan and a supplemental
   EIS.

   The revised plan must provide direction for achieving an ecologically and fiscally sustainable
   minimum road system, as required under the 2012 Planning Rule and subpart A of the Forest
   Service travel rules, 36 C.F.R. part 212. To address its unsustainable and deteriorating road
   system, the Forest Service promulgated the Roads Rule (referred to as “subpart A”) in 2001. 36
   C.F.R. §§ 212.1-212.21 (Administration of the Forest Transportation System), 66 Fed. Reg. 3206
   (Jan. 12, 2001). This rule was amended by “Travel Management; Designated Routes and Areas
   for Motor Vehicle Use, Final Rule”, 70 Fed Reg 68264 et seq., November 9, 2005.

   Under the amended rule at 36 CFR 212.5b, the Forest Service “must identify the minimum road
   system needed for safe and efficient travel and for administration, utilization, and protection of
   National Forest System lands”. At a minimum, Forest Plan designations, such as management
   area prescriptions and geographic area prescriptions (if used) should establish areas where routes
   will be generally open, open with specified restrictions, or closed to use by various classes of
   motor vehicle, including use allowed by season(s) for both on-snow and dry land use, consistent
   with laws and regulations, as well as desired conditions, and objectives for each respective area.

   Detailed designations of areas and individual routes for the non-snow season (for snow season,
   see below) can be done later in a travel management plan. However, the system of roads with
   maintenance level 3 or higher should be identified at the Forest Planning stage. This will be
   necessary to do a proper analysis of wildlife habitat connectivity, as these roads are the ones with


                                                   24

                                                                        Rvsd Plan - 00002308
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 198 of 356




   the most traffic and the highest vehicle speeds, and thus the most likely to fragment wildlife
   habitat.

   All of the acreage in the plan area should be determined to be suitable or unsuitable for
   motorized use, by type of motor vehicle(s), and season. The planning directives state that such an
   analysis should be done, “including [for] over the snow vehicles”. See FSH 1909.12 section
   23.23a 2d. Undertaking a suitability analysis will set the stage for later detailed travel planning,
   where route designations are done, and ensure that motorized travel does not interfere with
   attaining desired conditions and objectives, especially for retaining ecological sustainability and
   integrity, and protecting at-risk species.

   Over-snow vehicles. Designations for over-snow vehicles (OSVs) may need to be done with the
   Forest Plan or earlier to meet the mandate of the OSV Rule, issued January 28, 2015 (80 Fed Reg
   4500 et seq.). While this rule, which amended the agency’s Travel Management Rule (36 CFR
   212), did not state a deadline for completion, it clearly requires designation of routes and areas
   open to OSVs.

   Under the OSV Rule, the Forest Service must apply the minimization criteria at 36 CFR
   212.81(d), 212.55. Note especially the “[s]pecific criteria for designation of trails and areas” at
   212.55(b). This section requires the agency to ensure that the following are minimized:

          (1) Damage to soil, watershed, vegetation, and other forest resources;

          (2) Harassment of wildlife and significant disruption of wildlife habitats;

         (3) Conflicts between motor vehicle use and existing or proposed recreational uses of
         National Forest System lands or neighboring Federal lands; and

          (4) Conflicts among different classes of motor vehicle uses of National Forest
          System lands or neighboring Federal lands.

   Minimum snow depth for operation of OSVs should be at least one foot of packed snow. This
   depth should be higher for areas with taller vegetation, like willows.

   Designation of areas and routes open to OSVs must not result in increased snow compaction, as
   required by the Southern Rockies Lynx Amendment.10 Therefore, if any new areas are
   designated for OSV use, some existing areas would have to be closed to such use.


   10 Human Use Guideline HU G 10 states: “Designated over-the-snow routes or designated play areas should not
   expand outside baseline areas of consistent snow compaction, unless designation serves to consolidate use and
   improve lynx habitat.” SRLA Record of Decision at Attachment 1-8.

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                                                                                 Rvsd Plan - 00002309
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 199 of 356




   Motor vehicle use should generally be prohibited in protected areas, other than for emergency
   search and rescue, and to maintain existing access to areas that analysis shows can withstand a
   high level of human use without damage to the values for which the respective area is
   designated. Failure to prohibit or sufficiently restrict motorized use in designated areas would
   likely result in damage to the important characteristics of the areas that make them worthy of
   protection and able ( with some areas) to contribute to the protection and enhancement of
   biological diversity.

   Off-route motorized use for game retrieval. Use of motor vehicle off of designated routes for
   game retrieval should not be allowed, except vehicles can be allowed to park just off roads open
   to the type of motor vehicle being used. Use of ATVs off of designated routes during hunting
   seasons invites damage because, for big game rifle seasons at least, the ground is often wet from
   melting snow, thus motor vehicle use will create ruts. Use of ATVs in these conditions creates
   visible routes that are then noticed and used by other vehicle operators in other seasons. Areas
   damaged by motor vehicles do not recover easily because soils are often thin and growing
   seasons are short.

   The 2013 Monitoring and Evaluation Report noted that impacts from ATV use have been
   observed but that such impacts could “not be specifically attributed to afternoon big game
   retrieval”. Id. at 24. As long as off-route game retrieval is allowed, a high priority for monitoring
   recreational impacts needs to be checking on ATV use for game retrieval.

   Please see our comments of April 15, 2016 at 14-15 and 24-30 for a detailed explanation of why
   the off-route motorized game retrieval policy should be rescinded. These comments are attached
   in an Appendix to these comments.

   Bicycles. The current plan has no direction on where and when bicycles can be used on the
   RGNF. Direction is needed to make regulation consistent with the GMUG NF and adjacent BLM
   land. Bikes should be limited to some existing routes. They should not be allowed on very steep
   or very narrow trails, nor on trails moderately or heavily used for hiking and/or horseback riding.
   Bikes must not be allowed to go cross-country, i. e, off of designated routes.


   X. PROTECT WATERSHEDS

   Under the Planning Rule, plans must, “[i]dentify watershed(s) that are a priority for maintenance
   or restoration”. 219.7(f)(1). Furthermore, “[t]he Interdisciplinary Team should develop plan
   components to address conditions in priority watersheds”. FSH 1909.12, section 22.31.



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                                                                         Rvsd Plan - 00002310
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 200 of 356




   The NOI stated that the PA would identify priority watersheds for maintenance and restoration
   (81 Fed. Reg. 62707). However, a list or assessment of priority watersheds is absent from the
   PA. It would have been very helpfUl to see the watersheds list or analysis at this stage in the
   planning process.

   It is very important to have the plan components necessary to protect riparian areas, as required
   by the Planning Rule at 219.8(a)(3). The Forest Service’s Watershed Conservation Practices
   Handbook (WCPH), FSH 2509.25, must be incorporated into the revised plan and each EIS
   alternative. The management practices therein must be forest-wide standards. This should meet
   at least some of the requirements of the Planning Rule for riparian areas. (See 219.8(a)(3).)
   Additional standards and guidelines may be needed to fully protect riparian areas and wetlands,
   including fens. The latter are irreplaceable, so they deserve a high level of protection.

   The Forest Service has federal reserved water rights for many streams on the RGNF. The EIS for
   the revision should analyze to what extent these rights will help maintain adequate streamflows
   to support ecological functions, including flushing flows, winter flows, and aquatic life. Given
   that the rights are likely junior on many streams, they may not provide much protection in an
   extended drought. In any case, other plan components will be necessary to ensure protection of
   watersheds.

   Any watersheds in Class III, function impaired, should receive priority for treatment. But some
   watersheds in Class II, functioning at risk, may need action to prevent further deterioration.

   See additional discussion in our Alternative, section VIII.


   XI. PROVIDE ECOSYSTEM SERVICES AND ANALYZE IMPACTS ON THEM

   Under the Planning Rule:

         (b) Social and economic sustainability. The plan must include plan components,
         including standards or guidelines, to guide the plan area’s contribution to social and
         economic sustainability, taking into account: ^

             (4) Ecosystem services^

   219.8 .

   Ecosystem services provide many benefits, as summarized in Assessment 7. But also, as this
   assessment observes, “Because these benefits are often difficult to quantify, impacts on these


                                                   27

                                                                        Rvsd Plan - 00002311
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 201 of 356




   services can often be neglected during forest planning.” Id. at 4. Therefore, it is important that
   the plan revision EIS thoroughly describe ecosystem services and evaluate how they could be
   affected by implementation of each EIS alternative.

   Ecosystem services evaluated in the plan revision EIS should include, though obviously not be
   limited to, carbon sequestration, biological control, and soil formation.

   We note that these ecosystem services can and should be assessed through the Forest Service’s
   hard look at impacts and accounted for in the agency’s identification and consideration of
   alternatives. See 40 C.F.R. §§ 1502.14, 1502.16, 1508.7, 1508.8. The 2012 Planning Rule takes
   an integrated and holistic approach that recognizes the interdependence of ecological processes
   with social and economic systems.

   To properly assess this integrated and holistic approach, we recommend that the RGNF use a
   Total Economic Valuation framework (Peterson and Sorg 1987) to prepare any benefit-cost
   analysis for the Forest Plan revision and the various project-level activities and authorizations
   existing and contemplated on the RGNF.11

   Use of Total Economic Valuation is consistent with the 2012 Planning Rule’s mandates
   providing for assessment and protection of ecosystem services (see, e.g., 36 C.F.R. §§ 219.1(c),
   219.6(b)(7), 219.8(b)(4), 219.10(a), 219.19). Furthermore, the White House Office of
   Management and Budget, Council on Environmental Quality, and Office of Science and
   Technology Policy released a memorandum, M-16-01, on October 7, 2015 directing federal
   agencies to incorporate ecosystem services into their decision-making, including through
   “monetization” and “ecosystem-services assessment methods” where “an agency’s analysis
   require consideration of costs.” M-16-01 at 2.

   Total Economic Valuation recognizes that the public goods and services produced by public
   lands, including the RGNF, have characteristics that are not necessarily profitable if exploited by
   private enterprise. The aesthetic value of a viewshed, for example, is difficult to divide up and
   sell to individual consumers. It is also difficult to exclude “free riders” that enjoy the scenic
   beauty but are unwilling to pay for it. In these situations, private firms have little economic
   incentive to produce viewsheds and market forces fail to produce an adequate supply, despite the
   fact that additional, protected viewsheds may be economically rational and socially desirable.

   Without adequate protection of public goods and services, society as a whole is less wealthy, and
   many of us as individuals are worse off (Peterson and Sorg, 1987, Morton 1999).

   11 Our comments regarding Total Economic Valuation are liberally appropriated—in certain instances, virtually
   word-for-word, from the excellent June 2015 comments submitted by the Conservation Economics Institute to the
   U.S. Bureau of Land Management regarding proposed oil and gas rules. See
   http://www.conservationecon.org/#! og/kl7ht

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                                                                                Rvsd Plan - 00002312
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 202 of 356




   While the value of rival and excludable commodities, such as fossil fuels, livestock grazing, or
   other commercial activities, can be measured with market data, there are externalities (negative
   public goods, or public “bads”) that often result from these activities (such as water quality
   degradation) that are not traded in markets and whose values are not reflected in market prices.
   Exclusive reliance on measures of value based on the market prices of commodities is thus
   incomplete. Put simply, the value of non-market public goods and services produced by public
   lands, including the RGNF, are not reflected in market transactions and therefore lack prices.
   The fact that non-market goods are not priced does not mean they have no value, only that
   market indicators of the value do not exist. Economists have developed methods for estimating
   non-market values when consumers are unable to express their preferences and willingness-to-
   pay via the marketplace.

   Non-market values are estimated by economists using two main methods: (1) stated preference;
   and (2) and revealed preference. Stated preference relies on surveys that ask respondents to state
   their maximum willingness to pay for a non-market good or to choose from among a set of
   nonmarket goods with varying attributes and price levels. Revealed preference methods derive
   the value of non-market goods through actual behavior, including expenditures on travel and
   medical care, property values, and wage rates. Stated preference methods are the only way to
   estimate passive-use benefits (e.g. option, bequest, and existence values). Several choice
   experiment applications have examined passive use values from the management of public land.
   Garber-Yonts, et al. studied the preferences of Oregonians regarding the management of
   Oregon’s Coast Range, including large acreage of BLM land. Adomowicz, et al. (1998) and
   Boxall and Macnab (2000) studied stakeholders’ preferences regarding industrial forest
   management and other use and passive use values. Both studies find evidence of high valuations
   for passive-use values.

   To complete a reasoned and informed benefits-cost analysis, we therefore recommend that the
   RGNF, using Total Economic Valuation, fully assess the non-market benefits and costs
   associated with the Forest Plan revision and the various project-level activities and authorizations
   existing and contemplated on the RGNF. As Field and Field (2009) point out, “[b]enefit-cost
   analysis is for the public sector what a profit-and-loss analysis is for a business firm” (p. 118).
   Economic efficiency takes the perspective of all of society, and examines all the costs and
   benefits associated with development and resource extraction on the RGNF, including non­
   market values.

   The RGNF socio-economic analysis should, as part of using a total economic valuation
   framework, specifically assess the social cost of carbon to assess the RGNF’s existing carbon
   sequestration value and the predicted or foreseeable net changes to the RGNF’s carbon



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                                                                        Rvsd Plan - 00002313
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 203 of 356




   sequestration capacity as a result of the cumulative impact of climate change and the specific
   project-level activities that would flow from the Forest Plan.

   Executive Order 12,866 already directs federal agencies to assess and quantify carbon costs and
   benefits of regulatory action, including the effects on factors such as the economy, environment,
   and public health and safety, among others. See Exec. Order No. 12,866, 58 Fed. Reg. 51,735
   (Sept. 30, 1993).12 Moreover, independent of Executive Order 12866, the Ninth Circuit has
   ruled that agencies must include the climate benefits of a significant regulatory action in federal
   cost-benefit analyses:

         [T]he fact that climate change is largely a global phenomenon that includes actions
         that are outside of [the agency’s] control ... does not release the agency from the duty
         of assessing the effects of its actions on global warming within the context of other
         actions that also affect global warming.

   Ctr.for Biological Diversity v. Natl. Highway Trcjfic Safety Admin., 538 F.3d 1172, 1217 (9th
   Cir. 2008) (quotations and citations omitted); see also Border Power Plant Working Grp. v. U.S.
   Dep’t of Energy, 260 F. Supp. 2d 997, 1028-29 (S.D. Cal. 2003) (finding agency failure to
   disclose project’s indirect carbon dioxide emissions violates NEPA).

   To implement Executive Order 12,866, an Interagency Working Group (“IWG”) was formed to
   develop a consistent and defensible estimate of the Social Cost of Carbon—allowing agencies to
   “incorporate the social benefits of reducing carbon dioxide (CO2) emissions into cost-benefit
   analyses of regulatory actions that impact cumulative global emissions.”13 Using Social Cost of
   Carbon, put simply, measures the benefit of reducing greenhouse gas emissions now and
   avoiding costs in the future.14 The charts below depict, (A) dramatically increasing damages
   from global warming over time, as well as (B) the social cost of these carbon emissions based on
   2013 TDS values.15




   12 See also Executive Order 13563, 76 Fed. Reg. 3821 (Jan. 18, 2011) (reaffirming the framework of EO 12866 and
   directing federal agencies to conduct regulatory actions based on the best available science).
   13 See Interagency Working Group on the Social Cost of Carbon, United States Government, Technical Support
   Document: Technical Update on the Social Cost of Carbon for Regulatory Impact Analysis - Under Executive
   Order 12866 (May 2013) at 2 (hereinafter 2013 TSD).
   14 See Ruth Greenspan and Dianne Callan, More than Meets the Eye: The Social Cost of Carbon in U.S Climate
   Policy, in Plain English, WORLD RESOURCES INSTITUTE (July 2011).
   15 See Richard Revesz, et al., Global warming: Improve economic models of climate change, NATURE 508, 173­
   175 (April 10, 2014).

                                                         30

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 204 of 356




        CARBON'S COSTLY LEGACY
        Economic models of climate charge project that resulting damage worldwide (A) will increase with future emissions and may cost several per cent of global gross
        domestic product (GDP) with the 'warming expected by 2100. Uncertainties in future socio-economics, emission rates and climate impacts result in a range of estimates
        □f the social cost of carbon, which is also affected by the choice of 'discount rate' used to convert future harms into today's money (B).

        H PROJECTED DAMAGES


            14       Model
                     - DICE 2010




            -2^
              0                        2           3           4           5                                6
                       Global mean temperature rise (°C above pre-industrial levels)
        “Snaced regions indicate 5% and 95% conhdence intervals lor FUND 3.8 and. PAGED9, and a high-low range lor CRED 1.4.




   The importance of assessing the Social Cost of Carbon is obvious. Leading economic models all
   point in the same direction: that climate change causes substantial economic harm, justifying
   immediate action to reduce emissions.16 The interagency process to develop social costs of
   carbon estimates—originally described in the 2010 interagency Technical Support Document
   (“TSD”), and updated in 2013—developed four values based on the average SCC from three
   integrated assessment models (DICE, PAGE, and FUND), at discount rates of 2.5, 3, and 5
   percent,17 as well as a fourth value demonstrating the cost of worst-case impacts.18 These
   models are intended to quantify damages, including health impacts, economic dislocation,
   agricultural changes, and other effects that climate change can impose on humanity. While these
   values are inherently speculative, a recent GAO report has confirmed the soundness of the
   methodology in which the IWG’s carbon costs estimates were developed, therefore underscoring
   the importance of integrating this analysis into the agency’s decision-making process, even if the
   authority to do so is grounded in other duties, such as the National Forest Management Act and

   16 See Nature 508 at 174.
   17The choice of which discount rate to apply—translating future costs into current dollars—is critical in calculating
   the social cost of carbon. The higher the discount rate, the less significant future costs become, which shifts a greater
   burden to future generations based on the notion that the world will be better able to make climate investments in the
   future. The underlying assumption of applying a higher discount rate is that the economy is continually growing.
   The IWG’s “central value” of three percent is consistent with this school of thought—that successive generations
   will be increasingly wealthy and more able to carry the financial burden of climate impacts. “The difficultly with
   this argument is that, as climate change science becomes increasingly concerning, it becomes a weaker bet that
   future generations will be better off. If they are not, lower or negative discount rates are justified.” WRI Report, at 9.
   “Three percent values an environmental cost or benefit occurring 25 years in the future at about half as much as the
   same benefit today.” Id.
   18 See 2013 TSD at 2.


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                                                                                                                               Rvsd Plan - 00002315
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 205 of 356




   NEPA.19 In fact, certain types of damages remain either unaccounted for or poorly quantified in
   IWG’s estimates, suggesting that the social cost of carbon values are conservative and should be
   viewed as a lower bound, in particular given the RGNF’s expansive mandates pursuant to the
   National Forest Management Act and NEPA.20

   The updated interagency Social Cost of Carbon estimates for 2020 are $12, $43, $65 and $129
   (in 2007 dollars).21 The IWG does not instruct federal agencies to use a particular discount rate,
   suggesting the 3 percent discount rate ($43 per ton of CO2) as the “central value,” but further
   emphasizing “the importance and value of including all four [social cost of carbon] values.”22
   Use of all four values is, of course, consistent with the RGNF’s broad responsibilities, pursuant
   to, e.g., NEPA, to take a hard look at impacts.

   The Council on Environmental Quality has also recognized the social cost of carbon as a
   “harmonized, interagency metric that can provide decisionmakers and the public with some
   context for meaningful NEPA review.” 79 Fed. Reg. 77802, 77827 (Dec. 24, 2014). The SCC
   provides an important tool for establishing the dollar value of future climate impacts and its use
   should catalyze agency action to reduce climate pollution and avoid or mitigate climate costs.
   The social cost of carbon, properly harnessed to the NEPA process, thus advances the Council on
   Environmental Quality’s admonitions against “boilerplate” by providing an easily understood
   metric to “to foster excellent action” and to “take actions that protect, restore, and enhance the
   environment. 40 C.F.R. § 1500.1(c); 77 Fed. Reg. 77802, 77824. Furthermore, by providing a
   quantitative, monetized estimate of the actual costs—i.e., impacts—of the RGNF Forest Plan
   revision as implemented through proposed actions and alternatives, social cost of carbon analysis
   helps puts to rest the notion that agencies need not act to reduce climate pollution or to
   ameliorate climate change impacts because their actions “represent only a small fraction of
   global emissions^.” (77 Fed. Reg. 77802, 77825).

   We recommend the RGNF use the Social Cost of Carbon as follows.

   First, the RGNF should ensure that the Social Cost of Carbon is applied to all greenhouse gas
   (GHG) pollutants, not just carbon dioxide. This can be done, simply, by multiplying the social

   19 GAO-14-663, Social Cost of Carbon (July 24, 2014).
   20 See Peter Howard, et al., Omitted Damages: What’s Missing From the Social Cost of Carbon, Environmental
   Defense Fund, Institute For Policy Integrity, Natural Resources Defense Council (March 13, 2014), (providing, for
   example, that damages such as “increases in forced migration, social and political conflict, and violence; weather
   variability and extreme weather events; and declining growth rates” are either missing or poorly quantified in carbon
   cost models)
   21 See 2013 TSD at 3 (including a table of revised SCC estimates from 2010-2050). To put these figures in
   perspective, in 2009 the British government used a range of $41-$124 per ton of CO2, with a central value of $85
   (during the same period, the 2010 TSD used a central value of $21). WRI Report at 4. The UK analysis used very
   different assumptions on damages, including a much lower discount rate of 1.4%. The central value supports
   regulation four times a stringent as the U.S. central value. Id.
   22 See 2013 TSD at 12.


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                                                                                    Rvsd Plan - 00002316
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 206 of 356




   cost of carbon by the global warming potential of the particular GHG. This analysis should,
   notably, account for the differing warming potentials of certain GHGs, such as methane, over
   differing time frames (in particular 100- and 20-year time frames). For example, the
   Intergovernmental Panel on Climate Change, in its Fifth Assessment Report, states that methane
   is 34 times more potent than CO2 over a 100-year time frame and upwards of 86 times more
   potent than CO2 over a 20-year time frame (accounting for climate-carbon feedbacks).23

   Second, the RGNF should explicitly recognize that the social cost of carbon —and, more
   broadly, Total Economic Valuation—is a tool to quantify the climate impacts of a proposed
   action and to compare alternatives, and thus has far broader relevance to the NEPA process then
   just cost-benefit analysis. Indeed, in some instances, the social cost of carbon/total economic
   valuation analysis may be the best way to take a hard look at climate impacts to comply with 40
   C.F.R. § 1502.22, depending on the availability of other tools to understand climate pollution
   and climate change impacts.24 We emphasize this point because NEPA analyses often rely
   heavily on quantification of GHG pollution as a proxy for understanding climate impacts.
   However, using GHG pollution levels as a proxy for impacts has limited utility value, especially
   as compared to a social cost of carbon analysis. Unlike GHG pollution levels, the social cost of
   carbon offers a simple, straightforward, and easily understood metric to understand cumulative
   impacts and, specifically, the present dollar value of the incremental impact of GHG pollution
   increases caused cumulatively by a proposed action. 40 C.F.R. § 1508.7. Use of the social cost of
   carbon—rather than just quantification of climate pollution levels—can therefore help better
   inform the design, consideration, and selection of alternatives (including the no action
   alternative) and mitigation measures, “sharply defining the issues and providing a clear basis for
   choice among options by the decisionmaker and the public.” 40 C.F.R. § 1502.14.

   Third, the RGNF should recognize that uncertainties pertaining to the social cost of carbon do
   not cut both ways and certainly do not warrant exclusion of SCC from NEPA analyses. In fact,
   any uncertainties warrant recognition that the social cost of carbon underestimates—perhaps
   significantly—the climate impacts of GHG pollution. As the U.S. Environmental Protection
   Agency has concluded:

         given current modeling and data limitations, [the federal SCC values] do[] not
         include all important damages. As noted by the IPCC Fourth Assessment Report, it is
         “very likely that [SCC] underestimates” the damages. The models used to develop
         SCC estimates, known as integrated assessment models, do not currently include all
         of the important physical, ecological, and economic impacts of climate change
         recognized in the climate change literature because of a lack of precise information

   23 IPCC Fifth Assessment Report, Contribution of Working Group I to the Fifth Assessment Report of the
   Intergovernmental Panel on Climate Change (accepted September 26, 2013).
   24 IPCC Fifth Assessment Report, Contribution of Working Group I to the Fifth Assessment Report of the
   Intergovernmental Panel on Climate Change (accepted September 26, 2013).

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 207 of 356




         on the nature of damages and because the science incorporated into these models
         naturally lags behind the most recent research. 25

   We therefore support the revised draft guidance’s statement that social cost of carbon estimates
   “are intended to be updated as scientific and economic understanding improves” (77 Fed. Reg.
   77802, 77827), but ask the RGNF to treat SCC values as a lower bound to a project’s impacts of
   climate change and to account for peer-reviewed scientific and economic literature pointing to
   far higher SCC values. 26

   Fourth, the RGNF should explain that the express purpose of assessing the Social Cost of Carbon
   is to provide an apples-to-apples basis for comparing a project’s economic benefits with climate
   pollution impacts (costs). Where the Social Cost of Carbon is not assessed, these impacts (costs)
   are hidden from the public and, reflecting our comments regarding the broader use of Total
   Economic Valuation, in fact “paid for” by the broader environment and public in the form of
   degraded ecological resiliency, public health impacts, and more. Comparing the dollar benefits
   estimated to be produced by a proposed action to the dollar costs expected to be imposed by the
   project is a wholly defensible and necessary exercise. A dollar of income or tax revenue in the
   short term in the project area is no more important than, and could be negated by, the costs
   imposed by flooding in a coastal area, wildfire consuming a drought-stricken area, or people
   stricken by tropical diseases elsewhere in the country and experienced in the future—impacts
   that the current science says are highly likely.

   Of course, the RGNF may consider both quantitative and qualitative factors in selecting an
   alternative. Large, significant industrial operations, for example, should not be authorized simply
   because their monetized benefit exceeds their monetized cost. For, taken to its logical
   conclusion, it would mean that the largest operations could, for example, effectively always be
   justified so long as they reap significant economic benefits that exceed the economic costs to the
   relatively poor or powerless. See Exec. Or. 12,898 (Feb. 16, 1994). By completing a social cost
   of carbon analysis, agencies should still consider qualitative factors, like environmental justice,
   to protect against inequities and to comply with conservation mandates.

   Regardless, the social cost of carbon provides a quantitative basis for gauging, in conjunction
   with qualitative factors, whether a Federal agency—representing the broad public interest rather
   than the narrow and insular interest of a project proponent—should or should not approve a
   project or impose conditions to mitigate harm.




   25EPA, The Social Cost of Carbon, http://www.epa.gov/climatechange/EPAactivities/economics/scc.html
   26Moore, Frances C. and Diaz, Delavane B., Temperature Impacts on Economic Growth Warrant Stringent
   Mitigation Policy, Nature Climate Change 5, 127-131 (2015)
   (http://www.nature.com/nclimate/journal/v5/n2/full/nclimate2481.html )

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 208 of 356




   It is notable that the Social Cost of Carbon is already being taken into account (if imperfectly) by
   federal agencies and that its use has been upheld by the federal courts. In both Idaho and
   Montana, the BLM has prepared Social Cost of Carbon estimates in conjunction with the leasing
   of oil and gas.27 The U.S. District Court for the District of Colorado also found Social Cost of
   Carbon analysis appropriate, and chided both the U.S. Forest Service and BLM for rejecting its
   use. See High Country Conservation Advocates v. U.S. Forest Serv., 52 F.Supp.3d 1174 (2014).
   With the use of the social cost of carbon becoming a more common practice, the RGNF should
   prepare a social cost of carbon analysis as a component of its Total Economic Valuation
   benefits-costs analysis as an appropriate and useful means of analyzing and assessing climate
   impacts under NEPA.

   Fundamentally, use of a Total Economic Valuation framework—inclusive of the social cost of
   carbon —will help the RGNF internalize non-market benefits and costs,and thereby improve any
   socio-economic analysis prepared for the RGNF Forest Plan revision. For more information on
   benefit-cost analysis we recommend a couple of references: Chapter 6 in Field and Field (2009)
   lays out the various types of analyses very clearly; EPA, “Guidelines for Preparing Economic
   Analyses” (U.S. EPA 2000) is also a good reference and serves as a standard reference for the
   many benefit-costs analyses conducted by EPA and required by the Office of Management and
   Budget. Fundamentally, Total Economic Valuation of benefits-costs will provide a basis for
   reasoned, informed, and efficient planning, management, and decision-making to “provide for
   social, economic, and ecological sustainability.” 36 C.F.R. § 219.8.

   See section XIX below for further discussion on addressing the impacts of climate change.


   XII. UPDATE THE AVAILABILITY OF OIL AND GAS LEASING. The world of oil and gas
   operations on national forest lands, has changed considerably since the previous plan was
   approved. First and foremost is the widespread application of hydraulic fracturing, or
   “fracking”, and horizontal drilling, making it possible to produce oil and natural gas in areas
   where it is not possible to do so using conventional drilling techniques. Also, protection of
   roadless areas has been formalized with the Colorado Roadless Rule (CRR), limiting where and
   how oil and gas-related activity can occur.

   As part of the plan revision, the Rio Grande NF must conduct the leasing analysis required by 36
   CFR 228.102(c) and (d). This analysis requires a determination of which lands: are open to

   27  See e.g. BLM, Little Willow Creek Environmental Assessment, DOI-BLM-ID-B010-2014-0036-EA at p. 81-83
   (Feb. 10, 2015) (https://www.blm.gov/epl-front-office/projects/nepa/39064/55133/59825/DOI-BLM-ID-B010-2014-
   0036-EA_UPDATED_02272015.pdf ) and BLM, Environmental Assessment for October 21, 2014 Oil and Gas lease
   Sale, DOI-BLM-MT-0010-2014-0011-EA (May 19, 2014) at 76,
   http://www.blm.gov/style/medialib/blm/mt/blm_programs/energy/oil_and_gas/leasing/lease_sales/2014/oct__21_20
   14/july23posting.Par.25990.File.dat/MCFO%20EA%20October%202014%20Sale_Post%20with%20Sale%20(1).pd
   f.

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 209 of 356




   leasing with standard lease terms, open to leasing with additional stipulations, or administratively
   closed to leasing.

   It is important that the leasing analysis and decisions about lands available for leasing be
   conducted with the forest plan because impacts from oil-gas exploration and development may
   overlap with, or increase the intensity of, impacts from other management activities. It is highly
   likely that oil and gas activities on national forest land would affect: air quality, wildlife habitat
   fragmentation and connectivity, soils, water quality, scenery, and recreation opportunity. Thus
   disclosure of impacts from implementation of a forest plan would be incomplete without an
   analysis of impacts from oil and gas operations. Analyzing oil and gas activities separately
   would be treating them as an activity that operates in isolation from other management.

   Lands available for leasing should generally be limited to those areas with at least moderate
   potential for oil and gas.

   If the plan makes decisions about leasing specific lands under 36 CFR 228.102(e), then site­
   specific NEPA analysis must be done. It would be better to do such analyses and decisions
   separate from the plan, since the plan is a broad-scale document that sets the stage for specific
   projects to be later approved after proper consideration of NEPA and any other required
   documentation.

   The analysis of leasing must include description of the reasonably foreseeable development
   (RFD) scenario, as required by 36 CFR 228.102(c)(3). This RFD becomes the basis for the
   required analysis of impacts of post-leasing oil-gas activity. Id. at 102(c)(4). Given the now-
   widespread application of fracking and horizontal drilling, the Forest Service should at a
   minimum develop a new RFD.

   All protected areas must be discretionary no lease (DNL), or if leasing them is allowed, require
   no surface occupancy (NSO) stipulations for all leases. Note that under the Colorado Roadless
   Rule (CRR), NSO stipulations are required for leases issued after July 3, 2012 (the effective date
   of the CRR) in upper tier Colorado Roadless Areas (CRAs). CRR at 36 CFR 294.46(c). Waivers,
   exceptions, and modifications (WEMs) are not allowed if surface occupancy would result. Ibid.
   For non-upper tier CRAs, road construction and reconstruction are prohibited for these leases.
   294.46(b). WEMs of these lease stipulations for any leases in CRAs (even those issued before
   July 3, 2012) are prohibited if road construction or reconstruction could result. Ibid. To ensure
   consistency and protection of valuable ecological resources, we strongly recommend that all
   roadless areas either be DNL or have NSO stipulations that are not subject to WEMs.

   Wild river segments are withdrawn from mineral entry. 16 U. S. C. 1280(a)(iii). Therefore, such
   segments, and any segments recommended for such designation, cannot be leased. Any segments


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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 210 of 356




   found eligible for designation under any classification (wild, scenic, recreational) under the Wild
   and Scenic Rivers Act must be DNL.

   All of the following areas should be DNL, or if any are leased, NSO stipulations with no WEMs
   allowed must be applied: all alpine areas, riparian areas, wetlands, priority watersheds and
   watersheds where function is impaired28, campgrounds, picnic grounds, trailheads, big game
   winter range, deer and elk calving/fawning grounds, bighorn sheep lambing grounds, and areas
   immediately adjacent to private lands with residences.

   All leases must include plans for reclaiming the site(s) used, including not only the well pad, but
   any access roads and pipelines.

   Now is also a good time to do the leasing availability analysis because prices for oil and gas are
   low, and there is little industry interest. Thus there is no pressure on the RGNF to open large
   areas of the Forest to leasing. If, on the other hand, the leasing availability analysis is delayed
   until a time when prices are higher and industry interest increases considerably, there would be
   pressure on the RGNF to allow leasing in many areas, including some where leasing should not
   be allowed.

   The following areas should not be available for leasing: all roadless areas, especially upper tier
   ones; alpine areas; designated and proposed special areas, including research natural areas;
   eligible and designated wild river corridors; wetlands; priority watersheds; developed recreation
   sites, including trailheads; big game winter range; deer and elk calving/fawning grounds; bighorn
   sheep lambing grounds; lynx linkage areas; and any designated critical habitat for ESA-listed
   species (either currently designated critical habitat or any that is designated during the life of the
   revised plan).


   XIII. TIMBER MANAGEMENT

   The RGNF should not encourage development of a large wood products industry. Such an
   industry could demand too much wood, push for extensive permanent and temporary road
   construction, and not be sustainable, given the need to retain live and dead trees for wildlife
   habitat and other ecological purposes. Lynx habitat would especially be at risk with a high-
   volume timber program. Notably, preliminary results from ongoing studies show that lynx are
   using areas with considerable amounts of dead and/or dying spruce. See The Wildlife society on­
   line newsletter, Feb. 2, 2016, available at:


   28The planning Rule requires plans to “[i]dcntify watershed(s) that are a priority for maintenance or restoration”. 36
   CFR 219.7(f)(1)(i). Plans “should [have] plan components to address conditions in priority watersheds”. FSH
   1909.12, section 22.31.

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 211 of 356




   http://wildlife.org/canada-lynx-persist-in-spruce-beetle-impacted-forests-research-shows/
   Accessed October 10, 2016.

   By the time any Englemann spruce timber is cut under the revised plan, the trees eight inches or
   so and greater in diameter will have been dead for about 8 to 15 years. Though dead spruce that
   were sound (i. e., free of rot) when attacked by beetles can remain standing for several decades,
   the wood will have deteriorated because of weather checking and splitting. Insects may further
   decay the standing dead trees. Thus it is questionable that any of the dead spruce would be
   suitable for sawtimber, especially dimension lumber.29 It may still be useful for biomass and
   house logs, but the former is not economic (see Alternative section IX), and there is little market
   for the latter.

   All roadless areas, ESA-listed species’ designated critical habitat, and designated (special) areas
   should be unsuitable for timber production. The following areas should also be unsuitable: areas
   over 35 percent slope, slopes with high ratings for soil erosion or slope failure, forested wetlands,
   and land within 100 feet of streams and other water bodies.

   Stands containing dead or dying Englemann spruce do not necessarily need to be treated. Dead
   spruce, if free of rot when attacked by beetles, may remain standing for decades. The dead trees
   provide some hiding cover for various species and “other” habitat for lynx. They will also
   provide lynx denning habitat after falling to the ground in the future. Fallen trees will as they
   slowly return to the soil and reduce soil erosion. In other words, the dead spruce provides a
   considerable ecological benefit. This benefit would be lost with widespread salvage logging.
   Such treatment would also damage and destroy understories of young spruce and fir, delaying or
   prohibiting recovery of stands to a forested condition, or require expensive planting, with success
   uncertain.

   While there will not be a shortage of snags and future down dead trees, there needs to be a forest­
   wide standard to ensure that they remain well-distributed. Salvage logging will remove many
   snags and possibly some existing down logs from each treatment area, but some of both should
   be retained in each salvage project. Snags should be left in groups, with some live trees if
   possible. Soft snags, i. e., those with some signs of internal rot, should receive priority for
   retention, as such snags will be the best for cavity-nesting species of wildlife to excavate into
   nests.

   Similarly, a forest-wide standard must ensure retention of sufficient down-dead material. The
   largest sizes available should be retained, and the down dead material must be well distributed.
   Brown et al, 2003 stated that “10 to 30 tons per acre” of coarse woody debris (three-inch


   29The PA at 16 states that “After 10 years, the dead spruce likely would no longer be viable as a commercial
   sawtimber^”.

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 212 of 356




   diameter and up) was desirable “for cool Douglas-fir and lodgepole pine types and lower
   subalpine fir types”, provided small woody debris (less than three inches in diameter) was no
   more than 5 tons per acre.

   Cutting of dead and dying spruce should be mainly limited to areas where dead trees could pose
   a hazard to public safety, such as in areas near infrastructure and adjacent to private land where
   the landowners are creating defensible space on their lands.

   Old trees of all species, including subalpine fir, should generally be retained. With the death of
   almost the entire Englemann spruce overstory across the RGNF, the landscape is short of older
   trees and late successional habitat compared to historical conditions. See Assessment 1 and 3
   Terrestrial at 35. The existing older trees will be needed to replace spruce snags, as the beetle-
   killed spruce fall to the ground over the next 75 years.

   There is no need to cut aspen. There is currently little or no commercial wood product use for
   this species. Due to a large number of natural and human-caused disturbances in the late 19th
   century and early 20th century, aspen may have been at an historic high in the early to mid-1900s.
   See current Forest Plan FEIS at 3-167. The loss of spruce overstory due to bark beetle mortality
   will create areas for aspen to expand, as noted in Assessment 1 and 2 Terrestrial, p. 9.

   Clearcutting should not be done in shade-tolerant species because reforestation is difficult.
   Clearcuts, if done in stands of any species, should be small (no more than a few acres) to avoid
   creating large open areas and fragmenting wildlife habitat.

   See section IX of our Alternative for additional discussion on timber management.


   XIV. LIVESTOCK GRAZING

   See section XI of our Alternative for a more detailed discussion. The Forest Service should not
   restock currently vacant allotments and ones that become vacant. The land in these allotments
   should be restored to natural ecological conditions.


   XV. CONTROL INVASIVE SPECIES

   Proliferation of non-native plant species has become a serious issue on public lands in the
   western United States. The revised plan should have desired conditions, objectives, standards,
   and guidelines to combat this large and ever-growing threat to ecological integrity. Plan
   components should address priorities for weed treatment, as well as potential treatment methods.


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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 213 of 356




   See Alternative section XV for more details.


   XVI. FIRE

   Please see section X of Our Alternative. In general, the revised plan should encourage restoration
   of fire where safe and appropriate, via prescribed fire and fire use (formerly known as prescribed
   natural fire). It is most important to restore fire in the lower elevation ecosystems, below 9000
   feet or so, as these areas have likely seen the most impact from human fire suppression.

   The fire management zones proposed in the PA (p. 15) are similar to what we propose in our
   Alternative. However, the PA states that these zones “are not a mapped feature”. Ibid. If so, then
   how could the zones “support[] decision makers before ignition occurs, by pre-assessing areas
   for wildland fire (prescribed fire and wildfire) risks and benefits”? If decision makers do not
   know where the zones are, they cannot make informed decisions about how to manage fire
   anywhere in the respective zones.

   We encourage the RGNF to use fire zones in the revised plan, but they need to be mapped and
   displayed for each alternative in the revision EIS. That way, both the public and the agency
   decision makers will be informed about how fires would be managed.


   XVII. ANALYZE THE SUITABILITY OF LANDS FOR RENEWABLE ENERGY
   DEVELOPMENT

   Establishment of renewable energy, such as wind, solar, and geothermal, is becoming quite
   popular as way of supplying energy without relying on fossil fuels. It is reasonable to expect that
   there may be some requests for permits to locate renewable energy facilities on the RGNF over
   the life of the forthcoming revised forest plan. But as noted at p. 4 of Assessment 10, Energy and
   Minerals, the current plan does not address the issue of determining what portions of the RGNF
   might be suitable for renewable energy development. Therefore, the revised plan must make this
   determination.

   The installation of solar and wind facilities is a permanent and overriding use of the land,
   meaning the areas on which these facilities are installed will not be available for most, if any,
   other uses. Therefore, suitability decisions must be made carefully, and only after consideration
   of all the potential impacts.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 214 of 356




   Wind turbines are known to cause significant mortality of avian and bat species. See e. g.,
   RESOLVE, 2004; Loss et al, 2014; Cryan et al, 2014. Therefore, no land should be determined
   suitable for wind energy development unless it can be demonstrated that the installation and use
   of such facilities is not likely to cause more than minor mortality of bird and bats. Stipulations
   likely to be effective in keeping mortality and injury to a minimum must be required.

   Generally, the taller the turbines, the greater the risk of collisions and death. Also, siting in
   canyons and on ridges where birds and bats are more likely to migrate, increases the risk of
   mortality.

   Before any permits for wind energy are approved, proponents must agree to: monitor use,
   injuries, and deaths of birds and bats; regularly report all injury and mortality; and make their
   facilities available for research into bird and bat injuries and deaths and means to reduce such
   injuries and mortality. These conditions must be non-waivable stipulations on all wind energy
   development facility permits. Permit conditions may also need to include provisions to deter
   small mammals like rabbits, pocket gophers, and voles from inhabiting permitted areas, as such
   species are prey for raptors and can thus attract raptors to sites where they can be injured or
   killed.

   Strict monitoring and mitigation will be necessary to ensure that the RGNF complies with the
   Migratory Bird Treaty Act (16 U.S.C 703-712), the Bald and Golden Eagle Protection Act (16
   U.S.C. 668-668d), and the Endangered Species Act (16 U.S.C. 1531 et seq.).

   Similarly, solar facilities can be death traps for avian and bat species. They, or the insects they
   consume, are sometimes attracted by the bright light, or the birds and bats mistake a reflective
   solar facility for a water body. This is especially true for solar thermal facilities, where solar light
   is concentrated to heat water and produce steam that turns a turbine to produce electricity. Birds
   and bats flying into these facilities can be instantly burned to death, as has been repeatedly
   documented at facilities in California. See: Avian Mortality at Solar Energy Facilities in
   Southern California: A preliminary analysis, available at:
   http://www.kcet.org/news/redefine/rewire/Avian-mortality%20Report%20FINALclean.pdf ,
   accessed September 27, 2016.

   See also a 2014 report in Scientific American magazine, available at:
   http://www.scientificamerican.com/article/solar-farms-threaten-birds/ , accessed September 27,
   2016.

   This report cites the following mitigation measures as ways to reduce bird and bat deaths:




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                                                                           Rvsd Plan - 00002325
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 215 of 356




         clearing vegetation around solar towers to make the area less attractive to birds,
         retrofitting panels and mirrors with designs that help birds realize the solar arrays are
         not water, suspending operations at key migration times, and preventing birds and
         bats from roosting and perching at the facilities.

   However, the ultimate effectiveness of these measures is uncertain, and research continues. The
   unwaivable stipulations listed above for wind energy facilities should also be applied to solar
   facilities.

   Geothermal facilities must not disrupt stream functions. Though they usually use groundwater,
   such facilities could affect the flow of streams if the groundwater is tributary to the stream.

   The following areas must not be suitable for renewable energy development: all protected areas
   and those proposed for any protective designation, big game winter range, calving and fawning
   grounds, bighorn sheep lambing grounds, wetlands, riparian areas, wetlands campgrounds,
   trailheads, and alpine areas.


   XVIII. MONITORING

   Under the 2012 Planning Rule, national forest planning is clearly intended to be adaptive. See 36
   CFR 219.2(b). Monitoring is a key component of this adaptive management process, as without
   it, changing conditions would not be identified and the effectiveness of plan components in
   mitigating impacts from plan implementation could not be assessed. As a result, changes in any
   plan to reflect changed conditions or new information would seldom if ever be done, and
   adaptive management would not be possible.

   Specifically, the Planning Rule states:

         Monitoring information should enable the responsible official to determine if a
         change in plan components or other plan content that guide management of resources
         on the plan area may be needed.

   36 CFR 219.12(a)

   Under the Planning Rule, each plan must have a monitoring program that has “plan monitoring
   questions and associated indicators”. 36 CFR 219.12(a)(2). Indicators are the means of “testing
   relevant assumptions and measuring management effectiveness and progress toward achieving or
   maintaining the plan’s desired conditions or objectives”. 219.12(a)(2).



                                                    42

                                                                         Rvsd Plan - 00002326
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 216 of 356




   As part of the indicator(s) for each monitoring question, there must be triggers for what result
   would identify a need for further evaluation, or in some cases, even an immediate change in
   management. Without triggers, monitoring might become just a collection of data, with no
   application toward identifying a possible need to change management. In other words, adaptive
   management would be thwarted.

   Focal species. Each monitoring plan must have questions and indictors that address “[t]he status
   of focal species to assess the ecological conditions required under § 219.9.” 219.12(a)(5)(iii).
   See our Alternative, section XVI, for a list of recommended focal species.

   Whether or not they are officially designated as focal species, some monitoring of at-risk species
   should be done. This includes threatened, endangered, proposed, and candidate species, and
   species of conservation concern. Without such monitoring, there is no way to determine whether
   plan components are effective in meeting the Planning Rule requirement to:

         contribute to the recovery of federally listed threatened and endangered species,
         conserve proposed and candidate species, and maintain a viable population of each
         species of conservation concern within the plan area.

   36 CFR 219.9(b).

   Given the importance of monitoring to the land management planning process, it is critically
   important that the Rio Grande have money available for this activity as part of each annual
   budget, or under a longer-term appropriation. If money is not available for monitoring, major
   projects should not be implemented. Generally, information from projects should be regularly
   gathered and used for the forest monitoring program.

   Broad scale monitoring. The Planning Rule requires the Regional Forester to develop a broad­
   scale monitoring program “for plan monitoring questions that can best be answered at a
   geographic scale broader than one plan area”. 219.12(b). We recommend that this be developed
   concurrently with the monitoring program for the RGNF. Per 219.12(b)(2) and (c)(2), the
   Regional Office should work with the RGNF and the GMUG, San Juan, Pike-San Isabel, and
   Carson National Forests; the Colorado Department of Natural Resources; and the BLM’s San
   Luis Valley Field Office to develop a broader-scale monitoring strategy “as soon as practicable”.

   Items of broader-scale monitoring must include, though not be limited to, the movement of
   wildlife species such as lynx, deer, elk, moose, and bighorn sheep.


   XIX. ANALYZE IMPACTS OF CLIMATE CHANGE


                                                   43

                                                                       Rvsd Plan - 00002327
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 217 of 356




   There is no question that the earth is warming. Given the continued emissions of greenhouse
   gases (especially methane and carbon dioxide) mainly from human actions, continued warming
   is likely. The revised plan must reflect this by providing for resiliency, or the ability of
   ecosystems on the RGNF to maintain their functioning in the face of a warming climate.
   Consistent with laws, regulations, and protection of resources, the RGNF should be managed to
   retain carbon stocks and possibly increase carbon storage. However, any efforts to increase
   future carbon storage should not be done by methods that decrease current carbon storage.

   Plan components for addressing and adapting to climate change will be necessary to ensure that
   the revised plan complies with the following from the Plan Rule:

         Ecological sustainabiliiy. (1) Ecosystem Integrity. The plan must include plan
         components, including standards or guidelines, to maintain or restore the ecological
         integrity of terrestrial and aquatic ecosystems and watersheds in the plan area, ^

   219.8(a).

   Without mitigation measures, a national forest that is affected by runaway climate change is not
   ecologically sustainable. It is likely not socially or economically sustainable, either.

   All of the RGNF will be affected by climate change, but lower elevation ecosystems and habitats
   are the most likely to be adversely affected by a warming climate. They could experience
   anything from floods to extended droughts at various future times. Generally, lower elevation
   habitat is likely to decrease in quality for some species due to warmer temperatures. Thus there
   will be a tendency for some species to move higher in elevation over time.

   Therefore, it is very important to ensure connectivity of habitat from lower to higher elevations.
   This includes providing conditions that encourage connectivity from non-public lands adjacent to
   the RGNF (which are often at lower elevation) to areas on the Forest. It is also important to
   protect wildlife habitat with designated areas. These areas should encompass the full elevational
   range of the RGNF, but most of the currently designated area acreage is in the higher elevations.
   See Assessment 15. Thus areas with high ecological integrity below 10,000 feet elevation or so
   must be retained. Commercial activities should be minimized in these areas, with protection
   provided by special area designation or appropriately restrictive standards and guidelines, both
   forest-wide and those that are part of management areas.

   The planning team should place special emphasis on the protection and restoration of water
   resources. Rivers, streams, wetlands and other waters originating on the Rio Grande National
   Forest function as essential ecological elements in the broader landscape. Emphasizing


                                                  44

                                                                       Rvsd Plan - 00002328
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 218 of 356




   protection and restoration of these water resources can improve resiliency and thereby have
   significant positive impacts on social, economic, and ecological sustainability across the RGNF.

   The revised plan should have provisions to minimize release of greenhouse gases from activities
   on the RGNF. Any oil and gas leases should have strict, non-waivable stipulations requiring
   installation of the best available control technology for reducing leaks of gases such as methane
   in areas where exploration, drilling, or production occur. Other than for personal use firewood,
   the RGNF should not sell wood that is likely to be burned (e. g., for commercial biomass energy
   production), and would thus emit carbon directly into the atmosphere.

   All alternatives must be evaluated for their effects on climate change, in terms of both current
   and future emissions and carbon sequestration. The analysis in the plan revision EIS should also
   analyze how a warming climate would affect management opportunities.

   To assess the possible monetary costs to the planning area attributable to global warming, and
   the possible benefits from reduction of carbon emissions, the Forest Service should use the
   Social Cost of Carbon methodology. See:
   http://www3.epa.gov/climatechange/EPAactivities/economics/scc.html
   See also discussion in section XI above concerning the use of social cost of carbon methodology
   for analyzing economic effects.

   This method accounts for only those costs of carbon (and benefits for its reduction) which can be
   quantified and to which a monetary value can be assigned. The other costs of carbon must
   separately be analyzed and included in the overall analysis of the effects of climate change.

   The RGNF should foster landscape-scale ecological and community resiliency. Resiliency
   provides a positive, constructive frame to optimize and balance interconnected social, economic,
   and ecological systems and to thereby satisfy the agency’s duty to “provide for social, economic,
   and ecological sustainability” in light of the challenges and opportunities presented by the
   reasonably foreseeable impacts of climate change to the RGNF and the broader landscape within
   which the RGNF rests. See 36 C.F.R. § 219.8.

   Resiliency, for us, consists of two parts. First, resiliency is the capacity of an ecological or
   community system to maintain its function in the face of stress. A system with high resiliency
   withstands and bounces back from stress better than a system with low resiliency. Second,
   resiliency is the capacity of an ecological or community system to adapt to changing
   circumstances and conditions. Accordingly, a system with high adaptive capacity adjusts to
   changing circumstances and conditions better than a system with low adaptive capacity. These
   themes, and acknowledgement of the interconnected nature of ecological and community
   systems, are echoed in Aldo Leopold’s 1949 classic, A Sand County Almanac, where the author


                                                  45

                                                                       Rvsd Plan - 00002329
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 219 of 356




   eloquently states, “[t]hat land is a community is the basic concept of ecology, but that land is to
   be loved and respected is an extension of ethics. That land yields a cultural harvest is a fact long
   known, but latterly often forgotten.”

   Resiliency can help account for the interconnected nature of natural and human-built
   infrastructure and provide a basis for effectively identifying management challenges and
   opportunities in world suffering from climate change. The RGNF Forest Plan can help optimize
   and balance how resources, such as water, are used across this interconnected landscape-scale
   mosaic of natural and human-built infrastructure, given the impacts of climate change.

   Climate change, as we note above, elevates the importance of resiliency and understanding the
   interconnected nature of ecological and community systems. Indeed, this is at the root of the
   Forest Service’s 2012 Planning Rules, which direct the Forest Service to “provide for social,
   economic, and ecological sustainability.” 36 C.F.R. § 219.8. Climate change exacerbates impacts
   caused by existing ecological and community stressors, such as poorly managed road systems
   and livestock grazing. Climate change is also a persistent, intensifying, and non-linear stressor,
   changing precipitation and snowmelt patterns. Actions adequate to guard against a particular
   impact in a world that has warmed by 2°C may therefore be completely inadequate in a world
   that has warmed by 3°C. Thus, in the absence of robust action by the RGNF to build resiliency,
   climate change may, over time, unravel and catastrophically degrade existing ecological and
   community systems in the broader landscape.

   We emphasize this reality because the Intended Nationally Determined Contributions (“INDCs”)
   provided in advance of the upcoming U.N. Framework Convention on Climate Change
   Conference of the Parties in Paris in December 2015 are presently insufficient to constrain
   warming below the internationally agreed upon target to constrain warming to 2°C above pre­
   industrial levels.30 The 2°C target is generally viewed as a threshold—if imperfect—to
   ameliorate the risk of catastrophic climate impacts. Notably, there are intense efforts underway
   in Paris, this very moment, to lower the threshold to 1.5°C to improve climate security and to
   protect the most vulnerable—efforts we support.31 While projections vary, the INDCs, even if
   implemented successfully (a very big if), would still put the world for warming greater than
   2°C.32 This should provide a sobering reality check to us all and underscore the importance of a
   meaningful, impactful Forest Plan revision.




   30   See http://www.wri.org/indc-definition (explaining INDCs).

   31http://www.thenation.com/article/with-1-5-degrees-celsius-target-climate-justice-movement-poised-to-score-
   surprise-win/

   32   http://climateactiontracker.org/global.html (last visited Dec. 8, 2015).

                                                                46

                                                                                   Rvsd Plan - 00002330
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 220 of 356




   To foster resilience, the RGNF should take the following four core actions as part of the Forest
   Plan revision process: (1) Account for climate change through a linked combination of proactive
   and adaptive management; (2) place special emphasis on the protection and restoration of water
   resource resilience; (3) better conserve wildlife habitat in the face of climate change; and (4)
   optimize the RGNF’s carbon sequestration capacity.

   The RGNF should forthrightly acknowledge and assess the predicted and reasonably foreseeable
   impacts of climate change and consider alternatives to ameliorate those impacts through the
   National Environmental Policy Act (“NEPA”) review for the plan revision. These alternatives
   should assess different means of fostering resiliency to satisfy the 2012 Planning Rule’s directive
   to “provide for social, economic, and ecological sustainability” 36 C.F.R. § 219.8. Each
   alternative should detail the specific plan components, i.e., desired conditions, objectives,
   standards, guidelines, and determinations regarding the suitability of lands for various multiple
   uses and how those plan components will or will not foster resiliency in the face of climate
   change to provide for social, economic, and ecological sustainability. This is particularly critical
   in the context of wildfire management, where ecological and community resiliency should drive
   wildlife risk management. Put differently, wildlife risk management should maximize resiliency
   benefits. Without considering broad-scale resiliency benefits, we are concerned that too much
   emphasis will be placed on logging to the exclusion of other activities and the broader need to
   manage for landscape-scale forest resiliency that holistically addresses interconnected ecological
   and community systems.

   Climate change must be directly and consciously infused into all plan components, whether
   desired conditions, objectives, standards, guidelines, or determinations regarding the suitability
   of lands for various multiple uses. This is particularly important in terms of plan components that
   ensure proactive, rather than only reactive, adaptive planning, management, and decision­
   making. Proactive action at the Forest Plan level sets the stage for effective, meaningful project­
   level action.

   With regards to resiliency and wildlife, the RGNF should consider alternatives (as required by
   NEPA (42 U.S.C. §§ 4332(2)(c)(iii), 4332(2)(E)) and its implementing regulations (40 C.F.R.
   1502.14)) to better conserve wildlife by protecting and restoring intact wildlife habitat,
   improving the connectivity and permeability of wildlife habitat between wildlife habitat core
   areas, and maximizing the widest possible altitudinal range within protected areas. Each of these
   three elements works together to maximize the resilience of the RGNF’s diverse wildlife species
   in the face of a warming climate.

   In this context, we note that coordination with other National Forests and BLM lands adjacent to
   the RGNF is necessary, and cross-border wildlife protection measures, especially for species
   such as Canada lynx, is vital to ensure the resilience of these species in the face of climate


                                                   47

                                                                        Rvsd Plan - 00002331
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 221 of 356




   change, and consistency across borders for the management and protection of these species. We
   recommend designation of the Spruce Hole-Osier-Toltec Landscape Connectivity Area to
   accomplish this. See Alternative Appendix 7.

   As to the RGNF’s carbon sequestration capacity, the revised Forest Plan should optimize the
   RGNF’s carbon sequestration capacity, ensuring, as much as possible, that the forest functions as
   a carbon sink. Unexploited federal lands can and should function as a carbon sink to help reduce
   net greenhouse gas emissions and thereby mitigate climate change. We recommend that the
   RGNF achieve this objective by limiting activities, like fossil fuels extraction, that release
   greenhouse gas emissions.

   All fossil fuel leases or permits to drill should have strong, non-waivable stipulations to
   minimize the release of climate pollution (especially methane). This would help retain ecological
   and community resiliency. Also, incorporate carbon sequestration capacity as a criterion in the
   design and prioritization of project-level action with the express intent to protect and optimize
   the forest’s ability to store carbon.

   To help inform the RGNF’s actions to mandate and optimize the RGNF’s carbon sequestration
   capacity, we refer you to and ask you to assess the recommendations crafted by the Federal
   Forest Carbon Coalition.33

   We note that while the RGNF’s carbon sequestration capacity may appear small relative to the
   entire world, individual actions, cumulatively, can prove quite positive and, indeed, are essential.
   As the Supreme Court teaches:

            Agencies, like legislatures, do not generally resolve massive problems in one fell
            swoop, see Williamson v. Lee Optical of Okla., Inc., 348 U.S. 483, 489, 75 S.Ct. 461,
            99 L.Ed. 563, but instead whittle away over time, refining their approach as
            circumstances change and they develop a more nuanced understanding of how best
            to proceed, cf. SEC v. Chenery Corp., 332 U.S. 194, 202-203, 67 S.Ct. 1575, 91
            L.Ed. 1995.

   Mass. v. EPA, 549 U.S. 497, 499 (2007).

   We emphasize that the RGNF should also address, regardless of management actions, how each
   of the plan revision EIS’s alternatives impacts the RGNF’s carbon flows in terms of both sources
   and sinks, and in light of both “context” and “intensity,” as part of the agency’s hard look
   responsibilities under NEPA. See 40 C.F.R. §§ 1502.15, 1508.7, 1508.8, 1508.25, 1508.27.


   33   See http://www.forestcc.org/recs.

                                                     48

                                                                         Rvsd Plan - 00002332
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 222 of 356




   Resiliency and carbon sequestration are expressly called for by Executive Order 13,653,
   “Preparing the United States for the Impacts of Climate Change.” Section 1 of this order explains
   that:

         The impacts of climate change—including an increase in prolonged periods of
         excessively high temperatures, more heavy downpours, an increase in wildfires,
         more severe droughts, permafrost thawing, ocean acidification, and sea-level rise—
         are already affecting communities, natural resources, ecosystems, economies, and
         public health across the Nation. These impacts are often most significant for
         communities that already face economic or health-related challenges, and for species
         and habitats that are already facing other pressures. Managing these risks requires
         deliberate preparation, close cooperation, and coordinated planning by the Federal
         Government, as well as by stakeholders, to facilitate Federal, State, local, tribal,
         private-sector, and nonprofit-sector efforts to improve climate preparedness and
         resilience; help safeguard our economy, infrastructure, environment, and natural
         resources; and provide for the continuity of executive department and agency
         (agency) operations, services, and programs.

   Section 3 of the Order reinforces this policy direction, mandating that agencies take action to
   make “watersheds, natural resources, and ecosystems, and the communities and economies that
   depend on them, more resilient in the face of a changing climate.” Section 3 further states that,
   “recognizing the many benefits the Nation’s natural infrastructure provides, agencies shall,
   where possible, focus on program and policy adjustments that promote the dual goals of greater
   climate resilience and carbon sequestration.”

   Executive Order 13,653 should be understood in the context of two new White House
   memoranda, which the RGNF should review to inform its Forest Plan revision. In October 2015,
   the White House directed federal agencies to account for ecosystem services in federal planning
   and decision-making. In November 2015, the White House strengthened federal ecological
   resource protection and restoration efforts. These memoranda complement the Council on
   Environmental Quality’s guidance for federal agencies as they strive to account for climate
   change through National Environmental Policy Act (“NEPA”) reviews. While that guidance
   remains in draft form, it is nonetheless helpful to inform the RGNF Forest Plan revision’s NEPA
   process and how that process can properly account for climate pollution and climate change.

   Note that the plan rule requires plans to provide ecosystem services:

         The plan must include plan components, including standards or guidelines, for
         integrated resource management to provide for ecosystem services and multiple uses
         in the plan area.


                                                   49

                                                                       Rvsd Plan - 00002333
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 223 of 356




   219.10(a). See further discussion in section__ above.

   To assure that the RGNF can continue to provide ecosystem services and ecological, economic,
   and social sustainability, climate change will have to be addressed and its effects reduced.

   Landscape-scale thinking, management, and analysis is crucial to resiliency in the face of climate
   change risks, impacts, and vulnerabilities. By taking a landscape-scale approach, the RGNF can
   best identify and prioritize opportunities to take Forest Plan and project level action to ameliorate
   climate change and to complement non-federal resource protection and restoration efforts.


   XX. ECONOMICS

   The 2012 planning rule establishes that land management plans will guide the management of
   National Forest System lands so that they are “ecologically sustainable and contribute to social
   and economic sustainability” and have the “capacity to provide people and communities with
   ecosystem services and multiple uses that provide a range of social, economic, and ecological
   benefits for the present and into the future.” 36 CFR 219.1(c).

   In the revision phase, the Forest Service is required to develop plan components, including
   standards and guidelines, to “guide the plan area’s contribution to social and economic
   sustainability, taking into account:

         • ^economic conditions relevant to the area influenced by the plan, ^

         • Multiple uses that contribute to local, regional and national economies in a
         sustainable manner, and

         • Ecosystem services.”

   36 CFR 219.8(b)(1), (3), (4).

   The rule defines Ecosystem services as follows:

         Benefits people obtain from ecosystems, including:

           (1) Provisioning services, such as clean air and fresh water, energy, fuel, forage,
         fiber, and minerals;



                                                    50

                                                                         Rvsd Plan - 00002334
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 224 of 356




          (2) Regulating services, such as long term storage of carbon; climate regulation;
         water filtration, purification, and storage; soil stabilization; flood control; and disease
         regulation;

          (3) Supporting services, such as pollination, seed dispersal, soil formation, and
         nutrient cycling; and

          (4) Cultural services, such as educational, aesthetic, spiritual and cultural heritage
         values, recreational experiences and tourism opportunities.

   219.19.

   It defines economic sustainability as “^the capability of society to produce and consume or
   otherwise benefit from goods and services including contributions to jobs and market and
   nonmarket benefits^” while “meet[ing] the needs of the present generation without
   compromising the ability of future generations to meet their needs.” 36 CFR 219.19.

   We submitted substantive comments on ecosystem services during the assessment phase. We
   hope our comments provided useful information and guidance for the Rio Grande National
   Forest and Region 2 as a whole.

   According to EPS-HDT, 2015, including Alamosa, Conejos, Costilla, Saguache Rio Grande and
   Mineral Counties, the population of the area has grown 25% since the 1970s (to 2013). See
   Appendix 9?

   Employment during the same timeframe has doubled (approximately 13,000-26,000 jobs).
   Personal income has also seen an increase of 186 percent (almost 6 million to 16.22 million),
   reflecting a steady, healthy growth in population and income, reflecting an overall quality of life
   increase. Interestingly, self-employment also saw a 135 percent increase, almost 4,000 to 9,000
   jobs, over the last 40 years.

   Non-labor income (investments etc.,) has increased by 323 percent, meaning that retirees have
   found the San Luis Valley a desirable place to live. The largest concentration of second homes in
   the wildland urban interface (WUI) is in Conejos County (almost 70 percent) and Mineral
   County had the largest percentage of homes built within WUI (almost 38 percent).

   Mostly baby boomers have moved to this WUI area because of quality of life issues that the Rio
   Grande National Forest provides (as part of ecosystem services), if they can handle the altitude.
   This also means building homes get built near fire prone areas. This highlights the importance of
   education, fire mitigation, and implementing controlled burns.


                                                     51

                                                                          Rvsd Plan - 00002335
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 225 of 356




   Non-Service jobs (extractive jobs, agriculture) have decreased by 11 percent, but service related
   jobs (transportation, utilities, amenities, wholesale/retail, health services) has increased by 35
   percent. Government jobs have increased by 22 percent.

   Regarding travel and tourism, information developed by the same EPS-HDT group, Mineral
   County (94 percent public lands) has seen the fastest rate of change in travel and tourism
   employment (1998-2012), an approximate 20 percent increase.

   According to the Alamosa County, 2015, “the Great Sand Dunes National Park and Preserve
   had attracted an above average number of visitors, due to the growing popularity of National
   Parks, sandboarding, and adventure tourism across the country.”

   “Lodging tax collections increased, with a 7% increase of visitation at the Alamosa Welcome
   Center, from the following year. Interest in visiting Alamosa County has skyrocketed, reflecting
   an 80% increase in visits to their website, and 26,000 Visitor guides requested and mailed, a 65%
   increase over 2014.”

   This information does not include the 100th anniversary of the National Park Service, which is
   being celebrated this year (2016). Long story short, the Rio Grande headwaters surrounding the
   San Luis Valley and the quality of life it provides, small towns, and clean air and water, have
   been discovered by retirees, recreation visitors, cultural/historic buffs, small businesses and a
   generation of professionals who can use technological innovations to work from home.
   What this means for the Rio Grande is vigilance in this planning process to prepare for travel
   management planning. Recreation on this Forest is going to increase considerably, thus
   anticipating where this increased use will occur and mitigating accordingly will be essential.

   Technology will also play a critical role in terms of recreation access. Mountain bikes for
   example are only going to become more sophisticated, being able to travel farther distances, in
   rugged terrain at higher speeds. The Rio Grande must plan for this inevitability.
   The Rio Grande does not have to concern itself so much with creating “cottage industry
   economic opportunities” for the surrounding communities because the economic opportunities
   are coming to the Rio Grande.

   The Rio Grande National Forest already provides the essential elements for a wide range of
   multiple use and economic opportunities including: grazing, timber, various forms of recreation,
   small scale mining, hunting, fishing, wood gathering, herb collection, and downhill and
   backcountry skiing and winter sports. The present challenge is going to be balancing these uses
   and simultaneously protecting traditional uses, because the increase in recreation is going to
   interfere with users who are used to having the forest to themselves.


                                                   52

                                                                        Rvsd Plan - 00002336
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 226 of 356




   The 21st century has made its way into the RGNF, so any clearly defined management areas,
   wilderness recommendations, research natural areas, other designated areas, priority watersheds,
   wetlands, and wildlife corridors that can be identified and protected in this planning process will
   support the previous plan’s traditional uses and also help provide ecosystem services for current
   and future generations.


   XXI. ESA-LISTED SPECIES RECOVERY PLANS

   The RGNF revised plan should explicitly require the RGNF to comply with all recovery plans
   prepared and released by the U.S. Fish and Wildlife Service for any ESA-listed species occurring
   on the RGNF. As the expert agency, the U.S. Fish and Wildlife Service expends considerable
   resources preparing recovery plans to help guide species towards recovery and eventual delisting
   under the ESA. Because the recommendations in recovery plans are very important for species
   recovery, but sometimes not diligently applied by federal land management agencies, the RGNF
   should become a leader amongst its peers and commit to mandatory compliance with all ESA-
   listed species’ recovery plans.


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                                                   53

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 227 of 356




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                                 ATTACHMENTS (sent separately)

   1 April 15, 2016 comments on Need for Change and Plan Revision Framework

   2 August 22, 2016 comments on Need For Change version 2 and the Plan Revision Framework

   3 Appendices to September 6 comments on the Preliminary Wilderness Evaluation, which
   includes Our Wilderness recommendations. The wilderness recommendations begin at p. 100 of
   the document.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 231 of 356



    From:               ale1221@hotmail.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Wednesday, October 26, 2016 10:46:17 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.

    CA


    Mr. Chad Alevras
    6738 S Niagara Ct
    Centennial CO 801121011
    ale1221@hotmail.com




                                                                                      Rvsd Plan - 00002342
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 232 of 356



    From:               stacia@usa.net
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 9:06:31 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Stacia Gondusky
    PO BOX 775283
    Steamboat Springs CO 804775283
    stacia@usa.net




                                                                                      Rvsd Plan - 00002343
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 233 of 356



    From:               yayacarlita@comcast.net
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 10:45:46 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mrs. Carla Behrens
    904 Little Leaf Ct
    Longmont CO 805036442
    yayacarlita@comcast.net




                                                                                      Rvsd Plan - 00002344
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 234 of 356



    From:               kcbstudio@gmail.com
    To:                 FS-RGNF forest pian
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:52:56 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mr. KC Benson
    519 Saint Vrain Ln
    Estes Park CO 805177489
    kcbstudio@gmail.com




                                                                                      Rvsd Plan - 00002345
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 235 of 356



    From:               kblack.ot@gmail.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:22:29 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mrs. Karina Black
    1023 Forest Ave
    Boulder CO 803042556
    kblack.ot@gmail.com




                                                                                      Rvsd Plan - 00002346
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 236 of 356



    From:               pelicanluv@mail.com
    To:                 FS-RGNF forest pian
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 10:58:18 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mrs. Maureen Oliver-Borquez
    1325 Vance St
    Lakewood CO 802144281
    pelicanluv@mail.com




                                                                                      Rvsd Plan - 00002347
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 237 of 356



    From:               katech@fastmail.us
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 12:29:36 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
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    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Kate Chasson
    PO BOX 955
    Fraser CO 804420955
    katech@fastmail.us




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 238 of 356



    From:              raycoffman@comcast.net
    To:                FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:              Tuesday, October 25, 2016 10:54:49 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
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    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mr. Ray Coffman
    12803 W Roanoke Pl
    Morrison CO 804651210
    303-948-7085
    raycoffman@comcast.net




                                                                                      Rvsd Plan - 00002349
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 239 of 356



    From:               crossgm@msn.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:29:28 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
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    Thank you for considering my comments.


    Mrs. Grace Cross
    3526 Hearthfire Dr
    Fort Collins CO 805243775
    crossgm@msn.com




                                                                                      Rvsd Plan - 00002350
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 240 of 356



    From:               gillespie@gkbaum.com
    To:                 FS-RGNF forest pian
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 10:55:20 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Sheryl Gillespie
    50 S Clarkson St
    Denver CO 802092120
    gillespie@gkbaum.com




                                                                                      Rvsd Plan - 00002351
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 241 of 356



    From:              ms seana o@hotmail.com
    To:                FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:              Tuesday, October 25, 2016 11:07:45 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
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    Thank you for considering my comments.

    seana katz


    Dr. Seana Katz
    1473 Periwinkle Dr
    Boulder CO 803041150
    ms_seana_o@hotmail.com




                                                                                      Rvsd Plan - 00002352
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 242 of 356



    From:               skeil@nso.edu
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:23:11 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
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    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.

    Stephen L. Keil


    Dr. Stephen Keil
    118 Luxury Pl
    Pagosa Springs CO 811478868
    skeil@nso.edu




                                                                                      Rvsd Plan - 00002353
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 243 of 356



    From:               jkilgore22@hotmail.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:09:08 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
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    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Jennifer Kilgore
    4648 Dapple Ln
    Boulder CO 803015381
    jkilgore22@hotmail.com




                                                                                      Rvsd Plan - 00002354
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 244 of 356



    From:               Nancy.n.kimble@gmail.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:54:30 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Nancy Kimble
    139 Overlook Dr
    Durango CO 813019437
    Nancy.n.kimble@gmail.com




                                                                                      Rvsd Plan - 00002355
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 245 of 356



    From:              edgarbyknight@hotmail.com
    To:                FS-RGNF forest plan
    Subject:           Please preserve more of the RioGrande National Forest
    Date:              Tuesday, October 25, 2016 12:22:20 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Bobbie Knight
    5152 Tucson Way
    Denver CO 802394036
    edgarbyknight@hotmail.com




                                                                                      Rvsd Plan - 00002356
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 246 of 356



    From:               tckkob@q.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:55:56 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Tricia Kob
    1918 Leicester Way
    Fort Collins CO 805261205
    tckkob@q.com




                                                                                      Rvsd Plan - 00002357
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 247 of 356



    From:               kklampke@comcast.net
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:07:23 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Karen Lampke
    3307 Kittery Ct
    Fort Collins CO 805262358
    kklampke@comcast.net




                                                                                      Rvsd Plan - 00002358
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 248 of 356



    From:              dradjust@qwestoffice.net
    To:                FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:              Tuesday, October 25, 2016 10:43:04 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Dr. Tom Lankering
    110 Midland Ave
    Basalt CO 816218305
    dradjust@qwestoffice.net




                                                                                      Rvsd Plan - 00002359
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 249 of 356



    From:               liedike0250@msn.com
    To:                 FS-RGNF forest pian
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:34:30 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mr. Robert Liedike
    5379 Balsam St Apt 301A
    Arvada CO 800023555
    liedike0250@msn.com




                                                                                      Rvsd Plan - 00002360
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 250 of 356



    From:                katemanzer@gmail.com
    To:                  FS-RGNF forest plan
    Subject:             Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 9:14:44 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am a graduate student at the University of Colorado, Boulder, studying Environmental Policy and Management. I
    recently wrote a comment to the Flathead National Forest, in Montana. I am writing to express my support for more
    recommended wilderness and conservation areas within the Rio Grande National Forests.

    I do, however, want to express concern for the wildland fires that have consumed much of the national forests in
    Colorado, Montana, and California as climate change has and continues to approach and consume the lands where
    we live and play.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    downstream communities, and would provide a home for wildlife to live free. If forests aren't managed correctly,
    however, these headwaters can be damaged just as much by development as they would be damaged by fire.

    If designating these lands as wilderness means that management of these forests would be sacrificed, I don't believe
    it is the best option. But if designating these forests wilderness will bring the natural presence of fire back into these
    forests in a healthy way, I support the expansion of wilderness. From my analysis of the Forest Service's plan for the
    Flathead National Forest, I found that greater ability to manage the forests, and not designate them as wilderness, is
    the best option of all alternatives, given that climate change will increase the intensity and frequency of fires in these
    landscapes.

    I trust that the Forest Service will make the best decision. Keep up the good work!

    Thank you for considering my comments.

    Kate Manzer


    Ms. Kate Manzer
    4820 Meredith Way
    Boulder CO 803031154
    katemanzer@gmail.com




                                                                                         Rvsd Plan - 00002361
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 251 of 356



    From:               klnaiman@earthlink.net
    To:                 FS-RGNF forest pian
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:18:01 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.

    Sincerely,


    Ms. Karen Naiman
    1205 S Valentia Ct
    Denver CO 802473020
    klnaiman@earthlink.net




                                                                                      Rvsd Plan - 00002362
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 252 of 356



    From:              christallklar@hotmail.com
    To:                FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:              Tuesday, October 25, 2016 12:15:57 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

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    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Chris Ocean
    12520 W 64th Ave
    Arvada CO 800043804
    christallklar@hotmail.com




                                                                                      Rvsd Plan - 00002363
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 253 of 356



    From:               speirce@prodigy.net
    To:                 FS-RGNF forest pian
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 12:26:14 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

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    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Dr. Susan Peirce
    143 Eagle Feather Way
    Lyons CO 805408450
    speirce@prodigy.net




                                                                                      Rvsd Plan - 00002364
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 254 of 356



    From:               debphen@me.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:54:10 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Deb Phenicie
    21633 N Turkey Creek Rd
    Morrison CO 804659055
    debphen@me.com




                                                                                      Rvsd Plan - 00002365
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 255 of 356



    From:               tozirubin@gmail.com
    To:                 FS-RGNF forest pian
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 10:57:49 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
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    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mrs. Tozienka Rubin
    135 Country Center Dr
    Pagosa Springs CO 811478379
    9707313360
    tozirubin@gmail.com




                                                                                      Rvsd Plan - 00002366
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 256 of 356



    From:               curtis.rullestad@hlramerica.com
    To:                 FS-RGNF forest pian
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 12:38:53 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mr. Curt Rullestad
    999 E 22nd Ave Apt 5
    Denver CO 802055169
    curtis.rullestad@hlramerica.com




                                                                                      Rvsd Plan - 00002367
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 257 of 356



    From:               ernestosagas@gmail.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 8:55:28 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Dr. Ernesto Sagas
    2342 Cedarwood Dr
    Fort Collins CO 805261278
    ernestosagas@gmail.com




                                                                                      Rvsd Plan - 00002368
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 258 of 356



    From:               fernfalls@me.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 12:24:38 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mr. Virgil Salzman
    1265 Race St Apt 202
    Denver CO 802062850
    fernfalls@me.com




                                                                                      Rvsd Plan - 00002369
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 259 of 356



    From:               rayschamel@me.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:46:14 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

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    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Dr. Raymond Schamel
    11874 County Road 120
    Hesperus CO 813269561
    (970) 259-9797
    rayschamel@me.com




                                                                                      Rvsd Plan - 00002370
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 260 of 356



    From:              camarofox24@msn.com
    To:                FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:              Tuesday, October 25, 2016 10:58:48 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

    Adding under-protected ecosystem types to the wilderness system would preserve essential habitat for sensitive
    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
    changing climate. Expanding wilderness areas would ensure that people today and into the future can experience the
    remote adventure of the Rio Grande headwaters.

    Designating other conservation areas is also very important. I support, for instance, the designation of the Chama
    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mrs. Nicole Shaffer
    4377 Teeter Totter Cir
    Colorado Springs CO 809172936
    camarofox24@msn.com




                                                                                      Rvsd Plan - 00002371
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 261 of 356



    From:               roger.singer@sierraclub.org
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:49:32 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

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    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.

    Roger Singer


    Mr. Roger Singer
    1701 Utah St
    Golden CO 804012565
    roger.singer@sierraclub.org




                                                                                      Rvsd Plan - 00002372
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 262 of 356



    From:               srsdogfarm@skybeam.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:56:26 AM




    Rio Grande National Forest Supervisor Dan Dallas

    As a citizen of these United States, I am writing today to express my support for more recommended wilderness and
    conservation areas within the Rio Grande National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

    I support recommending the potential wilderness areas and Special Interest Areas proposed by the Wilderness
    Society. Managing more areas as recommended wilderness will protect the headwaters of the Rio Grande for
    wildlife and downstream communities, and would provide undeveloped places for wildlife to roam free.

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    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
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    remote adventure of the Rio Grande headwaters.

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    Basin as a Watershed Protection Area, and the Spruce Hole-Sheep Creek and Wolf Creek Linkages as zoological
    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mrs. Sheryl Sussbauer
    10401 County Road 17
    Longmont CO 805049441
    srsdogfarm@skybeam.com




                                                                                      Rvsd Plan - 00002373
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 263 of 356



    From:               stempelman@me.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 8:23:30 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
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    wildlife species and create connected corridors, so plants and animals can adapt and migrate in response to a
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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mr. Steven Tempelman
    9612 Aspen Hill Cir
    Lone Tree CO 801245493
    stempelman@me.com




                                                                                      Rvsd Plan - 00002374
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 264 of 356



    From:               esjq@msn.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:05:49 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Elisa Townshend
    1385 Elizabeth St
    Denver CO 802062308
    esjq@msn.com




                                                                                      Rvsd Plan - 00002375
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 265 of 356



    From:              tubersteve@gmail.com
    To:                FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:              Tuesday, October 25, 2016 11:19:18 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.

    Stephen Tuber


    Mr. Stephen Tuber
    5375 Kewanee Dr
    Boulder CO 803034217
    tubersteve@gmail.com




                                                                                      Rvsd Plan - 00002376
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 266 of 356



    From:              deweipert@comcast.net
    To:                FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:              Tuesday, October 25, 2016 11:19:20 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

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    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.

    Donn weipert


    Mr. Donn Weipert
    1230 Palmer Park Blvd
    Colorado Springs CO 809093739
    deweipert@comcast.net




                                                                                      Rvsd Plan - 00002377
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 267 of 356



    From:               megancatherinefaber@gmail.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Wednesday, October 26, 2016 9:26:08 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
    vulnerable areas from development and preserve the wild condition of the land for clean water, wildlife and non­
    motorized recreation.

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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Megan Faber
    1285 S Sherman St
    Denver CO 802101512
    megancatherinefaber@gmail.com




                                                                                      Rvsd Plan - 00002378
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 268 of 356



    From:               joyceokc@juno.com
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Thursday, October 27, 2016 5:38:30 PM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Mrs. Joyce Wood
     179 Lake View Dr
    Bayfield CO 811229436
    joyceokc@juno.com




                                                                                      Rvsd Plan - 00002379
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 269 of 356



    From:               mlucero@pueblo.us
    To:                 FS-RGNF forest plan
    Subject:            Please preserve more of the Rio Grande National Forest
    Date:               Tuesday, October 25, 2016 11:33:27 AM




    Rio Grande National Forest Supervisor Dan Dallas

    I am writing to express my support for more recommended wilderness and conservation areas within the Rio Grande
    National Forests.

    With nearly one million acres of roadless and undeveloped land in this forest, we have a great opportunity to protect
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    areas to enhance wildlife migration. I also support the expansion of the Summer Coon La Ventana Geologic Area to
    protect the unusual geologic formations and rare plants.

    Thank you for considering my comments.


    Ms. Mary Lucero
    1136 Lake Ave
    Pueblo CO 810042858
    mlucero@pueblo.us




                                                                                      Rvsd Plan - 00002380
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 270 of 356




   March 8, 2017


   Jennifer Cramer, Forest Planner
   Santa Fe National Forest
   11 Forest Lane
   Santa Fe, NM 87508


   Erin Minks, Forest Planner
   Rio Grande National Forest
   1803 W. Highway 160
   Monte Vista, CO 81144


   Kevin Naranjo, Forest Planner
   Carson National Forest
   208 Cruz Alta Rd.
   Taos, NM 87571


   John Baily, Monument Manager
   BLM Taos Field Office
   226 Cruz Alta Road
   Taos, NM 87571


           Re: Proposed Management Direction for Aquatic and Terrestrial Connectivity for Consideration
           in the Forest Service and BLM Land Management Planning Processes in the Upper Rio Grande
           Landscape



   Dear Ms. Cramer, Ms. Minks, Mr. Naranjo and Mr. Baily:

   We are pleased to submit to the Forest Service and BLM the attached direction for enhancing terrestrial
   and aquatic wildlife habitat connectivity for consideration in and incorporation into the land
   management planning processes in the Upper Rio Grande Landscape. The material presented here
   expands on comments and information presented in earlier comments to the individual planning units
   by the undersigned. We request that each planning unit include this direction in alternatives in the
   environmental analysis document.

   We provide three attachments to this letter:

       •   Attachment 1 - Terrestrial Connectivity Management Direction
       •   Attachment 2 - Aquatic Connectivity Management Direction
       •   Attachment 3 - Place-Based Opportunities for Terrestrial Connectivity

   The Upper Rio Grande is an expansive, extraordinary landscape in southern Colorado and northern New
   Mexico comprised of a mosaic of federal, state, tribal, and private lands. Species occurrence and




                                                                             Rvsd Plan - 00002381
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 271 of 356




   modeling data indicate that this is a crucial landscape for wildlife movement and genetic dispersal for
   many species. Four federal units totaling about five million acres of public land are concurrently
   undertaking land management planning. Given the immediate adjacency and collective ecological
   significance of these administrative units, simultaneous revisions present a unique opportunity to
   showcase an "all-lands" approach for providing landscape connectivity and conserving large-scale
   species movement.

   The concept of landscape-level integrated planning is emphasized in the Forest Service’s 2012 planning
   rule and, in terms of the BLM, the Federal Land Policy and Management Act (FLPMA). The Forest
   Service’s planning rule provides an approach for maintaining and restoring connectivity, both within
   Forest Service planning boundaries as well as broader landscapes, for the purposes of improving
   ecological integrity at multiple scales, sustaining wildlife populations and species, and facilitating climate
   change adaptation. FLPMA directs the BLM to balance multiple uses with the protection of, among other
   things, fish and wildlife when making management decisions. FLPMA also authorizes the agency to
   designate Areas of Critical Environmental Concern to protect important areas, such as lands that are
   important for connectivity and wildlife movement, from harmful impacts due to other uses.

   The units in the Upper Rio Grande must work together to develop plan direction on connectivity that
   will create a consistent approach for managing wildlife movement across the landscape. We developed
   the attached direction with the entire landscape in mind. To help ensure management consistency
   across borders, it is our desire that each unit include the attached direction in its land management
   plan. We would be willing to work with your agencies to refine the language.

   Our proposed terrestrial connectivity management direction is provided in Attachment 1. This
   attachment starts by offering a series of desired condition statements to maintain or enhance
   connectivity. We do not expect units to adopt all of these desired conditions. Instead, we offer several
   from which units can choose. The attachment then provides our terrestrial connectivity management
   direction, which takes a two-tiered approach: forest-wide and place-based direction. It is important that
   units include direction at both scales to effectively provide for landscape connectivity.1 In Attachment 3,
   we provide a map of the specific areas for which the place-based direction would apply.

   We provide our aquatic connectivity management direction in Attachment 2. This aquatic direction also
   takes a two-tiered approach. First, the direction proposes a Conservation Watershed Network (CWN).
   CWN is a watershed based model, analyzed forest-wide, that is comprised of a collection of watersheds
   where management emphasizes habitat conservation and restoration to support native fish and other
   aquatic species. Second, the management direction proposes Riparian Management Zones, which are
   portions of watersheds where riparian-associated resources receive primary emphasis, and
   management activities are subject to specific standards and guidelines.

   While we acknowledge that each unit is well-underway in developing their environmental analysis
   documentation, much of the proposed direction found in these attachments is not entirely new. We
   point out that all three national forests received the place-based opportunities (Attachment 3) for



   1 Minor ES, Lookingbill TR. A multiscale network analysis of protected-area connectivity for mammals in the United
   States. Conserv Biol. 2010; 24: 1549-1558.




                                                                                     Rvsd Plan - 00002382
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 272 of 356




   terrestrial connectivity during their respective scoping periods. The proposed place-based terrestrial
   connectivity management direction found in Attachment 1 that accompanies the areas shown in
   Attachment 3 also largely mirrors the information submitted during scoping. The forest-wide terrestrial
   connectivity direction provided in Attachment 1 is a new submission to all Forest Service units. As for
   aquatic connectivity, Trout Unlimited submitted what largely resembles the management direction in
   Attachment 2 to the Rio Grande National Forest during scoping.2 Admittedly, the proposed aquatic
   connectivity direction has not previously been submitted to the Carson or Santa Fe National Forests.3
   Trout Unlimited also identified a set of watersheds that should be managed for native fish and
   watershed health and submitted these places to each national forest during scoping. While these
   watersheds are not necessarily meant to serve as the CWN, the Forest Service should use these
   watersheds to inform the identification of the CWN. Meanwhile, both sets of management direction -
   for aquatic and terrestrial connectivity - are new submissions to the BLM for consideration in the Rio
   Grande del Norte National Monument planning process. The reason for the belated submission of this
   management proposal is that the Wildlife Movement Workshop: Connectivity in the Upper Rio Grande
   Watershed - hosted by the New Mexico and Colorado Natural Heritage Programs on December 7-8,
   2016 in Taos - spurred fresh thinking and new opportunities for collaboration among several
   conservation, wildlife, and sportsperson NGOs.

   We extend our appreciation to the Forest Service and BLM for the opportunity to provide this
   management direction for consideration in the development of your land management plans. Our intent
   in providing this direction is to work cooperatively with the agencies and the larger interested public to
   ensure that our federal public lands - as a public trust resource - are properly managed for multiple use
   and the long-term public interest for the benefit of existing and future generations. It is our desire to see
   the agencies address our proposed terrestrial and aquatic connectivity direction in at least one
   alternative in the environmental analysis documentation, including the preferred alternative. Please
   include this letter and all attachment in the administrative record for each land management planning
   process.


   Regards,


   Joshua Hicks                                               Lauren McCain, Ph.D.
   Assistant Director, National Forest Action Center          Federal Lands Policy Analyst
   The Wilderness Society                                     Defenders of Wildlife
   303-650-1148                                               720-943-0453
   josh hicks@tws.org                                         lmccain@defenders.org




   2 The Wilderness Society’s scoping letter to the Rio Grande National Forest also included information on potential
   conservation watersheds, and asked that the concept be adopted in the forest plan.
   3 We want to acknowledge the Wetland Jewels proposal submitted by Amigos Bravos and the Western
   Environmental Law Center to the Carson and Santa Fe National Forests. This wetland proposal could inform the
   identification of a CWN on these forests.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 273 of 356




   Attachment 1:. TerrestriaLConnectiyity Management Direction


   Desired Conditions


   Protected wildlife corridors provide areas for: landscape-scale movement, migration, and dispersal of
   wide-ranging wildlife species, and they offer security from intensive recreational and other human
   disturbances. This is an important step in providing for the maintenance of biodiversity across the forest.
   [adapted from: White River National Forest Plan Revision 2002, Record of Decision Component 3:
   Establishment of Management Area Direction]


   Corridors/linkage areas and associated approach areas provide secure habitat conditions for wildlife
   movement between large blocks of habitat and/or seasonal habitats at localized and landscape scales,
   especially across valley bottoms and other fragmented areas. These areas provide cover and often
   connect key habitat components for those species that use that particular area. NFS lands contribute to
   linkages between landscapes, unless such landscape isolation is determined to be beneficial.
   Corridors/linkage areas enable genetic interactions. [adapted from: Kootenai National Forest Wildlife
   Approach Areas http://www.fs.usda.gov/Internet/FSE DOCUMENTS/fsm91 056306.pdf]


   Communication and collaboration occurs between federal, tribal, state, and local governments and
   private landowners to develop, coordinate, improve, and implement common management objectives,
   including maintaining and enhancing the habitat, habitat connectivity and viability of terrestrial and
   aquatic wildlife species.


   Willing adjacent landowners, planners, and other interested parties work together to improve wildlife
   connectivity opportunities across multiple jurisdictions (e.g., cooperative agreements, land
   consolidations, exchanges, acquisitions, easements, etc.). [adapted from: Kootenai National Forest
   Wildlife Approach Areas]


   Core habitat areas (including but not exclusively Wilderness Areas, Wilderness Study Areas, Research
   Natural Areas, some Inventoried Roadless Areas, and Special Zoological Areas) are not isolated so as to
   maintain functional connectivity between and among these areas. Such areas, and the connections
   between them, contain relatively intact ecosystems where natural processes dominate, provide habitat
   for native biota, and constitute part of a system that helps to preserve the native biological diversity at
   the planning unit scale and larger landscape scale. [adapted from: San Juan Public Lands Draft Land
   Management Plan]


   Long-term connectivity and integrity of habitat utilized for movement through public lands is restored
   and maintained to provide for ecological integrity in order to contribute to the recovery of threatened
   and endangered species, conserve species proposed or candidates for listing under the Endangered
   Species Act, assure the persistence of Forest Service Species of Conservation Concern, conserve Bureau
   of Land Management special status species, priority species identified in Colorado and New Mexico
   State Wildlife Action Plans, and game species. [adapted from: San Juan Public Lands Draft Land
   Management Plan]

                                                                                                                 1


                                                                               Rvsd Plan - 00002384
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 274 of 356




   Forest infrastructure (e.g., roads, fences) does not impede large landscape species (e.g., big game and
   large carnivore) movement and seasonal habitat use. Infrastructure is designed and located to facilitate
   wildlife movement. Secure habitat occurs in big game migration corridors to facilitate big game
   movement. [adapted from: Shoshone National Forest, Draft Proposed Land Management Plan, August
   2008. Available online at:
   http://www.fs.fed.us/r2/shoshone/projects/planning/revision/revision_documents/february_2009/200
   8_0820_plan.pdf]


   To the maximum extent possible, intact, contiguous, secure habitat is provided to support
   multidirectional seasonal movements of native ungulates. Human disturbance levels (especially in fall
   and winter ranges, and on calving/fawning grounds) are limited to provide for effective habitat, as
   defined by State agency partners. These support critical life cycle functions and seasonal needs,
   including seasonal migration corridors between ranges, for sustaining herds capable of meeting State
   population objectives. [adapted from: San Juan Public Lands Draft Land Management Plan]



   Forest-Wide Management Direction


       •   Winter, including over-snow vehicle use, and summer recreation activities should conform to
           best available scientific knowledge for mitigating impacts to big and small game, federally
           protected species, Forest Service Species of Conservation Concern, and other special status and
           sensitive wildlife species.


       •   Motorized route density standards or guidelines that consider open and closed USFS roads, USFS
           motorized trails, and non-USFS roads (e.g., county roads and state highways) are based on best
           available science for maintaining and/or restoring functional habitat conditions for wildlife that
           occur in the area.


       •   Standard. All temporary roads are removed and the lands and waters on which they were
           located are restored to natural conditions, and moving toward their Natural Range of Variability,
           within one year of the termination of the purpose for which they were established.


       •   Standard. Decommission and reclaim unauthorized routes and system roads that the agency
           determines are no longer needed for public motorized use.


       •   Guideline. Establish and implement in a timely manner mitigation standards for main FS arterial
           roads and state highways to facilitate movement of wildlife, including a reduction in mortality of
           wildlife from vehicle collisions. Coordinate with CDOT and NMDOT on planning and projects.


       •   Standard. Optimize fencing for livestock to make all fences wildlife friendly (i.e., fences to not
           create unreasonable or unnecessary movement barriers or hazards for wildlife). Coordinate with


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                                                                               Rvsd Plan - 00002385
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 275 of 356




          permittees to identify fencing that is not critical for livestock operations; fencing that is not
          critical for livestock operations and that is impeding wildlife movement is removed. Any new
          livestock fencing that is installed should be constructed in a manner that will minimize
          disruption to wildlife movement, taking into consideration seasonal migration and water
          resources.


      •   Plan direction must include and comply with the Southern Rockies Lynx Amendment regarding
          lynx linkage areas (Objective LINK O1, Standard LINK S1, Guideline LINK G1, and Guideline LINK
          G2), and also:
              o   Objective ALL O1: Maintain or restore lynx habitat connectivity in and between LAUs,
                  and in linkage areas.
              o   Standard ALL S1: New or expanded permanent developments and vegetation
                  management projects must maintain habitat connectivity in an LAU and/or linkage area.


      •   Monitoring & Adaptive Management
              o   Monitor for trends in landscape integrity and permeability of the forest, and larger
                  landscape, over time. Landscape integrity will be assessed by considering human
                  modification that contributes to fragmentation, including roads, residential
                  development, energy development, transmission corridors, and other development.
              o   Work with governments and private partners, including adjacent forests, BLM, state
                  wildlife agencies, universities and non-profits, to monitor wildlife movement within and
                  across the forest.
              o   Ensure that the plan is responsive to the information gathered during monitoring by
                  building in triggers that lead to a change in management that improves connectivity and
                  permeability of the forest.
              o   Designate elk and pronghorn as focal species and develop monitoring questions that
                  help assess effectiveness of plan direction related to connectivity.


      •   Identify where large core protected areas currently exist, both within the forest and larger
          landscape, and the connections that exist between them. Until more data are available that
          describe these core areas and connections in more detail, it is important to ensure that blocks of
          habitat maintain a high degree of connectivity between them, and that blocks of habitat do not
          become fragmented in the short term. Utilize management direction offered above to maintain
          and/or restore connections between these core protected areas.



   Place-Specific Management Direction


      •   Guideline. Management actions will be driven by the primary need to ensure continued or
          enhanced habitat connectivity and viability for wildlife movement.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 276 of 356




      •   Guideline. Activities currently authorized by the agency shall coexist with wildlife movement,
          migration and dispersal. Changes to current activities and infrastructure may be required if
          found incompatible with the area’s wildlife values.


      •   Guideline. Where possible, augment wildlife values through purchase from willing sellers,
          exchange, transfer or donation of additional acreage of crucial wildlife habitat for their
          migration, movement and dispersal. Acquired lands are to be managed consistent with the
          corridor’s standards and guidelines.


      •   Guideline. Winter, including over-snow vehicle use, and summer recreation activities should
          conform to best available scientific knowledge for mitigating impacts to big and small game,
          federally protected species, Forest Service Species of Conservation Concern, and other special
          status and sensitive wildlife species.


      •   Standard. Do not authorize new permanent roads within the corridor in order to maintain
          unfragmented habitat for wildlife migration and dispersal.


      •   Standard. Motorized route density standards within the management area to conform to the
          best scientific recommendations, generally less than one mile per square mile (Lyon 1979; Van
          Dyke et al. 1986a, b; Fox 1989; Trombulak and Frissell 2000; Strittholt and DellaSala 2001;
          Davidson et al. 1996). Ensure that there will be no net increases in densities above a scientific
          credible threshold. If these densities do not exist today, the Forest Service will develop a
          strategy to achieve them. Motorized route density will consider open and closed USFS roads,
          USFS motorized trails, and non-USFS roads (e.g., county roads and state highways) and be based
          on best available science for maintaining and/or restoring functional habitat conditions for
          wildlife that occur in the area.


      •   Standard. All temporary roads are removed and the lands and waters on which they were
          located are restored to natural conditions within one year of the termination of the purpose for
          which they were established.


      •   Standard. Decommission and reclaim unauthorized routes and system roads that the agency
          determines are no longer needed for public motorized use.


      •   Guideline. Establish and implement in a timely manner mitigation standards for main USFS
          arterial roads and state highways to facilitate movement of wildlife including a reduction in
          mortality of wildlife from vehicle collisions (modified from BLM Lower Sonoran and Sonoran
          National Monument Proposed RMP and Final EIS. June 2012. https://www.blm.gov/epl-front-
          office/eplanning/planAndProjectSite.do?methodName=dispatchToPatternPage&currentPageId=
          21457.) Coordinate with CDOT and NMDOT on planning and projects.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 277 of 356




      •   Standard. All projects, activities, and infrastructure authorized in wildlife movement corridor
          shall be designed, timed and located to allow continued successful seasonal movement.
          [adapted from: Bridger-Teton National Forest Land and Resource Management Plan
          Amendment: Pronghorn Migration Corridor
          http://www.wyomingoutdoorcouncil.org/html/what we do/wildlife/pdfs/PronghornMigration
          Corr-ROD.pdf]


      •   Guideline. Retain some connectivity of existing forested corridors within plan areas and
          between old-growth sites for future forested corridors where connectivity is potential but
          absent. [adapted from: Arapaho and Roosevelt National Forests and Pawnee National Grassland
          1997 Revision http://www.fs.usda.gov/Internet/FSE DOCUMENTS/fsm91 057935.pdf] (Feel
          free to move this or include in the place-specific direction)


      •   Guideline. Maintain appropriate amounts and distribution of natural foods and hiding cover in
          corridors/linkage zones and approach areas to meet the subsistence and movement needs of
          target wildlife species. [adapted from: Kootenai National Forest Wildlife Approach Areas]


      •   Standard. Manage disturbance footprint resulting from vegetation management activities within
          the corridor spatially and temporally. This may include establishing maximum width and acres of
          any single on-the-ground disturbance, limiting total acreage of ground disturbance at any one
          time, limiting times of year when treatment activities occur.


      •   Standard. Optimize fencing for livestock to make all fences wildlife friendly (i.e., fences to not
          create unreasonable or unnecessary movement barriers or hazards for wildlife). Coordinate with
          permittees to identify fencing that is not critical for livestock operations; fencing that is not
          critical for livestock operations and that is impeding wildlife movement is removed. Any new
          livestock fencing that is installed should be constructed in a manner that will minimize
          disruption to wildlife movement, taking into consideration seasonal migration and water
          resources.


      •   Standard. Preclude the granting of new right-of-ways for energy development that would
          negatively impact wildlife, their habitat and its connectivity.


      •   Standard. Withdraw the corridor from location and entry under the Mining Law, subject to valid
          existing rights.


      •   Standard. The area must be discretionary no oil and gas leasing.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 278 of 356




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   102.




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 279 of 356




   Attachment 2: Aquatic Connectivity Management Direction

   Major Recommendations

       •   Use a combination of tools across the region and Rio Grande Basin to ensure riparian and
           aquatic ecosystem connectivity and watershed health
       •   Layering of frameworks, management approaches, management or geographic areas, desired
           conditions, standards, and guidelines to create an Aquatic Conservation Strategy for the Rio
           Grande Basin spanning the Carson, Santa Fe and Rio Grande National Forests
       •   Utilize the existing Watershed Condition Framework as base to establish and execute metrics
           and water quality standards in the context of “geomorphic, hydrologic and biotic integrity” as
           defined in the Forest Service Manual
       •   Ensure that a monitoring plan includes useful monitoring questions around aquatic connectivity
           and ecological integrity
       •   Create a Conservation Watershed Network for Native Fish at the individual forest level but
           which is consistent across boundaries
       •   Create or expand the definition of Riparian Management Zones and apply a set of standards
           designed to assure riparian protection




   Conservation Watershed Network for Native Fish

   A Conservation Watershed Network for Native Fish (CWN) is a model set forth in the Flathead National
   Forest’s Draft Revised Forest Plan1 as an approach to managing native fish habitat. This watershed based
   tool, analyzed forest wide, is defined as “a collection of watersheds where management emphasizes
   habitat conservation and restoration to support native fish and other aquatic species. The goal of the
   network is to sustain the integrity of key aquatic habitats to maintain long-term persistence of native
   aquatic species.”

   A September 2016 memorandum sent by the Washington Office to Regional Foresters2 clarified that the
   Forest Service has the authority under the 2012 planning rule to establish conservation watersheds in
   land management plans, and that the Forest Service has a long history of doing so.3 This authority
   complements the Forest Service’s requirement to identify priority watersheds generated through the
   Watershed Conservation Framework in land management plans.4 The memorandum also clarifies that
   the purpose of conservation watersheds is distinct from that of priority watersheds; the former is
   intended to be long-term designations designed to conserve aquatic species over the duration of a land


   1 http://www.fs.usda.gov/Internet/FSE_DOCUMENTS/fseprd502201.pdf
   2 See Memorandum dated September 30, 2016 entitled Clarification on Conservation Watersheds in Land
   Management Plans signed by Chris French and Rob Harper (Directors of Ecosystem Management Coordination and
   Watershed, Fish, Wildlife, Air and Rare Plants, respectively) to Regional Foresters.
   3 For example, Northwest Forest Plans identify key watersheds, and Sierra Nevada Framework plans identify critical
   aquatic refuges.
   4 36 C.F.R. § 219.7(f).

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 280 of 356




   management plan (i.e., decades), typically at a finer scale of watershed, while the former is done more
   broadly, and can be “thought of as tactical and near-term designations guiding the implementation of
   agency work priorities in the near-term.”5

   Rio Grande cutthroat trout (RGCT), the legacy fish of the Rio Grande basin, currently occupy only 12% of
   their native stream habitat. In the larger effort to promote the long-term sustainability of these
   remarkable fish, connectivity and consistency across large watersheds and across political boundaries
   must be recognized. The current Forest Plan revisions on the Carson, Santa Fe, and Rio Grande National
   Forests are an opportunity to assist those efforts and are the best chance to collectively meet the goals
   of the 2013 Rio Grande Cutthroat Trout Conservation Strategy6.

   Applied to the Carson, Santa Fe, and Rio Grande National Forests, development of a CWN should
   include:

        •     Watersheds currently in good condition or which have the potential to be restored to good
              condition
        •     Watersheds expected to protect native fish and help maintain healthy watersheds and river
              systems
        •     Watersheds resilient to impacts of climate change and thermal barriers
        •     Watersheds with existing, or potential for, high connectivity in regard to RGCT habitat, genetics,
              and distinct populations
        •     Watersheds with high potential for storing water on the landscape in the form of floodplain and
              wetland connectivity
        •     Watersheds with existing or potential for connectivity between headwaters of congressionally
              designated protections with unprotected lower lying elevations
        •     Watersheds with geographic and hydrologic connectivity between pristine headwaters and
              lower stream reaches with poorer condition

   In the creation of a CWN, many factors must be taken into consideration. The Flathead Forest Draft
   Forest Plan, Appendix E lays out a detailed description of their multiscale analysis and factors
   contributing to the creation of the CWN, but there are many examples under the umbrella term of
   Conservation Watersheds. They are referred to as Key Watersheds in the Northwest Forest Plan, and
   Critical Aquatic Refuges in Region 5's Sierra Nevada Framework. There are currently no defined
   Conservation Watersheds in Regions 2 or 3. A locally sensitive CWN and a cohesive, landscape scale,
   Aquatic Conservation Strategy would be the best management tool for the unique challenges of the
   regions aquatic and water resources.

   Recommendations for considerations in creating a CWN for Native Fish in the Rio Grande Basin include:


   5 Ibid.
   6 RGCT Conservation Team. 2013. Rio Grande cutthroat trout (Oncorhynchus clarkii virginalis) Conservation
   Strategy. Colorado Parks and Wildlife, Denver, CO.
   https://www.fws.gov/southwest/es/newmexico/documents/RGCT_conservation_strategy_final_12-10-13.pdf


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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 281 of 356




      •    A watershed based analysis of varying scale, specifically for RGCT
               o    Greater Rio Grande Watershed
                        ■    Pecos and Rio Grande RGCT populations
                                          o   Larger Sub Basin complexes (Sand Creek, Comanche Creek,
                                              etc.)
                                                  ■   Conservation Populations
                                                         •   Core Conservation Populations
      •    Close consultation of the 2013 Rio Grande Cutthroat Trout Conservation Strategy and of
           ongoing efforts in conservation biology and science from the strategies' partners
      •    A compilation, summarization and systematic analysis of available studies and data on existing
           trout habitat and population conditions, limiting factors, and climate change predictions
           relevant to the Rio Grande Basin and its sub watersheds
               o    Analysis of thermal connectivity, including possible climate change scenarios, applied to
                    coldwater fisheries
      •    Degree of existing and potential connectivity
               o    Ecologically
               o    Hydraulically
               o    Hydrologically
               o    Culturally
               o    Politically
      •    Other Native Fish species
      •    Watersheds important to other water users

    Considerations for management of CWN watersheds:

       •   Removal of unnecessary physical stream and river barriers
       •   Optimization of existing infrastructure to facilitate natural stream function and fish passage
       •   Emphasis on green infrastructure instead of artificial constructions
       •   Prioritization of partner projects for restoration and rehabilitation
               o Use Comanche Creek as example of partnership potential and project design
       •   Where appropriate recommend designations of recreational populations of RGCT
       •   Any timber activity need be consistent with the priority purpose of restoration and
            protection of RGCT
                o   Additional analysis process for any timber harvest permits to prioritize projects
                    reducing risk of post fire flooding and meet strict standards to protect waterways
                    from potential negative impacts
       •   Adhere to Forest Service BMPs protecting fish and their habitat
       •    No new extractive energy and mineral leases in conservation watersheds
       •   Strict water quality and riparian health standards, focused on health of RGCT, which
           are measurable incorporated into the forest monitoring plan
       •    No net increase in roads
       •    Replacement of road-stream crossing structures that impede channel or floodplain


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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 282 of 356




                 as possible
         •       Decommissioning of unnecessary roads and stream-road crossings
         •       Application of BMPs for water including regular effectiveness monitoring
         •       Avoid stream channel disturbances during spawning season for RGCT, suckers, and
                 chub
         •       Reevaluation of grazing allotments overlapping known RGCT populations and future
                 project areas to encourage mutually beneficial riparian use for fish and permittee



   Riparian Management Zones

   Complementing the CNW, the Flathead National Forest Draft Revised Forest Plan also recognized
   additional classification of Riparian Management Zones (RMZ). These Zones would complement the
   CWN to provide the best possible management direction in aquatic connectivity and the 2012 forest
   planning rule’s direction to maintain and restore ecologic integrity of aquatic ecosystems and
   watersheds.7

   From the Flathead National Forest Draft Revised Forest Plan, p 21-23:

   “Riparian management zones are portions of watersheds where riparian-associated resources receive
   primary emphasis, and management activities are subject to specific standards and guidelines. RMZs
   include traditional riparian corridors, wetlands, intermittent streams, and other areas that help maintain
   the integrity of aquatic ecosystems by 1) influencing the delivery of coarse sediment, organic matter,
   and woody debris to streams, 2) providing root strength for channel stability, 3) shading the stream, and
   4) protecting water quality. RMZ provide other riparian functions, including delivery of organic matter
   and woody debris, stream shading, and bank stability. Another critical function of RMZ is to provide for
   wildlife habitat use and connectivity.”

   Recommendations for classification of RMZ

             •     Category 1 - Native Fish Bearing Streams
             •     Category 2 - Permanently flowing non-fish bearing streams
             •     Category 3 - Ponds, lakes, reservoirs
             •     Category 4 - Wetlands
             •     Category 5 - Seasonally flowing or intermittent streams or lands with exceptional
                   detrimental erosion
             •     Discretion of management in “Inner" and “Outer” zones within the underlying RMZ

   Considerations for management of RMZ

             •     RMZ reflect a natural composition of native flora and fauna and a distribution of physical,
                   chemical, and biological conditions appropriate to natural disturbance regimes



   7 36 C.F.R. §219.8(a)(1).

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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 283 of 356




         •   The species composition and structural diversity of native plant communities in riparian
             management zones, including wetlands, provide adequate summer and winter thermal
             regulation, nutrient filtering, appropriate rates of surface erosion, bank erosion, and channel
             migration
         •   They will supply amounts and distributions of nutrients, coarse woody debris, and fine
             particulate organic matter sufficient to sustain physical complexity and stability
         •   RMZ feature key riparian processes and conditions, including slope stability and associated
             vegetative root strength, wood delivery to streams and within the RMZs, input of leaf and
             organic matter to aquatic and terrestrial systems, solar shading, microclimate, and water
             quality, operating consistently with local disturbance regimes
         •   RMZs should have highly diverse structure and composition to support terrestrial
             riparian-associated plants and animals.
         •   Only activities that advance RGCT connectivity and aquatic ecological health
             allowed
         •   Prioritization of partner projects for restoration and rehabilitation including replacement of
             non-native vegetation such as tamarisk with appropriate native plantings
         •   Preclude surface disturbance from oil and gas development within a buffer from
             the ordinary high water mark from perennial and intermittent streams and other
             riparian areas; apply a larger setback from Gold Medal (CO) and Special Trout
             (NM) waters




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   Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 284 of 356
Place-based Opportunities for Connectivity in the Upper Rio Grande Landscape
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 285 of 356



    From:              Defenders of Wildlife on behalf of Nancy Bowsher
    To:                FS-RGNF forest plan
    Subject:           Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 4:56:49 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Ms. Nancy Bowsher
    14685 County Road 261c
    Nathrop, CO 81236-9774
    (719) 539-7877
    nbowsher@yahoo.com




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 286 of 356



    From:              Defenders of Wildlife on behalf of Lisha Doucet
    To:                FS-RGNF forest plan
    Subject:           Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 4:57:11 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Ms. Lisha Doucet
    8525 Citation Dr
    Wellington, CO 80549-3224
    (281) 389-5339
    lisha_doucet@hotmail.com




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 287 of 356



    From:              Defenders of Wildlife on behalf of Mary Ferraro
    To:                FS-RGNF forest plan
    Subject:           Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 4:56:57 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Ms. Mary Ferraro
    718 Fulton St
    Aurora, CO 80010-3914
    (720) 262-4272
    ferrarmt@hotmail.com




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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 288 of 356



    From:              Defenders of Wildlife on behalf of James Johnson
    To:                FS-RGNF forest plan
    Subject:           Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 5:26:44 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Mr. James Johnson
     1715 Holly Way
    Fort Collins, CO 80526-6920
    (970) 221-0432
    jandajohnson1@comcast.net




                                                                              Rvsd Plan - 00002399
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 289 of 356



    From:              Defenders of Wildlife on behalf of Barbara League
    To:                FS-RGNF forest plan
    Subject:           Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 4:57:04 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Ms. Barbara League
    3830 Silver Plume Ln
    Boulder, CO 80305-7218
    bleague54@me.com




                                                                              Rvsd Plan - 00002400
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 290 of 356



    From:              Defenders of Wildlife on behalf of Cindy Miller
    To:                FS-RGNF forest plan
    Subject:           Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 4:59:59 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Ms. Cindy Miller
    8494 US Highway 285
    Morrison, CO 80465-8954
    (303) 697-0495
    mtn.miller@hotmail.com




                                                                              Rvsd Plan - 00002401
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 291 of 356



    From:              Defenders of Wildlife on behalf of Desiree Sanchez
    To:                FS-RGNF forest plan
    Subject:           Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 4:57:05 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Ms. Desiree Sanchez
    917 Harrison Dr
    Lafayette, CO 80026-1864
    desireedsanchez@yahoo.com




                                                                              Rvsd Plan - 00002402
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 292 of 356



    From:              Defenders of Wildlife on behalf of Lyrysa Smith
    To:                FS-RGNF forest plan
    Subject:           Please! Let"s Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 1:26:36 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Ms. Lyrysa Smith
    1885 S Quebec Way
    Apt B22
    Denver, CO 80231-5623
    lyrysasmith@gmail.com




                                                                              Rvsd Plan - 00002403
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 293 of 356



    From:              Defenders of Wildlife on behalf of Lisa Zales
    To:                FS-RGNF forest plan
    Subject:           Protect the Rio Grande National Forest
    Date:              Monday, October 24, 2016 4:56:49 PM




    Oct 24, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest. I support more recommended wilderness and
    conservation areas within the Rio Grande National Forest in order to
    better conserve important habitat for the threatened Canada lynx,
    boreal toads, Rocky Mountain bighorn sheep, the Rio Grande cutthroat
    trout and the endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Lisa Zales
    7622 S Grape St
    Centennial, CO 80122-3857
    lisazales@yahoo.com




                                                                              Rvsd Plan - 00002404
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 294 of 356



    From:               Defenders of Wildlife on behalf of Tammy Fiebelkorn
    To:                 FS-RGNF forest plan
    Subject:            Please protect the Rio Grande National Forest
    Date:              Wednesday, October 26, 2016 10:04:15 AM




    Oct 26, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    I am writing to recommend the highest level of protection for wildlife
    in the Rio Grande National Forest. I lived in Colorado for many years,
    and am still a frequent visitor there - specifically because of the
    wonderful natural resources like the Rio Grande National Forest.

    I support more recommended wilderness and conservation areas within the
    Rio Grande National Forest in order to better conserve important
    habitat for the threatened Canada lynx, boreal toads, Rocky Mountain
    bighorn sheep, the Rio Grande cutthroat trout and the endangered
    Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Ms. Tammy Fiebelkorn
    1445 Adams St NE
    Albuquerque, NM 87110-5046
    (505) 410-3884
    tammy@e-solved.com




                                                                              Rvsd Plan - 00002405
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 295 of 356



    From:               Defenders of Wildlife on behalf of Jake Hodie
    To:                 FS-RGNF forest plan
    Subject:            PLEASE Protect the Rio Grande National Forest!!
    Date:              Thursday, October 27, 2016 9:36:30 AM




    Oct 27, 2016

    Rio Grande National Forest Supervisor Dan Dallas

    Dear Rio Grande National Forest Supervisor Dallas,

    As a Defender of Wildlife and a resident of Colorado, I am writing to
    recommend the highest level of protection for wildlife in the Rio
    Grande National Forest.

    So much of our wilderness has already been ruined by mining, drilling,
    development, and man.
    Enough is enough!
    The wilderness is supposed to be a place of peace and quiet for us, and
    the wildlife which live in it!
    The animals are running out of places to live and be safe. Our wildlife
    are under threat from so many angles. They desperately need to be
    protected, mainly from humans.
    Life is hard enough for people, let alone the animals.
    Can't we please offer them some much needed help?!
    PLEASE protect the RIO GRANDE NATIONAL FOREST for all future
    generations. Some damage cannot be undone!

    I STRONGLY SUPPORT more recommended wilderness and conservation areas
    within the Rio Grande National Forest in order to better conserve
    important habitat for the threatened Canada lynx, boreal toads, Rocky
    Mountain bighorn sheep, the Rio Grande cutthroat trout and the
    endangered Uncompahgre fritillary butterfly.

    With nearly one million acres of roadless and undeveloped land in this
    forest, the current planning process is a prime opportunity to protect
    vulnerable habitat from development, and to preserve wild lands for
    wildlife, clean water and non-motorized recreation.

    I support designating special areas as strongholds for at-risk species
    and an array of other wildlife. Protecting these areas will conserve
    the headwaters of the Rio Grande for the benefit of fish, wildlife and
    downstream communities. Connecting strongholds with corridors will also
    help animals move across the landscape and adapt in response to a
    changing climate. I support the designation of zoological areas,
    including the Wolf Creek Linkage and a corridor that links the Rio
    Grande to the Carson National Forest to enhance Canada lynx movement
    and wildlife migration.

    Thank you for your consideration,

    Mr. Jake Hodie
    145 Starwood
    Aspen, CO 81611



                                                                              Rvsd Plan - 00002406
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 296 of 356



    skicopmtn@aol.com




                                                       Rvsd Plan - 00002407
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 297 of 356




                       535 16‘h Street, Suite 310 | Denver, Colorado 80202 | tel 303.825.0918
                       www.defenders.org




   October 28, 2016

   Rio Grande National Forest
   Supervisor’s Office
   1803 W. Highway 160
   Monte Vista, Colorado 81144

   Via email: }gff_forest_plan@fsfed.us

   Dear Rio Grande National Forest Planning Team:

   Please accept the following comments on the on formal scoping for the forest plan revision for the
   Rio Grande National Forest (RGNF). We have reviewed the Notice of Intent to Prepare an
   Environmental Impact Statement (NOI; 81 Fed Reg 62,706 et seq., September 12, 2016) and the
   Proposed Action document available on the RGNF’s revision website. Thank you for the
   opportunity to review and provide feedback on the Proposed Action. We appreciate the time and
   effort required to assemble this document. We request that you consider the issues and information,
   outlined below, for consideration as you continue through the planning process and on to develop
   the Draft Environmental Impact Assessment.

   Defenders of Wildlife (Defenders) is a national non-profit conservation organization founded in
   1947 focused on conserving and restoring native species and the habitat upon which they depend.
   We submit the following on behalf of our 1,200,000 members and supporters nationwide, including
   more than 21,000 in Colorado.

   Feel free to contact Lauren McCain at lmccain@,defenders.org or 720-943-0453 with any questions.

   Sincerely,



   Peter Nelson                                         Lauren McCain
   Senior Policy Advisor, Federal Lands                 Federal Lands Policy Analyst




                                                                                     Rvsd Plan - 00002408
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 298 of 356




                                                                                   Contents
   1.          Introduction...................................................................................................................................................... 2
   2.          General Comments on the Proposed Action................................................................................................3
        2.1.      Responsiveness and Flexibility.................................................................................................................... 3
        2.2.      Goals............................................................................................................................................................. 4
        2.3.      Forest-wide Desired Conditions.................................................................................................................5
        2.4.      Objectives..................................................................................................................................................... 8
        2.5.      Geographic Areas......................................................................................................................................... 8
        2.6.      General Forest Area.....................................................................................................................................8
        2.7.      Fire Management Zones............................................................................................................................ 10
        2.8.      Standards and Guidelines..........................................................................................................................11
   3.          Use of Best AvailableScientific Information and the Assessment............................................................ 11
   4.          Ecological Integrity....................................................................................................................................... 12
        4.1.      Terrestrial Ecosystems.............................................................................................................................. 12
           4.1.1.          Ecosystem Resilience and Aggressive Diversification of Forested Ecosystems...................... 12
           4.1.2.           Salvage Logging................................................................................................................................ 16
        4.2.      Watersheds and Aquatic and Riparian Ecosystems................................................................................17
        4.3.      Connectivity................................................................................................................................................20
   5.          At-risk Species................................................................................................................................................21
        5.1.      Threatened and Endangered Species.......................................................................................................21
        5.2.      Proposed and Candidate Species............................................................................................................. 31
        5.3.      Species of Conservation Concern............................................................................................................ 32
           5.3.1.         Species of Conservation Concern Selection................................................................................... 32
           5.3.1.1.       Response to Additional Recommendations................................................................................... 34
           5.3.1.2.       Additional request for consideration............................................................................................... 35
           5.3.2.         Species of Conservation Concern Recommendations.................................................................. 35
   6.          Climate Change.............................................................................................................................................. 45
   7.          Monitoring..................................................................................................................................................... 48
        7.1.      General Comments................................................................................................................................... 48
        7.2.      Recommended Focal Species...................................................................................................................49
   8.          Designated Area Recommendations........................................................................................................... 51
   9.          Literature Cited.............................................................................................................................................. 51




                                                             Defenders tf Wildlfe, Rio Grande National Forest Management Plan SeopiKg Comments | 1



                                                                                                                               Rvsd Plan - 00002409
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 299 of 356




   1. Introduction

   The Rio Grande National Forest (RGNF) supports an array of strongholds for vulnerable native
   flora and fauna. The Forest has an opportunity to contribute to the recovery of eight federally
   protected species, including the threatened Canada lynx and endangered Uncompahgre fritillary
   butterfly; conserve the North American wolverine, which is proposed for listing under the U.S.
   Endangered Species Act (ESA); and maintain the persistence of Species of Conservation Concern
   (SCC) through its management plan revision process.

   Now is the time for bold action in forest planning; robust, science-based forest plan decisions will
   result in higher degrees of public confidence that the Forest Service is fulfilling its mission and
   conservation obligations and enabling integrated landscape-level decision making and more efficient
   project-level implementation. To that end, the purpose of National Forest System (NFS) land
   management planning is to develop plans that “guide management of NFS lands so that they are
   ecologically sustainable and contribute to social and economic sustainability; consist of ecosystems
   and watersheds with ecological integrity and diverse plant and animal communities; and have the
   capacity to provide people and communities with ecosystem services and multiple uses that provide
   a range of social, economic, and ecological benefits for the present and into the future, ^includ[ing]
   clean air and water; habitat for fish, wildlife, and plant communities; and opportunities for
   recreational, spiritual, educational, and cultural benefits” (36 CFR 219.1(c)). These are the overall,
   broad-scale desired conditions set forth in the 2012 Planning Rule (36 CFR 219.1-219.19) (Planning
   Rule or rule).

   To achieve these broad goals, a system has been developed to assess current conditions and trends,
   identify the need to change the forest plan based on the Assessment, develop a plan to meet desired
   conditions, and monitor conditions to test if the plan is working. Each element of the system is
   integral to the whole. The planning phase for forest plan revision begins with a “review of the
   relevant information from the Assessment and monitoring to identify a preliminary need to change
   the existing plan and to inform the development of plan components and other plan content”
   (219.7(c)(2)(i)). The planning process must also be driven by review, incorporation, and analysis of
   best available scientific information (BASI) (219.3).

   The Planning Rule is a federal regulation implementing the National Forest Management Act
   (NFMA) (1600 U.S.C. § 1600 et seq.). NFMA was enacted in 1976 in large part to elevate the value
   of ecosystems, habitat and wildlife on our national forests to the same level as timber harvest and
   other uses. NFMA codified an important national priority to ensure forest management plans
   “provide for the diversity of plant and animal communities based on the suitability and capability of
   the specific land area” (16 U.S.C. § 1604(g)(3)(B) (2012)). NFMA established a process for
   integrating the needs of wildlife with other multiple uses in forest plans. Most important, the law set
   a substantive threshold Forest Service management actions must comply with for sustaining the
   diversity of ecosystems, habitats, plants and animals on national forests. These comments are
   primarily on the species diversity and ecological sustainability aspects of management planning.

   Management goals and approaches must be detailed, enforceable, and designed to protect and
   restore wild forest landscapes that are held in trust for all American’s, not just those with economic
   interests in our natural resources. There may be natural desire to postpone difficult analyses and
   decisions to the project-scale; however, this approach will only delay and reduce the effectiveness of
   efforts required by the NFMA to conserve and restore our national forests and resident fish,

                                     Defenders tf Wildlfe, Rio Grande National Forest Management Plan SeofiKg Comments | 2



                                                                                   Rvsd Plan - 00002410
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 300 of 356




   wildlife, and plants. The Planning Rule requires that plan components—not project decisions—provide
   ecological conditions for at-risk species.

   2. General Comments on the Proposed Action

   We appreciate the effort to portray the Proposed Action as a “strategic framework”. It is important
   to have a clear portrayal of the architecture that the Forest is proposing for the revised plan. It is our
   view that in forest planning, as in other disciplines, form should follow function. The forest plan
   therefore should be designed to meet the purpose and requirements of the Planning Rule. The
   purpose of forest plans is articulated in the Planning Rule in Section 219.1(c).1 These purposes
   provide a framework for the structure of all forest plans, and can be tailored to meet the unique
   roles, contributions and contexts of individual national forests. Importantly, forests should not
   ignore or downplay any of the broad goals and purposes of the Planning Rule. Note that ecological
   integrity is the first stated purpose thus reinforcing the notion that maintaining and restoring the
   health of national forest lands and waters is central to the rule’s fundamental principle of social,
   economic and ecological sustainability. Forest plans achieve these purposes by following the
   direction and fulfilling the requirements of the Planning Rule through the use of plan components
   and other plan direction. Plan components are the heart of the forest plan in that they enable rule
   purposes and requirements to be met. While the overall architecture of a plan is important, a plan
   will be evaluated on the degree that its plan components effectively meet the rule’s purposes.

       2.1. Responsiveness and Flexibility

   At the outset it is important to appropriately frame the purpose of a forest plan under the Planning
   Rule. The Proposed Action states that the revised forestplan should be “adaptive and responsive to
   monitoring results, changing direction, changing technologies, and changing resource conditions” (p.
   1). Elsewhere the Proposed Action states that “Resource management allows for flexibility and the
   ability to adapts” (p. 16). It is true that the Planning Rule framework “creates a responsive planning
  process’ that “allows the Forest Service to adapt to changing conditions” (36 CFR 219.6(a)) emphasis
   added). However, there is nothing in the Planning Rule that provides authority to establish a flexible
  forestplan by building uncertainty into the plan components themselves.

   It’s helpful to think of the eventual decision document supporting the forest plan at the outset of
   the process. That decision will require “An explanation of how the plan components meet the
   sustainability requirements of § 219.8, the diversity requirements of § 219.9, the multiple use
   requirements of § 219.10, and the timber requirements of § 219.11” (36 CFR 219.14(a)(2)). Every
   plan component developed at this stage of the planning process should be evaluated through the
   lens of that requirement: Does it allow the forest plan to meet the rule’s requirements? There is an
   allure to postpone plan decisions to another time and place, whether it be under the auspices of
   “flexibility” “adaptive management” or some other reason. This will not work. A plan that provides


   1 The purpose of this part is to guide the collaborative and science-based development, amendment, and revision of land
   management plans that promote the ecological integrity of national forests and grasslands and other administrative units
   of the NFS. Plans will guide management of NFS lands so that they are ecologically sustainable and contribute to social
   and economic sustainability; consist of ecosystems and watersheds with ecological integrity and diverse plant and animal
   communities; and have the capacity to provide people and communities with ecosystem services and multiple uses that
   provide a range of social, economic, and ecological benefits for the e present and into the future. These benefits include
   clean air and water; habitat for fish, wildlife, and plant communities; and opportunities for recreational, spiritual,
   educational, and cultural benefits.


                                            Defenders tf Wildlfe, Rio Grande National Forest Management Plan Scoping Comments | 3



                                                                                           Rvsd Plan - 00002411
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 301 of 356




   discretion for future decision-makers to adopt programmatic decisions on a project-by-project basis
   would provide the Forest with the ability to essentially change or create plan direction in the future
   without public involvement. This would be counter to the fundamental purpose of NFMA of
   providing integrated and strategic direction for future projects (NFMA Section 6(f)(1)). It would also
   bypass the substantive requirements of the Planning Rule, and its requirement for use of BASI, both
   of which explicitly do not apply to projects (36 CFR 219.2(c)). In the case of at-risk species, it would
   allow the Forest to avoid its statutory obligation for forestplans to provide for diversity of plant and
   animal communities.

   The forest plan cannot simply be a blank check. Plan components must “guide the development of
   future projects and activities” (FSH 1909.12 Ch. 20, 22.1). It is important that this step of providing
   a longer-term and landscape-scale context for project decision-making be taken seriously. Where
   future determinations are necessary, failure to at least provide criteria for making those
   determinations amounts to including no plan components that would meet species-diversity
   requirements.

   The Proposed Action does not provide meaningful plan components for at-risk species (i.e.
   providing certainty that necessary ecological conditions for each at-risk species will be achieved under
   the plan). We understand that those plan components are forthcoming, but it is worth noting at this
   stage that the Planning Rule clearly states that it is plan components that must provide the necessary
   ecological conditions for at-risk species (36 CFR 219.7(d)(3)). Plan components are limited to
   optional goals, and required desired conditions, objectives, standards, guidelines and suitability of
   lands. Monitoring programs are required, but are not plan components and cannot be used in lieu of
   plan components to meet diversity requirements. Information may be included in a plan about
   “management approaches or strategies (36 CFR 219.7(f)(2)),” but these are not plan components
   and cannot be relied on to meet the diversity requirement.

       2.2. Goals

   The Proposed Action employs goals at the top of the strategic framework. Goals are an optional
   plan component considered to be “broad statements of intent, other than desired conditions, usually
   related to process or interaction with the public” (36 CFR 219.7(e)(2)). The Planning Rule does not
   suggest that goals are to “provide umbrella statements that all other direction would tier to” (p. 7).
   Plan direction tiers to the requirements of the Planning Rule. In fact, the three goals provided in the
   Proposed Action appear to be loose interpretations of Planning Rule requirements. For example, the
   goal to “protect and restore watershed health, water resources, and the systems that rely on them” is
   found in Section 219.8 of the Planning Rule. Specifically, there must be plan components (including
   standards or guidelines) for watershed integrity (219.8(a)) and water resources in the plan area (36
   CFR 219.8(a)(2)(iv)).

   Similarly, the goal to “maintain and restore sustainable, resilient ecosystems” essentially alludes to
   the Planning Rule’s requirement to maintain or restore the ecological integrity of ecosystems (36
   CFR 219.8). The restoration of natural fire regimes as drivers of ecological integrity and resiliency
   should be an overarching goal within the forest plan; this would be in line with the rule’s emphasis
   on developing plan components for “Wildland fire and opportunities to restore fire adapted
   ecosystems” (36 CFR 219.8(a)(1)(v)). We note that the goal to “aggressively” diversify “age classes
   and structure, seral stage, and habitat classes” is not appropriate. First, goals should not be used in
   lieu of desired conditions (FSH 1909.12 Ch. 20, 22.16). Second, there needs to be specific plan

                                     Defenders tf Wildlfe, Rio Grande National Forest Management Plan Scoping Comments | 4



                                                                                   Rvsd Plan - 00002412
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 302 of 356




   components for the particular ecosystems within the plan area; the proposed action appears to
   generalize conditions across ecosystems; ecosystems vary in their degree of integrity and each will
   have unique maintenance and restoration needs. If age class, structure, seral state, and habitat class
   refer to key ecosystem characteristics, there must be desired conditions for them based on the
   natural range of variation, as well as standards and guidelines to ensure that desired conditions are
   actually achieved. “Aggressive” diversification in not an appropriate term; objectives can be used to
   establish a rate of progress toward desired conditions for ecological integrity and would need to be
   compatible with other plan components for sustainability and plant and animal community diversity.

   The goals do not meet the definition of plan components provided in the directives. For example,
   they essentially “repeat Agency policies applicable to all National Forest System units” and are not
   “written clearly and with clarity of purpose and without ambiguity so that a project’s consistency”
   with them can be easily determined (FSM 1909.12 Ch. 20, 22.1). It may be appropriate to use goals
   to “organize plan components” (FSH 1909.12 Ch. 20, 22.16) and this could be the role the Forest
   envisioned for them in the Proposed Action. In this case we would recommend goal statements that
   meet the definition of plan components and that they be provided for all types of plan components,
   including the duty to provide ecological conditions for at-risk species. We also recommend that the
   Forest shape the goals using the direction provided in the directives, for example by describing a
   “state between current conditions and desired conditions” or “overall desired conditions of the plan
   area that are also dependent on conditions beyond the plan area or Forest Service authority.”

       2.3. Forest-wide Desired Conditions

   The Proposed Action lists a number of forest-wide desired conditions (Strategic Domain p. 9). Here
   is where it may be useful to organize desired conditions with specific goal statements for specific
   resource requirements consistent with the Planning Rule. As mentioned, the framework should
   cover all of the Planning Rule’s requirements, not just a subset: “The set of desired conditions for
   plan revision must cover ALL the requirements for a plan set out at 36 CFR 219.8 through 219.11 -
   to provide for sustainable ecosystems with ecological integrity, in the context of multiple-use
   management” (FSH 1909.12 Ch. 20, 22.11, emphasis in original).

   So for example rather than “biological diversity” there would be a set of desired conditions for
   “ecological sustainability” (219.8). This would include desired conditions for key characteristics of
   ecological integrity for each terrestrial and aquatic ecosystem in the plan area, and watersheds. There
   will also be a set of desired conditions for ecological conditions necessary for at-risk species, which
   may overlap those provided for ecological integrity. The draft plan should list all desired conditions
   for integrity and those necessary for at-risk species so that it is clear how Planning Rule requirements
   are being met. Such a format also allows the reader to understand that the needs of at-risk species
   will be met through plan components for integrity or through species specific plan components.

   As it stands the forest-wide desired conditions presented in the Proposed Action do not meet the
   Planning Rule’s definitions and requirements. For example, there must be plan components for
   integrity for each of the ecosystems and watersheds in the plan area. It is not clear in the Proposed
   Action what the target ecosystems are for integrity management. The ecosystems discussed in the
   “Roles & Contributions” section (p. 4), along with those evaluated within the Assessment, should
   form the basis for plan components for ecosystem integrity.




                                     Defenders tf Wildlfe, Rio Grande National Forest Management Plan SeofiKg Comments | 5



                                                                                   Rvsd Plan - 00002413
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 303 of 356




   Furthermore, the proposed desired conditions are not “described in terms that are specific enough
   to allow progress toward their achievement to be determined” (36 CFR 219.7(e)(1)(i)). Vague desired
   conditions provide nothing to judge whether they have been met except for the opinion of the
   Forest Service. The less specific and ascertainable the desired conditions are, the more mandatory
   standards and guidelines are needed to provide certainty that the Planning Rule’s requirements are
   being met. For instance, the desired condition for “biological diversity” states that “habitat
   composition (including seral stage), structure, pattern (connectivity), and disturbance frequencies
   similar to those that result from natural disturbances (insects, disease, and fire) are maintained to the
   extent possible^” This is a start in identifying key ecosystem characteristics for integrity. However,
   it is necessary to actually describe the desired key characteristic (e.g. habitat composition, structure,
   pattern/connectivity, disturbance) conditions in specific terms for each target ecosystem. These
   characteristics and information on their integrity status should be carried forward from the
   Assessment, and we discuss this below.

   We assume that the desired condition to “provide ecological conditions necessary to contribute to
   the recovery of Federally listed species, conservation of proposed and candidate species, and
   maintain viable populations of species of conservation concern in the plan area” is a placeholder
   because it simply repeats Planning Rule requirements. It would be helpful if the Forest would
   acknowledge this and make a concerted attempt to solicit comment on what those actual conditions
   are. We are somewhat surprised that the Forest is using a placeholder approach here given that the
   conditions necessary to meet the requirements for at-risk species should have been identified and
   documented during the Assessment (along with relevant information gaps that may be filled through
   inventories, plan monitoring, or research) (FSH 1909.12 Ch. 10, 12.53).

   Similarly, we assume that the desired condition to protect, restore and enhance habitat for federally
   listed species is not meant to serve as a plan component but to solicit further input on the
   specification of those species and the definition of desired condition statements for each of those
   habitat types. Again this is information that is required to be provided in the Assessment so that
   generic plan components can be avoided for those that actually specify in measurable terms the
   conditions required by at-risk species.

   There are a number of flaws throughout the set of forest-wide desired conditions; to mention a few:

   Under “Timber Resources” the desired condition is that “some harvest operations are designed to
   mimic natural disturbance events or processes.” This doesn’t seem to be a desired condition. The
   desired condition is for stands/areas to have a condition that mimics natural disturbance. This is a
   good plan component for integrity, but it would also need to specify which ecosystem it applied to,
   and get further into the appropriate ecological scale. “Harvest operations” would then contribute to
   achieving the desired stand conditions. In that same section there is a desired condition that
   “vegetation structure^is capable of sustaining timber harvests” It is appropriate and required to
   have plan components for timber harvest but the phrasing of the plan component suggests that the
   desired ecosystem structure is driven by a capability to sustain harvest. It would be more appropriate
   to define the desired structural conditions for ecosystems, patch areas and stands in the planning
   area, considering areas in suitable (production) and non-suitable (harvest for other purposes)
   designations to ensure that plan components for timber harvest are compatible or may assist in
   achieving desired conditions for integrity.




                                     Defenders tf Wildlfe, Rio Grande National Forest Management Plan ScofiKg Comments | 6



                                                                                   Rvsd Plan - 00002414
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 304 of 356




   Under “Range” the desired condition states that “site specific desired conditions are fully described
   in the allotment management plan.” Postponing the development of a desired condition is not a
   desired condition. The forest plan must define the conditions necessary to govern projects and
   activities implemented under the plan.

   Under “Fire” there is a desired condition that “the role of fire in ecosystem dynamics is recognized
   and sponsored when and where it does not threaten human life and property.” We don’t grasp the
   meaning of the word “sponsored” in this sentence. Furthermore, this is not a desired condition in
   that it doesn’t specify the role of fire in ecosystem dynamics nor discuss under what conditions (or
   when) it would be recognized. The forest plan is the place to define the role of fire. Effectively
   planning and managing for wildland fire is a central policy objective of the Planning Rule. The
   Assessment is to provide information on the role of wildland fire as a system driver (36 CFR
   219.6(b)(3)), and plan direction for integrity should also stress desired conditions and other plan
   components for fire disturbance (36 CFR 219.8(a)(1)(iv)). Specific plan components to “restore fire
   adapted ecosystems” are expected (36 CFR 219.8(a)(1)(v)). Desired conditions for fire behavior
   should be developed based on the Assessment and BASI. The desired condition that “the amount,
   arrangement, and continuity of live and dead materials that contribute to fire spread are consistent
   with land uses and estimates of historic fire regimes” is problematic. We agree that there should be a
   desired condition for those structural conditions to meet ecosystem integrity requirements; to
   accomplish this the desired condition needs to describe the parameters of the historic fire regimes
   for each of the relevant ecosystems. We also agree that there may be additional plan components
   addressing other issues such as “land uses” but those must be developed so that they are compatible
   with the desired condition for the ecosystem. We note that ecological integrity need not be achieved
   “on every acre” but that the sum of the plan components for any given ecosystem must result in an
   ecosystem’s integrity.

   Plan components for “Water and Aquatic Resources” should reflect the requirements in Section
   219.8 by actually articulating the desired condition. For example, the “dynamic equilibrium between
   extreme natural events” needs to be described, as does the meaning of a “near-reference-stream
   appearance”; “expected ranges”, “acceptable limits” and levels of habitat (i.e. “adequate”) need to be
   described so that they can be measured. Any time there is a reference to something not being
   “increased”, or “maintained” or “improved”, that baseline value needs to be expressed so that the
   condition can be measured. Words like “healthy” or “harmonious” should not necessarily be
   avoided, but must be qualified so that they can be consistently evaluated.

   The only way to determine if “Mineral development is compatible with ecosystem capabilities and
   resource values” is to have plan components for ecosystem capabilities and resource values. The
   forest plan must provide the “stipulations, mitigation, and careful monitoring” that will ensure that
   ecosystem capabilities and resource values are being maintained (i.e. constraints on project or activity
   decisionmaking to help achieve the desired conditions for resource values).

   More should be said on roads. The desired condition states that the “road system continues to serve
   as adequate access for the public”. Does this mean that the current road system is adequate and will
   not change in nature? Does it mean that a different road system could be adequate? More
   specificity on the “areas” where road closure is emphasized is needed, as well as the desired
   conditions for these areas for wildlife habitat, soil, and water resources. Objectives will be required
   to make progress toward these conditions in these areas. Other plan components may be necessary


                                     Defenders tf Wildlfe, Rio Grande National Forest Management Plan SeofiKg Comments | 7



                                                                                   Rvsd Plan - 00002415
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 305 of 356




   to avoid expansion of the road system in areas where roads pose a threat to necessary conditions for
   wildlife, soil and water resources.

       2.4. Objectives

   We appreciate the examples of potential Objectives and provide the following comments. Consider
   using objectives to prioritize areas. For example, actions to eliminate non-native invasive species
   may be prioritized in certain priority watersheds or other areas where the invasives pose a
   particularly acute threat to sustainability. Tier the objectives to specific desired conditions. An
   objective to “maintain, enhance, or improve conditions on three to five fen habitats” (or meadows,
   fish habitats, etc.) will not work unless there are specific plan components describing those
   conditions. The objective to “Use appropriate and authorized tools^to meet resources objectives”
   does not seem to be an objective. It seems more like a potential management approach. Obviously
   the “resource objectives” would have to be defined, as would the desired conditions for “vegetation
   build-up”. Priority watersheds play an important role in the Planning Rule and could be the subject
   of focused restoration planning. We note that the priority watersheds need to be identified in the
   plan. Desired conditions for specific attributes of “condition class” may be useful in focusing
   restoration actions that will effectively improve watershed conditions.

       2.5. Geographic Areas

   The Planning Rule defines geographic areas as “spatially contiguous land areas.” It is not clear that
   the proposed geographic areas are contiguous. The directives point out that geographic areas are
   “large areas” “based on place, while management areas are based on purpose” (FSH 1909.12 Ch. 20,
   22.21). “General Forest” “Primitive Wilderness” and “Roadless” areas are not clearly characterized
   as spatially contiguous places; in fact, they occur throughout the Forest. The areas appear to be
   defined more by their purpose. Management direction for Wilderness and Roadless lands is fairly
   well established based on the purposes associated with the designation of these areas. And, for
   example, the General Forest Geographic Area is defined by its “multiple-use emphasis to achieve a
   variety of goals.” This does not sound like a geographic place (i.e. a canyon, or a mountain area, or a
   specific watershed, as discussed in the directives); by definition it is a “general” area. It seems the
   point of the geographic area designation is to direct plan direction to a specific spatial area
   characterized by some sort of geographic logic; we question whether the Forest is appropriately
   using the Geographic Area designation tool in this case. The proposed plan direction does not imply
   a sense of place-based management in this case.

       2.6. General Forest Area

   As for the “desired conditions” for the General Forest area (the statements are not defined as such),
   they are problematic. For example, there is a statement that the “multiple-use emphasis” is used to
   “achieve a variety of goals.” These goals need to be specified. In order to “balance” “resource use
   and management”, plan components for those values would need to be expressed. Similarly, the
   “species-specific needs” that will form the basis for “rotation periods” need to be specified in the
   form of plan components. Clearly there will need to be plan components for “resiliency in the face
   of changing environmental conditions” so that it can be determined that “all vegetation management
   is sustainable.”




                                    Defenders tf Wildlfe, Rio Grande National Forest Management Plan SeofiKg Comments | 8



                                                                                  Rvsd Plan - 00002416
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 306 of 356




   Regarding the spruce-beetle outbreak, and the implications for management within the General
   Forest area, the Proposed Action states that it’s “effects are highly variable and may be positive or
   negative.” The Proposed Action seems to conclude that it is necessary to “restore” conditions
   following the disturbance, without clarifying its positive or negative effects. To reach a conclusion
   that conditions require restoration, the Forest must demonstrate that projected future conditions for
   selected key characteristics do not indicate ecological integrity (i.e. that future conditions will be
   outside of NRV considering future environmental change). Absent desired conditions for integrity
   for characteristics of the ecosystem affected by the spruce-beetle outbreak it is not possible to
   propose a vague “restoration” effort. Social and economic objectives such as to “capture the existing
   value of the dead trees” and increase the near term harvest volume maj have validity, but only after it
   has been demonstrated that the system requires restoration of ecological integrity due to the
   outbreak and plan components have been established to guide such restoration. The statement that
   “For the upcoming decade, salvage harvest in the spruce-fir cover type will dominate the timber
   harvest program” is totally premature absent plan direction for ecological conditions in that forest
   type.

   Regarding timber suitability, as it is discussed within the General Forest area of the Proposed
   Action, the lands that “may be suitable for timber production” are equal to the total NFS lands in
   the plan area minus the lands not suited for timber production due to legal or technical reasons
   (FSH 1909.12 Ch. 60 61 - Exhibit 01). It is not valid to project the estimate of what may be suitable
   until the lands not suited have been formally identified; the directives state that they may be
   identified in the Assessment or prior to the development of alternatives. Furthermore, it is not safe
   to assume that the “suitable base in the new plan will be similar” to the current plan without having
   plan components yet.

   Regarding the desired condition for roads within the General Forest area, it will be necessary to
   specify what a “well-developed transportation system” consists of and evaluate the impacts of
   pursuing that condition on plan components for other resources.

   It is interesting to read that ecosystems within the General Forest area “would be resilient to the
   impacts of wildfire” which implies wildfire behaving as a stressor rather than a driver of ecosystem
   integrity and resiliency. The thinking here needs to be clear. Uncharacteristic fire may act as a
   stressor (a threat to resiliency) in that it is behaving outside of its natural range. Therefore, in
   addition to defining the structural and compositional characteristics of a resilient system, there
   should be plan components for characteristic (functional) fire (as a driver of integrity). Desired
   conditions for ecosystem function are all too often overlooked in favor of structural or
   compositional attributes.

   If there are characteristics of wildfire that are detrimental to ecosystem function (i.e. that are
   operating outside of NRV) it may be necessary to pursue improvements in resiliency conditions;
   these could be related to desired conditions for key structural, compositional, or functional
   characteristics. (In other words it may be necessary to change structural conditions to change fire
   behavior.) Once it has been established which characteristics are not resilient to wildfire, then
   desired conditions and supporting plan components can be established to guide restoration actions.
   The restoration of sustainable fire regimes (i.e. within NRV, informed by climate change impacts,
   and considering social impacts for some portions of some ecosystems) should be an overarching
   goal of the forest plan.


                                    Defenders tf Wildlfe, Rio Grande National Forest Management Plan SeofiKg Comments | 9



                                                                                  Rvsd Plan - 00002417
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 307 of 356




   The statement that “Lands in this Geographic Area are maintained at a moderate to low risk with
   high potential benefit conditions relative to fire” needs to be more clearly explained. Risk of what?
   (The same construction is used in the Roadless Geographic Area, where it is necessary to explain the
   management implication.) “Acceptable conditions” for managing wildfires for resource benefit and
   prescribed fire need to be defined.

   “Quality forage and cover” for wildlife need to be defined and measurable based on the
   demonstrated ecological needs of those species.

       2.7. Fire Management Zones

   The concept of fire management zoning is valid, given the realities of managing for fire within and
   adjacent to the Forest. However, the zoning approach must result in ecosystem integrity being
   achieved for the various Forest ecosystems. As mentioned earlier, integrity need not be achieved on
   “every acre” but must be met at the ecosystem scale of analysis within the plan area. There needs to
   be overarching plan direction for the affirmative role of fire in maintaining and restoring ecosystem
   conditions; management zones for fire can then tier to that framework.

   The Proposed Action states that the Fire Management “zones are not a mapped feature” but applies
   the zones to the Geographic Areas and the Wildland Urban Interface, which are all mapped or
   mappable. So we are confused by that statement and believe that the zones meet the definition of a
   management area (i.e. an area “that has the same set of applicable plan components”). It appears
   that the intent is to provide unique plan components for the three types of fire zones. For example,
   it appears that “ecological maintenance” is one of the desired conditions in the FRB-M. It is equally
   if not more important at this stage to stress the desired conditions in the zones in addition to
   describing how that condition will be achieved. As mentioned earlier, the plan should have robust
   desired conditions and plan components for wildfire conditions as a driver of ecological integrity;
   those plan components could be forest wide (a goal for example) and tailored to geographic and
   management areas. It is not clear how the Fire Management Zones relate to the plan’s approach to
   providing for the integrity of the various ecosystems in the plan area; what’s missing at this stage is
   an understanding of the various ecosystems and their desired conditions for integrity.

   Pivotal to this entire discussion is a definition and discussion of the “resources values” that are put
   at risk from wildfire. In Wilderness and Roadless areas there is low risk to resource values from fire,
   but in the General Forest area the “current conditions may put some natural resource values at
   varying degree of risk for damage from wildfire.” What values are being discussed? Desired
   conditions and other plan components for these values must be expressed in order to understand
   the risks of not maintaining or achieving those conditions. The “specific resource objectives”
   mentioned throughout this section should be understood to be at minimum the ecological integrity
   of the ecosystems of interest; this is the primary driver of all other terrestrial and aquatic
   management directions. Only after establishing desired conditions for integrity of key characteristics
   for the ecosystems within the plan area can one make decisions about how to manage for integrity
   within those ecosystems. The Fire Management Zone concept implies that this logic is present: that
   generally backcountry areas will maintain “high integrity” conditions but that integrity may be
   compromised elsewhere due to other objectives and constraints. In concept this makes sense
   because an ecosystem can have integrity even if not every portion of that system is managed for that
   sole purpose. However, the forest plan will have to be crystal clear on how integrity is being
   provided and determined for each of the relevant ecosystems. The effects analysis will need to reveal

                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan Jeofing Comments | 10



                                                                                   Rvsd Plan - 00002418
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 308 of 356




   the impacts of all the plan direction on integrity and demonstrate that the rule’s requirement is being
   met at the ecosystem scale of analysis.

       2.8. Standards and Guidelines

   The Proposed Action states that the “Forest Plan will present standards and guidelines prescribed in
   the 2012 Planning Rule” and recognizes that they are needed to achieve desired conditions (p. 35). It
   is somewhat difficult to provide comment on the desired conditions as stand-alone plan
   components, knowing that each will need to be supported by other plan components. However, at
   this stage it is important to point out that there are perils associated with relying too heavily on
   desired conditions. For example, the requirement for consistency with desired conditions is
   inherently much more flexible than for mandatory standards (36 CFR 219.15(d)(1)), and potentially
   allows no progress whatsoever to be made towards achieving them. Recognizing that such outcome-
   oriented plan components alone would not provide sufficient certainty, the Planning Rule indicates
   that mandatory standards and/or guidelines that act as constraints on projects be used where needed
   “to meet applicable legal requirements.” Courts have held that only mandatory terms in forest plans
   can be considered regulatory mechanisms for the purpose of listing decisions under the Endangered
   Species Act. The NFMA diversity requirement requires a similar degree of certainty. There should
   be desired conditions for the ecological conditions needed by the at-risk species, and these need to
   be accompanied by standards and guidelines to ensure that those ecological conditions are achieved.
   It may be helpful to list all of the at-risk species, their necessary ecological conditions, and the set of
   plan components that apply to each, recognizing that plan components can meet the needs of more
   than one species. Structuring the plan components this way makes it much simpler to evaluate the
   effectiveness of the draft plan.

   3. Use of Best Available Scientific Information and the Assessment

   Based on our review of the Proposed Action, it is not clear how the Assessment and monitoring are
   being used in the planning decision process and will be used in the further development of plan
   components and other plan content in accordance with 36 CFR 219.7(c)(2)(i). We expected that the
   Proposed Action would demonstrate stronger linkages between assessment findings and various
   elements of the Proposed Action.

   Defenders’ comments on the draft assessment, particularly assessments 1, 3, and 5, pointed out
   some potential problems with assessment analyses and also use and documentation of science that
   we hoped the Forest Service would address in revisions of the Assessment documents. For example,
   we recommended that Assessment 1 and 3 (Terrestrial) provide an explanation regarding how
   inconsistencies between vegetation modeling results and relevant peer reviewed science would be
   resolved is a way that would guide management direction. We identified some areas where the
   Assessment indicated that additional changes may be necessary to make in the revised plan. In some
   places, the Proposed Action infers that there are gaps in the Assessment that need to be filled in
   order to make scientifically sound decisions. We will not restate all of our Assessment comments
   and concerns here, but have highlighted some places in the Proposed Action where we believe
   assessment deficiencies are leading to assumptions and decisions about forest management direction
   that are not based on the BASI. Additionally, where the Assessment does provide useful
   information, we believe there are cases where the Proposed Action did not capitalize on this
   information to develop proposed plan components, particularly desired conditions.



                                     Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 11



                                                                                    Rvsd Plan - 00002419
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 309 of 356




   4. Ecological Integrity

   We are interested in how the Forest Service is defining “resilience.” Variants of the term are used
   throughout the Proposed Action and assessments 1 and 3. We want to be sure we understand the
   RGNF’s conception of resilience. We encourage the RGNF to focus on “ecological integrity,”
   which encompasses resilience and is defined in the Planning Rule as,

          The quality or condition of an ecosystem when its dominant ecological characteristics (for
          example, composition, structure, function, connectivity, and species composition and
          diversity) occur within the natural range of variation and can withstand and recoverfrom most
          perturbations imposed Ij natural environmental dynamics or human influence. (36 C.F.R. 219.19,
          emphasis added)

       4.1. Terrestrial Ecosystems

           4.1.1.         Ecosystem Resilience and Aggressive Diversification of Forested Ecosystems

   Under Goal 2, “Maintain and restore sustainable, resilient ecosystems,” the Forest Service includes
   the following assertion,

           Aggressively diversifying age classes and structure, seral stage, and habitat classes, where
           appropriate, in the next planning horizon would provide many benefits including but not
           limited to providing resilience to insect and disease outbreaks, responsiveness to anticipated
           changes in climate, ecosystem services, recreation, increased social and economic benefits,
           and more. (Proposed Action: 8)

   We have discussed above our problems with this statement regarding its appropriateness in relation
   to the Planning Rule and have some additional questions, below, regarding how the Assessment and
   BASI support the statement.

   First, what are the ecological conditions on the Forest that suggest a loss of ecological integrity and a
   need for “[a]ggressively diversifying age classes and structure, seral stage, and habitat classes” to
   restore integrity? The belief that aggressive diversification will result in ecological benefits depends,
   in part, on the assumption that forest conditions are departed from NRV. Vegetation modelling
   conducted as a part of Assessments 1 and 3 (Terrestrial) suggests that the spruce-fir forest mix and
   mixed conifer-wet ecosystem types are substantially departed from NRV (Assessments 1 and 3,
   Terrestrial: 17).

   Assessments 1 and 3 acknowledge significant limitations in the modelling and inconsistencies with
   other research, including published literature. For example, despite clear direction in FSH 1909.12,
   Ch. 10 12.14c to assume “the influence of climate change^wiU continue, based on the best available
   scientific information” when assessing the status of ecosystems, the model did not incorporate
   climate change effects and projections, and the Assessment stated, “[t]herefore, some of the
   simulation results may not hold and there may be other unanticipated conditions due to the effects
   of climate change” (Assessments 1 and 3, Terrestrial: 18). The Assessment stated, “[a] recent mixed-
   conifer synthesis (Colorado Forest Restoration Institute 2010) suggests that it is unclear how
   departed from the natural range of variation these cool-moist mixed conifer forests are and that
   more information is needed” (Assessments 1 and 3, Terrestrial: 19).


                                     Defenders of Wildlfe, Rio Grande National Forest Management Plan Jcoping Comments | 12



                                                                                    Rvsd Plan - 00002420
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 310 of 356




   Model results for the spruce-fir forest ecosystem are also inconsistent with peer-reviewed literature.
   The Assessment stated,

          The modelling of historic conditions included moderate spruce beetle outbreaks, but did not
          include the rare, extreme spruce beetle outbreaks like the one the Rio Grande National
          Forest is currently experiencing. Literature (Eager et al. 2012, Romme et al. 2009) indicates
          that in these spruce-fir forests, spruce beetles generally persist in low-level, widespread
          populations that have little effect on forest structure, but that they periodically have very
          large outbreaks, where the “beetles may kill millions of mature pine or spruce trees over
          areas of thousands of hectares.” Since the modelling did not include these large, explosive
          outbreaks, the spruce-fir forests may not be nearly as departed from the natural range of
          variation as the modelling suggests. (Assessments 1 and 3, Terrestrial: 18)

   We recognize that uncertainties and disagreements are inherent in scientific research. We agree that
   the spruce beetle outbreak has changed forest conditions. However, in the case of the Assessment
   model, the modelers omitted rare—but not necessarily anomalous—extreme beetle epidemic cycles
   that periodically do occur in this forest type. As the planning handbook states when directing
   methods for NRV analysis, “Some conditions may have occurred frequently, and others may have
   occurred rarely”, but there is no justification for ignoring infrequent disturbances (FSH 1909.12 Ch.
   10, 12.14a). This makes the model suspect. While we appreciate that the Forest Service has
   recognized conflicts between modelling results and other science, we question whether the
   modelling results represent the BASI for assessing ecological conditions on the Forest. The
   Assessment made no explicit determination about which scientific information represents the BASI.
   Assessments 1 and 3 (terrestrial) concludes with the following statement,

          It is difficult to determine whether the terrestrial ecosystems on the Rio Grande National
          Forest are within the range of what would occur naturally. Modelling results indicate that the
          terrestrial ecosystems on the Rio Grande National Forest are, in general, moderately to
          substantially departed from what would occur naturally. However, some model assumptions
          and results do not agree with published literature. We know that very large spruce beetle
          outbreaks happened historically, but we don’t really know with any certainty whether this
          latest spruce beetle outbreak is a completely natural phenomenon or one influenced by
          climate change. The departure from the natural range of other types, such as mixed conifer,
          is uncertain as well.

   Again, the proposal for aggressively diversifying age classes, etc. and a general indication that the
   RGNF plans to change forest management direction seems to be based on assumptions that forest
   conditions are departed from reference conditions and are not resilient to insects, disease, fire, or
   climate change. The BASI, as presented in the Assessment, does not support this perception.

   The Assessment statement quoted above indicates confusion over how to make an integrity status
   determination. It’s not either NRV or climate; the “ecological reference model,” as described in the
   directives (FSH 1909.12 Ch. 10, 12.14c), should incorporate both past and likely future conditions.
   If these types of disturbance events are going to be more frequent in the future, then they should be
   considered future (trending) drivers and built into the desired conditions. If certain conservation
   targets are not likely to persist under those future conditions, and thus are vulnerable, then they
   require adaptation strategies (i.e. plan components to help them persist in the face of climate
   change).

                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 13



                                                                                   Rvsd Plan - 00002421
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 311 of 356




   Second, what is the BASI documented in the Assessment or elsewhere that supports the notion that
   aggressive diversification will contribute to ecological integrity? The Forest Service is apparently
   making the leap from the assumption that forest ecosystems, particularly spruce-fir and wet mixed-
   conifer, are substantially departed from NRV to the assumption that heavy management will more
   closely align these ecosystems with reference conditions. The key characteristics selected: age classes
   and, particularly, structure, seral stage, and habitat classes are not well-defined; without further
   description and explanation, they do not represent “important specific elements of an ecosystem”
   for evaluating or for sustaining “the long-term integrity of the ecosystems” (FSH 1909.12 Ch. 10,
   12.13). They do not appear to be meaningful for developing plan components.

   Even if the spruce-fir and wet mixed conifer forests are indeed significantly departed from NRV, it
   does not necessarily follow that a management program of diversification would lead to integrity and
   some of the other benefits touted in the Proposed Action. The Assessment does not demonstrate
   support for the assumption. The Proposed Action does not outline plan components that support
   the goal. The following desired condition from the Proposed Action does not meet the definition of
   desired condition under the Planning Rule.

           Habitat composition (including seral stage), structure, pattern (connectivity), and disturbance
           frequencies similar to those that result from natural disturbances (insects, disease, and fire)
           are maintained to the extent possible, given legal and policy limitations, and the desired
           condition for the area.

   We are interpreting that the following excerpt from the Assessment means that modelling results
   should help forecast how management (and a lack of management) will likely shape forest
   conditions in relation to NRV.

          We also used this modelling to estimate how conditions may change into the future, with
          and without management. As a result, we can use these modelling results to evaluate the
          similarity or difference of current conditions to historical conditions (within the natural
          range of variability), and how that may change in the future as an indicator of ecological
          integrity. (Assessment 1 and 3, Terrestrial: 5-6)

   If the modelling was intended to compare projected forest ecosystem conditions under a
   management scenario and under an unmanaged scenario, the Assessment failed to present such an
   analysis in a way that a reader could identify differences between scenarios. The Assessment follows
   a pattern of describing the extent of departed conditions for vegetation types based on modelled
   outcomes, comparing the modelled results to published literature, projecting future recovery, and
   listing various management treatments that have been applied to these ecosystems. It is not apparent
   that assessment projections are based on how the Forest is being managed under the current
   management plan. And, the Assessment does not differentiate between management and non­
   management in its projections or make a connection between management and future recovery. We
   use the spruce-fir forest ecosystem analysis to exemplify this point. The Assessment stated,

          Future projections for the spruce-fir forest ecosystem generally show a trajectory of recovery
          toward the natural range of variation conditions over time. The current overabundance of
          grass/shrub conditions largely disappears in the first 20 years of projections, and open
          conifer forests are mostly replaced by mid- and closed cover forests over the first century of
          projections. Aspen stands increased in short-term and mid-term projections. Longer-term

                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 14



                                                                                   Rvsd Plan - 00002422
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 312 of 356




          projections, however, show a decline of aspen stands to levels roughly 10 percent lower than
          under the natural range of variation, mostly due to lower levels of wildfire under
          contemporary conditions due to fire suppression. (Assessment 1 and 3, Terrestrial: 18)

   It is not clear from this paragraph whether the projected spruce-fir recovery is a response to
   management or not. (The passage does raise the question: how should plan direction regarding fire
   suppression change to address aspen vulnerability?) The next paragraph merely lists management
   activities.

          Management treatments in the spruce-fir ecosystem include broadcast burning, group
          selection, planting of trees, salvage harvest, shelterwood harvest, and stand clearcut. In total,
          these treatments represent roughly 0.1 percent of the area occupied by spruce-fir on the Rio
          Grande National Forest (1,277 acres per year). (Assessment 1 and 3, Terrestrial: 18-19)

   The Assessment did not make the linkages—using BASI—that demonstrate how treatments can
   achieve ecosystem integrity.

   Assessment 1 and 3 (terrestrial) concluded by stating, “[m]any opportunities exist to help us work
   towards reducing risk and adapting to climate change and the drivers and stressors of the various
   ecosystems,” including, “[t]esting non-traditional restoration treatments that achieve heterogeneous
   conditions at a variety of scales (Underhill et al. 2014)” (Assessment 1 and 3, Terrestrial: 43).
   Underhill et al. (2014) presented the results of a fuels reduction program that involved thinning to
   create forest openings in ponderosa pine and dry mixed-conifer forest, which is not showing
   departure from NRV in the RGNF based on vegetation modelling. Furthermore, it is not clear from
   the Assessment that homogeneity is a problem for the major RGNF ecosystem types.

   The Proposed Action does not describe what management methods it will use to achieve
   diversification. Salvage harvest is the only vegetation treatment mentioned, and we are not provided
   an explanation of how salvage will result in diversification.

   Third, how will aggressive diversification contribute to the ecological conditions necessary to
   promote threatened and endangered species recovery, proposed species conservation, and species of
   conservation concern persistence? We have found one of the biggest weaknesses in the aggregated
   chapters of the Assessment and presentation of scientific information is the inadequate linkage made
   between current forest management, ecosystem conditions, and the ecological conditions necessary
   for the recovery and persistence of at-risk species. We raised the point in our comments on the
   Assessment and need for change documents that habitat requirements for at-risk species should be
   represented by key characteristics used to assess ecological conditions (see FSH 1909.12 Ch. 10,
   12.14(4)(b)). The RGNF’s draft wildlife Assessment 5 stated that the draft version of the
   Assessment was a “work in progress” (Assessment 5: 74). Assessment 5 has not been revised.

   Fourth, what can the RGNF do to make well-supported, science-based management decisions under
   this environment of significant uncertainty as the planning process moves ahead? We are looking
   forward to a more complete explanation in future planning documents of how diversification
   provides “resilience to insect and disease outbreaks, responsiveness to anticipated changes in
   climate, ecosystem services, recreation, increased social and economic benefits, and more”
   (Proposed Action: 8) based on BASI. Additionally, we urge the Forest Service to avail itself of
   experts who conduct research on forests in the Southern Rocky Mountains. Several locally-based


                                   Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 15



                                                                                  Rvsd Plan - 00002423
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 313 of 356




   scientists are co-authors of papers cited in Assessment 1 and 3 (terrestrial). We recommend the
   RGNF initiate a science review, as explained in the planning directives, to help provide advice on
   management direction in the face of scientific uncertainty. The implications of the spruce beetle
   outbreak on ecosystem integrity and management, and the questions surrounding historical and
   climate-driven disturbances are significant enough to warrant such a review. Making ill-informed
   management decisions on this issue poses “substantial risk to important resources in the plan area”
   (FSH 1909.12 Ch. Zero Code, 07.2).

           4.1.2. Salvage Logging

   Post-disturbance logging or salvage harvest is a long practiced yet scientifically unsupported method
   of forest management. The practice is upheld in the Proposed Action as a necessary management
   tool for aiding in forest restoration following a wildfire, insect outbreak, or disease. Salvage logging
   can and often does accomplish the opposite result by increasing the fire hazard, degrading water
   quality and soils, and impairing the habitat and ecological function of the forest (Beschta et al. 2004;
   Karr et al. 2004; Donato et al. 2006; Noss et al. 2006; Shatford et al. 2007; Thompson et al. 2007;
   Lindenmayer et al. 2004, 2008). Natural tree regeneration can be abundant after fire, and postfire
   logging may actually reduce regeneration by as much as 71 percent (Shatford et al. 2007). Salvage
   logging diminishes a forests ability to store and sequester carbon; burned forests with no salvage
   logging stored and sequestered carbon at a significantly higher level than salvage-logged forest areas
   (Powers et al. 2013).

   Salvage logging simplifies stand structure and adversely affects native species abundance and
   diversity which is inconsistent with ecological integrity. In order to conclude that adequate amounts
   of complex early seral forest (i.e., unlogged burned forests) are being provided across the landscape
   and the plan meets the ecosystem diversity requirements outlined in the Planning Rule, the amount
   of high and moderate severity burn forest that will not be salvaged should be based on the NRV
   relative to the level of complex early seral forest occurring in the planning area. There must be
   desired conditions for complex early seral forest conditions and supporting plan components to
   achieve those ecologically important conditions.

   Natural succession is an ecological process that often begins with disturbance, and proceeds through
   multiple stages of forest development (Franklin et al. 2002). Disruption of this process through
   salvage logging and planting results in simplified forests and reduced biodiversity (Lindenmayer and
   Franklin 2008). The rarity of naturally evolving early successional forests due to past management
   practices is now recognized by leading research scientists, for example, “Young forests growing
   within a matrix of unsalvaged snags and logs may be the most depleted forest habitat type in
   regional landscapes, particularly at low elevations” (Lindenmayer and Franklin 2002 in Brown et al.
   2004); and “Currently, early-successional forests (naturally disturbed areas with a full array of
   legacies, i.e., not subject to post-fire logging) and forests experiencing natural regeneration (i.e., not
   seeded or planted), are among the most scarce habitat conditions in many regions” (Noss et al.
   2006).

   As such, plan components should be developed that define desired early seral conditions and
   prohibit salvage logging in areas that experience disturbance events within the NRV because these
   forests would not require any restoration or fuels treatments. In sum, the body of scientific literature
   finds that, overall, intensive salvage logging and reforestation produce greater adverse impacts on
   recovering ecosystems, rather than contributing to recovery (see Lindenmayer et al. 2008). To ensure

                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 16



                                                                                   Rvsd Plan - 00002424
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 314 of 356




   that the revised forest plans reached the goals for ecological integrity in the 2012 Planning Rule and
   Directives, the Proposed Action needs to reject all intensive salvage logging except as needed for
   public safety, infrastructure protection and science-based restricted fuel zones. Post disturbance
   management may be valid when needed to achieve desired conditions for ecological integrity.

       4.2. Watersheds and Aquatic and Riparian Ecosystems

   Goal 1 of the Proposed Action (p. 7) is, “Protect and restore watershed health, water resources, and
   the systems that rely on them.” As we discussed above, the goal is a modification of Planning Rule
   language found in Section 219.8. The desired conditions pertaining to water resources, restated in
   the Proposed Action from current management plan, must be revised to fit new requirements and
   definition for “desired conditions” in the rule; they must be written to be measurable in a way that
   monitoring can discern trends. Assessment 1 and 3 (Aquatic/Riparian) and Assessment 2 provide
   information about ecological conditions that can help shape desired conditions to comply with the
   Planning Rule.

   It is crucial to have scientifically sound set of plan components to direct the maintenance and
   restoration of watershed, aquatic, and riparian integrity. Humans depend on them as do a range of
   at-risk species of the Forest. Assessment 5 describes habitat requirements for federally protected and
   SCCs under consideration. High water quality (e.g., low sediment load; low pollution from roads,
   agriculture, pesticide use, fire retardant and foaming agents; and very low salinity) is necessary for
   the boreal toad, Northern leopard frog, Rio Grande chub, Rio Grande sucker, river otter,
   Whitebristle cottongrass, slender cottongrass, spiny-spore quillwort, Colorado woodrush, and
   sphagnum (Assessment 5: 69). The presence of competing and predatory non-native fish and
   amphibians in waterbodies can be a limiting factor for the boreal toad, Northern leopard frog, Rio
   Grande cutthroat trout, Rio Grande chub, and Rio Grande sucker (Assessment 5: 69). Several
   species depend on riparian vegetation for cover and for foraging, for example, as well as for
   stabilizing streambanks. Species that require willow thickets and cottonwood galleries include Rio
   Grande sucker, Southwestern willow flycatcher, yellow-billed cuckoo, bald eagle, Canada lynx,
   western bumblebee, Colorado woodrush, silkyleaf cinquefoil, veery, stream orchid, and Colorado
   woodrush (Assessment 5: 70). Species that require cover from bank vegetation that overhangs
   waterways include Northern leopard frog, Rio Grande cutthroat trout, Rio Grande sucker, and river
   otter (Assessment 5: 70).

   The Assessment indicated needs for change to plan direction regarding Forest water resources.
   Assessment 1 and 3 (Aquatic/Riparian) provided a summary of these needs,

          Based on information in this section of the assessment, there is a need to revise and update
          the aquatic habitat section of the Forest Plan. For the purposes of forest planning,
          considerations for aquatic habitats and species are combined with soil and water resources.
          However, the information in this assessment for riparian and aquatic ecosystem integrity,
          highlights some specific needs with aquatic habitats and species on the forest, especially in
          regards to the unique aquatic endemics to the upper Rio Grande Basin. Examples include
          the need for additional management direction addressing the importance of stream
          connectivity and aquatic organism passage programs and their relationship to aquatic habitat
          resiliency, and incorporating the Aquatic Nuisance Species Plan for the Rio Grande National
          Forest into plan revision components. Potential mitigation strategies for chytrid fungus and
          local amphibian species are part of this recommendation. We need additional updates

                                   Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 17



                                                                                  Rvsd Plan - 00002425
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 315 of 356




           regarding restoration opportunities for native aquatic species and for managing low-elevation
           riparian systems, seeps and springs; including hummocking and pugging guidelines. Updates
           should also increase awareness regarding the ecological drivers for local aquatic habitats
           including glaciation, stream gradient, and geological factors associated with aquatic habitat
           productivity. (Assessment 1 and 3, Aquatic/Riparian: 32)

           We need to update the existing Forest Plan with current information related to aquatic
           habitats and potential vulnerabilities associated with climate change. Central to this update is
           the need to maintain cold water systems and side channel refugia for aquatic species. We
           need to acknowledge the connection between current human stressors and a potential
           increase in vulnerability to aquatic integrity as related to climate change. Thus, while our
           standards and guidelines for aquatic systems should be adaptable and flexible they should
           also be well defined, firm and measurable. (Assessment 1 and 3, Aquatic/Riparian: 32)

           We should manage keystone species such as beaver, which restore streams to more natural
           flow rates and water table levels, to maintain stream function and store water naturally on
           the landscape. (Assessment 1 and 3, Aquatic/Riparian: 42)

   These are not reflected in the Proposed Action.

   The Assessment, lists 10 key characteristics used to assess riparian and aquatic ecosystem conditions
   (Assessment 1 and 3, Aquatic/Riparian: 3-4). The Assessment acknowledges,

           The reference models or conditions we use for describing the natural range of variation for
           the various riparian and aquatic ecosystems on the Rio Grande National Forest and
           elsewhere are not well defined. In our 1996 Forest Plan, we used reference streams to
           monitor and inform stream health, but did not address many of the other various aquatic
           systems on the Rio Grande National Forest, nor the ecological components that maintain
           them. However, the reference stream information we have suggests that most streams and
           riparian systems on the Rio Grande National Forest are in good to excellent condition.
           (Assessment 1 and 3, Aquatic/Riparian: 14)

   Yet, the Assessment provides some data about current conditions to inform the development of
   plan components—baselines from which to monitor trends in conditions. (Information gaps
   (italicized) indicate a need for monitoring.) For example:

       •   ^ almost one-half of the watersheds on the forest are functioning at-risk due to rangeland
           vegetation condition concerns and four watersheds have impaired function due to rangeland
           vegetation condition concerns. (See Assessment 2). (Assessment 1 and 3, Aquatic/Riparian:
           14)

       •   There are 303(d) listed impaired waterbodies within three watersheds on the RGNF
           (Assessment 2: 78)

       •   There are approximately 680 miles of rivers and streams on the Rio Grande National Forest
           that sustain populations of nonnative trout. ^ Approximately 78 percent of the
           subwatersheds on the Forest received a poor watershed condition framework ranking in
           regards to secure presence of native species. (Assessment 1 and 3, Aquatic/Riparian: 12)

                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JcofiKg Comments | 18



                                                                                   Rvsd Plan - 00002426
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 316 of 356




      •   monitoring across the Forest by Forest Service staff suggests historical grazing, and in some
          allotments, current ungulate grazing is negatively affecting stream physical function.
          (Assessment 2: 77)

      •   The multi-metric ecological integrity assessment utilized by the Colorado Natural Heritage
          Program during the 2012 wetlands assessment provides a sound alternative approach to
          assessing whether the integrity of an ecosystem is being maintained (Lemly 2012). Using this
          method, A ranks indicate reference conditions (no or minimal human impact), B ranks
          indicate slight deviation from reference, C ranks indicate moderate deviation from reference,
          and D ranks indicate significant or severe deviation from reference. ^ Of the 77 various
          wetlands surveyed, 41 were A-ranked, 32 were B-ranked, and 4 were C-ranked. A-ranked
          systems occurred primarily in the alpine and subalpine zones, with lower elevation sites more
          likely to receive B-ranks. However, a few wetlands are ranked C due to stressors including
          grazing, hydrologic modifications, and surrounding land use activities. Riparian shrublands,
          wet meadows, and fens were most of the A- and B-ranks, with riparian woodlands and
          marsh slightly lower ranks. It is also important to note that some riparian eeo.jstem types, such as those
          associated with man-made reservoirs or low-elevation riparian woodlands, are not wetl-npresented in the sites
          sampledfor the ecological integrity assessment index. (Assessment 1 and 3, Aquatic/Riparian: 14)

      •   Low-elevation seeps and springs frequently used for livestock and/or wildlife troughs were
          not included in the Colorado Natural Heritage Program assessment. Although condition data is
          lackingfor these types of.jstems, we consider their ecosystem integrity low due to water
          diversions, trampling, and other impacts. (Assessments 1 and 3, Aquatic/Riparian: 4)

      •   Pugging in saturated soil areas is readily observable in some montane springs and meadow
          areas where livestock and native ungulates congregate. Heavy cattle use in palustrine systems
          can alter the hydrology by damaging soils. Soil compaction and pugging of the peat layer will
          change surface water flow. Heavy cattle use can also alter the successional processes within
          the sedge- dominated area of a fen. Cattle hoof action can lead to pugging and hummocking,
          creating microsites where shrubs can become established, changing the sedge-dominated
          meadow to carr shrubland. (Assessments 1 and 3, Aquatic/Riparian: 4-5)

      •   For the most part, current influences of livestock grazing are localized and are limited on a
          landscape basis. However, certain aquatic, riparian, and wetland areas continue to show
          impacts. Frequently these are the lower gradient areas both with historical carry-over effects
          and/or current influences from other human activities (recreation, forest management, road
          management, big game, invasive species, and so forth). (Assessment 1 and 3,
          Aquatic/Riparian: 29)

      •   Existing barriers to ecological connectivity for aquatic organisms do exist and have been
          noted in other sections of this report. These primarily involve road crossing and culverts,
          although some natural barriers also exist. Some barriers are desirable to discourage
          interactions with non-native fish species. In some cases, human impacts are contributing to
          stream impacts. (Assessment 1 and 3, Aquatic/Riparian: 15)

   Plan direction should be developed to address each of these important issues.



                                      Defenders of Wildlfe, Rio Grande National Forest Management Plan Jceping Comments | 19



                                                                                     Rvsd Plan - 00002427
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 317 of 356




       4.3. Connectivity

   Defenders has published a report on connectivity planning within the forest planning process. We
   recommend that the Rio Grande planning team take a look at that report; it provides some
   information on how to effectively consider connectivity in the forest planning process
   (www.defenders.org/publication/planning-connectivity).

   As noted in the ecosystem Assessment 1 and 3 (Terrestrial), “Connectivity of habitat is an indicator
   of ecosystem integrity” (p. 2) and was selected as a key ecosystem characteristic, along with
   landscape pattern. Therefore, it will be necessary to have plan components for
   connectivity/fragmentation and pattern for ecosystems within the plan area. These could be termed
   plan components for landscape structure in that they are not driven by the needs of individual
   species (more on that below).

   The Proposed Action only makes a vague reference to connectivity in one of the three desired
   conditions for biological diversity (p. 9), stating that, “Habitat^pattern (connectivity)^similar to
   those that result from natural disturbances^are maintained to the extent possible^” Note that the
   statement makes no reference to the restoration of connectivity, as directed by the Planning Rule; the
   statement implies that existing pattern and connectivity are within the NRV and thus only need to
   be “maintained.” There is no backing evidence to support the implication that existing Forest
   ecosystem connectivity only needs to be maintained (in fact, the Assessment indicates a need to
   restore connectivity conditions across the Forest).

   It does not appear that much information from the Assessment was applied to the Proposed Action
   for landscape connectivity/pattern. Part of the problem may be that the Assessment did not present
   clear information on the status of connectivity within the Forest. Specifically (as directed by FSH
   1909.12 Ch. 10, 12.14c):

       •   Whether or not existing connectivity conditions are contributing to the long-term integrity
           of ecosystems in the plan area and species adaptation to a changing climate (and are
           expected to do so under existing plan direction or need to be addressed in the revised plan)?
       •   Whether there are existing and reasonably foreseeable barriers to ecological connectivity for
           terrestrial and aquatic organisms?
       •   Whether connectivity conditions are vulnerable to climate change?
       •   If projects or activities would be necessary to maintain or restore connectivity?
       •   How the existing role or contribution of the Forest affects connectivity relevant to the
           broader landscape?
       •   The influence on connectivity from existing conditions, threats, or stressors (within or
           beyond the plan area)?

   The Assessment suggests a reference condition for landscape structure, but it is difficult to draw out
   the particulars, and therefore difficult to establish clear plan direction for connectivity. For example,
   in discussing the role of mixed-severity fire in shaping landscape structural conditions it states:
   “Historically, highly variable, mixed-severity fires maintained patchy and diverse vegetation structure
   and composition. This patchiness provides varied and productive habitat for many different plant
   and animal species” (Assessment 1 and 3, Terrestrial: 25). There should be desired conditions for
   “patchiness” for specific ecosystems within the plan area based on characteristic disturbance


                                    Defenders of WOdlfe, Rio Grande National Forest Management Plan Scofing Comments | 20



                                                                                   Rvsd Plan - 00002428
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 318 of 356




   regimes, informed by climate change information. It appears that some information on patch size
   was presented in Assessment 1 and 3 (Terrestrial) (Figures 10 and 11) but it is not apparent how that
   information is applicable to desired conditions for landscape connectivity/pattern.

   In addition to providing for connectivity within ecosystems for integrity, the plan should provide
   connectivity where it is a necessary ecological condition for an at-risk species. Therefore, for
   example the plan will have to provide direction to allow for “connectivity among suitable patches”
   for Mexican spotted owl; cited as a key habitat variable to fulfill the owl’s life history requirements
   (Assessment 5: 23). Similarly, there will need to be plan direction to provide for contiguous
   habitat/connectivity for New Mexico meadow jumping mouse, as noted in Assessment 5 (p. 57).

   The plan will have to address habitat fragmentation in a meaningful way (the antithesis of
   connectivity). The Assessment 1 and 3 (Terrestrial) notes that most of the Forest’s ecosystems are
   vulnerable to fragmentation (based on the analysis that shows only four ecosystem types have more
   than 50% of their acreage in a “protected” status, Table 8). The Assessment implies that this degree
   of fragmentation “is associated with decreased ecosystem function and biodiversity” and therefore
   not contributing to ecological integrity. Plan components to address fragmentation (i.e. restore
   connectivity) will therefore likely be necessary to comply with the Planning Rule. Clear plan
   direction should be granted to the most vulnerable ecosystems/communities referenced in the
   Assessment such as pinyon and Arizona and Thurber fescue. Similarly, the forest plan should
   affirmatively address those ecosystems most heavily impacted by roads and other fragmenting
   infrastructure (Table 9) including the five land type associations that have more than 15 percent of
   their area impacted by roads, railroads and private in-holdings. Priority watersheds should be
   highlighted for restoration of aquatic and terrestrial ecosystem connectivity (due for example to
   roads and barriers to aquatic organism passage). We would expect “aggressive” objectives to address
   terrestrial and aquatic ecosystem fragmentation and restoration of functional connectivity for at-risk
   fish, wildlife and plants.

   The forest plan will also have to specifically address the many individual species where
   fragmentation is documented as a threat to their necessary ecological condition, including boreal
   toad, Northern leopard frog, Rio Grande chub, Rio Grande sucker, Western bumblebee, Canada
   lynx and Gunnison sage-grouse, to name several documented in Assessment 5.

   5. At-risk Species

       5      .1. Threatened and Endangered Species

   At a meeting between RGNF members of the planning team and members of the public held on
   October 4, 2016, we were pleased to learn that the Forest has begun engaging with the U.S. Fish and
   Wildlife Service (USFWS) regarding consultation under Section 7 of the U.S. Endangered Species
   Act (ESA). We were also happy to hear that the Forest Service would include a Section 7(a)(1)
   analysis as part of this process with USFWS. Section 7(a)(1) can be a forgotten aspect of the
   consultation process and is often not given the attention it deserves in conserving listed species.

   Federally recognized species (endangered, threatened, proposed, candidate) must be identified
   through the coordination with ESA consulting agencies, in this case USFWS. We have been




                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 21



                                                                                   Rvsd Plan - 00002429
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 319 of 356




   recommending early engagement with the USFWS, which complies with the Planning Rule.2 Early
   contributions to a forest plan by the consulting agencies can help streamline the Section 7 (a)(2)
   consultation process for the plan and increase the likelihood of contributing to recovery of listed
   species and avoiding listing of proposed and candidate species under Section 7(a)(1) of the ESA (16
   U.S.C. §§ 1536(a)(1)-(2)). Federally recognized species must be addressed by plan components if
   they “may be present” in the plan area (50 C.F.R. 402.12(c)(1), (d)) or if they are not present but
   would be expected to occur there to contribute to recovery. They should be included as target
   species. The RGNF has recognized eight target threatened and endangered species in its Proposed
   Action (p. 5).

   The ESA requires the Forest Service and other federal agencies to, “in consultation with and with
   the assistance of the Secretary (listing agencies), utilize their authorities in furtherance of the
   purposes of this Act by carrying out programs for the conservation3 of (listed species)” (16 U.S.C. §§
   1536(a)(1)). Therefore the ESA requires that the Forest Service must use its authorities, including
   NFMA and its planning process and resulting plans, in furtherance of recovery of listed species.4

   The Planning Rule establishes an affirmative regulatory obligation that forest plans “provide the
   ecological conditions necessary to: contribute to the recovery of federally listed threatened or
   endangered species” (36 C.F.R. § 219.9(b)(1)). The provision supports the “diversity requirement” of
   NFMA (16 U.S.C. § 1604(g)(3)(B)). Moreover, the preamble to the Planning Rule specifically links
   this requirement to its responsibility under the ESA for recovery of listed species, stating, "[t]hese
   requirements will further the purposes of Section 7(a)(1) of the ESA, by actively contributing to
   threatened and endangered species recovery and maintaining or restoring the ecosystems upon
   which they depend" (77 Fed. Reg. 21215).

   Forest plans make conservation decisions and are vehicles to demonstrate compliance with NFMA,
   as well as the ESA. One key mechanism for implementing the affirmative conservation program is
   the ESA Section 7(a)(1) conservation review. The conservation review process provides a
   mechanism to determine compliance with Section 7(a)(1) in that it would compel the Services to
   make a determination that the forest plan met affirmative recovery obligations. There is an existing
   process for interagency coordination that should be used to answer the question that the Planning
   Rule poses: does a forest plan contribute to recovery of listed species? The Consultation Handbook
   used by the listing agencies describes “proactive conservation reviews” under ESA Section 7(a)(1).5
   According to this Handbook, such reviews are appropriate for major national programs, and they
   are also “appropriate for Federal agency planning.” They would be especially helpful in confirming
   that the plan has included the ecological conditions necessary for recovery of listed species.6 We
   hope the RGNF’s recognition of its Section 7(a)(1) responsibilities means that the planning team will

   2 36 C.F.R. § 219.4(a)(1) directs the responsible official to “engage the public—including” ^ “Federal agencies”^
   “early and throughout the planning process where feasible and appropriate.” Under 219.6(a)(2), the regional forester
   should coordinate with and provide opportunities for government agencies “to provide existing information for the
   Assessment.”
   3 “Conservation” is defined by the ESA to mean “the use of all methods and procedures which are necessary to bring
   any endangered species or threatened species to the point at which the measures provided pursuant to this Act are no
   longer necessary.”
   4 36 C.F.R. § 219.9(b)(1) requires that each forest plan include plan components that “provide the ecological conditions
   necessary to contribute to the recovery of threatened and endangered species ^”
   5 Endangered Species Consultation Handbook 1998. U.S. Fish & Wildlife Service and National Marine Fisheries Service,
   Section 5.1. (https://www.fws.gov/ENDANGERED/esa-library/pdf/esa_section7_handbook.pdf)
   6   The Consultation Handbook also encourages consultation at broader scales such as “ecosystem-based” consultations.


                                          Defenders of Wildlfe, Rio Grande National Forest Management Plan SeopiKg Comments | 22



                                                                                         Rvsd Plan - 00002430
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 320 of 356




   be working with the USFWS to conduct threatened and endangered species’ conservation reviews
   for the RGNF forest plan revision.

   We make some specific recommendations regarding the management of threatened and endangered
   species and their habitats below.

   Black-footed ferret (Mustela nign'pes)

   We recognize that black-footed ferrets do not currently inhabit the RGNF and that the Forest may
   not have sufficient numbers of Gunnison’s prairie dog (Cynomjs gunnisom) to support a viable
   population of this endangered species. Black-footed ferrets are prairie dog obligates; ferret diets
   consist of around 90 percent prairie dog and the mustelids shelter in prairie dog burrows. The key to
   recovering the species is to recover prairie dog habitat and boost prairie dog numbers. Black-footed
   ferrets are currently on “life-support,” and their survival in the wild is completely dependent on
   several reintroduction sites within the range of the four prairie dog species in the United States.
   Most reintroduction sites require regular supplements of animals from captive-breeding programs.

   According to RGNF’s Assessment 5 (p. 8), black-footed ferrets have been observed on the Forest,
   though not since 1930. According to the black-footed ferret habitat map in Assessment 5 (p. 10),
   suitable habitat exists on the RGNF.

   The Forest can take management actions to improve habitat conditions for prairie dogs that would
   enable colony expansion and increased populations. Actions that could serve as the basis for plan
   components include: prohibiting prairie dog recreational shooting, prohibiting lethal control of
   prairie dogs, working with Colorado Parks and Wildlife (CPW) to prevent sylvatic plague epizootics
   and translocate prairie dogs from places where they are unwanted and lethal control of colonies is
   imminent.

   Refer to the Gunnison’s prairie dog section below.

   Canada Lynx (Lynx canadensis)

   The RGNF is the most important public land unit for recovering Canada lynx in the Southern
   Rockies. The Forest served as the primary receiving site for lynx reintroduced by CPW. Yet with
   spruce bark beetle outbreaks continuing to result in significant changes to the spruce component of
   the spruce-fir ecosystem, the habitat of lynx and their primary prey, snowshoe hare, and their
   secondary prey, red squirrel, is in flux. Despite the changed and changing forest structural conditions
   on the RGNF, an ongoing study led by John Squires of the Forest Service’s Rocky Mountain
   Research Station is revealing that lynx are continuing to use and breed in beetle-affected spruce-fir
   forest (Learn 2016).

   Lynx habitat on the RGNF is currently governed by the 2008 Southern Rockies Lynx Amendment
   (SRLA) to the Forest’s management plan and to the plans of other forests in Region 2 of the Forest
   Service. Under the SRLA, the RGNF is permitted to revisit lynx management direction during
   management plan revision. Given the beetle-induced changes, we believe now is not the time to
   radically change management direction and that the SRLA plan components—including all
   standards and guidelines—should be retained in the revised forest plan. The Forest Service must
   also determine whether additional provisions may be necessary for the RGNF to maintain ecological


                                   Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 23



                                                                                  Rvsd Plan - 00002431
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 321 of 356




   conditions that are contributing to lynx recovery. We raise some questions for consideration and
   make some recommendations below.

   Results from the research project should inform any changes in the lynx direction, and direction may
   need to be adapted based on the research results. For example, the research is showing that lynx on-
   the-ground are using habitat that no longer fits the existing policy definition of suitable habitat. We
   are concerned that forest stands no longer meeting the SRLA definition of suitable habitat may be
   open to timber activities that could be detrimental to habitat hares and lynx are continuing to use
   and den in. Without careful consideration, logging projects could disturb den sites, establish roads
   that fragment habitat, remove important vegetative cover for snowshoe hares, and create clearings
   with too few trees (dead or alive) that lynx might avoid. We are concerned there may be a disconnect
   between existing policy and the new science.

   More specifically, there has been uncertainty as to whether lynx would use areas transitioning and
   transitioned out of multi-story, late successional conditions as trees die and fall. This mature forest
   condition has been considered by experts to be the highest quality winter snowshoe hare habitat,
   and thus, lynx habitat. Standard VEG S6 was implemented to protect multi-story stands. This state
   is becoming less prevalent in beetle-affected areas, and significant areas that were once in this state
   may no longer be meeting the SRLA policy definition for this high-quality habitat. However, rapid
   regeneration occurring in “formerly” high-quality, suitable habitat may be providing conditions—
   dense vegetation from re-growth—that are conducive to hare persistence. It is quite possible, but yet
   unknown, hares thrive under these conditions in the Southern Rockies. A mammal study by Ivan
   (2015) has found that snowshoe hares are continuing to occupy such areas. But even if they do not
   provide preferred habitat, it may be that regenerating stands provide sufficient habitat that lynx can
   adapt to and persist in while trees grow toward maturity. Lynx may need more habitat if it is
   suboptimal.

   In this situation, the Forest Service must carefully consider—along with the USFWS—whether the
   framework and definitions in SRLA remain conducive to lynx recovery. Definitions may need to be
   adjusted in the revised plan to reflect the BASI. Stands that have transitioned out of the defined
   habitat under Standard VEG S6 may require additional provisions to protect habitat. Are exceptions
   and exemptions to vegetation standards VEG S6 (as well as VEG S1) still appropriate and
   applicable?

   We are concerned that the Forest’s proposal to ramp up salvage logging and manage to “aggressively
   diversify” forest characteristics stated in the Proposed Action may contra-indicated by Objective
   VEG O1,

           Objective VEG O1. Manage vegetation to mimic or approximate natural succession and
           disturbance processes while maintaining habitat components necessary for the conservation
           of lynx.

   Why artificially try to manage to mimic natural disturbance and succession when these processes are
   happening naturally?

   If increased salvage logging and other timber and vegetation management are likely to occur under
   the revised management plan, additional direction may be needed to protect denning habitat and
   known den sites during the denning period.


                                   Defenders of Wildlfe, Rio Grande National Forest Management Plan SeopiKg Comments | 24



                                                                                  Rvsd Plan - 00002432
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 322 of 356




   We are also concerned about the implications of the beetle kill to how SRLA vegetation standards
   and guidelines are applied to different types of lynx habitat, especially given existing exceptions and
   exemptions. We are concerned that baseline conditions have changed since the 2011 habitat and
   Lynx Analysis Unit (LAU) mapping (Ghormley 2011) to the extent that there is a shaky basis for
   making judgements about appropriate types and levels of commercial timber harvesting and other
   vegetation treatments in lynx habitat within the parameters of SRLA. For example, can Forest staff
   determine when an LAU has reached the 30 percent unsuitable threshold when applying Standard
   VEG S1 (see below)?

           Standard VEG S1. Unless a broad scale assessment has been completed that substantiates
           different historic levels of stand initiation structural stages limit disturbance in each LAU as
           follows: If more than 30 percent of the lynx habitat in an LAU is currently in a stand
           initiation structural stage that does not yet provide winter snowshoe hare habitat, no
           additional habitat may be regenerated by vegetation management projects.

   Again, application of BASI is key. The Forest Service has indicated that it is planning to remap the
   LAUs and vegetation. We recommend that this work be conducted in time to inform the plan
   revision process.

   An assessment of whether the connectivity Standard ALL S1 can be met in the changed forest with
   the current vegetation standards and guidelines should be considered and addressed during plan
   revision. We recommend the Forest establish protected corridors between LAUs. We also
   recommend the Forest Service designate the proposed Spruce Hole/Osier/Toltec Landscape
   Connectivity Zoological Area and Wolf Creek Pass Linkage Landscape Zoological Area to promote
   lynx habitat connectivity at the landscape scale.

   Gunnison Sage-grouse (Centrocerus minimus)

   As Assessment 5 points out, Gunnison sage-grouse have had a tenuous existence on the Rio Grande
   National Forest. The Poncha Pass area is within the species’ historic range (see 79 Fed. Reg. 69192:
   69194, 2014), though habitat conditions must be improved to support a viable population (79 Fed.
   Reg. 69313, 2014). Higher elevation sagebrush steppe like Poncha Pass may be key to the species’
   persistence as climate change continues to affect lower elevation habitat elsewhere (TNC et al. 2011;
   Coop 2015). Including lands managed by the Bureau of Land Management (48%), the Forest Service
   (26%), private parties (24%), and the Colorado State Land Board (2%), GSRCS (2005) estimated the
   range of the population to be 20,400 acres.

   A more detailed evaluation of how human uses in the area have affected sagebrush habitat and sage­
   grouse is warranted. Assessment 5 (pp. 20-21) states, “[t]here is some threat from cumulative
   physical disturbances associated with recreation in the area.” Gunnison sage-grouse are highly
   sensitive to human disturbance, including those from recreational activities.

   We also recommend the following science-based prescriptions for contributing to ecological
   conditions that will help recover Gunnison sage-grouse on the forest. Federal agencies have long
   accepted that information on life history and habitat needs for greater sage-grouse is applicable to
   Gunnison sage-grouse (see, e.g., 79 Fed. Reg. 69193; 75 Fed. Reg. 59805).The measures listed below
   are considered the minimum required to conserve sage-grouse species. New research may
   demonstrate that additional measures are needed. Given the difficulty and expense of restoring


                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 25



                                                                                   Rvsd Plan - 00002433
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 323 of 356




   sagebrush steppe, conservation strategies on public lands should preserve all remaining habitat. This
   precautionary approach, combined with additional proactive measures to manage public lands and
   resources, will help support federal, state and local management goals for Gunnison sage-grouse.

   Sage-Grouse Essential Habitat:
      • Identify and conserve essential sage-grouse habitat (Connelly et al. 2011; Manier et al. 2013;
         COT 2013; Aldridge et al. 2008).
      • Manage or restore essential habitat so that at least 70 percent of the land cover is sagebrush
          steppe sufficient to support sage-grouse (SGNTT 2011: 6, citing Aldridge et al. 2008,
         Doherty et al. 2010, Wisdom et al. 2011; also SGNTT 2011: 7; Karl and Sadowski 2005;
         Doherty 2008; Connelly et al. 2000: 977, Table 3; Knick et al. 2013: 5-6.) with 15 to 40
         percent sagebrush canopy cover (Connelly et al. 2000; SGNTT 2011: 26, citing Connelly et
         al. 2000, Hagen et al. 2007).
      • Identify and protect sage-grouse wintering areas (SGNTT 2011: 21; Braun et al. 2005, citing
         Connelly et al. 2000 and others; Moynahan et al. 2007).
      • Identify and protect habitat connectivity corridors to prevent or redress population isolation
          (SGNTT 2011: 5, 7).

   Development Impacts:
      • Restrict development to one site per section in priority habitat (SGNTT 2011: 21, 24;
         Holloran 2005; Doherty et al. 2010; Doherty 2008).
      • Limit surface disturbance to less than 3 percent per section in priority habitat (SGNTT 2011:
         21, 24; Holloran 2005; Doherty et al. 2010; Doherty 2008).
      • Prohibit noise levels associated with any anthropogenic activity to not exceed 10 dBA above
         scientifically established natural ambient noise levels at the periphery of sage grouse mating,
         foraging, nesting, brood-rearing and winter habitat during each season of use by sage-grouse
         (Patricelli et al. 2013; Patricelli et al. 2012 (report); SGNTT 2011: 64, citing Patricelli et al.
         2010).7

   Mineral Development:
      • Close and recommend for immediate withdrawal lands from location, leasing or sale
          (including coal) under the mineral laws for the maximum period allowed under law (SGNTT
          2011: 22, 24-25, 26).
      • Require conditions of approval for existing fluid minerals leases as outlined in the National
          Technical Team (NTT) report, including 4-mile no-surface-occupancy lek buffers (SGNTT
          2011: 22-24). Larger buffers may be required to conserve the species.8
      • Limit geophysical exploration on existing fluid minerals leases to helicopter-portable
          methods or vehicles confined to existing roads in priority habitat, and in accordance with
          seasonal and other applicable restrictions (SGNTT 2011: 21, 22).
      • Prohibit surface storage of wastewater generated from fluid minerals development (SGNTT



   7   PatriceUi et al. (2012) recommend measuring compliance with noise objectives at the edge of areas critical for foraging,
   nesting and brood-rearing rather than at the edge of the lek.
   8 A 4-mile lek buffer may include an average of 80 percent of nesting females (SGNTT 2011: 21); larger buffers may be
   recommended to conserve the species (6.2 miles, Aldridge and Boyce 2007; 6.2 miles, Doherty et al. 2010; 5.3 miles,
   Holloran and Anderson 2005; 4.6 miles, Coates et al. 2013).


                                            Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 26



                                                                                           Rvsd Plan - 00002434
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 324 of 356




            2011: 64); breach and eliminate existing wastewater reservoirs (SGNTT 2011: 64).

   Renewable Energy:
      • Exclude renewable energy development (SGNTT 2011: 13).

   Rights-of-Way:
      • Exclude new rights-of-way (SGNTT 2011: 12).
      • Develop valid existing rights-of-way in accordance with NTT report prescriptions (SGNTT
           2011: 13).
      • Bury existing transmission lines, where possible (SGNTT 2011: 13).

   Livestock Grazing:
       • Require that grazing strategies maintain at least 7 inches average grass height in nesting and
          brood-rearing habitat (Connelly et al. 2000).
       • Restrict grazing until the completion of sage grouse breeding and nesting period, and
          seasonally remove livestock from late brood-rearing habitat to allow sufficient regrowth of
          native grasses to ensure adequate residual height. Limited winter grazing may be appropriate,
          as long as it leaves sufficient residual grass height prior to the next breeding season (W.
          Watersheds Project v. Salazar, 843 F.Supp.2d 1105, 1115 (D. Idaho 2012), citing Braun
          (2006, unpublished); W. Watersheds Project v. Dyer, 2009 WL 484438, at * 21 (D. Idaho
          2009)).
       • Control grazing to avoid contributing to the spread of cheatgrass in sage-grouse habitat
          (Reisner et al. 2013; Chambers 2008; Reisner 2010 (dissertation)).
       • Manage riparian and wetlands to meet properly functioning condition; manage wet meadows
          to maintain native species diversity and cover to support sage grouse brood-rearing
          (Connelly et al. 2000).
       • Avoid new structural range and livestock water developments; institute best management
          practices to prevent or limit and mitigate the potential spread of West Nile virus (SGNTT
          2011: 17).

   Vegetation Management:
      • Prohibit prescribed fire in sagebrush steppe with less than 12 inches annual precipitation
          (SGNTT 2011: 26, citing Connelly et al. 2000, Hagen et al. 2007, Beck et al. 2009) or areas
          with moderate or high potential for cheatgrass incursion (Miller et al. 2011).
      • Prohibit vegetation treatments that reduce sagebrush canopy cover to less than 15 percent
          (SGNTT 2011: 26, citing Connelly et al. 2000, Hagen et al. 2007).9
      • In areas of pinyon/juniper, avoid treating old-growth or persistent woodlands. In areas
          where sagebrush is prevalent or where cheatgrass is a concern, utilize mechanical methods
          rather than prescribed fire.
      • Restore non-native seedings with native vegetation where it would benefit sage grouse
          (SGNTT 2011: 16-17).
      • Prohibit herbicide application within 1 mile of sage grouse habitats during season of use;


   9 Vegetation treatments may not be advised within 2 - 2.7 miles of sage grouse leks (Beck and Mitchell 1997; Heath et al.
   1997) or where sagebrush canopy cover is less than 20 percent (Beck and Mitchell 1997) or in sage grouse winter habitat
   (Connelly et al. 2000; Eng and Schladweiler 1972).


                                         Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 27



                                                                                        Rvsd Plan - 00002435
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 325 of 356




          prohibit use of insecticides (Blus et al. 1989).

   Travel Management and Infrastructure:
      • Limit motorized travel to designated routes trails in priority habitat (SGNTT 2011: 11).
          Implement appropriate seasonal restrictions on motorized travel to avoid disrupting sage
          grouse during season of use (Holloran 2005; Aldridge et al. 2012.
      • Close existing trails and roads to achieve an open road and trail density not greater than 1
          km/1km2 (.6 mi/.6 mi2) (Knick et al. 2013).
      • Where valid existing rights-of-way are developed, restrict road construction within 1.9 miles
          of sage grouse leks (Holloran 2005).
      • Limit the construction of tall facilities and fences to the minimum number and amount
          needed in essential habitat.
      • Install anti-perching devices on transmission poles and towers (SGNTT 2011: 64, citing
          Lammers and Collopy 2007). Dismantle unnecessary infrastructure.

   Habitat Designation:
      • The Forest Service should also consider protecting sage-grouse habitat as Zoological Areas
           (Forest Service Manual 2372) to support long-term conservation of sage-grouse and other
           sagebrush-dependent species. The agency could apply additional measures to conserve the
          grouse beyond those prescribed for essential habitat, including prioritizing the areas for land
           acquisition, habitat restoration, and retirement of lease rights and grazing privileges.

   Mexican Spotted Owl (Stn'x occidentah's lucida)

   Assessment 5 states,

          There are no known occurrences within the planning area. The Rio Grande National Forest
          modeled habitat in 2006 in an attempt to describe potential habitat and focus survey efforts
          as needed (Figure 4). Based on the query developed, this model identified 14,103 acres of
          potential Mexican spotted owl habitat. Given the extensive surveys conducted throughout
          this habitat with no positive Mexican spotted owl occurrences resulting, this model likely
          substantially over-estimates potential Mexican spotted owl habitat in the planning area.

   Though the Forest Service concluded that Mexican spotted owls are not likely to occur on the
   RGNF, we recommend that the Forest follow the recommendations in the Mexican Spotted Owl
   Recovery Plan (USFWS 2012). The RGNF is within historic range of the species (USFWS 2012),
   and some suitable habitat occurs on the Forest.

   Southwestern Willow Flycatcher (Empidonax traiUn extimuS)

   The southwestern willow flycatcher is an obligate riparian species that nests in willows, cottonwood
   and tamarisk vegetation (Stoleson and Finch 2000). Typically, the species builds nests and lays eggs
   in mid-May to early June and fledges young in mid-July (USFWS 2002).

   Assessment 5 states that a Southwestern willow flycatcher was observed on the RGNF in 2008. The
   Assessment did not evaluate habitat conditions on the Forest but conveyed that 1,762 acres of
   suitable habitat occurs on the Forest with another 947 acres of potential habitat.


                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 28



                                                                                   Rvsd Plan - 00002436
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 326 of 356




   All grazing poses a threat to riparian areas in the region, and in turn, to the habitat of the flycatcher.
   Removal of livestock grazing pressure from riparian areas has been found to have a positive effect on
   growth, distribution, and vigor of riparian vegetation (Schulz and Leininger 1991). Grazing poses a
   current threat to the southwestern willow flycatcher habitat. Plan components should limit grazing
   effects on vegetation in suitable and potential habitat areas. The Forest Service should be taking
   actions outlined in the Southwestern Willow Flycatcher Final Recovery Plan (SWFRT 2002).

   Uncompahgre Fritillary Butterfly (Bolona acrocnema)

   Assessment 5 provides an account (p. 6-7) of the federally endangered Uncompahgre fritillary
   butterfly, which is dependent on large snow willow patches for persistence. Assessment 5 account
   includes a recent history of known Uncompahgre fritillary populations on the forest, including
   possible extirpated populations, and a summary of threats and risk factors, such as livestock grazing,
   trampling by humans, and climate change. The Assessment also conveyed the importance of the
   RGNF to the species; five of 11 known colonies occur on the Forest. Assessments 1 and 3
   (Terrestrial) (p. 4) does not evaluate the conditions of snow willow habitat but highlights the threat
   of climate change to the species:

           We think some ecosystems are particularly susceptible to climate change-related impacts.
           Plant and animal species in high-elevation alpine ecosystems, such as the Uncompahgre
           Fritillary Butterfly, may be pushed to extinction if warming temperatures reduce their habitat
           (Alexander and Keck 2015).

   The USFWS Uncompahgre Fritillary Butterfly Recovery Team finalized a recovery plan for the
   species in 1994 (UBRT 1994). The recovery plan lists a set of responsibilities assigned to the Forest
   Service for contributing to the species’ recovery (UBRT 1994: 16-18). Assigned actions to the Forest
   Service include (UBRT 1994: 16-18):

       •   Enforce prohibition on collection
       •   Determine search locations
       •   Organize searchers
       •   Search for colonies
       •   Monitor population levels
       •   Determine oviposition sites
       •   Determine larval life history
       •   Record snow, rain, and air temp. levels
       •   Determine soil moist. and temp.
       •   Determine elev., slope, aspect, of new colony sites
       •   Monitor morphologic phenology of snow willow
       •   Monitor phenology of nectar sources
       •   Conduct recovery team activities
       •   Contract administration
       •   Determine disease, parasitism, predation threats
       •   Determine livestock threats
       •   Determine recreation threats
       •   Reintroduce butterflies

                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 29



                                                                                   Rvsd Plan - 00002437
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 327 of 356




       •   Transplant to other suitable sites
       •   Erect signs

   The Assessment is not clear regarding how the Forest Service is meeting these recovery plan
   obligations.

   We believe these plan components need to change to meet the planning rule requirements. That
   some colonies on the forest may have been extirpated indicates that standards and guidelines may be
   inadequate, and if so, should change. Wildlife - Standard 13 (RGNF 1996: III-28) states,

           No ground-disturbing activity shall be allowed in potential Uncompahgre fritillary butterfly
           habitat unless a survey is conducted to determine the existence of the species. Ground­
           disturbing activities include trail building, livestock driveways, or domestic sheep bedding
           grounds. The usual grazing associated with livestock in the area is not considered ground
           disturbing. Potential habitat definitions and survey protocols are found in the Uncompahgre
           Friti/ha.j ButterJly Recovery Plan.

   However if ground disturbing activities are allowed to occur in unoccupied potential habitat, this
   may precluded the restoration and recolonization of potential habitat and hinder the butterfly’s
   recovery. Wildlife - Standard 14 (RGNF LRMP 1996: III-28) states, “[i]f any new Uncompahgre
   fritillary butterfly populations are discovered, a "No Butterfly Collecting" regulation shall be
   imposed on the area.” It follows that “ground-disturbing activity” restrictions should apply to the
   habitat of newly discovered populations not solely collection restrictions.

   The USFWS has emphasized a continued need to maintain regulatory mechanisms and
   recommended the following action: “[d]evelop a management plan with the USFS and BLM to
   ensure grazing, collecting, recreation, and other on-the-ground threats remain low or are eliminated”
   (USFWS 2009: 16).

   Given the USFWS directive and the vulnerability of the species and the potential for disturbance
   under the current LRMP, we recommend the following standards:

       •   Close Uncompahgre fritillary colony sites and potential recovery areas to recreation,
           including hiking and trail building.
       •   Close Uncompahgre fritillary colony sites and potential recovery areas to grazing.

   We are proposing the designation of the Pole Creek Mountain - Sheep Mountain as recommended
   wilderness to help protect a population of the Uncompahgre fritillary butterfly.

   Yellow-billed Cuckoo (Coccyzus amen'eanus)

   The yellow-billed cuckoo is a threatened species and an obligate riparian. Like the flycatcher, the
   yellow- billed cuckoo would benefit from an increase in suitable riparian habitat in the area. Yellow­
   billed cuckoo nest in willow, cottonwood and non-native tamarisk (Seachrist et al. 2013). The
   preferred habitat of the yellow-billed cuckoo includes an overstory of native canopy with mixed
   seral-stage understory comprised of native vegetation (Seachrist et al. 2013). One recent study found
   a high concentration of yellow-billed cuckoo along a long stretch the Middle Rio Grande where
   there was an absence of anthropogenic activity (Seachrist et al. 2013). Plan components should

                                    Defenders of Wiidlfe, Rio Grande National Forest Management Plan Scoping Comments | 30



                                                                                   Rvsd Plan - 00002438
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 328 of 356




   preserve large riparian areas without disturbances to contribute to the recovery of the yellow-billed
   cuckoo.

   USDA research has found that excluding cattle from a landscape for five growing seasons
   “significantly increased: (1) total vegetative cover, (2) native perennial forb cover, (3) grass stature,
   (4) grass flowering stem density, and (5) the cover of some shrub species and functional groups”
   (Kerns et al. 2011). All of these results would benefit the cuckoo and support recovery of this
   species.

   The Forest Service correctly notes that non-native tamarisk have contributed to the decline of the
   cuckoo’s native habitat. However, the cuckoo has been known to nest in these non-native tamarisk
   (Seachrist et al. 2013). Therefore, before tamarisk is removed under any management strategy, the
   Forest Service should first complete surveys for cuckoo and assess whether ecological conditions
   exist to support native riparian vegetation.

       5      .2. Proposed and Candidate Species

   Under Planning Rule Section 219.9(b)(1), the revised plan must provide for ecological conditions
   that will conserve the North American wolverine (Gulogulo luscus), which is proposed for listing
   under the ESA. Wolverine conservation status in the lower-48 is currently in some flux. In April
   2016, a federal judge’s decision rejected the 2014 decision by the USFWS to not list the distinct
   population segment (DPS) of the wolverine under the ESA. As the USFWS reconsiders protections
   for wolverines, they are now again a ‘proposed’ species under ESA and may raise questions over
   how the Forest Service including the RGNF will treat wolverine in ongoing and forthcoming forest
   plan revisions. Because the wolverine is a proposed species, the RGNF land management plan
   should provide plan components that will “protect, preserve, manage, or restore natural
   environments and ecological communities to potentially avoid federally listing” of wolverine (36
   CFR 219.19).

   In addition, given the uncertainty in the conservation status of wolverines, we believe wolverine
   should also be treated as a potential SCC, though not eligible for designation—at least not yet. This
   would ensure that future plan components would be sufficient to meet any applicable regulatory
   requirements. Furthermore, it is our belief that Planning Rule requirements for federally listed,
   proposed and candidate species are in addition to the baseline requirements for SCC. In other words,
   the RGNF should identify the ecological conditions necessary for wolverine persistence in the plan
   area, or those necessary to contribute to wolverine persistence across the species range, so that plan
   components can be developed for wolverine as a proposed or SCC species.

   However, maintaining ecological conditions alone will probably not be sufficient to help ensure
   wolverine recovery and viability across its range on national forest lands. Therefore, plan
   components, including standards and guidelines, for wolverine will likely be necessary, as required by
   36 CFR 219.9(b)(1). For example, limitations on snowmobile use in some alpine areas where
   denning could occur may be necessary for protection and recovery of wolverine. Importantly, the
   RGNF should review and incorporate the preliminary findings, and expected final report, from the




                                     Defenders of Wildlfe, Rio Grande National Forest Management Plan Jcofing Comments | 31



                                                                                    Rvsd Plan - 00002439
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 329 of 356




   Wolverine Winter Recreation Research Project that recently concluded the field study component of
   the project.10

   Additionally, because of the uncertainty surrounding the wolverine’s listing status and the
   importance of the species, the RGNF revised plan should include a mechanism whereby wolverine
   is automatically added to the SCC list in the event that the U.S. Fish and Wildlife Service once again
   determines that wolverine do not merit listing under the ESA. Given the expected life-span of the
   revised plan, this is very important to ensure that the plan can anticipate potential actions by other
   federal agencies in the future, but during the life of the revised plan.

       5        .3. Species of Conservation Concern

            5.3.1.Species of Conservation Concern Selection

   In previous comments to the RGNF, we pointed out potential problems with the SCC selection
   process, particularly with the documentation of BASI to support not selecting species under
   consideration. We have three documents from the Forest Service that pertain to SCC identification
   and selection justifications; these are Assessment 5, a letter (August 17, 2016) from the Rocky
   Mountain Region office to the RGNF Forest entitled “List of Species of Conservation Concern for
   the Rio Grande National Forest,” and an Excel spreadsheet with the filename:
   RGNF_Step2a_RefinedSppList_21July2016. If there are additional documents pertaining to the
   SCC selection and justification, we ask that these be uploaded to the RGNF or Region 2 website.
   We will not repeat our comments here in full, but summarize them and ask that the Forest Service
   consider them as the planning process continues. We also request that the Forest Service reconsider
   species for which justifications are inadequate for removing them from the SCC list under
   consideration.

   We are concerned that the Forest Service is not using and properly documenting BASI for SCC
   selection as required by the Planning Rule and directives (36 C.F.R. § 219.3; FSH 1909.12, Ch. 10,
   12.53b(3 and 4)). We may agree with the Forest Service’s decisions to remove some species from
   consideration, but cannot do so without reviewing appropriate documentation.

   We are not sure if “not documented” on the forest in Assessment 5 (p. 5: 32-34, Table 2) means that
   documentation exists to support the contention that the species does not occur on the forest or that
   there is a lack of information about a species occurrence. This applies to the following:

       •    Monarch butterfly
       •    Theano alpine
       •    Colorado blue (butterfly)
       •    Gold-edge gem moth
       •    Great Basin silverspot
       •    Grasshopper sparrow
       •    Burrowing owl
       •    Ferruginous hawk


   10 All reports and maps are available at: http: / /www.roundriver.org/wolverine/wolverine-maps-reports-and-
   publications/.


                                        Defenders of Wildlfe, Rio Grande National Forest Management Plan SeopiKg Comments | 32



                                                                                       Rvsd Plan - 00002440
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 330 of 356




       •   Mountain plover
       •   Northern harrier
       •   Dwarf shrew
       •   Botta's pocket gopher
       •   Violet milkvetch
       •   Missouri milkvetch
       •   Narrowleaf grapefern
       •   Winding mariposa lily
       •   Brandegee's buckwheat
       •   Manyflowered ipomopsis (or many-flowered gilia, many-flower standing cypress)
       •   Ice cold buttercup
       •   Aztec milkvetch
       •   Lesser tussock sedge
       •   Lesser yellow lady’s-slipper
       •   Wahatoya Creek larkspur
       •   Heil’s tansy mustard
       •   Lesser bladderwort

   It is not clear if “[n]o known substantial conservation concern on the Rio Grande National Forest”
   means there is BASI that supports a determination of no substantial concern or if this indicates a
   lack of information.

       •   Alberta Arctic
       •   White-veined Arctic
       •   Juniper titmouse
       •   Cassin’s finch
       •   Prairie falcon
       •   Pinyon jay
       •   Virginia’s warbler
       •   Brown-capped rosy finch
       •   American pika
       •   Little brown bat
       •   Southern red-backed vole
       •   Abert’s squirrel

   The directives make an important distinction between species of broader-scale concern and those
   where there is local conservation concern. Local conditions in a plan area are relevant at the SCC
   identification stage as a basis for including additional species for which there might not be broader
   concern; not as a sole basisfor rjeeting speciesfor which there is a broader concern. In Assessment 5, a “basis”
   is provided for each species “not carried forward for analysis as SCC” that addresses both regulatory
   criteria for each species. However, the criteria listed for “determining ‘substantial concern” are only
   the criteria designated in the directives to be used for species of “local concern” (FSH 1909.12 Ch.
   10, 12.52d(3)(f)) (See Appendix A: Evaluation of Species of Conservation Concern Identification
   Process, by Defenders of Wildlife). Thirty-seven species were considered but not carried forward.

                                      Defenders of Wildlfe, Rio Grande National Forest Management Plan 5coping Comments | 33



                                                                                     Rvsd Plan - 00002441
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 331 of 356




   Age of occurrence records should not be a justification for ignoring a species in the planning
   process without demonstrating that the likelihood of future occurrence is remote. Where occurrence
   records are old, this could substantiate the decline of the species and suggest potential recovery and
   restoration needs. This applies to:

       •   Alberta Arctic
       •   Northern leopard frog
       •   Veery

   Infrequent presence or limited habitat in the plan area, and lack of threats from national forest
   management activities are insufficient to demonstrate that species vulnerable at a broader scale are
   secure in the plan area. Limited habitat might suggest the opposite. If a species is “known to occur”
   in a plan area, the apparent absence of habitat is not a relevant justification. This applies to:

       •   Sage sparrow
       •   Pinyon jay
       •   Loggerhead shrike
       •   Band-tailed pigeon
       •   Lewis’ woodpecker
       •   Big free-tailed bat

   The directives specifically recognize climate change as an example of a threat to a species that might
   warrant identifying it as a SCC even though it is beyond the control of national forest management
   actions (FSH 1909.12 Ch.10, 12.52d). A June 2016 letter from the Deputy Chief to the Regional
   Foresters further clarified that, “Species should not be eliminated from inclusion as an SCC based
   upon^threats to persistence beyond the authority of the Agency or not within the capability of the
   plan area, such as climate change.” However, the sage sparrow was not identified as a SCC because
   of “very limited ability to influence species through management actions of Rio Grande National
   Forest.” The American pika is another species where climate change is a threat. American pikas live
   among high-elevation talus fields and are vulnerable to warming temperatures (Beever et al. 2003).
   American pikas are experiencing declines across most of their range (Wilkening et al. 2015). Calkins
   et al. (2012) predicted that pika habitat will shrink at even slightly warmer temperatures. The species
   occurs in the RGNF.

               5.3.1.1.    Response to Additional Recommendations

   The Regional Office letter (p. 6) noted that Defenders’ had recommended an additional six species
   for consideration as SCC.

       •   Silky pocket mouse (Perognathusflavus), NatureServe: G5, S1
       •   Brazilian free-tailed bat (Tadarida brasiliensis), NatureServe: G5, S1
       •   Xanthus Skipper (Pyrgus xanthus), NatureServe: G3G4, S3
       •   Three-toed woodpecker (Picoides tridactylus), NatureServe: G3G4, S3S4B (vulnerable)
       •   Dwarf hawksbeard (Askellia nana), NatureServe: G5, S2
       •   Pale moonwort (Bot.jchium pallidum), NatureServe: G3, S2

                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan Scoping Comments | 34



                                                                                   Rvsd Plan - 00002442
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 332 of 356




   We see that Askellia nana is now on the SCC list under consideration. We assume the other five were
   rejected. We have not found documentation online or in requests to the Forest Service to
   understand why these species were not identified as SCC. We provide additional justification as to
   why we believe the following three species warrant identification as SCCs.

       •   Brazilian Free-tailed Bat (Tadarida brasiliensis). NatureServe (2015) ranks the Brazilian free­
           tailed bat as critically imperiled in Colorado. The species’ range overlaps with the RGNF,
           and the forest includes several important habitats including caves (or mines), riparian, and
           mixed conifer forest.

       •   Silky Pocket Mouse (Perognathusflavus). According the NatureServe, the silky pocket mouse is
           imperiled in Colorado (NatureServe 2015). Based on a Forest Service Region 2 evaluations
           form, the species is known to occur on the RGNF (Forest Service 2001). Additionally, a
           small mammal survey conducted by Colorado Natural Heritage Program found occurrences
           on the RGNF (CNHP 2015). See also CNHP (Rocchio et al. 2000).

       •   Pale Moonwort (Botrychium pallidum). Pale moonwort is ranked as imperiled in Colorado by
           NatureServe (2015). It is a Colorado Rare Plant (CNHP 1997) and Forest Service Region 2
           Sensitive Species. It has been found in Rio Grande and/or Conejos counties (Kettler et al.
           2000). The Draft Environmental Impact Statement for the RGNF 1996 land and resource
           management plan indicates the plant occurs on the forest (p. 3-94).

               5.3.1.2.    Additional request for consideration

   We also recommend that the red squirrel (Tamiasciurus hudsonicus) be considered as SCCs given recent
   information about them. Based on a study by Colorado Parks and Wildlife and others (CPW
   undated), red squirrels may be having a negative response moderate and severe spruce beetle
   outbreak conditions. The assumption is that the loss of cone crop, a key food resource for the
   squirrels, is the key factor. They are residents of the RGNF and serve as an important secondary
   food source for Canada lynx

           5.3.2.Species of Conservation Concern Recommendations

   We make management recommendations and recommend management documents to begin
   developing species-focused plan components based on BASI for the following faunal SCCs
   currently under consideration by the Forest Service.

   Boreal Toad (Anaxyrvs boreas)

   In 2001, the Boreal Toad Recovery Team believed that Boreal Toads occupied less than one percent
   of their historic breeding areas in the Southern Rocky Mountains (Loeffler 2001). Though the
   primary cause of Boreal Toad decline is the chytrid fungus (Batrachoc/.jtrium dendrobatidis) (Bd), there
   are several management actions the RGNF could take to improve protection, conditions, and
   outcomes for the species. The Forest Service’s Region 2 Boreal Toad (Bufo boreas boreas): A Technical
   Conservation Assessment (Keinath and McGee 2005: 41-43) recommended the following
   management actions for managing disease, determining population status, monitoring known
   populations, delineating important habitat, and protecting suitable habitat.


                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan Jcoping Comments | 35



                                                                                   Rvsd Plan - 00002443
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 333 of 356




   Disease management:

       •   If newly evolved environmental stressors (e.g., increased UV radiation, chemical
           contamination, decreased water quality, human disturbance) facilitate infection, then
           management should focus on eliminating those stressors from boreal toad habitats, thus
           enabling the remaining boreal toads to recover and repopulate their former range.
       •   If certain habitat characteristics (e.g., elevation, water temperature, vegetative cover) mitigate
           the rate of infection or the mortality rate of those infected, then sites with those
           characteristics should be given conservation priority. Further, habitat manipulation that
           promotes those characteristics could be implemented in other sites, especially those that
           have not already been infected.
       •   If some toads exhibit natural resistance to infection, then those animals should be the focal
           point of captive breeding and reintroduction programs.

   Monitor known populations:

       •   Known breeding populations must be monitored to track changes in abundance and
           behavior and to evaluate impacts of management actions (see “Inventory and monitoring”
           section).

   Delineate important habitat:

       •   Managers should identify important terrestrial habitats (i.e., foraging areas, over-wintering
           sites, and movement corridors) and aquatic habitats (i.e., permanent ponds and river and
           stream habitats within 2.5 km of known breeding ponds). Managers should then assign
           priorities for protecting and monitoring boreal toad habitats, wherein the healthiest
           populations receive greater priority.

   Protect suitable habitat:

       •   To insure population persistence, important habitat must be protected from natural and
           human-caused disturbances that could potentially threaten the survival of boreal toads at the
           local, population, and/or landscape scale. This includes not only the breeding sites, but also
           the network of upland habitat and migration corridors. Habitats with BD-free populations
           should receive high priority for protection.

   Keinath, D. and M. McGee (2005: 43-45) recommended a set of tools and practices to guide
   population and habitat management, summarized below.

   Pre-management surveys:

       •   Habitats that may be suitable for breeding, foraging, over-wintering, or migration by boreal
           toads should be surveyed prior to any management activity that could impact the toads or
           their habitat. If the loss or deterioration of boreal toad habitat is inevitable, then mitigation
           measures should be implemented.

   Timber harvest:



                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan Jeofing Comments | 36



                                                                                   Rvsd Plan - 00002444
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 334 of 356




       •   Timber harvests that create uneven-age stands result in fewer disturbances to the understory
           and ground, which is preferred in boreal toad habitat.
       •   Fire and heavy equipment use can cause toad mortality, so post-sale treatments (e.g.,
           scarification or fire) should be limited.
       •   Vehicle use of roads and skid trails in boreal toad habitat should be planned to avoid times
           of peak boreal toad activity, thus reducing road-kill mortality.
       •   Boreal toads disperse considerable distances (2.5 km) from breeding to upland forest sites
           (Bartelt 2000). Therefore, timber harvest within 2.5 km of known breeding sites should be
           limited during and immediately following the breeding season.
      •    Timber harvest can alter hydrologic patterns, and thus impact boreal toad breeding sites that
           may not be within the harvest boundaries. Therefore, managers should plan harvest activities
           designed to maintain water quality and quantity, and hydrologic functioning in proximate
           wetlands.

   Livestock grazing:

       •   Maintain riparian areas and wetlands in proper functioning condition by conserving adequate
           vegetation, landform, or debris to:
               o dissipate energy associated with stream flow, wind, and wave action
               o filter sediment, capture bedload, and aid floodplain development
               o improve flood-water retention and groundwater discharge
               o develop root masses that stabilize stream banks against current action
               o develop diverse pond characteristics to provide habitat, water depth, duration, and
                   temperature to support diverse aquatic life (USDI Bureau of Land Management
                   1993).
       •   Maintain water quality and quantity at Clean Water Act standards as a minimum.
       •   Maintain vegetative cover requirements necessary to meet the recovery needs of boreal toads
           (see “Habitat” section).
       •   Locate toad movement corridors and protect them from the impacts of livestock grazing.
      •    Minimize incidences of trampling by livestock by fencing critical habitat areas.

   Fire management:

      •    In areas where there are known boreal toad breeding sites, burning prescriptions should
           buffer habitats within 2.5 miles of the site and/or should be restricted to late fall through
           early spring, when boreal toads are less active. If prescribed fires cannot be avoided at these
           times and locations, then minimizing the rate of spread may allow toads to escape the
           flames. The use of fire retardants in or near boreal toad habitats, especially breeding sites or
           other aquatic habitats, should be avoided.

   Pesticides, herbicides, and environmental contaminants:

      •    Residue from pesticide, herbicide, or fertilizer application can contain compounds
           detrimental to toads (see “Extrinsic threats” section). Until the lethal and sublethal impacts
           of these commonly used chemicals are examined for all life history stages of the boreal
           toads, they should not be applied within at least 100 meters of wetlands.


                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan Jeofing Comments | 37



                                                                                   Rvsd Plan - 00002445
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 335 of 356




   Non-indigenous species:

       •   To protect boreal toad populations from the other potential threats posed by the presence of
           non-indigenous species, introductions of native and non-native fish and amphibians into
           occupied or suitable unoccupied boreal toad breeding habitats should be discouraged
       •   Managers should keep the potential implications of nonnative species in mind when
           developing management or conservation strategies for mountain lakes and streams, and
           consider removal of these species where their presence is deemed detrimental to boreal toad
           populations or the larger native amphibian community.

   Habitat development and fragmentation:

       •   Water projects. Wetlands in occupied boreal toad habitat and suitable but unoccupied boreal
           toad habitats should not be drained or filled. If this is unavoidable, lost wetlands should be
           replaced at a minimum 2:1 ratio (i.e., two hectares of wetland should be created for each
           hectare lost). Development within at least 300 ft. (100 m) of known occupied and suitable
           but unoccupied boreal toad habitats should be avoided.
       •   Roads. Existing roads in occupied boreal toad habitats should be examined to determine
           whether they are a barrier to toad movement. Roads that represent a barrier to safe
           movement by toads between essential habitats (e.g., between ponds and uplands, or between
           neighboring ponds) should be modified, possibly by installing culverts or similar structures
           that allow toads to pass unhindered. Bridges and seasonal road closures may also be used to
           provide mitigation. Roads could be moved to avoid impact altogether. New roads should
           avoid suitable toad habitat and contain appropriate features to eliminate barriers to water
           flow and toad movement. Roads leading to sensitive wetlands may be seasonally or
           permanently closed to reduce use of those areas. Interpretive signs explaining modifications
           of travel should be posted in any area where modifications alter public access.
       •   Recreation. Campsites in or near occupied breeding ponds should be closed seasonally to
           protect breeding adults, egg masses, tadpoles, and toadlets. In unrestricted camping areas,
           fencing and signs should be used to seasonally restrict camping within at least 100 ft. (34 m)
           of riparian areas. As with roads, interpretive signs explaining changes should be posted to
           improve the public’s acceptance and compliance with these restrictions. The impacts from
           trail use should be evaluated annually in areas where they cross boreal toad breeding habitat.
           Trails that lead to or pass near occupied breeding sites should be closed seasonally, or
           permanently rerouted to avoid these areas. Newly constructed trails should avoid directing
           users to occupied breeding sites, and a buffer at least 100 ft. (34 m) should be placed
           between new trails and occupied breeding sites. Off-road vehicle use should be managed to
           avoid riparian and wetland habitats.

   Western Bumblebee (Bombus occidentah's)

   Hatfield et al. (2012) described the following threats to North America bumble bees: habitat
   fragmentation, livestock grazing, insecticide and herbicide use, loss of genetic diversity, pests and
   disease, competition with honey bees, and climate change. An additional threat includes fire
   suppression (Defenders of Wildlife 2015). For a more detailed description of threats to help guide
   management, see: “A Petition to list the Western Bumble Bee (Bombus occidentalis) as an
   Endangered, or Alternatively as a Threatened, Species Pursuant to the Endangered Species Act and


                                   Defenders of Wildlfe, Rio Grande National Forest Management Plan Jeofing Comments | 38



                                                                                  Rvsd Plan - 00002446
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 336 of 356




   for the Designation of Critical Habitat for this Species,” by Defenders of Wildlife (2015). The
   following management recommendations are adapted from the Forest Service’s own
   recommendations in Conservation and Management (/North American Bumble Bees (Schweitzer et al. 2012)
   and the Xerces Society’s Conserving Bumble Bees: Guidelines for Creating and Managing Habitat
   for America’s Declining Pollinators (Hatfield et al. 2012).

   Promote ecological integrity of bumblebee habitat and promote habitat connectivity:

       •   Provide habitat for nesting and overwintering sites. (Schweitzer et al. 2012: 3)
       •   When nesting sites are limited, consider providing artificial nest boxes. (Schweitzer et al.
           2012: 3)
       •   Assure continuity of nectar and pollen resources when bumble bees are active from spring to
           late summer. (Schweitzer et al. 2012: 3)
       •   Increase abundance and diversity of native wild flowers to improve bee density and diversity.
           (Schweitzer et al. 2012: 3)
       •   Ensure that nesting habitat is in close proximity (500-800 m; 0.3-0.5 mi) to foraging habitat.
           (Schweitzer et al. 2012: 3)

   Pesticides and herbicides:

       •   Minimize exposure to pesticides. (Schweitzer et al. 2012: 3)
       •   When spraying is necessary, do so under conditions that promote rapid breakdown of toxins
           and avoid drift. (Schweitzer et al. 2012: 3)
       •   Use the least toxic and least concentrated application possible. (Hatfield et al. 2012: 15-16)
       •   Apply when bumble bees are not active: at night and in late fall or winter. (Hatfield et al.
           2012: 16)
       •   Do not apply when plants are in bloom.

   Fire:

       •   Stagger the timing of prescribed burns to enable a continuous food supply. (Schweitzer et al.
           2012: 3)
       •   Only burn a specific area once every 3-6 years. (Hatfield et al. 2012: 13)
       •   Burn from October through February. (Hatfield et al. 2012: 13)
       •   No more than one-third of the land area should be burned each year. (Hatfield et al. 2012:
           14)
       •   Avoid high intensity fires. (Hatfield et al. 2012: 14)

   Livestock Grazing:

       •   Grazing on a site should occur for a short period of time, giving an extended period of
           recovery. (Hatfield et al. 2012: 14)
       •   Grazing on a site should only occur on approximately one-third of the land each year.

   Rio Grande Chub ( Gila pandora)



                                   Defenders of Wildlfe, Rio Grande National Forest Management Plan JcofiKg Comments | 39



                                                                                  Rvsd Plan - 00002447
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 337 of 356




       •   See Rees et al. 2005, Rio Grande Chub:
           http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5200374.pdf

   Rio Grande Cut-throat Trout (Onco/hynchus cla/kfa viiginafs)

       •   See Pritchard et al. 2006, Rio Grande Cutthroat Trout:
           http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5206803.pdf

   Rio Grande Sucker (Catostomus plebeuiS)

       •   See Rees and Miller 2005, Rio Grande Sucker:
           http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5206797.pdf

   Boreal Owl (Aegoh'us funeruS)

   In Colorado, Boreal Owls typically occur above 9,500 feet (2,900 meters) (Ryder et al. 1987), largely
   in spruce-fir forest (Hayward 1994b). They require at least 386 mi2 (1,000 km2) of suitable habitat
   (Hayward 1989; Hayward 1994a), given large home ranges and low populations densities
   (NatureServe 2015, Aegoliusfunereus). In Colorado, male home ranges have been recorded up to 618
   mi2 (1,600 km2) (Hayward 1994b, citing Palmer 1986). Given that Boreal Owls are secondary cavity
   nesters, the presence of primary cavity nesters (particularly woodpeckers) is essential for the owl. In
   Colorado, Boreal Owls tend to occur in mature, older, multilayered spruce-fir forest with trees of
   large diameter and high basal area (Hayward 1994a; NatureServe 2015, Aegoliusfunereus). Natural
   disturbance processes, such as fire and tree mortality due to insects and disease, help create forest
   heterogeneity preferred by Boreal Owls. A mosaic forest pattern tends to support a diversity of prey,
   particularly small mammals. Boreal Owls likely assort in a metapopulation structure (Hayward
   1994b). While long-distance dispersing juveniles and emigrating adult owls are believed to be
   nomadic and can travel long distances, environmental changes may threaten species viability if they
   inhibit linkage between populations and reduce the size of habitat islands (Hayward 1994a).

   The RGNF 1996 LRMP contains several plan components that could be modified in accordance
   with the 2012 planning rule requirements and new BASI. Relevant objectives include Forestwide
   Objectives: 2, 2.1, 2.2, 2.3, 2.4, 2.7, 2.9, 2.10, and 3.3. Biodiversity Standards 1 and 3 and Guideline 1
   should be considered for retention with appropriate modifications. Silviculture Guidelines 1, 4, 5, 6
   and 16 should be modified and retained and also be considered as standards. Several experts have
   recommended the following management practices.

   Timber Harvest:

       •   Silvicultural prescriptions must provide for large diameter trees well dispersed over space
           and time. The roosting, nesting, and foraging ecology of boreal owls in the western United
           States also suggests that mature and older forest must be well represented in the landscape to
           support a productive boreal owl population. (Hayward 1994b)
       •   Maintain existing habitats and accelerate development of subalpine forest conditions within
           stands that are currently in mid-seral structural stages. (Wisdom et al. 2000)
       •   Avoid extensive use of clearcuts, which may reduce habitat quality for 100 to 200 years.
           Small patch cuts implemented on long rotations may be compatible with maintenance of


                                     Defenders of Wildlfe, Rio Grande National Forest Management Plan Jcoping Comments | 40



                                                                                    Rvsd Plan - 00002448
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 338 of 356




            habitat quality for boreal owls. Thinning from below may provide for development of nest
            structures. (Wisdom et al. 2000)
      •     Retain large-diameter snags in suitable habitat areas and provide for snag replacement over
            time. (Wisdom et al. 2000)
      •     Determine potential snag densities for suitable and restoration habitats by conducting
            surveys. Use these baseline data to determine whether snags are below potential in other
            areas. Provide measures for snag protection and recruitment in all timber harvest plans.
            (Wisdom et al. 2000)

   Provide for Connectivity:

      •     Provide or develop linkages among subpopulations. Evaluate linkages among
            subpopulations and use that information to identify areas that are highest priority for
            retention and restoration of habitat. This is of particular concern, where reduction in the
            extent of source habitats has increased the isolation of remaining habitat patches. (Wisdom
            et al. 2000)

   Other:

      •     Include boreal owl conservation within a larger, ecosystem context that addresses
            management of primary cavity nesters, small mammals, and forest structural components
            (Hayward 1994a).

   Brewer's Sparrow (Spizeila brewen)

      •     See Holmes and Johnson 2005,
            http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5182051.pdf

   Flammulated Owl ( Otus iJamineoJus)

   Flammulated owls prefer Ponderosa pine forest. They are secondary cavity nesters and need a high
   density of large snags. They may prefer snags >25 in dbh, and the low threshold may be 2-8
   snags/ac at >13 in dbh (Manley et al. 2004). Nelson et al. (2009) found that a minimum threshold
   for snag dbh may be 12 in but average at 20 in dbh. Given a decline of large ponderosa pine trees
   range-wide, available snags may be a limiting factor for flammulated owl persistence and recovery.
   Post-disturbance salvage logging may not be a management practice that supports sufficient snag
   retention and density for a variety of snag-dependent species (Hutto 2006; Hutto et al. 2016).

   Northern Goshawk (Accpter gentiles)

      •     See Kennedy 2003:
            http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5182005.pdf

   Olive-sided Flycatcher (Contopus cocpe/i)

      •     See Kotliar 2007:
            http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5182039.pdf



                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan J((ping Comments | 41



                                                                                   Rvsd Plan - 00002449
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 339 of 356




   Peregrine Falcon (FaJcoperegn'nus anatum)

       •   See Craig and Enderson 2004:
           http://cpw.state.co.us/documents/wildlifespecies/profiles/peregrine.pdf

   Southern White-tailed Ptarmigan (Lagopus leucerus altpetenS)

       •   See Hoffman 2006:
           http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5182070.pdf

   American Marten (Martes amenCana)

       •   See Buskirk 2002:
           http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5226875.pdf

   Fringed Myotis (Myotis thysanodes)

       •   See Keinath 2004:
           http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5181913.pdf

   Gunnison's Prairie Dog (Cynomys gunnisoni)

   Stressors and threats to Gunnison's prairie dogs include shooting, poor range condition, energy and
   mineral development, plague and tularemia, poisoning, poor habitat connectivity, and destruction of
   habitat through motorized use and other activities (Sheffield 1997; Seglund and Schnurr 2010).
   Several of these cannot be addressed with coarse-filter, ecosystem plan components. Thus, it is
   important to incorporate fine-filter plan components to maintain and restore viable populations of
   prairie dogs and well-distributed prairie dog colonies to promote grassland integrity on the Cibola.

   Preservation of prairie dog colonies and associated ecological benefits, however, cannot be limited
   to merely protection of existing colonies. Studies of population dynamics of prairie dog towns have
   resulted in the following management recommendation: creation and preservation of “a network of
   native prairie reserves strategically located across the historical range of this species,” which would
   include “clusters (‘complexes’) of large towns, as well as large, but isolated prairie dog towns”
   (Lomolino and Smith 2003). This approach necessitates a landscape-level approach to grassland
   conservation and habitat, including the elimination of barriers to prairie dog movement and
   expansion that may exist. Gunnison’s prairie dogs are not only indicators of grassland integrity but
   grassland restoration management tools and should be considered as focal species for monitoring.
   Burrowing owls can also serve as focal species (Sheffield 1997; Alverson and Dinsmore 2014).

   We recommend the following plan components as a starting point (see also Seglund and Schurr 2010).

   Desired Conditions:

       •   At least one desired condition should be developed that is specific to maintaining and
           restoring occupied prairie dog colonies. It should include, at a minimum, providing for
           viable populations of prairie dogs and an increasing trend in populations; maintaining and
           restoring colonies that are well-distributed throughout the Cibola’s grasslands; establishing
           sufficient prairie dog numbers and colonies to enable the persistence of obligate prairie dog

                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan 4((ping Comments | 42



                                                                                   Rvsd Plan - 00002450
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 340 of 356




          species including burrowing owls, ferruginous hawks, and mountain plovers, with the goal of
          creating the capacity to support a self-sustaining population of black-footed ferrets; and
          enabling connectivity between colonies and complexes to maintain genetic diversity. Set a
          specific goal for increasing occupied acreage on the Forest within this desired condition that
          will be monitored.

   Cooperative Management:

      •   Work with other public land agencies and stakeholders to identify management emphasis
          areas where intensive management can focus on landscape scale conservation for the entire
          prairie dog ecosystem. (adapted from Seglund and Schnurr 2010)
      •   Work with CPW or other entities to reintroduce and translocate prairie dogs to augment the
          Forest’s populations.

   Reduce Target Killing:

      •   Prohibit recreational shooting of prairie dogs.
      •   Prohibit lethal control of prairie dogs.

   Prevent Disease:

      •   Prevent plague by implementing a plague management and reduction programs that includes
          the use of dusting and vaccination. (see Seglund and Schnurr 2010)
      •   Develop a plague surveillance program to enable immediate management of plague
          outbreaks (adapted from Seglund and Schnurr 2010)

   Habitat Protection:

      •   Close and obliterate roads and motorized activity in and around prairie dog colonies and re­
          introduction sites.
      •   Minimize impacts of energy and/or mineral development on prairie dogs. (adapted from
          Seglund and Schnurr 2010)

   Connectivity:

      •   Manage grassland ecosystems at the landscape-level, restoring habitat connectivity, both
          structurally and functionally.
      •   Eliminate or reduce human pressures on grassland ecosystems, including motorized activity,
          recreational shooting, and impacts from livestock operations infrastructure.
      •   Identify and implement feasible and effective techniques to assist in prairie dog population
          recovery following plague epizootic events. (adapted from Seglund and Schnurr 2010)

   Monitoring:

      •   Designate the Gunnison’s prairie dogs as a focal species for grassland integrity.
      •   Conduct prairie dog population monitoring.

   River Otter (Lontra canadensis)

                                   Defenders of Wildlfe, Rio Grande National Forest Management Plan Seofing Comments | 43



                                                                                  Rvsd Plan - 00002451
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 341 of 356




       •   See Boyle 2006:
           http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5210168.pdf

   Rocky Mountain Bighorn Sheep ( Ovis canadensis canadensis)

       •   See Beecham et al. 2007:
           http://www.fs.usda.gov/Internet/FSE DOCUMENTS/stelprdb5181936.pdf

   Townsend's big-eared Bat (Coiyno/hinus townsendii townsendii)

   Townsend’s big-eared bats depend on caves, mines, abandon buildings or the underside of bridges
   for general roosting, maternal roosting, and hibernation. Species persistence will depend on enabling
   continued access to caves, mines, and other roosting sites—both known, existing sites and potential
   habitable sites to promote the species’ recovery. The Townsend big-eared bat has specialized habitat
   requirements that cannot be restored or maintained with ecosystem-focused, coarse-filter
   components alone. It is essential that management plan components protect roosting sites from
   human disturbance and minimize other threats and stressors. The RGNF 1996 LRMP includes a
   wildlife standard regarding the protection of caves and mines,

           Manage human disturbance at caves and abandoned mines where bat populations exist.
           When closing mines or caves for safety or protection reasons, reduce disturbance of residing
           bat populations and ensure bat access.

   We recommend that this or a similar standard be retained in the revised management plan. The
   following recommendations have been adapted largely from the Forest Service’s Region 2
   Townsend’s Big-eared Bat (Co\jnorhinus townsendii): A Teehnieal Conservation Assessment (Gruver and
   Keinath 2006) and Colorado Parks and Wildlife State Wildlife Action Plan (CPW 2015).

   Roost Protection:

       •   Manage to eliminate or limit disturbance, such as from mining and recreation, of known and
           potential roost sites, especially to roost sites, maternity colonies, and hibernacula; human
           activity in and near roosts must be minimized or eliminated, particularly during reproductive
           and hibernal periods. (Gruver and Keinath 2006; CPW 2015)

       •   Assess of patterns of roost use and movement to better understand patterns of roost use and
           fidelity to adequately protect roosting habitat through time and to adequately assess population
           trends. (Gruver and Keinath 2006)

       •   Employ appropriate site-specific and/or species-specific techniques for closures and safety
           enhancements (CPW 2015: 224), such as, by using gates to enable bats access to caves while
           keeping people out. However, research has shown that gates can negatively affect
           Townsend’s Big-eared Bats but that they may be adaptable in the long-term (Diamond and
           Diamond 2014). It is important when installing gates that the best available science be used
           to identify bat-compatible gates.

   Prevent Disease Spread:



                                      Defenders of Wildlfe, Rio Grande National Forest Management Plan Jcoping Comments | 44



                                                                                     Rvsd Plan - 00002452
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 342 of 356




       •   Manage recreation, research, management, and other human disturbances to control the
           spread of pathogens (CPW 2015: 224), i.e., to prevent white nose syndrome.

   Timber:

       •   Timber harvest regimes, prescribed burns, and other vegetation management actions should
           maintain a mosaic of mature forest canopy that can be perpetuated through time. (Gruver and
           Keinath 2006)

   Chemicals:

       •   Elimination of exposure to toxins by remediating indirect sources of exposure to toxins and
           eliminate direct exposure will benefit this and other species of wildlife. (Gruver and Keinath
           2006)

       •   Reduce or eliminate herbicide and pesticide use, such as forestry effluents, to prevent the
           reduction in prey from spraying or runoff. (CPW 2015: 224)

   6. Climate Change

   The 2012 Planning Rule adopts an intentional approach to planning for climate change. In fact, the
   rule was explicitly designed to be a vehicle for adaptation planning and the implementation of
   strategies to make national forests more resilient to the stresses of climate change (77 Fed. Reg.
   21164). The Planning Rule states that the intent of the rule is to allow “the Forest Service to adapt to
   changing conditions, including climate change^” (36 CFR 219.5(a)).

   The Planning Rule establishes adaptation to climate change as a primary consideration within the
   three phases of planning (assessment, planning and implementation/monitoring).

       •   The forest plan assessment will identify and evaluate existing information relevant to the
           forest plan on climate change as a system driver and a stressor, and evaluate information
           regarding “the ability of terrestrial and aquatic ecosystems on the plan area to adapt to
           change.”
       •   During the planning phase, the forest plan must develop plan components (i.e. strategies) for
           ecological sustainability and diversity of plant and animal communities which take climate
           change into account, based on the best available scientific information, provided in the
           Assessment.
       •   The forest plan monitoring program must evaluate the effectiveness of the adaptation
           strategies and contain one or more monitoring questions and associated indicators on
           “measurable changes on the plan area related to climate change and other stressors that may
           be affecting the plan area.”

   Climate change, including adaptation to climate change effects, does not receive much overt
   attention in the Proposed Action (it is conceivable that climate considerations can be “built into”
   plan components, and thus not readily apparent within them. But we do not believe that to be the
   case in this instance.). There in only one meaningful reference under Goal 2: To aggressively
   diversify “age classes and structure, seral stage and habitat classes” for the purposes of providing
   “responsiveness to anticipated changes in climate” (emphasis added). It is also suggested in other plan

                                    Defenders if Wildlfe, Rio Grande National Forest Management Plan Scoping Comments | 45



                                                                                   Rvsd Plan - 00002453
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 343 of 356




   components for example the desire to maintain habitat, structure, pattern and disturbance
   frequencies (conditions) similar to those that resultfrom natural disturbances. Those natural disturbance
   conditions used for emulation should be informed by climate change information. Similarly,
   ecological conditions necessary for at-risk species need to be informed by climate change
   information. Because there are no actual desired conditions for at-risk species, there are clearly no
   adaptation strategies for them either.

   Whether or not the forest plan can provide for the persistence of species, ecosystems and their key
   characteristics in the face of climate change depends on how effectively BASI is applied to the
   planning process, and how effectively climate change was incorporated into the Assessment, which
   is required to “assess system drivers, stressors, including risks related to climate change” (FSH
   1909.12 Ch. 10, 12.3). It is important to note that even if the Assessment fails to consider and
   document the range of BASI on an important topic such as climate, the BASI should be
   continuously considered and provided as the planning process proceeds.

   Climate change effects are considered a system driver as well as a stressor, when coupled with other
   processes affected by climate change, such as increases in the spread of invasive species. The
   Assessment must also come to a status determination for ecological integrity which includes
   factoring in “the influence of climate change” (12.14c). Not factoring climate into the integrity
   analysis may result in plan components that do not account for climate trends and will thus be
   ineffective in providing for integrity; in other words, it will not be possible to provide conditions
   that anticipate changes in climate.

   The absence of a climate analysis for planning may also affect at-risk species, both in the failure to
   provide climate adaptation strategies at the ecosystem-level, but in the absence of climate informed
   plan components for individual species as well. Climate threats are to be considered when
   considering species to select as SCC (FSH 1909 Ch. 10, 12.52d), and when determining the status of
   at-risk species (FSH 1909 Ch. 10, 12.55). This enables the development of adaptation-based plan
   components for ecological conditions for at-risk species.

   It does appear that climate threats were incorporated to some degree into the decisionmaking
   process for SCC and other at-risk species. For example, the Black swift was included on the SCC list
   due to susceptibility to “climate related stressors” (at-risk species Assessment p. 37). Specific plan
   components that address climate threats, coupled with other stressors (e.g. water diversion), will be
   necessary for this and other species with recognized climate concerns.

   The Rio Grande ecosystem Assessment states that the modelling which occurred for NRV and
   ecosystem integrity “did not specifically include climate change” (Assessments 1 and 3, p. 1). This is
   worrisome in that it indicates that plan components will not be designed to provide for the
   conservation of resources in the face of climate change. The Assessment notes that, “The current
   Rio Grande Forest Plan does not include any guidance related to climate change” (p. 2) but that
   “We recommend addressing climate change in our revised Forest Plan” (p. 5). How the plan will do
   this absent climate information is a key question at this stage of the planning process. This is not an
   insignificant problem, and we are surprised that the Assessment did not use existing climate change
   adaptation and vulnerability information for resources, lands and waters in Colorado (see below).

   Despite these deficiencies, the Assessment does suggest where climate change related plan
   components may be needed to address vulnerabilities. For instance, plan components will be

                                     Defenders of Wildlfe, Rio Grande National Forest Management Plan Scoping Comments | 46



                                                                                    Rvsd Plan - 00002454
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 344 of 356




   necessary to reduce manageable stresses on the Uncompahgre Fritillary Butterfly and other
   numerous climate stressed species dependent on high-elevation alpine ecosystems identified in the
   at-risk species Assessment. Climate threats are cited in the butterfly’s recovery plan, operating in
   concert with other manageable threats such as habitat trampling caused by “Increasing recreational
   traffic, including extensive off-trail use (and) domestic livestock grazings” (At-risk species
   Assessment, p. 7). In order to “contribute to the recovery” of the butterfly, the forest plan must
   constrain the manageable threats to the butterfly’s recovery. In addition, the plan monitoring plan
   should include a specific question to evaluate climate impacts on the endangered butterfly, as
   recommended in the at-risk species Assessment (p. 7). Similarly, the White-tailed ptarmigan is
   another alpine species threatened by climate change and additionally stressed by grazing, recreational
   use and mining (at-risk species Assessment p.55). There must be plan components directed at those
   threats.

   The Assessment also notes that, “Research suggests that we should be building off of the parts of the
   eeo.jstems that improve resitienee and resistance to climate change, including unique ecological attributes such
   as fens, riparian zones (Seavey et al. 2009) and the parts of the spruce fir forest that resisted, or were
   unaffected by the spruce beetle outbreak” (p. 5, emphasis added). As a general matter these resistant
   and resilient “parts” of the ecosystem should be selected as key characteristics for planning,
   management and monitoring, particularly if those “parts” are found to be vulnerable to climate
   impacts. For example, there should be plan direction to preserve cold water refugia. There should
   also be specific plan components directed at the protection and restoration of all late successional
   habitat given the estimated deficits and estimated effects of climate driven changes in disturbance
   regimes. Specific plan components to conserve these recognized features should be developed. We
   recommend desired condition statements for each, coupled with any necessary constraints
   (standards and guidelines) to avoid impacts from additional stressors.

   Low elevation riparian areas, seeps and springs should also receive special attention in the plan
   components and monitoring, based on their climate vulnerabilities noted in the Assessment (p. 5
   and 43). The Assessment notes that the effects of grazing, roads and travel management on climate
   vulnerable low elevation riparian areas are of concern and need to be rigorously evaluated; it even
   suggests the modification of existing standards and guidelines “to ensure the continued protection
   of these areas from sedimentation and erosion” and “monitoring and regulation of livestock
   grazing” (p. 43). Plan components should reflect this strongly stated concern and the effects of the
   forest plan on these vulnerable resources should be rigorously analyzed within the DEIS. The draft
   plan should consider an alternative to reintroduce beaver as an adaptation strategy, as suggested by
   the Assessment (p. 43). In addition, there needs to be strong plan direction for the conservation of
   wetlands, which are noted in the at-risk species Assessment as providing necessary ecological
   conditions for several at-risk species (boreal toad, Northern leopard frog, New Mexico meadow
   jumping mouse) that are threatened by climate change (at-risk species Assessment p 53). Plan
   components to protect and restore the ecological condition of meadows could be either “coarse” or
   “fine-filtered”, but either way need to provide the necessary condition for these at-risk species, and
   account for climate driven threats, coupled with others that can be addressed directly by the forest
   plan (e.g. decreased water quality, water development, timber harvest, livestock grazing, habitat
   fragmentation, non-native species).

   The ecosystem Assessment suggests climate adaptation strategies on p. 43. These should be reflected
   in the draft plan.


                                      Defenders if Witdtfe, Rio Grande National Forest Management Plan Scoping Comments | 47



                                                                                     Rvsd Plan - 00002455
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 345 of 356




   Notably that section of the Assessment calls for the restoration of fire “to its historical role on the
   forest” (p. 43). To accomplish this the Forest will need to develop desired conditions for wildfire for
   specific ecosystems associated with frequency and severity and other relevant factors. It is defensible
   to introduce the concept of “fire management zones” but it will be essential to have clear plan
   components for fire in these areas so that integrity can be determined for each ecosystem.

   There must also be desired conditions and other plan components for rare communities and special
   habitats, as noted in the Assessment, due to their vulnerability to climate change effects.

   Plan components for “heterogeneous conditions at a variety of scales” (p. 43) should also be
   considered in the draft plan, which will need to clearly describe the desired heterogeneity, features
   and ecosystems to which the desired condition applies.

   The Assessment also notes a significant degree of uncertainty in how climate change effects will
   manifest on the Forest. The Proposed Action states that, “The intent of the monitoring is to provide
   the Responsible Official with sufficient information to inform key management decisions about the
   success of the plan” which is true but the monitoring plan should also test “relevant assumptions”,
   including those surrounding climate change effects on resources governed by the plan. The
   monitoring plan should be coordinated with the Rocky Mountain Research Station and with the
   broader-scale monitoring strategy (36 CFR 219.12). Many climate-based questions concerning
   changes in ecosystem conditions and the effectiveness of adaptation strategies for at-risk species will
   transcend individual forests. The Assessment calls for monitoring of management practices such as
   timber harvest, salvage, grazing and others to understand how the possible stress of these effects
   interact with other climate driven stressors. Seeing pointed monitoring questions to this effect in the
   monitoring plan is recommended.

   Additional information resources:

       •   The Colorado Climate Change Plan, 2015 (http://cwcb.state.co.us/environment/climate-
           change/Pages/main.aspx)
       •   Colorado Wildlife Action Plan Enhancement: Climate Change Vulnerability Assessment
           (http://www.cnhp.colostate.edu/download/documents/2014/CO SWAP Enhancement
           CCVA.pdf)
       •   U.S. Forest Service Rocky Mountain Research Station, Climate Change Vulnerability
           Assessments and Related Literature for Aquatic Ecosystems
           (http://www.fs.fed.us/rmrs/climate-change-vulnerability-assessments-and-related-literature-
           aquatic-ecosystems-colorado)

   7. Monitoring

       7.1. General Comments

   It is important not to think of monitoring as an afterthought to the planning process. In fact,
   monitoring should be foremost in mind when developing the plan. For example, when drafting a
   desired condition, it is useful to think: How will we measure this? Most of the plan components in
   the Proposed Action would not meet this test. For example, how would the monitoring plan address
   the “status of a select set of the ecological conditions required^to maintain a viable population of


                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan Seofing Comments | 48



                                                                                   Rvsd Plan - 00002456
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 346 of 356




   each” SCC. As it stands in the Proposed Action, that monitoring requirement could not be met
   because the necessary plan direction does not exist.

   “Monitoring information should enable the responsible official to determine if a change in plan
   components” may be needed (36 CFR 219.12(a)). The suggestion that forest plans should be
   constructed such that they never require amendment undercuts the intention of the rule to use plan
   components to effectively meet Planning Rule requirements. Monitoring within a planning
   framework that does not provide for accountability undermines a legitimate adaptive management
   program. We refer back to our comments on “Responsiveness and Flexibility” earlier support this
   point.

   Much thought should be given to the “select set of ecological conditions.” Those ecological
   conditions that are most heavily dependent on assumptions should be prioritized for monitoring, in
   that they carry the most risk for at-risk species; cases where that risk of uncertainty is compounded
   by management effects are highest priority. This question can be answered by asking: “We think the
   species needs this, but we are not sure^”

   We recommend that the Forest refer to “Applying the 2012 Planning Rule to Conserve Species: A
   Practitioner’s Reference” when developing a monitoring approach (and other approaches) to at-risk
   species (see p. 43). The report correctly points out that monitoring of ecological conditions alone “is
   less useful when habitat and population dynamics are poorly linked^” (p. 45). Monitoring
   ecological conditions alone carries some risk for those types of species and thus the authors point
   out that “the Rule nor the Directives explicitly preclude measuring the occurrence, distribution,
   abundance, or other population parameters of at-risk species as an indicator of plan effectiveness”
   (p. 46). The Forest should consider cases where it may be necessary to directly measure population
   parameters of specific species where collection of ecological condition information alone poses a
   risk to the conservation of such species. Fiscal realities must be considered as well, and priority for
   population monitoring should be given to cases of high risk.

       7.2. Recommended Focal Species

   The Planning Rule addresses focal species in conjunction with the plan monitoring program
   developed by the responsible official (36 CFR § 219.12(a)(5)(iii)). The purposes of focal species are
   to permit “inference to the integrity of the larger ecological system to which it belongs” and provide
   “meaningful information regarding the effectiveness of the plan in maintaining or restoring the
   ecological conditions to maintain the diversity of plant and animal communities in the plan area” (36
   CFR. § 219.19). The 2012 rule also includes requirements for focal species. Focal species are
   employed in the plan monitoring program to evaluate the effectiveness of the forest plan in meeting
   the diversity requirements (36 C.F.R. § 219.12(a)(5)(iii)). Effective monitoring may require that some
   SCCs be selected as focal species. The Forest should track the status of focal species throughout the
   life of the management plan. Species that are either known or hypothesized to be particularly
   sensitive to climate disruptions should be strongly considered. We recommend the following focal
   species.

   Beaver (Castor canadensis)

   Beavers are considered keystone, or strongly interacting, species. A technical conservation
   assessment of beavers prepared for the Rocky Mountain Region (Region 2) acknowledged the


                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan Seofing Comments | 49



                                                                                   Rvsd Plan - 00002457
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 347 of 356




   interactive role of the rodents in riparian systems (Boyle and Owens 2007). Studies have
   demonstrated the negative consequences of beaver losses as well as the ecosystem services beavers
   provide through their dam building (Naiman et al. 1994; Gurnell 1998; Wright et al. 2002; Butler and
   Malanson 2005; Westbrook et al. 2006; Stevens et al. 2007; Bartel et al. 2010; Westbrook et al. 2011).
   Miller et al. 2003: 188, citing Naiman et al. (1988) and Gurnell (1998), presented a long list of
   documented ecological impacts of beaver engineering,

           stabilization of stream flows; increased wetted surface area (i.e. benthic habitat);
           elevation of water tables causing changes in floodplain plant communities; creation
           of forest openings; creation of conditions favoring wildlife that depend upon ponds,
           pond edges, dead trees, or other new habitats created by beavers; enhancement or
           degradation of conditions for various species of fish; replacement of lotic
           invertebrate taxa (e.g., shredders and scrapers) by lentic forms (e.g., collectors and
           predators); increased invertebrate biomass; increased plankton productivity; reduced
           stream turbidity; increased nutrient availability; increased carbon turnover time;
           increased nitrogen fixation by microbes; increased aerobic respiration; increased
           methane production; reduced spring and summer oxygen levels in beaver ponds; and
           increased ecosystem resistance to perturbations.

   Additionally, the presence of beaver dams and the functional populations of beaver in suitable
   habitats contribute to resilience in the face of climate change (Bird et al. 2011).

   Beaver ponds provide winter habitat for Rio Grande cutthroat trout (Pritchard and Cowley 2006)
   and breeding habitat for boreal toads (Keinath and McGee 2005), two Region Two sensitive species
   that occur in the Forest, and species the RGNF has proposed as species of conservation concern.

   Canada Lynx (Lynx canadensis)

   The presence and persistence of lynx populations can help indicate the integrity of old growth
   montane forests and the integrity of movement corridors. Lynx prefer high-elevation habitats
   characterized by forests at a variety of succession stages that result from natural disturbance regimes,
   such as fire (Miller et al. 2003). In the Southern Rockies, habitat includes vegetative communities
   typified by Engelmann spruce (Picea engelmannii), lodgepole pine (Pinus contorta), aspen (Populus
   tremuloides), and subalpine fir (Abies lasiocarpa) (Koehler and Aubry 1994). Lynx primarily prey
   primarily on snowshoe hares and red squirrels (Tamiasciurus hudsonicus). Lynx populations need
   extensive patches of high quality habitat, given their large home ranges. Two lynx require about 40
   square miles (McKelvey et al. 1999). Carroll et al. (2001) recommend including carnivores as focal
   species in “regional-scale monitoring programs” and specifically included Canada lynx in their
   recommendations.

   Rio Grande Cutthroat Trout (Oncothynchus cla/kii viiginah's)

   Cutthroat trout are indicators of mountain stream quality (Behnke 2002). They require cold, clear
   streams with stable temperatures and well-vegetated banks (Hickman and Raleigh 1982; Raleigh and
   Duff 1981; Miller et al. 2003) as well as distinctive habitats for spawning, juvenile rearing, and
   overwintering. They are vulnerable to threats such as over-fishing; habitat loss and degradation from
   logging, mining, and livestock grazing; the introduction of non-native fish; disease, and roads. The
   Rio Grande cutthroat trout was a former a Management Indicator Species for Region 2.


                                    Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 50



                                                                                   Rvsd Plan - 00002458
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 348 of 356




   Brown creeper (Certhia amencana)

   Brown creepers are indicators of sustainable management of late-seral forests (Aubry and Raley
   2002; Hejl et al. 2002; Poulin et al. 2008; Poulin et al. 2010). They inhabit mixed conifer subalpine
   forests and require snags or dying trees where they nest under peeling bark (Hejl et al. 2002).
   Scientists commonly employ brown creepers as focal species to study forest disturbance (see Imbeau
   et al. 2000; Farris et al. 2010; Poulin et al. 2010; Vogeler et al. 2013). Because they have large
   territories, Poulin et al. (2010) suggested they serve as umbrellas species for other mature old-growth
   specialists.

   Hairy woodpecker (Picoides vailosus)

   Hairy woodpeckers are associated with unlogged burned habitats with high snag densities; they
   avoid areas with low snag densities (Haggard and Gaines 2001; Saab et al. 2009). Woodpeckers are
   indicators for snag densities, sizes, and decay rates (Hilty and Merenlender 2000; Haggard and
   Gaines 2001; Bate et al. 2008; Nappi et al. 2015). Woodpeckers are keystone species in conifer-
   dominated forests as primary cavity excavators that benefit a range of secondary cavity-using wildlife
   (Tarbill et al. 2015).

   Northern Goshawk (Accpiter gentdis)

   Northern goshawks use a variety of forest types, but nest primarily in ponderosa pine and Douglas
   fir forests (Boyce et al. 2006). They are indicators of the integrity of mature, old growth forest
   structure and composition and a sufficient forest prey base of small mammals and birds and have
   been recommended as indicator species in several studies (Hilty and Merenlender 2000). Threats
   include timber harvesting, in particular, and severe fires as well as fuel treatments. Home range size
   is estimated to be 2,000-3,000 ha (Boyce et al. 2006). Territories average being within a 1.6 km from
   nest sites, and they have strong nest site fidelity. Long distance movements should be considered in
   scale consideration for management (Graham et al. 1999) and the need for large areas of connected
   habitat. The Forest Service has a monitoring guide for the Northern goshawk (Woodbridge and
   Hargis 2006). We believe the goshawk makes a particularly good focal species because tracking and
   monitoring protocols for this species are already well-established.

   8. Designated Area Recommendations

   We recommend the attached proposed areas be recommended for Wilderness designation (See
   Appendix B).

   We recommend the attached proposed areas be designated by the Forest Service as special areas
   (See Appendix C).

   We recommend the attached proposed Decker Creek Gunnison Sage Grouse Protection Area be
   designated as a zoological area by the Forest Service (See Appendix D).

   9. Literature Cited

   Aubry, K.B., and C.M. Raley. 2002. The pileated woodpecker as a keystone habitat modifier in the
   Pacific Northwest. USDA Forest Service General Technical Report PSW-GTR-181, 257-274.


                                   Defenders of Wildlfe, Rio Grande National Forest Management Plan JeopiKg Comments | 51



                                                                                  Rvsd Plan - 00002459
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 349 of 356




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                                Appendix A




                                                       Rvsd Plan - 00002465
Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 355 of 356




         Evaluation of Species of Conservation Concern Identification Process
                                 Defenders of Wildlife

   Introduction
   Defenders of Wildlife is committed to the effective implementation of the 2012 Planning Rule. In
   particular we are dedicated to working in good faith with the Forest Service and all forest planning
   stakeholders to achieve the high conservation standards established under the National Forest
   Management Act and the 2012 Planning Rule. Accordingly, we are investing significant
   organizational capacity into the implementation of the 2012 Planning Rule, through our work on the
   Planning Rule Federal Advisory Committee, as well as on many of the national forests that have
   begun revising their land management plans under the new rule.

   The Forest Service, the Planning Rule Advisory Committee, and forest planning stakeholders have
   noted challenges in administering the species of conservation concern planning and management
   program under the planning rule. The agency has undertaken an internal review of the SCC
   program, coupled with an Advisory Committee review effort centered on the observations of
   stakeholders familiar with implementation of the SCC program.

   Consistency in implementation of the planning rule has been an important issue since the
   formulation of the rule began in 2009; it was addressed as a key issue in the public engagement and
   NEPA processes, acknowledged in the preamble to the rule, and was central in the formation of the
   Advisory Committee. In particular, there was significant interest in the development of a clear and
   cohesive approach to conserving at-risk species across the National Forest System under the rule.
   By placing the administration of the SCC program at the regional level, the planning rule
   acknowledges that the effective conservation of those species requires a consistent approach across
   national forests. Consistency in administration of the SCC program is also the aim of the planning
   rule directives. The procedures and rationales outlined in the directives for identifying and
   managing at-risk species should be repeatable in similar circumstances regardless of which national
   forest or individual is implementing them.

   Summary of SCC Identification Review
   In order to contribute to the ongoing discussion and evaluation of the SCC program, for the
   purposes of improving its implementation and ensuring consistent conservation outcomes across
   national forests, we reviewed processes for identifying SCC on 14 national forests in six regions that
   are currently revising their plans under the 2012 Planning Rule.

   The review was based on an interpretation of the guidance for SCC found within the planning
   directives, applied to specific SCC identification processes for individual national forests. A
   summary of that interpretation of the directives is provided in the “Policy for Identifying Species of
   Conservation Concern” section below.



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Case 1:21-cv-02994-REB Document 24-9 Filed 06/21/22 USDC Colorado Page 356 of 356




   Our review indicates a wide divergence in SCC identification processes both across and within
   regions. In addition, the review raises concerns of inconsistent interpretation and application of SCC
   identification processes found within the planning directives.

   Key findings from the review are summarized below. Detailed documentation of the findings from
   the various national forests is provided in the “Detailed Forest Evaluation” section below.

   Summary of Kij Findings

   1. Assessments reviewed potential SCC, but ambiguity exists over the interpretation of “potential
   SCC”, and assessments did not always provide rationales for selecting or not selecting species to
   consider as SCC
   The planning rule requires that the regional forester identify SCC, and that the responsible official,
   in the assessment for plan revision, “evaluate existing information relative to the plan area for
   potential species of conservation concern.” All of the assessments we reviewed identify potential
   SCC. However, Forest Service officials have not always interpreted “potential” the same way, and
   used other terms like “recommended” or “proposed.” The assessments also have not always
   included a rationale for selecting or not selecting species to consider for SCC, and therefore public
   review of SCC identification at the assessment stage has been limited on some forests.

   2. Forests generally followed guidance on categories of species to consider as SCC, but many did not
   specify whether all species were considered that met guidance criteria
   All forest planning processes we analyzed have generally followed the directives’ guidance
   concerning SCC, which outlines categories of species to consider when identifying potential species
   of designation. However, many forests have failed to specify whether they considered all species that
   meet any of the criteria. In our review, we note species that meet the criteria, but were either
   considered and not included or evidently not considered for potential SSC designation.

   3. Rationale for excluding SCC have not been available for review and for most forests there is little
   indication that the regional forester was involved in SCC identification; criteria for identification of
   SCC were not consistently established
   For many forests, the rationale for excluding SCC have not been available for review when public
   input could have influenced the assessment and development of a proposed action. For most
   forests, there is little indication that the regional forester was involved in SCC identification. We
   found that the regional forester formally identified SCCs in just three forest planning processes (in
   three different regions). In two of these cases, identification occurred prior to the assessment, and
   the regional forester provided accompanying rationale for identifying SCC in one of these cases.

   Among all forests, criteria for identification were sometimes explicitly established in advance, in
   others they may have been developed as species were evaluated. We found instances in every forest
   planning process where planners cited criteria that may not have been appropriate for rejecting SCC.


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